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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                          x
In re AMERICAN REALTY CAPITAL             : Civil Action No. 1:15-mc-00040-AKH
PROPERTIES, INC. LITIGATION               :
                                          : CLASS ACTION
                                          :
This Document Relates To:                 : DEMAND FOR JURY TRIAL
                                          :
        ALL ACTIONS.                      :
                                          x



                       AMENDED CLASS ACTION COMPLAINT FOR
                     VIOLATION OF THE FEDERAL SECURITIES LAWS




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        Plaintiffs, by their undersigned attorneys, on behalf of themselves and the class they seek to

represent, for their Complaint for Violations of the Federal Securities Laws Seeking Damages and

Equitable Relief (the “Complaint”), allege the following upon knowledge as to their own acts and

upon the investigation conducted by their counsel. The investigation included examining and

analyzing information relating to the relevant time period obtained from public and proprietary

sources – including, inter alia, United States Securities and Exchange Commission (“SEC”) filings,

the sworn allegations in Lisa Pavelka McAlister v. American Realty Capital Properties, Inc., et al.,

Index No. 162499/2014 (Sup. Ct. N.Y. Cnty.), other court filings related to American Realty Capital

Properties, Inc. (“ARCP” or the “Company”), public reports, releases, investor presentations,

published interviews, news articles and other media reports, interviews with former employees of the

Company, and reports of securities analysts and investor advisory services. Plaintiffs believe that

substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                                         INTRODUCTION

        1.       This securities class action is brought on behalf of those who purchased or otherwise

acquired ARCP securities, including ARCP common stock, preferred stock and debt securities, as

well as those who traded in option contracts on ARCP stock between September 7, 2011 and

October 29, 2014 (the “Class” and the “Class Period”), seeking to pursue remedies under §§11,

12(a)(2), and 15 of the Securities Act of 1933 (“1933 Act” or “Securities Act”), and §§10(b), 14(a),

and 20(a) of the Securities Exchange Act of 1934 (“1934 Act” or “Exchange Act”) and Rule 10b-5

promulgated thereunder (17 C.F.R. §240.10b-5).

        2.       This case arises out of a multi-year long accounting fraud that ultimately required

ARCP to admit that it had falsified its reported operating performance and/or financial statements for


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every reporting period since it went public in 2011. The fraud also resulted in the termination or

resignation of all five of ARCP’s most senior executives and the majority of the members of its

Board of Directors.

                                  SUMMARY OF THE ACTION

        3.       ARCP is a commercial real estate investment trust (“REIT”) that owns and leases

single-tenant freestanding commercial properties subject to medium-term leases with credit-quality

tenants. On September 7, 2011, ARCP completed its initial public offering (“IPO”), raising $69.75

million via the sale of 5.58 million shares of ARCP common stock at $12.50 per share. Following

the IPO, the price of ARCP stock fell below the IPO price and languished there as the Company was

able to report only modest growth in adjusted funds from operations (“AFFO”), the single most

important financial metric used by investors to assess a REIT’s performance.1

        4.       By early 2012, however, ARCP’s senior insiders realized that their existing practice

of artificially inflating ARCP’s AFFO by failing to adjust for non-controlling interests was not going

to adequately boost ARCP’s share price performance, which, in turn, was impeding ARCP’s ability

to raise meaningful amounts of capital. ARCP’s senior insiders recognized that the only way to

generate the substantial fees, commissions and compensation payments they sought would be to

supercharge ARCP’s reported AFFO growth.




1
    AFFO is a measure of operating performance that is critical to analysts and investors in valuing a
REIT. AFFO is generally equal to a REIT’s funds from operations with adjustments made for
recurring capital expenditures used to maintain the quality of the REIT’s underlying assets. Thus,
AFFO provides useful information for investors and analysts to assess the sustainability of a REIT’s
operating performance. As the Company stated in its 2013 Amended Form 10-K, ARCP’s”[s]enior
management considered AFFO to be an important metric used by analysts and investors in
evaluating the Company’s performance.” (All emphasis in quotations is added unless otherwise
noted.)

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        5.       Thus, ARCP’s senior insiders doubled-down on their accounting scheme in order to

fuel an unprecedented acquisition binge. Through a series of complex and oftentimes opaque

related-party transactions, ARCP grew from a relatively modest-sized entity which owned 63

properties at the time of the IPO into a $21 billion behemoth that, only three years later, owned more

than 4,400 commercial properties. ARCP’s rapid-fire acquisition strategy was predicated upon an

accounting scheme that was breathtaking in both its breadth and magnitude.

        6.       Beginning in late 2012, ARCP’s Chairman and CEO, defendant Nicholas S. Schorsch

(“Schorsch”), and its CFO, defendant Brian Block (“Block”), assured ARCP investors and potential

merger partners that ARCP’s performance was “exceed[ing] our financial projections across the

board.” In February 2013, the Company reported strong 2012 AFFO of $10.5 million, and declared

that ARCP was “positioned for dynamic growth.” By late 2013, ARCP’s senior insiders were

emphasizing to the market that ARCP would report for 2014, “a growth rate of about 30% over 2013

AFFO per share.”

        7.       Defendants’ scheme reached its apex in the second quarter of 2014 (“2Q14”), when

the Company reported quarterly AFFO of $205.3 million, a 429% increase over 2Q13. By that

time, ARCP’s senior insiders had caused ARCP to issue and/or sell $3.5 billion of ARCP debt

securities and well over 800 million shares of ARCP stock at artificially inflated levels. They had

also used the billions of dollars ARCP had raised, together with artificially inflated shares of ARCP

stock, to consummate no less than five multi-billion dollar acquisitions of other REITs and real

estate portfolios. And, as part of ARCP’s acquisition spree, ARCP’s insiders ensured that more than

$917 million was paid directly or indirectly to ARCP insiders and their affiliates, including:

        •        $15.4 million paid for “post-transaction support services,” which included $10
                 million paid to a Schorsch-controlled entity to provide, among other things, “public
                 relations support” and “services relating to office supplies;”

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        •        $17.7 million for so-called “financing coordination fees;”

        •        $21.6 million for the purported sale to ARCP of “furniture, fixtures, and equipment,”
                 for which “no evidence” could be found that at least a third of such furniture, fixtures
                 or equipment were received;

        •        $63.4 million for “strategic advisory services;”

        •        $176.6 million in payments denominated as “subordinated distribution fees” and
                 triggered by ARCP’s purchase of defendant American Realty Capital Trust, III, Inc.
                 (“ARCT III”) and defendant American Realty Capital Trust, IV, Inc. (“ARCT IV”);
                 and

        •        $333 million in “commissions and fees.”

        8.       On October 29, 2014, ARCP stunned the market by admitting that its previously

reported first quarter of 2014 (“1Q14”) AFFO and second quarter of 2014 (“2Q14”) AFFO had been

falsified. ARCP further revealed that not only had senior ARCP executives been aware of the falsity

of ARCP’s financial statements, but they had allowed those false financial statements “to be filed

without completing an analysis of the errors.” Even more troubling, ARCP admitted that the

falsification of its 1Q14 Form 10-Q was “intentionally not corrected,” and that “other AFFO and

financial statement errors were intentionally made.” That is, ARCP’s 2Q14 AFFO was falsified to

cover up prior false statements.

        9.       The Company also revealed that investors could no longer rely upon its previously

reported financial results for fiscal year 2013 (“FY13”), 1Q14 and 2Q14, and further indicated that

the financial manipulation that took place at ARCP had been perpetrated by Chief Financial Officer

(“CFO”) Block and Chief Accounting Officer (“CAO”) defendant Lisa P. McAlister (“McAlister”),

whom ARCP claimed to have asked to resign (though McAlister claims she was fired).

        10.      The market’s reaction to these startling revelations was swift and severe. The trading

price of ARCP securities collapsed in response to revelations of accounting fraud in ARCP’s

corporate suite, with the price of ARCP common stock dropping by more than $4.50 per share, or

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36.6%, to $7.85, before recovering to close at $10 per share later that day, on volume of more than

231 million shares. ARCP’s stock price declined from $12.45 on October 28, 2014, to $7.53 on

November 3, 2014, as the market digested the magnitude and implications of the scandal at ARCP,

erasing over $3 billion in market capitalization and inflicting significant harm on ARCP investors.

        11.      The reaction of regulators and the criminal authorities was likewise swift, as it was

almost immediately reported that the Federal Bureau of Investigation (“FBI”) and the United States

Attorney’s Office were conducting criminal investigations of the Company. Likewise, the U.S.

Securities & Exchange Commission (“SEC”) immediately issued subpoenas and launched its own

investigation into ARCP’s admitted misconduct, as did state regulators.

        12.      Six weeks later, on December 14, 2014, ARCP’s management purge concluded with

the resignations of Schorsch, defendant David Kay (“Kay”) (who had recently taken over as CEO),

and Chief Operating Officer (“COO”) defendant Lisa Beeson (“Beeson”), who had recently taken

over as President.

        13.      On December 18, 2014, it became apparent why every senior executive employed by

the Company during the Class Period – its Chairman, CEO, COO, CFO, and CAO – had been asked

to leave the Company or been terminated. McAlister, who had purportedly resigned from the

Company as a result of her role in the misconduct, sued the Company, Schorsch, and Kay in the New

York State Supreme Court, claiming that she had been defamed and terminated for reporting

accounting malfeasance at the Company.

        14.      McAlister had been one of the first executives to be hired from outside Schorsch’s

inner circle as ARCP transitioned to being internally managed. Although she had repeatedly

informed Schorsch, Kay and ARCP senior management of the accounting inaccuracies in February

2014, Kay instructed McAlister not to correct ARCP’s false financial statements. McAlister

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declined to report her discovery in February 2014 to ARCP’s auditor, Audit Committee, or any

authority outside the Company. Not long after receiving and following Kay’s instruction, McAlister

was rewarded with a bonus, raise and promotion.

        15.      Thereafter, prior to the filing of ARCP’s 2Q14 Form 10-Q, McAlister alleges that

Schorsch directed Block to take steps to conceal previous improper reporting, and that when she then

contacted the Company’s outside auditors, defendant Grant Thornton, LLP (“Grant Thornton”), to

express her concern, she was instructed to sign the Company’s 2Q14 financial statements “as is,”

notwithstanding their falsity. McAlister signed the false financial reports in her capacity as ARCP’s

CAO and submitted them to the SEC on July 29, 2014. In September 2014, an “unidentified

person,” not McAlister, made a report to the Audit Committee, spurring the internal investigation

that resulted in the October 29, 2014 announcement and the restatement.

        16.      On March 2, 2015, ARCP admitted that it had falsified its reported operating

performance and/or financial statements for each and every reporting period since it went public in

2011. ARCP and its accountants, Grant Thornton, have now confirmed that the falsification of

ARCP’s financial performance was achieved via no fewer than three dozen different artifices. As

alleged herein, defendants falsified ARCP’s financial performance via a collage of accounting tricks,

many of which were designed to inflate ARCP’s AFFO and/or line its senior insiders’ pocketbooks,

including:

        •        Misclassifying recurring expenses as non-recurring, or “one-off,” expenses so they
                 would inflate ARCP’s reported AFFO;

        •        Improperly delaying expense recognition so as to recognize expenses based on when
                 they would have the least detrimental impact on ARCP’s reported AFFO, versus
                 properly recognizing expenses when they were actually incurred. This practice
                 allowed ARCP to manipulate its AFFO so as to meet its guidance and bolstered its
                 management’s perceived reliability;



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        •        Improperly using “goodwill” from acquisitions as a slush fund that ARCP
                 retroactively increased to absorb subsequent losses from the sale of individual
                 properties (thereby hiding the fact that ARCP had overvalued such properties when it
                 acquired them); and

        •        Using improper, arbitrary and unauthorized metrics for executive compensation to
                 increase the bonus pool by nearly $100 million beyond the amount ARCP’s
                 Compensation Committee had authorized.

                                   JURISDICTION AND VENUE

        17.      The claims asserted herein arise under and pursuant to §§11, 12(a)(2), and 15 of the

Securities Act [15 U.S.C. §§77k, 77l(a)(2) and 77o], and §§10(b), 14(a), and 20(a) of the Exchange

Act [15 U.S.C. §§78j(b), 78n(a) and 78t(a)], and Rule 10b-5 promulgated thereunder [17 C.F.R.

§240.10b-5].

        18.      This Court has jurisdiction over this action pursuant to §22 of the Securities Act [15

U.S.C. §77v], §27 of the Exchange Act [15 U.S.C. §78aa], and 28 U.S.C. §1331.

        19.      Venue is properly laid in this District pursuant to §22 of the Securities Act, §27 of the

Exchange Act, and 28 U.S.C. §1391(b) and (c). The acts and conduct complained of herein occurred

in substantial part in this District.

        20.      In connection with the acts and conduct alleged in this Complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce, including the

mails and telephonic communications and the facilities of the NASDAQ stock market (the

“NASDAQ”).

                                               PARTIES

A.      Plaintiffs

        21.      Lead Plaintiff is Teachers Insurance and Annuity Association of America (“TIAA”),

College Retirement Equities Fund, TIAA-CREF Equity Index Fund, TIAA-CREF Real Estate

Securities Fund, TIAA-CREF Large Cap Value Index Fund, TIAA-CREF Small Cap Blend Index

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Fund, TIAA-CREF Life Real Estate Securities Fund, and TIAA-CREF Life Equity Index Fund

(collectively, “TIAA-CREF”).

               (a)     TIAA was founded in 1918 and is a joint stock life insurance company

incorporated in New York with its principal place of business in New York. TIAA offers traditional

annuities, as well as variable annuities that invest, among other things, in real estate and in mutual

funds that invest in equities and fixed income investments. College Retirement Equities Fund

(“CREF”), a companion organization to TIAA, is a not-for-profit membership corporation

incorporated in New York with its principal place of business in New York. Together, TIAA and

CREF constitute a Fortune 100 financial services organization that forms the principal retirement

system for the nation’s education and research communities and one of the largest retirement

systems in the world based on assets under management.

               (b)     As of October 31, 2014, TIAA-CREF served over five million individuals

overall (with more than 3.7 million clients in institutional retirement plans) and managed in excess

of $500 billion in assets. As set forth in TIAA-CREF’s certification attached hereto, TIAA-CREF

purchased and/or acquired ARCP securities during the Class Period and was damaged thereby.

        22.    Plaintiff Sheet Metal Workers’ National Pension Fund (“National Pension Fund”),

with assets of nearly $4 billion, is a defined benefit pension fund organized to provide retirement

benefits to sheet metal workers and their spouses. As set forth in National Pension Fund’s

certification attached hereto, National Pension Fund purchased and/or acquired ARCP securities,

including ARCP common stock issued in the Cole Merger (defined below in ¶270) and ARCP

common stock in the May 21, 2014 offering, as well as ARCP debt securities, during the Class

Period and was damaged thereby.




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        23.    Plaintiff Union Asset Management Holding AG (“Union”) is an investment company

based in Germany that manages assets of approximately $279 billion. As set forth in Union’s

certification previously filed as Dkt. No. 39-1 to Case No. 1:14-cv-08659-AKH and incorporated

herein by reference, Union purchased and/or acquired ARCP debt securities during the Class Period

and was damaged thereby.

        24.    Plaintiff KBC Asset Management NV (“KBC”) is an investment company based in

Belgium that manages assets of approximately $212 billion. As set forth in KBC’s certification

previously filed as Dkt. No. 39-1 to Case No. 1:14-cv-08659-AKH and incorporated herein by

reference, KBC purchased and/or acquired ARCP securities, including ARCP common stock issued

in the Cole Merger, during the Class Period and was damaged thereby.

        25.    Plaintiffs Corsair Select 100 L.P., Corsair Select Master Fund, Ltd., Corsair Capital

Partners L.P., Corsair Select L.P., Corsair Capital Partners 100 L.P., and Corsair Capital Investors,

Ltd. (collectively “Corsair”) are a group of private investment funds that operate under the common

management of Corsair Capital Management, L.P., which makes decisions for the Corsair funds. As

set forth in its certification attached hereto, Corsair purchased and/or acquired ARCP securities,

including ARCP common stock issued in the Cole Merger and in the May 21, 2014 offering, during

the Class Period and was damaged thereby.

        26.    Plaintiffs the New York City Employees’ Retirement System, the New York City

Police Pension Fund, the New York City Police Officers’ Variable Supplements Fund, the Board of

Education Retirement System of the City of New York, the Teachers’ Retirement System of the City

of New York and the Teachers’ Retirement System of the City of New York Variable A, the New

York City Fire Department Pension Fund, the New York City Fire Officers’ Variable Supplements

Fund and the New York City Fire Fighters’ Variable Supplements Fund (collectively, the “NYC

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Funds”) are defined benefit pension funds organized to provide retirement benefits to New York

City employees and their spouses. As set forth in the certification attached hereto, the NYC Funds

purchased and/or acquired ARCP securities, including ARCP common stock and ARCP debt

securities, during the Class Period and were damaged thereby.

        27.    Plaintiff the City of Tampa General Employees Retirement Fund (“Tampa”) is a

defined benefit pension fund organized to provide retirement benefits to City of Tampa employees

and their spouses. As set forth in its certification attached hereto, Tampa purchased and/or acquired

ARCP securities, including ARCP common stock issued in the May 21, 2014 offering, during the

Class Period and was damaged thereby.

        28.    Plaintiff Paul Matten (“Matten”) purchased and/or acquired ARCP securities,

including ARCP Series F Preferred stock issued in the ARCT IV Merger (desribed in ¶262) and

option contracts on ARCP stock, during the Class Period, as set forth in his certification attached

hereto, and was damaged thereby.

        29.    Plaintiff Simon Abadi (“Abadi”) purchased and/or acquired ARCP securities,

including ARCP common stock issued in the Cole Merger (described in ¶270) and ARCP common

stock issued in the May 21, 2014 offering, during the Class Period, as set forth in his certification

attached hereto, and was damaged thereby.

        30.    Plaintiffs Mitchell Ellis and Bonnie Ellis (collectively “Ellis”) purchased and/or

acquired ARCP securities, including ARCP Series F Preferred stock issued in the ARCT IV Merger,

during the Class Period, as set forth in their certifications attached hereto, and were damaged

thereby.




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        31.    Plaintiff Noah Bender (“Bender”) made transactions in ARCP securities and ARCP

option contracts during the Class Period, as set forth in his certification attached hereto, and was

damaged thereby.

B.      Defendants

        Entity Defendants

        32.    ARCP is a corporation organized and existing under the laws of the state of

Maryland, and maintained its headquarters during the Class Period at 405 Park Avenue, 15th floor,

New York, New York 10022, and qualifies as a REIT for federal income tax purposes. ARCP’s

common stock began trading on NASDAQ under the symbol “ARCP” on September 7, 2011. On

February 28, 2013, ARCP common stock was transferred to The NASDAQ Global Select Market, or

the NASDAQ.

        33.    ARCP owns freestanding commercial real estate leased on a medium term basis

pursuant to what are colloquially referred to as “Triple Net Leases,” primarily to investment credit

rated and other creditworthy tenants. As of December 31, 2014, ARCP owned more than 4,100

commercial properties representing more than 108 million square feet. Substantially all of ARCP’s

business is conducted through its operating partnership, ARC Properties Operating Partnership L.P.,

of which ARCP is the sole general partner.

        34.    ARC Properties Operating Partnership L.P. is a subsidiary and the operating

partnership of ARCP. ARCP is ARC Properties’ sole general partner. As of June 30, 2014, ARCP

owned 97.3% of the common equity interest in ARC Properties, and certain persons affiliated with

ARCP as of June 30, 2014 are limited partners and own an additional 1.7%. ARC Properties is

organized under the laws of the state of Delaware and listed its address during the Class Period as

405 Park Avenue, 15th Floor, New York, New York 10022.


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        35.    American Realty Capital Trust IV, Inc. was a Maryland corporation. In June 2012,

ARCT IV commenced an IPO and by September 19, 2013, had more than 71 million shares of

common stock outstanding. ARCT IV’s principal executive offices were located at 405 Park

Avenue, 15th Floor, New York, New York 10022. Prior to ARCT IV’s merger with ARCP,

Schorsch, Edward M. Weil (“Weil”), William G. Stanley (“Stanley”), Peter M. Budko (“Budko”)

and Block held executive officer and/or director positions at ARCT IV.

        36.    American Realty Capital Trust III, Inc. was a Maryland corporation that qualified as a

REIT for U.S. federal income tax purposes. In March 2011, ARCT III commenced an IPO. The

ARCT III IPO closed in September 2012. ARCT III’s principal executive offices were located at

405 Park Avenue, 15th Floor, New York, New York 10022. Prior to ARCT III’s merger with

ARCP, Schorsch, Weil, Edward G. Rendell (“Rendell”), Budko, Block, David M. Gong (“Gong”)

and Scott J. Bowman (“Bowman”) held executive officer and/or director positions at ARCT III.

        37.    AR Capital LLC (“AR Capital”) is a Delaware limited liability company that

provided management and advisory services to ARCP and its affiliates. AR Capital is a subsidiary

of RCS Capital (“RCS Capital”) and during the Class Period was directly or indirectly owned and/or

controlled by Schorsch, William M. Kahane (“Kahane”), Budko, Block and Weil. AR Capital also

owns ARC Properties Advisors LLC (“ARC Advisors”), which served as ARCP’s external manager

prior to January 8, 2014, and for which Schorsch served as CEO. AR Capital is located at 405 Park

Avenue, 12th Floor, New York, New York 10022. During the Class Period, Schorsch, Weil, and

Budko held executive officer positions at AR Capital.

        38.    ARC Properties Advisors LLC is a Delaware limited liability company and was

ARCP’s external manager during Class Period until January 8, 2014. ARC Advisors is directly or

indirectly owned and/or controlled by Schorsch, Kahane, Budko, Block, and Weil. ARC Advisors is

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an affiliate of AR Capital and had its principal office at 405 Park Avenue, New York, NY 10022.

During the Class Period, ARC Advisors and “its affiliates” received payments in excess of $917

million from ARCP, ARCT III and ARCT IV.

        39.    RCS Capital Corporation (“RCAP”) is a Delaware corporation whose stock is traded

on the New York Stock Exchange (“NYSE”) using the ticker symbol “RCAP.” RCAP is an

investment firm with operating subsidiaries including retail advice services, wholesale distribution,

investment banking, capital markets, investment research, investment management and

crowdfunding. RCAP was originally formed as a holding company that would operate and grow

several RCS Capital subsidiaries including: Realty Capital Securities, LLC, a wholesale broker-

dealer business; RCS Advisory Services, LLC, an investment banking and capital markets business

and transaction management services provider; and American National Stock Transfer, LLC, a

transfer agent business. During the Class Period, RCAP was externally managed by RCS Capital

Management, LLC, an entity directly or indirectly controlled by Schorsch and Kahane, its co-CEOs.

RCAP is located at 405 Park Avenue, 14th Floor, New York, New York 10022. During the Class

Period, Schorsch, Weil, Kahane, Budko and Brian D. Jones (“Jones”) held executive officer and/or

director positions at RCAP. During the Class Period, Schorsch and Kahane controlled more than

95% of the voting rights with respect to RCAP and thereby effectively controlled all matters

affecting RCAP.

        40.    RCS Capital, LLC is a Delaware limited liability company that operated as a multi-

platform investment and financial services firm. Through its subsidiaries, RCS Capital offers real

estate investment trust management, securities brokerage, investment banking, transaction

management, program management, risk analysis and portfolio management. RCS Capital has two

subsidiaries, AR Capital and RCAP Holdings, LLC., and was the ultimate parent entity in the

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Schorsch empire. During the Class Period, RCS Capital was owned and/or controlled by Schorsch

and Kahane.

        41.    Cole Real Estate Investments, Inc. (formerly known as Cole Credit Property Trust III,

Inc.) (“Cole Inc.”) was a Maryland corporation. On February 7, 2014, Cole Inc. merged with ARCP

(the “Cole Merger”) and became a wholly owned subsidiary of ARCP.

        ARCP Management Defendants

        42.    Nicholas S. Schorsch founded ARCP in 2010, and served as its CEO and Chairman of

its Board of Directors during the Class Period. Effective October 1, 2014, Schorsch ceased serving

as the Company’s CEO. Schorsch remained Chairman until December 15, 2014, when he was

forced to “step[] down” from the Company’s Board of Directors. During the Class Period, Schorsch

also served and/or continues to serve as an officer and/or director at numerous related entities.2

Throughout the Class Period, Schorsch took the actions and/or made the statements detailed herein

in his capacity as an officer, member and/or director of ARCP, AR Capital, RCAP, RCS Capital,

2
    These include RCS Capital Management, LLC (CEO); RCAP Holdings LLC (Chairman and
CEO); American Realty Capital Global Trust, Inc. (Chairman and CEO); American Realty Capital
Global Trust, Inc. II (Chairman); AR Capital Acquisition Corp. (Chairman); ARC Properties
Advisors, LLC (CEO); American Realty Capital Trust V, Inc. (Chairman and CEO); Corporate
Income Properties – ARC, Inc. (President and Director); American Realty Capital Daily Net Asset
Value Trust, Inc. (Chairman and CEO); American Realty Capital Healthcare Trust, Inc. (Chairman
and CEO); American Realty Capital Healthcare Trust II, Inc. (Chairman); American Realty Capital
Healthcare Trust III (Chairman); American Realty Capital Hospitality Trust, Inc. (Chairman);
American Realty Capital New York City REIT, Inc. (Chairman and CEO); New York REIT
(Chairman and CEO); American Realty Capital – Retail Centers of America II, Inc. (Chairman and
CEO); ARC Realty Finance Trust ( Chairman and CEO); American Realty Capital – Retail Centers
of America, Inc. (Chairman and CEO); American Realty Capital Trust Advisors, Inc. (Chairman and
CEO); AR Capital Acquisition Corp. (Chairman); American Realty Capital Trust IV, Inc. (Chairman
and CEO); Cole Corporate Income Trust, Inc. (Chairman, President and CEO); Cole Credit Property
Trust, Inc. (Chairman and CEO); Cole Credit Property Trust IV, Inc. (Chairman, President and
CEO); Cole Credit Property Trust V, Inc. (Chairman); Cole Office & Industrial REIT, Inc.
(Chairman, President and CEO); Cole Real Estate Income Strategy, Inc. (Chairman, President and
CEO); Phillips Edison – ARC Grocery Center REIT II (CEO); and Business Development
Corporation of America (Chairman and CEO).

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ARC Properties, ARC Advisors, ARCT III and ARCT IV, as well as the other entities listed above in

which he held ownership, executive and/or director positions.

        43.    David Kay served as ARCP’s President from December 2013 until October 1, 2014,

when he replaced Schorsch as the Company’s CEO and also joined the Company’s Board of

Directors. On December 15, 2014, ARCP announced that Kay had “stepped down” as the

Company’s CEO, as well as from its Board of Directors. During the Class Period, Kay took the

actions and/or made the statements detailed herein in his capacity as an officer, member and/or

director of ARCP.

        44.    Brian Block served as ARCP’s CFO and Executive Vice President from its formation

in December 2010 and was appointed as its Treasurer and Secretary effective December 2013. On

October 28, 2014, Block abruptly “resigned” from the Company after being asked to do so. Block

currently remains Executive Vice President and CFO of AR Capital, as well as a number of publicly

registered, non-traded direct investments sponsored by AR Capital and/or controlled by Schorsch.

Block also served as a director of RCAP from February 2013 until July 2014. Throughout the Class

Period, Block took the actions and/or made the statements detailed herein in his capacity as an

officer, member and/or director of ARCP, ARC Advisors, ARCT III, ARCT IV, AR Capital, and

RCAP. Block is a licensed Certified Public Accountant (“CPA”).

        45.    Edward M. Weil served as ARCP’s President, Treasurer and Secretary from its

formation until January 2014, when he ceased functioning as an executive officer. Weil was a

member of ARCP’s Board of Directors from March 2012 through June 2014, when he “resigned”

from the Board in an effort to “enhance corporate governance.” Weil also served as President, COO,

Treasurer, Secretary and Director of ARCT III and ARCT IV from their formation until their

mergers with ARCP. Weil is currently President and COO at AR Capital under the name “Michael

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Weil,” where Schorsch is Chairman of the Board and CEO. Additionally, he currently serves as

CEO of RCAP. Prior to being appointed CEO of RCAP, Weil was the President, Treasurer,

Secretary and a Director of RCAP. During the Class Period, Weil served and/or continues to serve

as an officer and/or director at numerous related entities.3 Throughout the Class Period, Weil took

the actions and/or made the statements detailed herein in his capacity as an officer, member and/or

director of ARCP, AR Capital, ARC Advisors, RCAP, ARCT III and ARCT IV.

        46.    Peter M. Budko was ARCP’s Executive Vice President and Chief Investment Officer

from December 2010 until January 8, 2014. During the Class Period, Budko served and/or continues

to serve as an officer and/or director at numerous related entities, including: AR Capital (Director);

RCAP (Director and Chief Investment Officer); American Realty Capital Global Trust, Inc.

(Executive Vice President); Business Development Corporation of America (President and CEO);

and American Realty Capital – Retail Centers of America II, Inc. (Chief Investment Officer).

Throughout the Class Period, Budko took the actions and made the statements detailed herein in his

capacity as an officer, member and/or director of ARCP, AR Capital, RCAP, ARC Advisors, ARCT

III and/or ARCT IV, as well as the other entities listed above in which he held ownership, executive

and/or director positions.

        47.    Brian D. Jones was ARCP’s COO from February 2013 until November 2013. Since

December 2013, Jones has been the CFO, Assistant Secretary and Manager of RCAP. Jones also has


3
    These include New York Recovery REIT (Executive Officer); Phillips Edison – ARC Shopping
Center REIT (Executive Vice President and Secretary); Phillips Edison – ARC Grocery Center REIT
II (President, CEO, Treasurer and Secretary); American Realty Healthcare Trust, Inc. (Executive
Officer); American Realty Capital Daily Net Asset Value Trust, Inc. (Director and Executive
Officer); American Realty Capital – Retail Centers of America, Inc. (Executive Officer); American
Realty Global Trust, Inc. (Director and Executive Officer); American Realty Healthcare Trust II
(President, CEO, Treasurer and Secretary); and Business Development Corporation of America
(Executive Vice President and Secretary).

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served as head of the investment banking division of RCAP since February 2013. Jones served as

CFO and treasurer of ARCT from its internalization in March 2012 until the close of its merger with

Realty Income Corporation in January 2013. Prior to ARCT’s internalization, Jones served as senior

vice president, managing director and head of investment banking at RCAP and ARC Advisory

Services, LLC from September 2010 through February 2012. Throughout the Class Period, Jones

took the actions and/or made the statements detailed herein in his capacity as an officer, member

and/or director of ARCP and RCAP, as well as the other entities listed above in which he held

ownership, executive and/or director positions. Jones is a licensed CPA.

        48.    Lisa P. McAlister served as ARCP’s Senior Vice President and CAO from November

2013 through October 28, 2014, when she was fired. During the Class Period, McAlister took the

actions and/or made the statements detailed herein in her capacity as an officer of ARCP. McAlister

is a licensed CPA.

        49.    Lisa Beeson began serving as ARCP’s COO on November 4, 2013, and also became

President on October 1, 2014. On December 15, 2014, Beeson “stepped down” as President and

COO. During the Class Period, Beeson took the actions and/or made the statements detailed herein

in her capacity as an officer ARCP.

        50.    The defendants listed in ¶¶42-49 above are collectively referred to as the “ARCP

Management Defendants.”

        51.    Defendants Schorsch, Weil, Kay, Budko, Block and Beeson are identified in the

Proxy Statements related to the ARCT III Merger, ARCT IV Merger and/or Cole Merger as

participants in the solicitation of proxies and had direct participation in and oversight of the

wrongdoing alleged herein in ¶¶220-223, 244-245, 253-256, 260, 262-266, 270-274, 276, 281-282,

relating to those mergers.

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        ARCP Director Defendants

        52.    William M. Kahane was a member of ARCP’s Board of Directors from ARCP’s

formation until March 2012, and then again from February 2013 until June 24, 2014, when he

resigned from the Board. Between November 2010 and March 2012, Kahane was an executive

officer of ARC Advisors. Kahane and Schorsch co-founded AR Capital. During the Class Period,

Kahane also served and/or continues to serve as an officer and/or director at numerous related

entities.4 Throughout the Class Period, Kahane took the actions and/or made the statements detailed

herein in his capacity as an officer, member and/or director of ARCP, RCAP, AR Capital and/or

ARC Advisors, as well as the other entities listed herein in which he held ownership, executive

and/or director positions.

        53.    Leslie D. Michelson (“Michelson”) served as a member of ARCP’s Board of

Directors during the Class Period, beginning in October 2012. During the Class Period, Michelson

also served as a Director at American Realty Capital Healthcare Trust, Inc. and Business

Development Corporation of America. Throughout the Class Period, Michelson took the actions

and/or made the statements detailed herein in his capacity as an officer, member and/or director of

ARCP, American Realty Capital Healthcare Trust, Inc. and/or Business Development Corporation of

America.




4
    These include RCS Capital Management, LLC (co-CEO); American Realty Capital Healthcare
Trust, Inc. (Director); American Realty Capital Healthcare Trust II, Inc. (Director); American Realty
Capital Healthcare Trust III, Inc. (Director); American Realty Capital New York Recovery REIT,
Inc. (Director); American Realty Capital – Retail Centers of America, Inc. (Director); and American
Realty Capital – Retail Centers of America II, Inc. (Director, COO, Treasurer and Secretary);
Phillips Edison – ARC Shopping Center REIT (Director); Phillips Edison – ARC Shopping Center
REIT II (Director); American Realty Capital Hospitality Trust, Inc. (CEO); Business Development
Corporation of America (Director); Cole Real Estate Income Strategy (Daily NAV), Inc. (Director);
and Cole Credit Property Trust (Director).

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        54.    William G. Stanley was appointed as an ARCP Director in connection with the

Company’s acquisition of ARCT IV in January 2014, and remained a Director through the end of the

Class Period. Stanley served as the interim Chairman and CEO at ARCP between December 2014

and April 1, 2015, assuming those roles when Schorsch and Kay terminated their employment at

ARCP. Formerly, Stanley served as a Director of two REITs sponsored by AR Capital, as a Director

of a non-traded business development company sponsored by AR Capital, and as a director of ARCT

IV (appointed in January 2013). When Stanley became Chairman and CEO in December 2014, the

Company announced that he had resigned, or was in the process of resigning, his positions with all

entities (other than ARCP) related to Schorsch.5 Throughout the Class Period, Stanley took the

actions and/or made the statements detailed herein in his capacity as an officer, member and/or

director of ARCP and/or ARCT IV, as well as the other entities listed herein in which he held

ownership, executive and/or director positions.

        55.    Edward G. Rendell served as an ARCP Board member between July 2011 and

October 2012, and February 2013 through the end of the Class Period. During the Class Period,

Rendell also served and/or continues to serve as an officer and/or director at numerous related

entities, including: ARCT III (Director); American Realty Capital Trust (Director); and American

Realty Capital – Retail Centers of America, Inc. (Director). During the Class Period, Rendell took

the actions and/or made the statements detailed herein in his capacity as an officer, member and/or




5
    These include Business Development Corporation of America, Business Development
Corporation of America II, American Realty Capital, Retail Centers of America, Inc., and New York
REIT Inc. During the Class Period, Stanley served and/or continues to serve as an officer and/or
director of other related entities, including: New York recovery REIT (Director); American Realty
Capital – Retail Centers of America, Inc. (Director); and Business Development Corporation of
America (Director).

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director of ARCP and/or ARCT III, as well as the other entities listed above in which he held

ownership, executive and/or director positions.

        56.    Scott J. Bowman served as an ARCP Board member during the Class Period from

February 2013 until September 9, 2014. During the Class Period, Bowman served and/or continues

to serve as an officer and/or director at numerous related entities, including: ARCT III (Director),

American Realty Capital Global Trust, Inc. (Director and CEO), and American Realty Capital Daily

Net Asset Value Trust, Inc. (Director). Throughout the Class Period, Bowman took the actions

and/or made the statements detailed herein in his capacity as an officer, member and/or director of

ARCP and/or ARCT III, as well as the other entities listed above in which he held ownership,

executive and/or director positions.

        57.    David M. Gong served as an ARCP Board member between July 2011 and October

2012. Gong also served as a member of ARCT III’s Board from January 2011 to March 2013.

During the Class Period, Gong also served and/or continues to serve as an officer and/or director at

numerous related entities, including: American Realty Capital Healthcare Trust II, Inc. (Director);

American Realty Capital Trust V, Inc. (Director); American Realty Capital – Retail Centers of

America, Inc. (Director); AR Capital Acquisition Corp. (Director); ARC – RCA (Director); and

American Realty Capital Daily Net Asset Value Trust, Inc. (Director). During the Class period,

Gong took the actions and/or made the statements detailed herein in his capacity as an officer,

member and/or director of ARCP and/or ARCT III, as well as the other entities listed above in which

he held ownership, executive and/or director positions.

        58.    Thomas A. Andruskevich (“Andruskevich”) served as an ARCP Board member from

the Company’s acquisition of Cole Inc. in February 2014 through the end of the Class Period.

Andruskevich previously served as a Director of Cole Inc. from October 2008 until Cole Inc.’s

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merger with ARCP in February 2014. During the Class Period, Andruskevich took the actions

and/or made the statements detailed herein in his capacity as an officer, member and/or director of

ARCP and/or Cole Inc.

        59.    Scott P. Sealy, Sr. (“Sealy”) was appointed as an ARCP Board member as a result of

the Company’s acquisition of Cole Inc. in February 2014. Sealy previously had served as a director

of Cole Inc. Sealy resigned from ARCP’s Board effective June 10, 2014. During the Class Period,

Sealy took the actions and/or made the statements detailed herein in his capacity as an officer,

member and/or director of ARCP and/or Cole Inc.

        60.    Bruce D. Frank (“Frank”) served as an ARCP Board member from July 8, 2014

through the end of the Class Period.

        61.    The defendants listed in ¶¶52-60 above, as well as Schorsch, Kay and Weil, are

collectively referred to as the “ARCP Director Defendants.”

        62.    Defendants Kahane, Michelson, Rendell, Gong and Bowman are identified in the

Proxy Statements related to the ARCT III Merger, ARCT IV Merger and/or Cole Merger as

participants in the solicitation of proxies, and had direct participation in and oversight of the

wrongdoing alleged in ¶¶220-223, 244-245, 253-256, 260, 262-266, 270-274, 276, 281-282, relating

to those mergers.

        AR Capital Defendants

        63.    Nicholas Radesca (“Radesca”) was Executive Vice President and CFO of AR Capital,

and served in the same capacity for a number of the publicly registered, non-traded alternative

investments AR Capital sponsors during the Class Period. During the Class Period, Radesca took

the actions and/or made the statements detailed herein in his capacity as an officer AR Capital.




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        64.    AR Capital, Schorsch, Weil, Kahane, Budko and Radesca are collectively referred to

herein as the “AR Capital Defendants.”

        65.    The AR Capital Defendants are identified in the Proxy Statements related to the

ARCT IV Merger and Cole Merger as participants in the solicitation of proxies, and had direct

participation in and oversight of the wrongdoing alleged herein related to those mergers.

        66.    During the Class Period, the ARCP Management Defendants, ARCP Director

Defendants and Redesca, as senior executive officers and/or directors of ARCP, AR Capital, RCAP,

RCS Capital, ARC Advisors and/or ARC Properties, were privy to confidential and proprietary, non-

public information concerning ARCP, AR Capital, RCAP, RCS Capital, ARC Advisors and/or ARC

Properties’ operations, finances, financial condition and present and future business prospects via

internal documents, conversations and connections with other officers and employees, and/or

attendance at management and/or board of directors meetings and committees thereof. Because of

their possession of such information, the ARCP Management Defendants, ARCP Director

Defendants and Redesca had the ability and opportunity to prevent the issuance of the Company’s

reports and releases alleged herein to be false or misleading and/or to cause them to be corrected.

The ARCP Management Defendants, ARCP Director Defendants and Redesca’s materially false and

misleading statements and omissions during the Class Period violated their duty to promptly

disseminate accurate, full and truthful information with respect to ARCP’s operations, business,

financial statements, and financial metrics, such as AFFO, so that the market price of ARCP’s

securities would be based upon truthful and accurate information.

        67.    The ARCP Management Defendants, ARCP Director Defendants and Redesca, by

reason of their status as senior executive officers and/or directors of ARCP, AR Capital, RCAP, RCS

Capital, ARC Advisors and/or ARC Properties, were “controlling persons” within the meaning of

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§15 of the 1933 Act and §20(a) of the 1934 Act, had the power and influence to cause ARCP, AR

Capital, RCAP, RCS Capital, ARC Advisors and/or ARC Properties to engage in the unlawful

conduct complained of herein, and were able to and did, directly or indirectly, control the conduct of

ARCP, AR Capital, RCAP, RCS Capital, ARC Advisors and/or ARC Properties.

        ARCT IV Defendants

        68.    Abby M. Wenzel (“Wenzel”) was a member of ARCT IV’s Board of Directors from

May 2012 through the closing of the merger with ARCP. Wenzel is also a Director at American

Realty Capital Global Trust, Inc. During the Class Period, Wenzel took the actions and/or made the

statements detailed herein in her capacity as a director of ARCT IV.

        69.    Elizabeth K. Tuppeny (“Tuppeny”) was a member of ARCT IV’s Board of Directors

from May 2012 through the closing of the merger with ARCP. Tuppeny is also a Director of

American Realty Healthcare Trust II, Inc. During the Class Period, Tuppeny took the actions and/or

made the statements detailed herein in her capacity as a director of ARCT IV.

        70.    ARCT IV, Schorsch, Weil, Stanley, Wenzel, Tuppeny, Budko and Block are

collectively referred to as the “ARCT IV Defendants.”

        71.    As senior executive officers and/or directors of ARCP and/or its affiliates during the

Class Period, the ARCT IV Defendants were privy to confidential and proprietary information

concerning ARCP’s operations, finances, financial condition and present and future business

prospects in connection with the due diligence undertaken as part of the ARCT IV Merger via

internal documents, conversations and connections with other officers and employees, attendance at

management and/or board of directors meetings and committees thereof and via reports and other

information provided to them in connection therewith.




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        72.    The ARCT IV Defendants are identified in the ARCT IV Proxy Statement as

participants in the solicitation of proxies, had direct participation in and oversight of the wrongdoing

alleged in ¶¶244-245, 262-266, 276 related to that merger, were provided with copies of the ARCT

IV Proxy Statement alleged herein to be misleading prior to or shortly after its issuance, and had the

ability and opportunity to prevent its issuance.

        ARCT III Defendants

        73.    ARCT III, Schorsch, Weil, Rendell, Gong, Bowman, Budko and Block are

collectively referred to as the “ARCT III Defendants.”

        74.    As senior executive officers and/or directors of ARCP and/or its affiliates during the

Class Period, the ARCT III Defendants were privy to confidential and proprietary information

concerning ARCP’s operations, finances, financial condition and present and future business

prospects in connection with the due diligence undertaken in as part of the ARCT III Merger via

internal documents, conversations and connections with other officers and employees, attendance at

management and/or board of directors meetings and committees thereof and via reports and other

information provided to them in connection therewith.

        75.    The ARCT III Defendants are identified in the ARCT III Proxy Statement as

participants in the solicitation of proxies, had direct participation in and oversight of the wrongdoing

alleged in ¶¶220-228, 231 related to that merger, were provided with copies of the ARCT III Proxy

Statement alleged herein to be misleading prior to or shortly after its issuance, and had the ability

and opportunity to prevent its issuance.

        Cole Defendants

        76.    Christopher H. Cole (“Cole”) was Cole Inc.’s Executive Chairman of the Board of

Directors from April 5, 2013, through the closing of the merger with ARCP.


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        77.    Marc T. Nemer (“Nemer”) was Cole Inc.’s CEO from April 5, 2013, through the

closing of the merger with ARCP.

        78.    Jeffrey C. Holland (“Holland”) was Cole Inc.’s President and COO from June 3,

2013, through the closing of the merger with ARCP.

        79.    Stephan Keller (“Keller”) was Cole Inc.’s Executive Vice President, CFO and

Treasurer from June 3, 2013, through the closing of the merger with ARCP.

        80.    D. Kirk McAllaster, Jr. (“McAllaster”) was Cole Inc.’s Executive Vice President

from April 5, 2013, through the closing of the merger with ARCP.

        81.    Leonard W. Wood (“Wood”) was a member of Cole Inc.’s Board of Directors from

April 5, 2013, through the closing of the merger with ARCP.

        82.    Cole Inc., Cole, Nemer, Holland, Keller, McAllaster, Wood, Sealy and Andruskevich

are collectively referred to as the “Cole Defendants.” During the Class Period, the Cole Defendants

took the actions, failed to take the actions required of them, and/or made the statements detailed

herein in their capacities as officers and/or directors of Cole Inc.

        83.    As senior executive officers and/or directors of Cole Inc. and its affiliates during the

Class Period, the Cole Defendants had access to confidential and proprietary information concerning

ARCP’s operations, finances, financial condition and present and future business prospects in

connection with the due diligence undertaken as part of the Cole Merger beginning on or about

October 2013 and continuing through February 2014, and via internal documents, conversations and

connections with other officers and employees, attendance at management and/or board of directors

meetings and committees thereof and via reports and other information provided to them in

connection therewith.




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        84.    The Cole Defendants are identified in the Cole Proxy Statement as participants in the

solicitation of proxies, had direct participation in and oversight of the wrongdoing alleged in ¶¶253-

256, 260, 270-274, 276, 281-282 related to that merger, were provided with copies of the Cole Proxy

Statement alleged herein to be misleading prior to or shortly after its issuance, and had the ability

and opportunity to prevent its issuance. Thus, the Cole Defendants had the opportunity to commit the

acts alleged herein.

        Grant Thornton

        85.    (a)     Grant Thornton is the U.S. member firm of Grant Thornton International Ltd,

an international firm that provides independent audit, tax and advisory services. Grant Thornton has

revenue in excess of $1.3 billion and operates 58 offices across the United States, with more than

500 partners and 6,000 employees. Grant Thornton served as ARCP’s outside auditor before, during

and after the Class Period.

               (b)     In connection with its 2012 and 2013 annual audits, Grant Thornton issued

unqualified audit opinions that certified ARCP’s false and misleading financial statements included

in its Form 10-K filed with the SEC for those periods. Grant Thornton also consented to including

its 2012 and/or 2013 unqualified audit opinions in the Registration Statements filed with the SEC in

connection with the July 2013, December 2013, and September 2014 debt offerings, the May 2014

equity offering, the Cole Merger and the ARCT IV Merger.

               (c)     Grant Thornton’s unqualified, or “clean,” audit reports certified ARCP’s Class

Period financial statements as being free of material misstatements. Grant Thornton’s audit reports,

included in ARCP’s 2012 Form 10-K and 2013 Form 10-K, stated that ARCP’s statement of

financial position for the year under audit and the previous year, and its statement of the results of

operations for the year under audit and the two previous years, presented “fairly” the financial


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position of ARCP “in conformity with accounting principles generally accepted in the United States

of America.” Grant Thornton’s unqualified audit reports for the fiscal years ended December 31,

2012 (“FY12”) and December 31, 2013 were materially false and misleading because, as set forth in

¶¶114-196, ARCP’s financial statements for the FY12 and FY13 did not present fairly, in all

material respects, the Company’s results of operations or its financial condition in accordance with

Generally Accepted Accounting Principles (“GAAP”).

                (d)    During the Class Period, Grant Thornton served as ARCP’s auditor and

received millions of dollars in payments from Schorsch-related entities,6 including nearly $1.6

million in fees for its ARCP audit work in 2013, a 437% increase from the fees it received for such

work in 2012.

        86.     In late July 2014, Grant Thornton was informed about the false and misleading nature

of ARCP’s financial statements by McAlister, as described in ¶352. Instead of investigating the

information that was reported, Grant Thornton Partner Richard LeFleur and Manager Jessica Estrada

directed McAlister to sign ARCP’s Form 10-Q for 2Q14 and file the false financial statements with

the SEC, but did nothing at the time to determine how widespread the reported misconduct was, by

what amount ARCP’s financial statements were potentially misstated, or if other violations of GAAP

were occurring. Grant Thornton remained silent on the reporting of this information while it

specifically authorized its 2013 unqualified audit opinion concerning ARCP’s FY13 financial

statements, as well as ARCP’s false and misleading 1Q14 Form 10-Q and 2Q14 Form 10-Q, to be



6
    These include ARCP, American Realty Capital Daily Net Asset Value Trust, Inc., American
Realty Capital Global Trust, Inc., American Realty Capital Healthcare Trust II, Inc., American
Realty Capital New York City REIT, Inc., American Realty Capital New York Recovery REIT, Inc.,
American Realty Capital – Retail Centers of America, Inc., and American Realty Capital Trust V,
Inc.

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incorporated by reference into the registration statement used in connection with the $2.55 billion

offering of ARCP debt securities in September 2014.

        Underwriter Defendants

        July 2013 Offering

        87.    J.P. Morgan Securities LLC (“JP Morgan”), Citigroup Global Markets Inc.

(“Citigroup”), Barclays Capital Inc. (“Barclays”), BMO Capital Markets Corp. (“BMO Capital”),

and KeyBanc Capital Markets Inc. (“KeyBanc”) acted as Joint Book Running Managers, and JMP

Securities LLC (“JMP Securities”), Ladenburg Thalmann & Co. Inc. (“Ladenburg”), and Realty

Capital Securities, LLC (“RCS Securities”) acted as Co-Managers of the July 24, 2013 underwriting

of $300 million Senior Notes.

        88.    The underwriter defendants listed above in ¶87 collectively acted as the underwriting

syndicate and participated in the drafting and/or dissemination of the registration statement, as well

as in the sale of those Senior Notes to Plaintiffs and the Class in connection with the July 2013

offering. The underwriter defendants listed above were responsible for ensuring the completeness

and accuracy of the statements contained in, or incorporated by reference into, the registration

statement used in connection with the July 2013 offering. The underwriter defendants listed above

collectively received more than $8 million in connection therewith.

        December 2013 Offerings

        89.    Barclays, Citigroup, Credit Suisse Securities (USA) LLC (“Credit Suisse”), Morgan

Stanley & Co. LLC (“Morgan Stanley”), and Wells Fargo Securities, LLC (“Wells Fargo”) acted as

Joint Book Running Managers, and Capital One Securities, Inc. (“Capital One”) and JMP Securities

acted as Managers of the December 2013 offerings of $690 million of Convertible Senior Notes, and




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participated in the drafting and/or dissemination of the registration statements, as well as in the sale

of those Senior Notes to Plaintiffs and the Class.7

        90.    The underwriter defendants listed above in ¶89 collectively acted as the underwriting

syndicate that drafted and disseminated the offering documents in connection with the December

2013 offerings. The underwriter defendants listed above were responsible for ensuring the

completeness and accuracy of the various statements contained in, or incorporated by reference into,

the registration statements used in connection with the December 2013 offerings. The underwriter

defendants listed above collectively were paid nearly $22 million in connection therewith.

        May 2014 Offering

        91.    Merrill, Lynch, Pierce, Fenner & Smith, Inc. (“Merrill Lynch”), Citigroup, Barclays,

J.P. Morgan, Capital One, Credit Suisse, Deutsche Bank Securities Inc. (“Deutsche Bank”), Wells

Fargo, Robert W. Baird & Co. (“Baird”), Ladenburg, BMO Capital, JMP Securities, Janney

Montgomery Scott, LLC (“Janney”), Mizuho Securities USA Inc. (“Mizuho”), PNC Capital Markets

LLC (“PNC Capital”), Piper Jaffray & Co. (“Piper Jaffray”), and RBS Securities Inc. (“RBS

Securities”) acted as underwriters of the May 21, 2014 offering of 138 million shares of ARCP

common stock, and participated in the drafting and/or dissemination of the registration statement, as

well as in the sale of the common stock offered to Plaintiffs and the Class.

        92.    The underwriter defendants listed above in ¶91 collectively acted as the underwriting

syndicate that drafted and disseminated the offering documents in connection with the May 2014

offering. The underwriter defendants listed above were responsible for ensuring the completeness

and accuracy of the various statements contained in, or incorporated by reference into, the

7
    The underwriters of this offering exercised the greenshoe over-allotment option, bringing the
total number of shares sold in the May 21, 2014 offering to 138 million shares, and total gross
proceeds to $1.656 billion.

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registration statement used in connection with the May 2014 offering. The underwriter defendants

listed above collectively were paid nearly $57 million in connection therewith.

                THE SCHORSCH EMPIRE WAS STRUCTURED TO HELP
                  CONCEAL DEFENDANTS’ FRAUDULENT SCHEME

        93.    ARCP is a REIT, focused on single-tenant freestanding commercial properties subject

to medium-term leases with high credit-quality tenants. After its September 7, 2011 IPO, which

raised just under $70 million, ARCP grew into one of the largest REITs in the United States. By

2014, ARCP owned more than 4,400 properties spanning almost 100 million square feet.8

        94.    ARCP lies at the center of a complex web of interrelated companies devised by its

former Chairman and CEO, Schorsch. In addition to ARCP, Schorsch served as Executive

Chairman of the Board of RCAP, a self-described “full-service investment firm expressly focused on

the individual retail investor,” and as Chairman and CEO of AR Capital, “a full-service investment

advisory firm sponsoring a series of investment programs with an emphasis on publicly registered

non-traded real estate offerings.”




8
    REITs own – and typically operate – income-producing real estate or real estate-related assets.
REITs provide investors with the ability to receive a share of the income produced through real
estate ownership, without owning the underlying real estate. To qualify as a REIT, a company must,
inter alia, have the bulk of its assets and income connected to real estate investment and must
distribute at least 90% of its taxable income to shareholders annually in the form of dividends.

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        95.   RCAP and AR Capital are but two of the many companies that formed the dizzying

array of companies owned and/or controlled by Schorsch, which were used to effectuate the scheme

and wrongful course of conduct alleged herein:




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        96.    Schorsch used RCAP, AR Capital, Cole Inc. and other affiliated entities to raise

money for his non-traded REITs, and then used ARCP equity securities as currency to buy out the

non-traded REITs.9 Forbes.com described the Schorsch empire as “[a] fully integrated operation

[that] not only manufactured nontraded, high-yielding REITs, it also provided research and advisory

services to them, and controlled the second-largest independent financial advisory operation in the

nation (and 9,200 brokers) who peddled them.”

        ARCP Embarks on an Acquisition Spree

        97.    When ARCP went public on September 7, 2011, it sold just over 5.5 million shares of

ARCP common stock at $12.50 per share. As of December 31, 2011, the Company reported total

assets of $132 million. By December 31, 2012, ARCP’s assets had almost doubled (to $256

million), as ARCP embarked on one of the most aggressive merger-and-acquisition campaigns ever

undertaken in the real estate industry. The table below shows the ARCP’s rapid-fire pattern of

acquisition:

                                ARCP ACQUISITION SPREE

Acquisition                   Close Date                       Transaction Value
ARCT III                      02/28/13        $2.2 billion
GE Capital Properties         06/27/13        $774 million
CapLease, Inc.                11/03/13        $2.2 billion
ARCT IV                       01/03/14        $3 billion, including 79.1 million ARCP shares
Fortress Group Properties     01/08/14        $601 million
Cole Inc.                     02/07/14        $11.2 billion, including 520 million ARCP shares
Red Lobster Properties        07/28/14        $1.5 billion

        98.    Describing itself publicly as an “acquisition machine,” ARCP became the largest

REIT of its kind in the United States. It grew by acquiring hundreds of millions of dollars of real


9
    The December 12, 2014 agreement entered into between Schorsch and the Company in
connection with his resignation, which does not purport to be complete, identifies no fewer than 47
entities from which Schorsch agreed to resign his positions.

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estate assets at a time (and in some cases billions of dollars), increasing its total assets more than

16,036% in two and a half years, as the following chart demonstrates:




        99.    Prior to January 8, 2014, the external manager responsible for ARCP’s “affairs on a

day-to-day basis” was ARC Properties Advisors, LLC (defined above as ARC Advisors) (whose

CEO was also Schorsch) which was controlled by Schorsch, Block, Budko, Weil and Kahane. ARC

Advisors, is a separate legal entity that ARCP does not own and whose revenues and profits do not

benefit ARCP’s shareholders. Yet its name is confusingly similar to ARC Properties Operating

Partnership, L.P. (defined above as ARC Properties), which is a subsidiary of and 97.3% owned by

ARCP and serves as ARCP’s operating partnership.

        100.   The ARCP “acquisition machine” was designed to and did effectively transfer

hundreds of millions of dollars from ARCP to entities owned and/or controlled by Schorsch, Weil,


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Kahane, Block and Budko in connection with ARCP’s Class Period acquisition spree. In just three

years, ARCP paid ARC Advisors “and its affiliates” over $917 million – most of which was

purportedly for offering/acquisition-related “commissions,” “fees,” “services,” and “acquisition

related expenses.” ARC Advisors’ use of similarly named affiliates to receive this money was

designed to and did make it more difficult to trace. These affiliates included AR Capital; RCS

Securities; RCS Advisory Services, LLC; ARC Advisory Services, LLC; American Realty Capital

Advisors III; American Realty Capital Advisors IV, LLC; American National Stock Transfer, LLC;

and ARC Real Estate Partners, LLC.

        101.   Indeed, in 2012 and 2013, ARCP transferred over $66 million to ARC Advisors,

headed by Schorsch, “and its affiliates” for “acquisition related expenses.” ARCP transferred to

ARC Advisors “and its affiliates” another $240 million in 2013 and 2014 for “subordinated

distribution fees” and “strategic advisory services,” purportedly in connection with ARCP’s mergers

with ARCT III and ARCT IV, as well as an additional $119 million for “general and administrative

expenses” and another $31 million for “management fees.”

        102.   ARCP also paid $7.66 million to RCS Securities for “financial advisory and strategic

services to ARCP prior to the consummation of the ARCT IV Merger,” with ARCT IV paying

another $7.66 million to RCS Securities for the “[p]rovision of financial advisory and strategic

services to ARCT IV prior to the consummation of the ARCT IV Merger.” Put another way, one

Schorsch-controlled entity (RCS Securities) advised both sides of the ARCT IV Merger (the

Company and ARCT IV) – both of which were also Schorsch-controlled entities – and received

$7.66 million from each of them.

        103.   Although modest by comparison, two of ARCP’s final cash transfers to ARC

Advisors “and its affiliates” highlight the motive of Schorsch, Block and others to engage in the

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fraudulent scheme and wrongful course of business detailed herein. In 2014, ARCP paid exactly $20

million to ARC Advisors “and its affiliates” for nothing more than switching from external

management to internal management. Notably, this $20 million was split exactly evenly between

“post-transaction support services” and “furniture, fixtures, and equipment,” for which ARCP itself

acknowledged “there was no evidence of the receipt [of] and it could not support the value of.”

        104.    The various ways defendants received money from ARCP was so complex that a

months-long Audit Committee investigation resulted in no more than vague findings of “certain

payments” to Schorsch-related entities “that were not sufficiently documented or [that] otherwise

warrant scrutiny,” and a lingering question as to “whether [ARCP] has a right to seek recovery for

any other such payments and, if so, its alternatives for recovery.”

        ARCP’s Acquisition Spree Boosted Executive Incentive Payments

        105.    The “acquisition machine” was also a fundamental part of defendants’ efforts to

expand ARCP’s asset base to increase the basis for incentive compensation under the Multi-Year

Outperformance Plan (the “OPP”).

        106.    The OPP has two components, one “absolute” and one “relative,” both measured over

a three-year period in terms of total return to stockholders, including both share price appreciation

and common stock distributions. First, if ARCP achieved a total return to stockholders of more than

7% a year, the plan paid out 4% of the dollar amount of the total return exceeding that benchmark.

Second, if the Company’s annual performance exceeded the median total return of a group of peer

companies by six percentage points or more, then the OPP paid out an additional 4% of that excess

total return.

        107.    With respect to this second component, however, the recipients were to receive 50%

of their incentive compensation even if ARCP posted a cumulative total return of zero percent. That


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is, even with no total return to shareholders whatsoever, the OPP entitled certain defendants,

including Schorsch and Block, to half of this component of their incentive compensation.

        108.   The Compensation Committee of ARCP’s Board of Directors approved the adoption

of the OPP in October 2013, and allocated the bulk of its $120 million executive-incentive

compensation pool – 42.5% – to Schorsch alone (over a five-year period).

        109.   The OPP’s obvious extravagance was not quite enough for defendants Schorsch and

Block, whether by fiat arbitrarily increased the OPP by $100 million simply by altering the plan and

disseminating a Proxy stating that the “maximum award value” of the Plan was $222.1 million.10

ARCP’s shareholders rejected the OPP in a non-binding vote at the Company’s annual meeting on

May 29, 2014. Of the 413 million shares represented, only 32.4% voted in favor of the package.

Nonetheless, the Company apparently ignored the shareholder vote and all indications are that the

plan was later adopted by the ARCP Defendants, notwithstanding its repudiation by ARCP

shareholders, with the arbitrary $100 million OPP pool increase by Schorsch and Block.11

        110.   Schorsch’s compensation from the OPP was in addition to: (i) his guaranteed base

salary for 2014 of $1.1 million; (ii) an estimated $8.8 million of nonguaranteed cash bonus and

equity awards; and (iii) a “retention grant” worth $24.9 million, paid out over nine annual

installments of $2.8 million. Schorsch’s total awarded compensation for 2014 alone was estimated




10
   Although ARCP’s 2014 Form 10-K, filed on March 30, 2015, states that the Compensation
Committee intended the “maximum award pool opportunity” under the OPP to be $120 million, the
Company’s Schedule 14A (Proxy Statement) filed on April 29, 2014 gave a very different
“maximum award value” – $222.1 million.
11
    The December 12, 2014 agreement between Schorsch and the Company in connection with his
resignation, for example, specifically refers to the “Award Agreement dated January 8, 2014, under
the ARCP 2014 Multi-Year Outperformance Plan.”

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at $28.4 million, assuming he achieved only the midrange of the OPP plan, or almost 26 times his

guaranteed salary of $1.1 million.

        AFFO Is the Most Critical Metric for ARCP Investors

        111.   Arguably the single most critical metric relied upon by analysts and investors in

valuing a REIT is a measure of operating performance called AFFO. AFFO is based on another

commonly accepted measure of operating performance for REITs called Funds from Operations, or

FFO.12 The Company defines FFO as “net income or loss computed in accordance with GAAP,

excluding gains or losses from sales of property but including asset impairment write-downs, plus

depreciation and amortization, after adjustments for unconsolidated partnerships and joint ventures.”

AFFO, in turn, equals FFO adjusted to exclude (in the case of ARCP) acquisition-related fees and

expenses, amortization of above-marketplace assets and liabilities, amortization of deferred

financing costs, straight-line rent, non-cash mark-to-market adjustments, amortization of restricted

stock, non-cash compensation and gains and losses. As the Company has acknowledged, AFFO:

        [P]rovides information consistent with management’s analysis of the operating
        performance of the properties. By providing AFFO, ARCP believes it is presenting
        useful information that assists investors and analysts to better assess the
        sustainability of our operating performance. Further, ARCP believes AFFO is
        useful in comparing the sustainability of our operating performance with the
        sustainability of the operating performance of other real estate companies,
        including exchange-traded and non-traded REITs.

        112.   Indeed, ARCP’s financial advisor with respect to its acquisition of Cole Inc.,

Barclays, likewise relied heavily on AFFO in conducting its analysis of selected comparable

12
    Although ARCP does not dismiss the utility of GAAP-related metrics for measuring its
performance, it does point out certain deficiencies in those metrics with respect to REITs. As the
Company noted repeatedly in 2013 and 2014: “Accounting for real estate assets in accordance with
GAAP implicitly assumes that the value of real estate assets diminishes predictably over time. Since
real estate values have historically risen or fallen with market conditions, many industry investors
and analysts have considered the presentation of operating results for real estate companies that use
historical cost accounting to be insufficient by themselves.”

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companies.     For example, according to the Joint Proxy Statement/Prospectus issued to the

stockholders of ARCP and Cole Inc. to solicit their votes in favor of the Cole merger, “Barclays

Capital calculated and compared various financial multiples and ratios of Cole Inc., ARCP and the

selected comparable companies. As part of its selected comparable company analysis, Barclays

Capital calculated and analyzed each company’s ratio of its current stock price to its calendar year

2014 estimated AFFO based on Wall Street research consensus estimates. This resulted in a range of

12.2x to 16.8x estimated AFFO with a median of 14.6x.”

        113.    AFFO is so important in assessing the value and performance of a REIT that analysts,

including Ladenburg, BMO Capital, and JMP Securities, valued ARCP and its shares throughout the

Class Period on a price-to-AFFO basis. For example, based on the Company’s purported “cheap

multiple (11x 2014 AFFO compared to the group at roughly 15x),” JMP Securities characterized

ARCP stock as a “must own” security.

                      ARCP’S FINANCIAL REPORTING DURING
            THE CLASS PERIOD WAS MATERIALLY FALSE AND MISLEADING

        114.    During the Class Period, defendants violated GAAP and SEC regulations governing

the reporting of ARCP’s financial results and the maintenance of an effective system of internal

control over financial reporting and public disclosure.13 Throughout the Class Period, ARCP issued

to investors and filed with the SEC financial statements that ARCP, the ARCP Management

Defendants and the ARCP Director Defendants falsely represented were prepared in conformity with

GAAP. ARCP, the ARCP Management Defendants, and the ARCP Director Defendants also

13
    GAAP are those principles recognized by the accounting profession as the conventions, rules and
procedures necessary to define accepted accounting practice at a particular time. SEC Regulation
S-X (17 C.F.R. §210.4-01(a)(1)) states that financial statements filed with the SEC which are not
prepared in compliance with GAAP are presumed to be misleading and inaccurate, despite
footnote or other disclosure. Regulation S-X requires that interim financial statements must also
comply with GAAP. 17 C.F.R. §210.10-01(a).

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supplemented ARCP’s GAAP financial statement with certain “non-GAAP financial measures”

during the Class Period. These, too, were false and misleading.

        115.     At issue in this case are the Company’s financial statements for the years ended

December 31, 2012 and 2013; the quarters ended March 31, 2013, June 30, 2013, and September 30,

2013; and the quarters ended March 31, 2014 and June 30, 2014 (collectively the “GAAP financial

statements”), as well as certain ARCP pro-forma financial statements (defined below) and “non-

GAAP” financial measures issued by the Company during the Class Period, and Defendants’

statements related thereto.

        116.     ARCP violated GAAP standards and SEC rules because, as ARCP has admitted, the

financial information contained in ARCP’s financial statements was not prepared in conformity with

applicable GAAP and SEC requirements, nor was the financial information a fair presentation of the

Company’s operations. ARCP has also admitted that management was aware of certain errors that

“were intentionally not corrected,” and that other “errors were intentionally made.” ARCP

admittedly understated its operating expenses, as well as its operating and net losses, and

misclassified expenses in order to give the false impression to investors that those expenses were

non-recurring.

        117.     Indeed, ARCP has now admitted that the GAAP financial statements and the non-

GAAP financial measures it issued to investors during the Class Period were materially false and

misleading and “should no longer be relied upon.”14

        118.     In fact, ARCP has acknowledged that the Company’s Class Period financial

statements were riddled with accounting errors and/or financial manipulations, resulting in

14
    The pro-forma financial statements issued by the Company during the Class Period, which were
a function of the GAAP financial statements, were also materially false and misleading and
presented in violation of GAAP.

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understated net losses attributable to stockholders by as much as 26% in certain quarters. In

addition, ARCP has likewise admitted that it overstated its AFFO per share each and every year

during the Class Period, with the overstatement reaching as much as 100% in certain quarters.

        119.   As provided in detail in ¶¶120-196 below, ARCP has restated its GAAP financial

statements to correct myriad GAAP violations and financial reporting improprieties, including:

        •      The Company regularly and improperly classified ordinary business expenses as
               “merger-related,” which inflated AFFO and gave investors the false impression that
               such expenses were not recurring in nature. As restated, the expenses were
               reclassified as general and administrative expenses.

        •      Numerous expenses were recorded in the incorrect accounting period, effectively
               delaying expense recognition and understating reported expenses.

        •      On multiple occasions, the Company improperly classified management fees to
               affiliates as being merger and other non-routine transaction-related, which masked
               related-party transactions, inflated AFFO, and gave investors the false impression
               that such expenses were not recurring in nature. As restated, the expenses were
               reclassified as management fees to affiliates.

        •      On multiple occasions, the Company recorded deferred financing costs as merger and
               other transaction-related expenses.

        •      On multiple occasions, the Company recorded payments to Schorsch-controlled
               entities as being for the acquisition of furniture, fixtures and equipment, and included
               those purported assets on its books, notwithstanding that there was “no evidence of
               the receipt” to substantiate the existence of any such assets. The Company restated
               the payments by writing off the amounts.

        •      Additionally, as detailed in ¶¶182-196, ARCP had inadequate and deficient internal
               controls that permitted the misstatement of ARCP’s financial results and reported
               AFFO. Among these deficiencies were (i) the lack of controls preventing senior
               management from changing ARCP’s financial statements without a proper basis,
               review and approval; and (ii) a lack of control over the formulation of the AFFO and
               the evaluation of the Company’s ability to meet AFFO guidance.

        •      Despite the lack of these key financial controls, in each quarter that ARCP has been a
               public company, Schorsch and Block certified to investors that they had designed,
               reviewed, evaluated and found ARCP’s controls “effective” to prevent the very type
               of misstatements ARCP has now admitted occurred.



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                         ARCP’s Financial Disclosures During the Class Period

        120.    During the Class Period, ARCP filed with the SEC purported GAAP financial

statements.15 In addition, ARCP provided investors with certain “non-GAAP” financial measures

during the Class Period. The objective of non-GAAP measures, which are governed by Regulation

G [17 C.F.R. §244.100], is to facilitate investor understanding and provide better insight into a

company’s operational performance, liquidity or financial position by making various adjustments to

the entity’s reported GAAP results.

        121.    Given the operating characteristics of real estate companies, industry trade group

National Association of Real Estate Investment Trusts, Inc. (“NAREIT”) adopted a financial

measure known as FFO, which provides investors with an industry-wide standard measurement of a

REIT’s operating performance that eliminates certain perceived drawbacks associated with the

presentation of a REIT’s net income as calculated under GAAP. ARCP represented that its

calculation of FFO was consistent with the standards established by the White Paper on FFO

approved by the Board of Governors of NAREIT, which generally defines FFO as net income less:

(i) gains (or losses) from sales of most property; and (ii) depreciation expense on real estate related

assets. Schorsch is a current member of NAREIT’s Public Non-Listed REIT Council Executive

Committee – an advisory body to NAREIT’s Executive Board and senior staff.




15
    Pursuant to Regulation S-X, ARCP also filed with the SEC certain “pro-forma” financial
statements. As provided by Regulation S-X, the objective of pro-forma financial information is to
provide investors with information about the continuing impact of a particular transaction by
illustrating how it might have affected an entity’s historical financial statements had the transaction
been consummated earlier. Accordingly, during the Class Period ARCP filed various pro-forma
financial statements combining the Company’s historical GAAP financial statements with the
historical financial statements of certain of the entities it acquired during the Class Period (the “pro-
forma financial statements”).

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        122.    During the Class Period, ARCP also presented investors with its adjusted FFO, or

AFFO, as an additional supplemental measure of its operating performance. ARCP represented that

the Company’s reported AFFO provided information that assisted investors and analysts in assessing

the sustainability of the Company’s ongoing operating performance by excluding transactions that

were not related to the ongoing profitability of its portfolio of properties. These representations,

which were included in each of the annual and quarterly SEC filings made during the Class Period,

stated, in pertinent part, as follows:

        •       “By providing AFFO, we believe we are presenting useful information that assists
                investors and analysts to better assess the sustainability of our ongoing operating
                performance without the impacts of transactions that are not related to the ongoing
                profitability of our portfolio of properties.”

        •       “We believe AFFO is useful in comparing the sustainability of our operating
                performance with the sustainability of the operating performance of other real
                estate companies that are not as involved in activities which are excluded from our
                calculation.”

        •       “We believe that the use of FFO and AFFO, together with the required U.S. GAAP
                presentations, provide a more complete understanding of our performance relative to
                our peers and a more informed and appropriate basis on which to make decisions
                involving operating, financing, and investing activities.”

        123.    Contrary to these representations, ARCP’s disclosed AFFO did not provide a more

complete understanding of the Company’s performance; rather, it was materially misstated

throughout the Class Period.

                             ARCP’s Admissions that Its GAAP Financial
                           Statements Were Materially False and Misleading

        124.    There is no dispute that ARCP’s Class Period financial statements were false. Nor is

there any dispute that those false financial statements were reported in ARCP’s quarterly and annual

SEC filings, and included in the various offering documents issued during the Class Period.

Defendants have restated ARCP’s prior financial results and admitted that they were materially false


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as to, among other things: (i) ARCP’s operating loss; (ii) loss from continuing operations; (iii) net

loss; and (iv) net loss per share, as detailed in ARCP’s Amended 2013 Form 10-K, Amended 1Q14

Form 10-Q and Amended 2Q14 Form 10-Q. The restatement reveals that the reported net loss was

understated in FY12, FY13 and in four of the six restated quarters.

        125.   The fact that ARCP restated its previous financial statements is an admission that

(i) the financial results originally issued during the Class Period and its public statements regarding

those results were materially false and misleading; and (ii) the financial statements reported during

the Class Period were incorrect based on information available to defendants at the time the results

were originally reported.

        126.   As noted by the SEC, GAAP only allows a restatement of prior financial statements

based upon information “that existed at the time the financial statements were prepared,” and

“restatements should not be used to make any adjustments to take into account subsequent

information that did not and could not have existed at the time the original financial statements were

prepared.”16 The Financial Accounting Standards Board (“FASB”), the governing body that

promulgated the accounting rules regarding restatements of prior financial statements, has defined

“restatement” as “the process of revising previously issued financial statements to reflect the

correction of an error in those financial statements.” See FASB Accounting Standards Codification

(“ASC”) Topic 250-10-20, Accounting Changes and Error Corrections. FASB has also defined the

“errors” that may be corrected through a restatement as fictitious: “an error in recognition,

measurement, presentation, or disclosure in financial statements resulting from mathematical

mistakes, mistakes in the application of GAAP, or oversight or misuse of facts that existed at the

16
   In re Sunbeam Sec. Litig., No. 98-8258-Civ.-Middlebrooks (S.D. Fla. filed Jan. 31, 2002), SEC
Amicus Curiae Brief regarding Defendants Motion In Limine to Exclude Evidence of the
Restatement and the Restatement Report.

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time that the financial statements were prepared.” Id. Indeed, as alleged herein, the restatement at

issue here was, according to defendants, due to accounting errors that were the result of

“intentional” misuse of the facts that were known at the time.

        127.   Before the market opened on October 29, 2014, ARCP issued a release and filed a

Form 8-K with the SEC revealing that the financial information contained in the Company’s 2013

Form 10-K and its previously issued financial statements and other financial information contained

in the Company’s 1Q14 Form 10-Q and 2Q14 Form 10-Q “should no longer be relied upon.” The

release also announced that “intentional” financial statement “errors” caused the Company’s

previously disclosed net loss (on a GAAP basis) for the three and six months ended June 30, 2014 to

be understated.

        128.   Later that day, on a conference call with analysts and investors, Kay acknowledged

that the Company had inappropriately accounted for various accruals and expenses, which affected,

among other things, the Company’s reported GAAP earnings-per-share and AFFO, which were

overstated.

        129.   On March 2, 2015, ARCP amended certain documents previously filed with the

SEC.17 The amended SEC filings confirm that numerous and varied violations of GAAP and

financial reporting improprieties necessitated the restatement of ARCP’s financial statements for the

following seven consecutive reporting periods: (1) the year ended December 31, 2012; (2) the year

ended December 31, 2013; as well as the quarters ended (3) March 31, 2013; (4) June 30, 2013;

(5) September 30, 2013; (6) March 31, 2014; and (7) June 30, 2014. Defendants perpetrated these

17
   The filings amended due to falsity include ARCP’s amended Form 10-K for the year ended
December 31, 2013 (the “2013 Amended Form 10-K”) and its amended Forms 10-Q for the quarter
ended March 31, 2014 (the “1Q14 Amended Form 10-Q”) and the quarter ended June 30, 2014 (the
“2Q14 Amended Form 10-Q”). The 2013 Amended Form 10-K, 1Q14 Amended Form 10-Q and
2Q14 Amended Form 10-Q are collectively referred to herein as the “amended SEC filings.”

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improprieties by deliberately employing a host of accounting schemes and manipulations, the

majority of which can be generally classified under the following categories: (a) understatement of

expenses, (b) improper equity awards for executives containing more favorable provisions than

authorized, (c) misclassification of expenses, and (d) improper accounting for loss on disposal (and

goodwill), which the Company’s deficient controls did not and could not prevent.

                                     ARCP’S Understated Expenses

        130.   In violation of some of the most basic and fundamental rules of accounting,

defendants repeatedly devised ways to artificially understate ARCP’s net losses by improperly,

systematically and continually understating expenses throughout the Class Period. GAAP requires

expenses to be recorded in the period they are incurred. See FASB Statement of Financial

Accounting Concepts No. 5, Recognition and Measurement in Financial Statements of Business

Enterprises, ¶¶85-87, and ASC Topic 450-20, Loss Contingencies. This concept, that expenses be

recorded in the same period in which the corresponding benefit is realized, is one of, if not the, most

basic tenet underlying accrual accounting. ARCP, however, deliberately ignored this most basic rule

and instead systematically engaged in a scheme of improper timing of expense recognition, typically

understating its expenses in a current period and/or improperly delaying expense recognition for as

long as possible.

        131.   ARCP achieved this improper timing of expense recognition in at least the following

ways, as explained more fully below: (a) by improperly deferring current period expenses to later

periods; (b) by improperly capitalizing non-capitalizable expenses as assets and amortizing them

over time, rather than correctly expensing them at the time they were incurred; and (c) by failing to

write down the value of impaired assets.




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               ARCP’s Deferral of Expenses to Later Periods

        132.   Defendants understated the Company’s loss by improperly deferring current period

expenses to subsequent periods, using a variety of methods to defer merger-related expense, tax

liability, bonus accruals, stock award expenses, depreciation and interest expenses.

               Deferred Merger-Related Expenses

        133.   ARCP admittedly failed to record $14.5 million of merger and other non-routine

transaction-related expenses that were “incorrectly excluded” from the 2013 financial statements.

Instead, ARCP delayed recording this expense, and the associated increase in net loss, until 1Q14.

ARCP also failed to record $1.2 million of merger and other non-routine transaction-related

expenses that were incorrectly excluded from the 2Q14 financial statements.

               Deferred Merger-Related Transfer Tax Liability

        134.   ARCP recorded transfer tax liabilities in incorrect accounting periods. ARCP

improperly understated the Company’s loss by excluding certain merger and non-routine transaction-

related expenses during 2013. As it has now admitted, ARCP should have recorded a controlling

interest transfer tax liability upon consummation of the ARCT III Merger and the Company’s merger

with CapLease totaling $1.1 million and $8.9 million for first quarter of 2013 (“1Q13”) and FY13,

respectively. These accruals and corresponding merger and other non-routine transaction-related

expenses were improperly excluded from the 2013 financial statements.

               Deferred Bonus Accruals

        135.   The Company also admittedly failed to record bonus expenses on a timely basis. $1.8

million in bonuses paid in 2014 should have been, but were not, recorded as an accrued expense for

FY13. As such, the Company increased the 2013 bonus accrual and the corresponding general and

administrative expense by this amount in connection with the restatement in accordance with ASC

Topic 710-10, Salaries, Wages, and Bonuses, which requires compensation to be accrued during the
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performance period. Additionally, annual bonuses of $5.8 million should have been accrued for and

expensed as of and for 2Q14, in accordance with the Company’s accounting policy of accruing

estimated bonuses throughout the year, but were not.

                Deferred Accounting for Stock Awards Granted

        136.    Additionally, the documentation of awards granted to ARCP directors provided for

accelerated vesting of shares upon voluntary resignation of the directors. As a result, there was no

required service period for the vesting of such awards and, thus, GAAP required that the full amount

be expensed in accordance with ASC Topic 718, Compensation-Stock Compensation, which requires

such compensation to be expensed over the requisite service period. Thus, awards that vest

immediately should be recognized at the grant date. In connection with the restatement, the

Company corrected this accounting by recording $3.3 million as a general and administrative

expense during 1Q14.

                Deferred General and Administrative Expenses

        137.    ARCP has restated its financial statements to reflect general and administrative

expenses that were recorded in the incorrect period. This correction required the recordation of

additional general and administrative expenses of $1.7 million and $0.9 million in 1Q14 and 2Q14,

respectively.

                Deferred Depreciation and Acquisition Related Expenses

        138.    Another example of ARCP’s delayed expense recognition relates to depreciation and

acquisition related expenses. In connection with the restatement, the Company admitted that its

1Q14 depreciation expense and acquisition related expenses were under expensed by $2.3 million

and $0.6 million, respectively, based on its accounting for certain properties acquired in 2013. The

Company had delayed recording these amounts until 2Q14 instead of in 1Q14. As such, as reflected


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in the restatement, the Company moved the depreciation expense and acquisition-related expense by

the respective amounts from 2Q14 to 1Q14. The Company has also admitted that it did not properly

record $6.0 million of depreciation expense for real estate properties acquired during 1Q14, and that

this too had been expensed in 2Q14 instead of 1Q14. Therefore, the $6.0 million expense was

properly recorded in 1Q14 in the restatement.

               Deferred Interest Expense

        139.   ARCP admittedly understated interest expense related to a swap by $1.4 million in

1Q14, in violation of ASC Topic 835, Interest.

        ARCP Improperly Capitalized Expenses

        140.   ARCP admittedly improperly capitalized non-capitalizable expenses as assets and

improperly amortized them over time rather than properly expensing them at the time they were

incurred. ASC Topic 805, Business Combinations, requires that acquisition-related costs be

recorded as expenses in the periods in which the costs are incurred. By improperly capitalizing these

costs, ARCP recorded assets so that they would slowly be depreciated over the estimated life of the

asset, rather than expensed immediately as incurred as was required, which resulted in an artificial

inflation in ARCP’s reported financial performance.

        141.   On multiple occasions, ARCP recorded the supposed acquisition of furniture, fixtures

and equipment (“FF&E”) from other Schorsch-controlled entities when there was “no evidence” to

substantiate the existence of any such assets. Upon consummation of the ARCT III Merger in 1Q13,

for example, the ARCP Directors caused ARC Properties to enter into an agreement with ARCT III

(an entity owned and controlled by Schorsch) to acquire certain FF&E and other assets. The

Company originally capitalized $4.1 million of FF&E costs and expensed $1.7 million of costs in

1Q13. However, there was no evidence of the receipt of any FF&E and the Company has now


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acknowledged it could not support the value of the FF&E purportedly acquired. The same situation

occurred in 1Q14 upon consummation of the ARCT IV Merger, resulting in the improper

capitalization of $2.1 million in that quarter. As part of the restatement, the Company expensed the

amounts originally capitalized – $4.1 million and $2.1 million – and recognized the expenses in

merger and other non-routine transaction-related expense in 1Q13 and 1Q14, respectively.

         ARCP Failed to Write Down the Value of Impaired Assets

         142.   In violation of ASC 360-10-35-21, Property, Plant and Equipment, ARCP “failed to

monitor events and changes in circumstances that could indicate that the carrying amount of its real

estate and related assets may not be recoverable.” The Company belatedly performed a detailed

analysis of the portfolio in connection with the restatement and noted four properties with

impairment indicators. The Company assessed the recoverability of the carrying amounts of such

properties as of the date in which such indicators existed. Based on this assessment, the Company

noted two properties with carrying amounts in excess of their expected undiscounted cash flows. As

a result, the Company reduced the carrying amount of the real estate and related net assets to their

estimated fair values by recognizing an impairment loss of $2.1 million and $3.3 million for 3Q13

and FY13, respectively, in accordance with ASC 360-10-35-21, which requires that an impairment

loss be measured as the amount by which the carrying amount of a long-lived asset exceeds its fair

value.

         143.   Additionally, ARCP failed to properly classify certain property as held for sale as of

June 30, 2014. GAAP, specifically ASC 360-10-35-43, requires that a long-lived asset classified as

held for sale be measured at the lower of its carrying amount or fair value less cost to sell. In

connection with the restatement, the Company classified the property as held for sale, adjusted the




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fair value of the property at that date and recognized a loss on held for sale assets of $1.8 million for

2Q14.

                     ARCP’s Equity Awards for Defendants Contained Provisions
                            More Favorable than Had Been Authorized

        144.    The ARCP Management Defendants’ self-serving behavior included ARCP’s failure

to comply with boundaries and directives set by the Compensation Committee. As the Company

later admitted, equity awards made to Schorsch and Block in connection with the Company’s

transition from external to internal management were altered such that they “contained vesting

provisions that, as drafted, were more favorable to them than the Compensation Committee had

authorized.” In addition, the OPP approved by the Compensation Committee contained a maximum

award pool opportunity based upon the Company’s equity market capitalization as of the date of the

approval of the OPP in October 2013, equaling approximately $120 million. Yet, the ARCP

Management Defendants implemented the OPP with a maximum award pool approximately $100

million greater, which was derived from a pro forma equity market capitalization as of January 8,

2014.18 These manipulations resulted in a decrease of $8.4 million to stock-based compensation

reported in general and administrative expense for the six months ended June 30, 2014 – $6.3

million in 1Q14 and $2.2 million in 2Q14.

                                       ARCP Misclassified Expenses

        145.    ARCP misled investors by misclassifying ordinary business expenses (i.e., operating

expenses) as merger and other non-routine transaction-related expenses in order to inflate AFFO and

to give the false impression to investors that they were not routine in nature and would not be



18
    The amended 2Q14 Form 10-Q filed March 2, 2015, states that the maximum award pool as
altered by ARCP management was $218.1 million, but ARCP had previously claimed in the April
29, 2014 Proxy Statement that the award pool would be $222.1 million.

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recurring in future accounting periods. Investors would not have considered merger related expenses

as the normal costs the Company incurs as a result of performing its normal business operations, but

rather as one-time expenses that were related to the particular merger(s) entered into during that

period. Such acquisition-related expenses are excluded in the calculation of AFFO. ARCP’s

mischaracterization of operating expenses as expenses that would not continue in future periods

inflated AFFO and misled investors to believe that such expenses would not have a negative impact

on future profits.

        General &Administrative

        146.    The Company improperly classified $75.7 million of general and administrative

expenses as “merger-related” in FY13 – specifically, $5.4 million, $0.4 million, $0.3 million and

$69.6 million in 1Q13, second quarter of 2013 (“2Q13”), third quarter of 2013 (“3Q13”) and fourth

quarter of 2013 (“4Q13”), respectively. ARCP also improperly classified $14.5 million of general

and administrative expenses as “merger-related” in the six months ended June 30, 2014 – $9.4

million in 1Q14 and $5.2 million in 2Q14. As restated, the amounts have been reclassified from

merger and other non-routine transaction-related expenses to general and administrative expenses.

The largest component of the amount misclassified in FY13 was $59.6 million of equity-based

compensation expense relating to the OPP.

        Management Fees

        147.    On multiple occasions, the Company improperly classified management fees paid to

affiliates as being merger and other non-routine transaction-related, which masked related-party

transactions in violation of ASC Topic 850, Related-Party Disclosures, and gave investors the false

impression that such expenses were not routine in nature. The Company identified $13.0 million and

$13.9 million of management fees that were improperly classified as merger and other non-routine


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transaction-related expenses in 1Q13 and 1Q14, respectively. As restated, the expenses were

accurately classified as management fees to affiliates.

        Deferred Financing Costs

        148.    The Company improperly recorded as merger and other non-routine transaction-

related expenses, costs that should have been capitalized as deferred financing costs and amortized

accordingly in the amount of $1.0 million, $1.2 million, $5.9 million, $20.6 million and $0.8 million

for the periods 1Q13, 3Q13, FY13, 1Q14 and 2Q14, respectively. As such, adjustments to properly

record and amortize the deferred financing costs were made in the restatement. As a result of

capitalizing these deferred financing costs, additional interest expense of $0.6 million (1Q13), $2.3

million (FY13), $8.7 million (1Q14), and $1.3 million (2Q14) was recorded. And related

extinguishment of debt expense of $2.3 million and $0.9 million was recorded in 1Q14 and 2Q14,

respectively.

                                ARCP Improperly Accounted for Losses
                                     on Disposals and Goodwill

        149.    Subsequent to the CapLease Merger in 2013, ARCP disposed of certain properties

acquired in that transaction. The disposition of such properties resulted in a net loss on disposition;

however, the Company improperly accounted for such losses by adjusting its purchase price

allocation to increase the amount of goodwill and decrease the associated real estate investments

recorded in connection with the CapLease Merger by $12 million when it reissued its recast financial

statements to reflect the common control merger with ARCT IV. Defendants have admitted that

they lacked the evidence to support adjusting its goodwill as a measurement period adjustment.

As a result, in connection with the restatement, the Company has reversed the measurement period

adjustments that were made to goodwill and related assets and liabilities acquired in the CapLease

Merger and recognized a net loss on the dispositions in 2014 when the dispositions occurred.

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        150.   Similarly, in 1Q14, subsequent to both the CapLease and Cole Mergers, ARCP

disposed of certain properties acquired in those mergers. The disposition of such properties resulted

in a net loss on disposition in 1Q14 and a net gain in 2Q14; however, the Company incorrectly

adjusted its purchase price allocation by increasing its goodwill recorded in connection with the

mergers by $13.6 million in 1Q14 and by $2.6 million in 2Q14. ARCP has admitted that it lacked

the evidence to support adjusting ARCP’s goodwill as a measurement period adjustment. As a

result, the Company reversed the measurement period adjustments that were made to goodwill and

recognized a net loss on dispositions for 1Q14 and a net gain on disposition for 2Q14.

        151.   In addition, ARCP recorded a decrease to goodwill of $0.6 million for FY13 to reflect

valid measurement period adjustments that were identified subsequent to the initial purchase price

allocation. The Company also identified certain liabilities assumed and subsequent payments of

such liabilities by the former manager from the CapLease Merger that were not recorded properly.

To correct the inaccurate accounting, the Company has increased goodwill by $3.0 million,

decreased merger and non-routine transaction-related expenses by $0.7 million and increased the

equity contributions by $2.3 million.

        152.   Furthermore, ARCP assigned goodwill associated with certain mergers to the

Company’s Real Estate Investement segment. However, the Company determined that it did not

properly account for disposals of real estate because a portion of goodwill was not included in the

carrying amount of the associated real estate in its determination of the gain or loss on disposition.

To correct the inaccurate accounting, the Company allocated $7.0 million and $2.2 million of

goodwill to real estate dispositions in 1Q14 and 2Q14, respectively, which increased the loss on

disposition of properties recognized.




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        153.    As admitted by defendants, ARCP’s improper accounting for losses on disposal and

goodwill violated GAAP, including ASC Topic 350, Intangibles – Goodwill and Other, ASC Topic

360, Property, Plant, and Equipment, ASC Topic 610, Other Income, and ASC Topic 805, Business

Combinations.

                                  Additional Accounting Improprieties

        154.    Accompanying the myriad GAAP violations described above, ARCP also engaged in

a number of other accounting improprieties described in their amended SEC filings and corrected by

the restatement including, but not limited to, the following:

        •       failing to properly record distributions on long-term incentive plan units;

        •       improperly classifying amounts due to affiliates as accounts payable and accrued
                expenses, thereby concealing that these expenses were being paid to other Schorsch-
                controlled entities;

        •       improperly excluding certain expenses from the calculation of the net loss
                attributable to non-controlling interest holders;

        •       improperly accounting for gains/losses on derivative instruments (specifically,
                interest rate swaps);

        •       understating interest expense by improperly recording the same credit twice; and

        •       misclassifying interest expense, debt extinguishment costs and loss on disposition of
                properties expenses.

        155.    In addition to the restatement of the consolidated financial statements (i.e., balance

sheets, statements of operations, statements of comprehensive loss, statements of changes in equity

and statements of cash flows), the Company has also restated certain notes to the financial

statements – as guided by ASC Topic 235, Notes to Financial Statements – to reflect the error

corrections noted above.




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                      ARCP’s Admissions that Its Non-GAAP Financial Measures
                     During the Class Period Were Materially False and Misleading

        156.      In the October 29, 2014 release, ARCP announced, among other things, that an error

in the calculation of the Company’s AFFO for 1Q14 (the “1Q14 AFFO error”), which was identified

but “intentionally” left uncorrected, caused that metric to be overstated during that period. ARCP

also announced that “intentional” AFFO errors during 2Q14, coupled with the intentional 2Q14

GAAP errors and the identified 1Q14 AFFO error, caused the Company’s previously disclosed

AFFO for the three and six months ended June 30, 2014 to be overstated (the “2Q14 AFFO fraud”).

        157.      During the October 29, 2014 conference call, Kay provided additional explanation

about the 1Q14 AFFO falsification, stating, in pertinent part, as follows:

        There are two methods which are acceptable - both are acceptable in disclosing and
        presenting non-controlling interest in the AFFO calculation. In the first quarter, our
        Company was using the net method. Under the net method, you present net income
        on a net basis, meaning that any income related or allocated to the noncontrolling
        shareholders, which are those of shareholders in our operating partnership - we have
        a traditional OP structure, UPREIT structure. And so those OP or noncontrolling
        interest shareholders represent roughly 3.5% of the total shares outstanding.

        Under the net method, we would present the top net income at 96.5%, and add back
        roughly 96.5% of each of the add-backs to come to AFFO. You would then divide
        AFFO by just the common shareholder numbers, the weighted average common
        shares, to get to an AFFO per share number. You can see that depicted in the table
        that is in both the 8-K as well as at the back of the press release.

        The impact of that for the first quarter of the adjustment - what happened was when
        the add-backs were done, they were done at 100% instead of 96 - roughly 96.5%.
        That created too much add-back, or presentation for AFFO would be too high by
        roughly $17.6 million. That was a roughly $0.03 overstatement of AFFO per share
        for the quarter in that presentation.

        158.      With respect to the 2Q14 AFFO fraud, the October 29, 2014 release also stated, in

pertinent part:

        [B]ased on the preliminary findings of the investigation, the Audit Committee
        believes that the Company incorrectly included certain amounts related to its non-
        controlling interests in the calculation of adjusted funds from operations (“AFFO”), a
        non-U.S. GAAP financial measure, for the three months ended March 31, 2014 and,
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        as a result, overstated AFFO for this period. The Audit Committee believes that this
        error was identified but intentionally not corrected, and other AFFO and financial
        statement errors were intentionally made, resulting in an overstatement of AFFO and
        an understatement of the Company’s net loss for the three and six months ended
        June 30, 2014.

        159.   In the amended SEC filings, ARCP has admitted that it materially misstated its FFO

and AFFO for each and every year that ARCP has been a public company, that is, fiscal years

2011, 2012 and 2013, and interim quarters ended March 31, 2013, June 30, 2013, September 30,

2013, March 31, 2014 and June 30, 2014.

        160.   In addition to repeating many of the admissions set forth in the October 29, 2014

release, the amended SEC filings acknowledge that the AFFO guidance ARCP issued to investors

during the Class Period was without reasonable basis, as “the Company did not have appropriate

controls over the formulation of AFFO per share guidance or the periodic re-assessment of the

Company’s ability to meet its guidance.”

        161.   The 2013 Amended Form 10-K included, in pertinent part, the following admissions

with respect to the Company’s previously disclosed AFFO:

        The investigation found that Adjusted Funds From Operations (“AFFO”), a non-
        GAAP measure presented in the Company’s SEC filings and other financial
        communications, was overstated for fiscal year 2011, fiscal year 2012, fiscal year
        2013 (including each fiscal quarter of 2013) and, as previously disclosed in the
        October 29 8-K, the first two fiscal quarters of 2014. Senior management
        considered AFFO to be an important metric used by analysts and investors in
        evaluating the Company’s performance and, for the first two quarters of 2014,
        sought to maintain reported AFFO within the 2014 guidance range of $1.13 to
        $1.19 per share announced at the end of 2013. The overstatements of AFFO were
        due in part to errors in reflecting amounts attributable to the limited partnership
        interests in the Company’s operating partnership, ARC Properties Operating
        Partnership, L.P., held by holders other than the Company (known as non-controlling
        interests or “NCI”). Prior to the filing of the Quarterly Report on Form 10-Q for
        the first quarter of 2014, some members of senior management were aware of NCI
        errors but allowed the report to be filed without completing an analysis of the
        errors. In the Company’s Quarterly Report on Form 10-Q for the second quarter of
        2014, as previously reported in the October 29 8-K, the NCI errors in the first
        quarter were intentionally not corrected, and other AFFO and financial statement
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        errors were intentionally made, resulting in an overstatement of AFFO and an
        understatement of the Company’s net loss for the three and six months ended
        June 30, 2014.

        162.     ARCP’s admissions that “some members of senior management” were “aware” of the

errors is consistent with McAlister’s Verified Petition, identifying those members of senior

management to include Schorsch, Kay, Block and McAlister.

        163.     The amended SEC filings also disclose that the AFFO that ARCP, the ARCP

Management and the ARCP Director Defendants reported to investors during the Class Period was

false because:

        •        “The Company failed to implement and maintain an effective internal control
                 environment that had appropriate processes to manage the changes in
                 business conditions resulting from the volume and complexity of its 2013 and
                 first quarter 2014 transactions, combined with the pressure of market
                 expectations inherent in announcing AFFO per share guidance for 2014”;

        •        “[T]he Company has determined that it is appropriate to include certain
                 adjustments that were not included in the previously reported AFFO
                 calculation”; and

        •        “[T]he Company has determined that it was not appropriate to adjust for
                 operating fees incurred to affiliates as these expenses represent operating
                 expenses that are typical for the industry.”

        164.     However, in each quarter during the Class Period, ARCP’s annual and quarterly SEC

filings contained certifications signed by Schorsch and Block pursuant to §302 of Sarbanes Oxley

Act of 2002 (“SOX”), attesting that the financial information contained in the filing was true, that it

did not omit material facts, and that the Company’s internal and disclosure controls were effective.

The certification stated:

        I, [Schorsch and Block], certify that:

        1.       I have reviewed this . . . Report . . . of [ARCP];

        2.       Based on my knowledge, this report does not contain any untrue statement of
                 a material fact or omit to state a material fact necessary to make the

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              statements made, in light of the circumstances under which such statements
              were made, not misleading with respect to the period covered by this report;

        3.    Based on my knowledge, the financial statements, and other financial
              information included in this report, fairly present in all material respects the
              financial condition, results of operations and cash flows of the registrant as
              of, and for, the periods presented in this report;

        4.    The registrant’s other certifying officer and I are responsible for establishing
              and maintaining disclosure controls and procedures (as defined in Exchange
              Act Rules 13a-15(e) and 15d-15(e)) and internal control over financial
              reporting (as defined in Exchange Rules 13a-15(f) and 15d-15(f)) for the
              registrant and have:

              (a)     Designed such disclosure controls and procedures, or caused such
                      disclosure controls and procedures to be designed under our
                      supervision, to ensure that material information relating to the
                      registrant, including its consolidated subsidiaries, is made known to
                      us by others within those entities, particularly during the period in
                      which this report is being prepared;

              (b)     Designed such internal control over financial reporting, or caused
                      such internal control over financial reporting to be designed under our
                      supervision, to provide reasonable assurance regarding the reliability
                      of financial reporting and the preparation of financial statements for
                      external purposes in accordance with generally accepted accounting
                      principles;

              (c)     Evaluated the effectiveness of the registrant’s disclosure controls and
                      procedures and presented in this report our conclusions about the
                      effectiveness of the disclosure controls and procedures, as of the end
                      of the period covered by this report based on such evaluation; and

              (d)     Disclosed in this report any change in the registrant’s internal control
                      over financial reporting that occurred during the registrant’s most
                      recent fiscal quarter (the registrant’s fourth fiscal quarter in the case
                      of an annual report) that has materially affected, or is reasonably
                      likely to materially affect, the registrant’s internal control over
                      financial reporting; and

        5.    The registrant’s other certifying officer and I have disclosed, based on our
              most recent evaluation of internal control over financial reporting, to the
              registrant’s auditors and the audit committee of the registrant’s board of
              directors (or persons performing the equivalent functions):

              (a)     All significant deficiencies and material weaknesses in the design or
                      operation of internal control over financial reporting which are
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                       reasonably likely to adversely affect the registrant’s ability to record,
                       process, summarize and report financial information; and

               (b)     Any fraud, whether or not material, that involves management or
                       other employees who have a significant role in the registrant’s
                       internal control over financial reporting.

        165.   Likewise, the ARCP’s annual and quarterly SEC filings represented that:

        In accordance with Rules 13a-15(b) and 15d-15(b) of the Securities Exchange Act, as
        amended (the “Exchange Act”), we, under the supervision and with the participation
        of our Chief Executive Officer and Chief Financial Officer, carried out an evaluation
        of the effectiveness of our disclosure controls and procedures (as defined in Rules
        13a-15(e) and 15d-15(e) of the Exchange Act) as of the end of the period covered by
        this . . . [report] and determined that the disclosure controls and procedures are
        effective . . . .

        166.   These representations concerning the Company’s internal and disclosure controls, and

Schorsch and Block’s certifications pursuant to SOX, were repeated, in all material respects, in the

Form 10-Ks and 10-Qs that ARCP filed with the SEC during the Class Period, as detailed in ¶¶201,

203, 208, 213, 217, 235, 239, 250, 258, 285, 292, 307.

        167.   According to ARCP’s amended SEC filings, the AFFO and financial statement errors

were caused by the Company’s inadequate and deficient control environment. The ARCP

Management Defendants failed to establish key controls necessary to ensure that the Company’s

financial reporting complied with GAAP and that the financial information provided to investors was

not materially misstated. The ARCP Management Defendants failed to: (1) establish controls

designed to ensure that accounting employees would not be subject to pressure to make

inappropriate decisions affecting the financial statements and/or the financial statement components

of AFFO; (2) establish controls designed to ensure that accounting concerns raised by employees

would be timely and appropriately addressed by senior management; (3) establish controls designed

to prevent changes to the financial statements and supporting financial information by senior

management without the proper levels of review, support and approval; (4) establish appropriate

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policies and procedures surrounding the accounting treatment and classification of merger-related

expenses, goodwill, impairments and purchase accounting; and (5) emphasize the importance of

adherence to the Company’s Code of Business Conduct and Ethics.

                                  ARCP’s Admission that Its Financial
                                    Misstatements Were Material

        168.    ARCP has now restated its financial statements for FY12, FY13, and 1Q13-3Q13,

1Q14 and 2Q14, due to numerous and varied violations of GAAP and financial reporting

improprieties. ARCP’s financial restatements establish that the GAAP financial statements and non-

GAAP measures it issued to investors during the Class Period were materially misstated, as only

materially misstated financial statement and measures need be corrected and re-reported on a

retroactive basis.19

        169.    ARCP’s misstatements of certain performance measures reported in the Company’s

GAAP financial statements during the Class Period, due to its GAAP violations and financial

reporting improprieties, caused operating loss to be understated by as much as 15% and net loss

attributable to stockholders to be understated as much as 26%. Additionally, the cash flow used by

the Company’s operations was misstated by -27.21% and -13.60% in 1Q13 and 1Q14, respectively.

        170.    In addition, ARCP has admitted that its previously issued non-GAAP FFO and AFFO

financial measures for each of the above periods, as well as for the fiscal year ended December 31,

2011, were materially misstated. The misstatements of ARCP’s reported AFFO during the Class

Period, resulting from its violations of GAAP and financial reporting improprieties (including its

lack of adequate and effective internal financial controls), are illustrated in the following chart:

19
    See, e.g., ASC Topic 250, Accounting Changes and Error Corrections, SEC Staff Accounting
Bulletin Topic 1-M, Materiality, and SEC Staff Accounting Bulletin Topic 1-N, Considering the
Effects of Prior Year Misstatements when Quantifying Misstatements in Current Year Financial
Statements.

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                             American Realty Capital Properties, Inc.
                                                               20
                               Fiscal Year AFFO Misstatement

                                       FYE           FYE         FYE        FQE          FQE
                                     12/31/11      12/31/12    12/31/13    3/31/14      6/30/14
 AFFO Per Share – Reported                $.60          $.47       $1.07        $.26          $.24
 AFFO Per Share – Restated                $.56          $.46        $.87        $.19          $.21
 % Overstated                            7.1%          2.2%       23.0%       36.8%         14.3%

        171.   These misstatements of the Company’s income-related and operating cash flow-

related GAAP financial measures, as well as its AFFO, are both quantitatively and qualitatively

material, thereby causing the Company’s reported operating performance during the Class Period to

be materially misstated.

        172.   GAAP, as articulated in the SEC’s Codification of Staff Accounting Bulletins Topic

1M (“CSAB Topic 1M”), provides that materiality in the context of a financial misstatement not

only includes an assessment of the magnitude of the misstatement in percentage terms, but also

requires an assessment of the factual context in which the user of financial statements would view

the financial misstatement (referred to in accounting and auditing literature as “quantitative” and

“qualitative” factors).

        173.   Thus, CSAB Topic 1M provides: “there are numerous circumstances in which

misstatements below 5% could well be material. Qualitative factors may cause misstatements of

quantitatively small amounts to be material.”

        174.   For example, CSAB Topic 1M notes that even quantitatively small financial

misstatements may be material if management has intentionally made adjustments to various

financial statement items in a manner inconsistent with GAAP. Accordingly, CSAB Topic 1M

cautions that SEC registrants “should not assume that even small intentional misstatements in

20
   Amounts include the effects of the ARCT III and ARCT IV mergers and thus differ from the
amounts originally reported prior to the ARCT III Merger in February 2013 and the ARCT IV
Merger in January 2014.

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financial statements” are immaterial. Here, ARCP has admitted that its financial misstatements

during the Class Period were caused by “intentional” acts of the Company’s senior management.

        175.     In addition, CSAB Topic 1M provides that the “volatility of the price of a registrant’s

securities in response to certain types of disclosures may provide guidance as to whether investors

regard quantitatively small misstatements as material.” When ARCP first disclosed its financial

misstatements to the market, the price of its common stock declined more than 19%, and its market

capitalization collapsed by more than $3 billion, further evidencing the qualitative materiality of the

misstatements.

                                    ARCP’s Financial Misstatements
                                  Were the Result of Intentional Conduct

        176.     The intentionality of ARCP’s financial misstatements during the Class Period is not

in doubt, as the Company has admitted:

        •        Senior management participated in the intentional, material misstatement of ARCP’s
                 operating performance measures, including the material misstatement of various
                 GAAP income and cash flow-related measures;

        •        At least five of its senior executives – Block, McAlister, Schorsch, Kay, Beeson –
                 including those directly responsible for its accounting, were all fired or “stepped
                 down” within weeks of the revelation of the accounting fraud at ARCP:

                        On October 29, 2014, ARCP announced it had “replaced” Block (Executive
                        Vice President, CFO, Treasurer and Secretary) and McAlister (Senior Vice
                        President and CAO).

                        On December 12, 2014, Schorsch “resigned” as Executive Chairman and a
                        director of ARCP.

                        On December 15, 2014, Kay “resigned” as CEO and a director of the
                        Company and Beeson “resigned” as President and COO of the Company.

        •        ARCP’s Audit Committee hired legal and accounting advisors to assist it with an
                 “investigation” into the concerns about the Company’s financial reporting and
                 internal controls;



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        •      The Commonwealth of Massachusetts (the “COM”), SEC and Department of Justice
               (“DOJ”) are conducting on-going investigations into matters associated with the
               Company’s false financial reporting;

        •      ARCP’s previously issued financial measures were materially misstated due to no
               less than seventy GAAP violations and financial reporting improprieties; and

        •      ARCP’s disclosure controls and internal controls over its financial reporting were
               riddled with material weaknesses that contributed to the material misstatement of the
               Company’s financial statements and AFFO.

        177.   Indeed, the duration and magnitude of ARCP’s financial misstatements, the Audit

Committee’s retention of legal and accounting advisors to assist it with its ongoing investigation, the

ongoing investigations launched by the COM, SEC and DOJ, the Company’s wholesale management

“replacements” and “resignations,” and the numerous and “intentional” accounting improprieties and

its disclosure control and internal control deficiencies evidence fraudulent financial reporting, rather

than mere innocent recordkeeping “errors.”

        178.   In addition, as detailed in ¶¶346-352, in her defamation lawsuit, McAlister has

alleged that in February 2014, she informed Schorsch, Kay and Block about the financial

improprieties now admitted by defendants. Nonetheless, ARCP continued to engage in the

fraudulent financial reporting alleged herein at the “specific direction of defendants Schorsch and

Kay.”

        179.   Moreover, the bad faith of ARCP and the ARCP Management Defendants is

consistent with the following:

        •      agreements entered into between ARCP and ARCP Management Defendants,
               including Schorsch and Block, that entitled them to receive equity awards that were
               at least $100 million more lucrative to them than the amount the Compensation
               Committee had previously authorized;

        •      The failure to maintain appropriate controls to assess, authorize and monitor related-
               party transactions or validate the appropriateness of related-party transactions;



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        •       repeated payments to affiliates of defendants for certain FF&E “assets” totaling
                approximately $8 million, where there was “no evidence of receipt” of any such
                property;

        •       the absence of appropriate controls to ensure that ARCP’s SEC filings were reviewed
                on a timely basis by senior management, or that significant changes to amounts or
                other disclosures contained in a document that had previously been reviewed and
                approved by the Audit Committee were brought to the attention of the Audit
                Committee or its Chair for review and approval before the document was filed with
                the SEC; and

        •       the failure to maintain effective controls or develop standardized policies and
                procedures for “critical” accounting estimates and non-routine transactions.

                      ARCP’s Contravention of GAAP Violated SEC Regulations

        180.    By failing to file financial statements with the SEC that complied with GAAP as

discussed herein, ARCP disseminated financial statements that were presumptively misleading and

inaccurate according to SEC Regulation S-X (17 C.F.R. §210.4-01(a)(1)). In addition, ARCP, ARC

Properties, the ARCP Management Defendants, and the ARCP Director Defendants violated the

dictates of §13 of the Exchange Act, which provides:

        Every issuer which has a class of securities registered pursuant to section 12 of this
        title and every issuer which is required to file reports pursuant to section 15(d) of this
        title shall –

        A.      make and keep books, records, and accounts, which, in reasonable detail,
        accurately and fairly reflect the transactions and dispositions of the assets of the
        issuer; and

        B.     devise and maintain a system of internal accounting controls sufficient to
        provide reasonable assurances that –

                i.     transactions are executed in accordance with management’s general or
        specific authorization;

                ii.     transactions are recorded as necessary (I) to permit preparation of
        financial statements in conformity with generally accepted accounting principles or
        any other criteria applicable to such statements, and (II) to maintain accountability
        for assets;

               iii.    access to assets is permitted only in accordance with management’s
        general or specific authorization; and
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                iv.    the recorded accountability for assets is compared with the existing
        assets at reasonable intervals and appropriate action is taken with respect to any
        differences.

        181.    In addition, the Company’s Form 10-Ks and 10-Qs filed with the SEC during the

Class Period were also materially false and misleading in that they failed to disclose known trends,

demands, commitments, events, and uncertainties that were reasonably likely to have a material

adverse effect on the Company’s liquidity, net sales, revenues and income from continuing

operations, as required by Item 303 of Regulation S-K.

                           ARCP’s Material Weaknesses in Internal Controls

        182.    Section 13(b)(2) of the Exchange Act states, in pertinent part, that every reporting

company must: “(a) make and keep books, records and accounts which, in reasonable detail,

accurately and fairly reflect the transactions and dispositions of the assets of the issuer; and

(b) devise and maintain a system of internal accounting controls sufficient to provide reasonable

assurances that . . . transactions are recorded as necessary . . . to permit [the] preparation of financial

statements in conformity with [GAAP].” These provisions require an issuer to employ and supervise

reliable personnel, to maintain reasonable assurances that transactions are executed as authorized, to

properly record transactions on an issuer’s books and, at reasonable intervals, to compare accounting

records with physical assets. SEC v. World-Wide Coin Investments, Ltd., 567 F. Supp. 724, 746, 750

(N.D. Ga. 1983).

        183.    Internal control is a process designed by, or under the supervision of, the CEO and

CFO and carried out by a company’s board of directors, management and other personnel, to provide

reasonable assurance that, among other things, the financial statements are reliable and accurate and

that a company complies with applicable laws and regulations.




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          184.   As acknowledged in the Company’s SEC filings, management is responsible for

establishing and maintaining adequate internal control over financial reporting as defined in

§§13a-15(f) and 15d-15(f) under the Exchange Act.

          185.   Under §302 of the SOX, Schorsch and Block were required to certify that: they are

responsible for establishing, maintaining and regularly evaluating the effectiveness of the issuer’s

internal controls; they have made certain disclosures to the issuer’s auditors and the audit committee

of the board of directors about the issuer’s internal controls; and they have included information in

the issuer’s quarterly and annual reports about their evaluation.

          186.   Under §906 of the SOX, Schorsch and Block were required to certify each periodic

report containing financial statements filed by an issuer with the SEC pursuant to §§13(a) or 15(d) of

the Exchange Act, 15 U.S.C. §78m(a) or §78o(d), and that information contained in the periodic

report fairly presents, in all material respects, the financial condition and results of operations of the

issuer.

          187.   Under Item 308, Internal Control Over Financial Reporting, of Regulation S-K,

management is required to provide a report of the registrant’s internal control over financial

reporting (as defined in Rule 13a-15(f) or Rule 15d-15(f) under the Exchange Act) that contains:

(a) a statement of management’s responsibility for establishing and maintaining adequate internal

control over financial reporting for the registrant; (b) a statement identifying the framework used by

management to evaluate the effectiveness of the registrant’s internal control over financial reporting

as required by paragraph (c) of §13a-15 or §15d-15 under the Exchange Act; (c) management’s

assessment of the effectiveness of the registrant’s internal control over financial reporting as of the

end of the registrant’s most recent fiscal year, including a statement as to whether or not internal

control over financial reporting is effective – this discussion must include disclosure of any material

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weakness in the registrant’s internal control over financial reporting identified by management, and

management is not permitted to conclude that the registrant’s internal control over financial

reporting is effective if there are one or more material weaknesses in the registrant’s internal control

over financial reporting; and (d) a statement that the registered public accounting firm that audited

the financial statements included in the annual report containing the disclosure required by this Item

has issued an attestation report on management’s assessment of the registrant’s internal control over

financial reporting.

        188.   ARCP has admitted that its internal controls over finance reporting were plagued with

material weaknesses. A material weakness is a “deficiency, or a combination of deficiencies, in

internal control over financial reporting, such that there is a reasonable possibility that a material

misstatement of the Company’s annual or interim financial statements will not be prevented or

detected on a timely basis,” as defined by Public Company Accounting Oversight Board (“PCAOB”)

Auditing Standard (“AS”) No. 5 §A7.

        189.   Among the key controls ARCP has admitted were improperly designed or

implemented are controls (i) to ensure that the information contained in the Company’s periodic

reports and other SEC filings correctly reflected the information contained in the Company’s

accounting records and other supporting information and that AFFO per share was correctly

calculated; (ii) to ensure that its SEC filings were reviewed on a timely basis by senior management

or that significant changes to amounts or other disclosures contained in a document that had

previously been reviewed and approved by the Audit Committee were brought to the attention of the

Audit Committee or its Chair for review and approval before the documents were filed with the

SEC; and (iii) over the formulation of AFFO per share guidance or the periodic re-assessment of the

Company’s ability to meet its guidance.

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        190.    ARCP has further admitted that there were material weaknesses in its internal control

over financial reporting relating to (i) related-party transactions and conflicts of interest; (ii) grants

of equity-based compensation; (iii) business process-level control activities and financial reporting

controls; (iv) critical accounting estimates and non-routine transactions; (v) cash reconciliations and

monitoring; (vi) information technology controls; and (vii) the control environment.

        191.    With regard to the related-party transactions and conflicts of interest, ARCP did not

maintain appropriate controls to assess, authorize and monitor related-party transactions, validate the

appropriateness of such transactions or manage the risks arising from contractual relationships with

affiliates. Without the appropriate controls, ARCP made certain payments to the ARC Advisors, and

its affiliates that were not sufficiently documented or that otherwise warrant scrutiny.

        192.    With regard to the failure to maintain appropriate controls over various grants of

equity-based compensation, in 4Q13, the Company entered into employment agreements with

Schorsch and Block and also approved the OPP pursuant to which awards were made to them on

January 8, 2014. Without the appropriate controls, these documents contained terms that were

inconsistent with the terms authorized by the Compensation Committee. Additionally, the Company

did not obtain copies of or administer the equity awards made by means of block grants allocated by

ARC Advisors and its affiliates, nor did ARCP review the awards for consistency with the

Compensation Committee’s authorization.

        193.    Further, the material weakness resulting from business process-level control activities

and financial reporting controls affected the accounting close process and critical accounting

estimates and non-routine transactions. ARCP did not have consistent policies and procedures

relating to purchase accounting, accounting for gain or loss on disposition and testing for

impairment. In addition, senior management did not establish clear reporting lines and job

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responsibilities or promote accountability over business process control activities. The Company did

not maintain effective controls or develop standardized policies and procedures for critical

accounting estimates and non-routine transactions, including management review and approval of

the accounting treatment of all critical and significant estimates on a periodic basis.

        194.   ARCP violated §13(b)(2)(A) of the Exchange Act by failing to maintain accurate

records concerning its expenses and net income. Moreover, ARCP’s inaccurate and false records

were not an isolated or unique instance because they were improperly maintained for multiple years

and reporting periods, basically since the Company’s inception.

        195.   In addition, ARCP violated §13(b)(2)(B) of the Exchange Act by failing to implement

procedures reasonably designed to prevent accounting irregularities. For example, ARCP failed to

ensure that controls were in place to develop necessary accounting policies and procedures, to

properly monitor related-party transactions, to review equity awards for compliance with authorized

terms, and to review and approve critical and significant estimates. It failed to ensure that

transactions were reported in accordance with its own policies and with GAAP.

        196.   Schorsch and Block provided the required SOX certifications described in ¶¶164-165,

as well as the report of their “assessment” of the effectiveness of the Company’s internal controls

during each quarter of the Class Period.

DEFENDANTS’ DISSEMINATION OF FALSE AND MISLEADING STATEMENTS IN
      FURTHERANCE OF THEIR WRONGFUL COURSE OF CONDUCT

        ARCP Initial Public Offering

        197.   The Class Period begins on September 7, 2011 with the closing of ARCP’s IPO of its

common stock through a registration statement and prospectus (“IPO Registration Statement”),

selling 5.58 million shares of common stock at $12.50 per share for proceeds of $69,750,000. The

IPO Registration Statement noted that FFO, was “a useful indicator of the performance of a REIT”

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and “that the use of FFO, together with the required GAAP presentations, provide a more complete

understanding of our performance relative to our peers and more informed and appropriate bases on

which to make decisions involving operating, financing and investing activities.”

        198.    The IPO Registration Statement also stated that ARCP had prepared its financial

statements “in conformity with accounting principles generally accepted in the United States of

America requires management to make estimates and assumptions that affect the reported amounts

of assets and liabilities and disclosure of contingent assets and liabilities at the date of the financial

statements and the reported amounts of revenues and expenses during the reporting period.”

        199.    On November 2, 2011, ARCP closed an offering of 1.5 million newly issued shares

of ARCP common stock at $10.50 per share.

        Third Quarter 2011 Financial Results

        200.    On November 14, 2011, ARCP issued a release announcing its financial results for

the third quarter, ended September 30, 2011 (“3Q11”). The Company reported 3Q11 AFFO of

$287,000, or $0.17 per share, and a net loss of ($634,000) or ($0.42) per share.

        201.    On November 14, 2011, ARCP also filed with the SEC its Form 10-Q for the period

ended September 30, 2011 (the “3Q11 Form 10-Q”). The 3Q11 Form 10-Q was signed by Schorsch

and Block and reiterated ARCP’s previously reported financial results. It also represented that these

financial results were accurate and presented in accordance with GAAP. In addition, the 3Q11 Form

10-Q (and each of ARCP’s quarterly and annual reports filed with the SEC described herein)

contained certifications signed by Schorsch and Block pursuant to §302 of the SOX, which certified:

        •       “This report does not contain any untrue statement of a material fact or omit to state a
                material fact necessary to make the statements made, in light of the circumstances
                under which such statements were made, not misleading with respect to the period
                covered by this report.”



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        •      “Based on [their] knowledge, the financial statements, and other financial
               information included in this report, fairly present in all material respects the financial
               condition, results of operations and cash flows of the registrant as of, and for, the
               periods presented in this report.”

        •      With respect to ARCP’s internal controls, that they personally: (i) were responsible
               for establishing and maintaining disclosure controls and procedures; (ii) designed or
               caused ARCP’s controls or procedures to be designed to ensure that material
               information relating to ARCP and its consolidated subsidiaries was made known to
               them by others within those entities; (iii) designed or caused ARCP’s controls over
               financial reporting to provide reasonable assurance regarding the reliability of
               financial reporting and the preparation of financial statements for external purposes
               in accordance with GAAP; and (iv) evaluated the effectiveness of the ARCP’s
               disclosure controls and procedures and presented in ARCP’s quarterly and annual
               filings their conclusions about the effectiveness of the disclosure controls and
               procedures.

        Fourth Quarter 2011 Financial Results

        202.   On March 19, 2012, ARCP issued a release announcing its financial results for the

fourth quarter, ended December 31, 2011 (“4Q11”). The Company reported AFFO of $1,491,000,

or $0.23 per share, and a net loss of ($1,117,000), or ($0.17) per share. The release also noted that

ARCP’s “2012 AFFO should range from $0.94 to $0.96 per share.”

        203.   That same day, ARCP filed with the SEC its Form 10-K for the fiscal year ended

December 31, 2011 (the “2011 Form 10-K”). The 2011 Form 10-K was signed by Schorsch, Block,

Weil, Rendell and Gong, and reiterated ARCP’s previously reported financial results. It also

represented that these financial results were accurate and presented in accordance with GAAP. The

2011 Form 10-K further stated that the Company’s internal controls were effective and that any

material changes to the Company’s internal controls over financial reporting were disclosed therein.

The Form 10-K included certifications by Schorsch and Block pursuant to SOX, which were

identical in all material respects to the certifications quoted in ¶¶164-165.




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         204.   The statements made above in ¶¶197-203 were each false and misleading when made

in that each omitted and/or misrepresented material facts. The true facts, which were then known to

or recklessly disregarded by ARCP, Schorsch and Block, were:

                (a)    that as to ¶¶200-203, reported 3Q11 and 4Q11 AFFO of $287,000 and $1.49

million, respectively, were false and the product of fraudulent accounting manipulations, including

changes made to accounting entries without evidentiary support;

                (b)    that as to ¶¶200-203, the financial statements and/or AFFO calculations in

ARCP’s 3Q11 Form 10-Q and 2011 Form 10-K were false and misleading, as detailed in ¶¶114-181,

infra;

                (c)    that ARCP lacked the internal controls necessary to ensure that: (i) ARCP’s

SEC filings were timely reviewed for accuracy, (ii) the estimates used to formulate ARCP’s AFFO

were reasonable and appropriately calculated; (iii) ARCP’s reported AFFO was accurate; (iv)

ARCP’s formulation of AFFO guidance was reasonable; and (v) ARCP could assess, authorize and

monitor related-party transactions involving millions of dollars in payments to ARCP’s external

manager, ARC Advisors, and its affiliates, which entities were owned and controlled by ARCP

senior insiders, including Schorsch;

                (d)    that Schorsch and Block were aware from their review and evaluation of the

effectiveness of the Company’s internal controls and financial reporting processes that the Company

lacked reliable internal controls over financial reporting;

                (e)    that as a result of (a)-(d), above ARCP, Schorsch and Block had no reasonable

basis to believe, and in fact did not believe, that ARCP’s financial statements were accurate and free

from material misstatements; and




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               (f)     that as to ¶¶200-203, as a result of (a)-(e), above, ARCP, Schorsch and Block

had no reasonable basis to believe, and did not in fact believe, their March 19, 2012 AFFO guidance

of $0.94 - $0.96 per share.

        First Quarter 2012 Financial Results

        205.   On May 8, 2012, ARCP issued a release announcing its financial results for the first

quarter, ended March 31, 2012 (“1Q12”). ARCP reported a 1Q12 AFFO of $1,583,000, or $0.22 per

share, and a net loss of ($630,000), or ($0.09) per share. Schorsch was quoted in the release, stating:

        We continue to execute on our strategy of assembling a well-diversified portfolio of
        investment properties containing vintage net leases at attractive prices. . . . We are
        focused on increasing core earnings within our expanding portfolio. . . . We believe
        the corresponding results to ARCP’s earnings are accretive to our existing common
        stockholders.

        206.   The release also announced that ARCP was increasing its 2012 estimated AFFO,

stating that in “March 2012, the Company estimated that 2012 AFFO should range from $0.94 to

$0.96 per share . . . . [T]he Company is revising its 2012 estimated AFFO per share range to $1.04

to $1.07.”

        207.   Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s 1Q12 financial results. During the conference call, Schorsch commented that ARCP’s

“external management structure allows us to keep overhead low.” Additionally, in describing the

revision to AFFO estimates, Schorsch stated that his upward adjustment of the Company’s FY12

AFFO guidance by 11.5% was “due to the fact that the acquisitions that we have made continue to

perform.”

        208.   On May 9, 2012, ARCP filed its Form 10-Q for the period ended March 30, 2012

with the SEC (the “1Q12 Form 10-Q”). The 1Q12 Form 10-Q was signed by Schorsch and Block

and reiterated ARCP’s previously reported financial results. It also represented that the financial


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results contained therein were accurate and presented in accordance with GAAP, that the Company’s

internal controls were effective and that any material changes to the Company’s internal controls

over financial reporting were disclosed. The 1Q12 Form 10-Q also included Schorsch’s and Block’s

certifications pursuant to SOX, identical in all material respects to the certification quoted in ¶¶164-

165.

        209.   On or about June 18, 2012, ARCP raised $30.5 million via the sale of 3.25 million

newly issued shares of ARCP common stock at $10 per share (the “June 2012 Equity Offering”),

pursuant to a false registration statement filed May 25, 2012, along with a prospectus filed June 14,

2012, which was incorporated therein (collectively, the “June 2012 Equity Offering Documents”).

The June 2012 Equity Offering Documents included ARCP’s 1Q12 financial results, as well as its

1Q12 AFFO.

        210.   The statements detailed above in ¶¶205-209 were each false and misleading when

made in that each omitted and/or misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Schorsch and Block, were:

               (a)     that ARCP’s 1Q12 financial statements, including its reported net loss of

($630,000) and AFFO of $1,583,000, were materially false, did not accurately portray the

Company’s financial performance and were not prepared in accordance with GAAP as detailed in

¶¶114-181;

               (b)     that as a result of Schorsch and Block’s review and evaluation of the

effectiveness of the Company’s internal controls and financial reporting processes in connection

with the filing of ARCP’s 1Q12 Form 10-Q, they were aware that ARCP lacked reliable internal

financial controls, including procedures and controls necessary to allow the Company to:

(i) calculate basic performance information, such as the calculation of AFFO – the most fundamental

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metric to a REIT investor; (ii) accurately calculate AFFO, formulate AFFO guidance or periodically

reassess ARCP’s ability to meet its AFFO guidance; (iii) ensure that material changes made by

management to ARCP’s SEC filings and public statements were approved by the Audit Committee

before dissemination; (iv) calculate and track multimillion dollar grants of equity-based

compensation; and (v) undertake basic reconciliation and monitoring functions necessary to enable

ARCP to timely record and reconcile cash payments received by ARCP;

               (c)     that ARCP lacked the controls necessary to assess, authorize or monitor

million of dollars of related-party transactions that were being overseen by Block and Schorsch

during 1Q12, as described in ¶¶182-196, between ARC Advisors and its affiliates, each of which

was owned and/or controlled by Schorsch, Block, Kahane, Budko and Weil;

               (d)     that ARCP’s acquisition program was not accretive to AFFO if honestly

accounted for but rather was predicated on the use of ARCP securities that were artificially inflated

as a result of defendants’ misrepresentations concerning ARCP’s 2012 and 2013 AFFO prospects,

and designed to generate hundreds of millions annually in related-party transactional fees and

compensation payments for ARCP executives and other parties affiliated with Schorsch-controlled

companies, as detailed in ¶¶93-110; and

               (e)     that as a result of (a)-(c) above, ARCP and Schorsch had no reasonable basis

to believe, and in fact did not believe, that ARCP’s 2012 AFFO guidance of $0.94 - $0.96, let alone

their increased 2012 AFFO guidance of $1.04-$1.07 per share, was achievable.

        Second Quarter 2012 Financial Results

        211.   On July 31, 2012, ARCP issued a release announcing its financial results for the

second quarter, ended June 30, 2012 (“2Q12”), including a net loss of ($2.04 million), or ($0.28) per




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share, and AFFO of $1.9 million, or $0.25 per share. Emphasizing that “our core earnings have

increased significantly,” Schorsch commented on the Company’s financial results, stating:

        that “[s]ince our initial public offering, we have continually and consistently
        demonstrated our ability to grow earnings through accretive acquisitions . . . the
        proceeds from two recently completed follow-on offerings of common stock, the
        issuance of convertible preferred stock and operating partnership units, and prudent
        use of our cost effective credit facility.

        We are especially pleased to be able to raise our earnings guidance for calendar
        year 2012 by 8.5%, clarifying fiscal year 2012 guidance for AFFO of $1.13 to
        $1.16 per share, or $0.09 per share based on the mid-points of the respective
        ranges. Furthermore, we are initiating preliminary guidance for 2013, at AFFO
        levels of $1.25 to $1.28 per share . . . thereby targeting AFFO growth of over 10%
        for 2013.

        212.   On August 1, 2012, ARCP convened a conference call with analysts and investors to

discuss the Company’s 2Q12 financial results. During the conference call, Schorsch and Block

reiterated the increased 2012 AFFO guidance change outlined in the July 31, 2012 release, as well as

the 2013 AFFO guidance described in the release. Commenting on the Company’s growth,

Schorsch stated, “[s]ince our IPO we have consistently demonstrated our ability to grow our earnings

through accretive acquisitions,” and noted that ARCP was “targeting AFFO growth of an additional

10% for 2013 on top of the 8 1/2% for 2012.”

        213.   Also on August 1, 2012, ARCP filed its Form 10-Q for the period ended June 30,

2012 with the SEC (the “2Q12 Form 10-Q”), which was signed by Schorsch and Block. The 2Q12

Form 10-Q reiterated ARCP’s previously reported financial results and represented that those

financial results were accurate and presented in accordance with GAAP. It also represented that the

Company’s internal controls were effective and that any material changes to the Company’s internal

controls over financial reporting were disclosed therein. The 2Q12 Form 10-Q also included

Schorsch’s and Block’s certifications pursuant to SOX, identical in all material respects to the

certification quoted in ¶¶164-165.

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        214.   The statements referenced above in ¶¶211-213, were each false and misleading when

made in that each omitted and/or misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Schorsch and Block, were:

               (a)       that ARCP’s 1Q12 and 2Q12 financial statements, including its 1Q12 AFFO

and 2Q12 AFFO of $1.583 million and $1.9 million, respectively, were false, did not accurately

portray the Company’s financial performance and were not prepared in accordance with GAAP, as

detailed in ¶¶114-181;

               (b)       that the Company lacked internal financial controls sufficient to enable ARCP

to: (i) accurately calculate AFFO or future estimates thereof; and (ii) assess, authorize and monitor

related-party transactions that were generating millions of dollars in payments to ARC Advisors and

its affiliates – all entities owned and/or controlled by Schorsch, Block, Kahane, Budko and Weil –

without proper documentation, as detailed in ¶¶182-196;

               (c)       that the only way ARCP could post in FY12 AFFO growth of 8.5% or 2013

AFFO growth of 10% was by making additional acquisitions using ARCP securities that were

inflated as a result of the misconduct described herein;

               (d)       that ARCP had not consistently grown its earnings nor had ARCP’s “core

earnings” increased significantly, as the earnings and AFFO reported by ARCP for the last half of

2011 and the first half of 2012 were the product of accounting manipulations overseen by ARCP’s

two senior insiders – Block and Schorsch, as detailed in ¶114-181;

               (e)       that as a result of (a)-(d), above, ARCP, Schorsch and Block had no

reasonable basis to believe, nor did in fact believe, that ARCP could post legitimate AFFO growth of

an additional 8.5% for FY12, let alone an additional 10% growth in FY13, absent the accounting

manipulations detailed in ¶¶114-196; and

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               (f)     that as a result of (a)-(e), above, ARCP, Schorsch and Block had no

reasonable basis to believe, and in fact did not believe, ARCP’s 2012 and 2013 AFFO guidance of

$0.94-$0.96 per share and $1.25 to $1.28 per share, respectively.

        215.   On August 1, 2012, ARCP filed a Form S-3 (the “2012 Shelf Registration

Statement”) with the SEC, which was automatically updated to incorporate by reference each of

ARCP’s subsequently filed Forms 10-K and 10-Q, as well as the Company’s offering materials

identified herein. The 2012 Shelf Registration Statement was signed by Schorsch, Weil, Block,

Gong and Rendell.

        Third Quarter 2012 Financial Results

        216.   On October 29, 2012, ARCP issued a release announcing its financial results for the

third quarter, ended September 30, 2012 (“3Q12”). The Company reported 3Q12 AFFO of $3.1

million, or $0.28 per share, and a net loss of ($804,000), or ($0.09) per share. Commenting on

ARCP’s “core earnings,” Block remarked:

        During the quarter ended September 30, 2012, the Company generated AFFO of
        $3.1 million, or $0.28 per share computed using basic weighted average shares
        outstanding. This represents a 15.0% increase in AFFO per share compared to the
        second quarter ended June 30, 2012. Further, our recently announced ‘at the
        market’ or ATM program will provide equity capital allowing us to purchase
        properties accretive to our dividend, fueling our growth strategy.

        217.   Also on October 29, 2012, ARCP filed its Form 10-Q for the period ended

September 30, 2012 with the SEC (the “3Q12 Form 10-Q”), which was signed by Schorsch and

Block, and reiterated ARCP’s previously reported financial results, represented that those financial

results were accurate and presented in accordance with U.S. GAAP, represented that the Company’s

internal controls were effective, represented that any material changes to the Company’s internal

controls over financial reporting were disclosed, and included Schorsch’s and Block’s certifications

pursuant to SOX, identical in all material respects to the certification quoted in ¶¶164-165.

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        218.   On October 30, 2012, ARCP held a conference call with analysts and investors to

discuss the Company’s 3Q12 financial results. During the conference call, Block reiterated the

3Q12 AFFO results disclosed in the October 29, 2012 release, while Schorsch commented that the

3Q12 results demonstrated that their strategy permitted them to “grow three quarters in a row

substantially our AFFO, which we believe is our primary measure.”

        219.   The statements referenced above in ¶¶216-218, were each false and misleading when

made in that each omitted and/or they misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Schorsch and Block, were:

               (a)     that ARCP’s reported 2Q12 AFFO of $1.9 million, as well as the Company’s

3Q12 financial results, including its net loss of ($804,000) and AFFO of $3.1 million, were false as

detailed in ¶214 above;

               (b)     that ARCP had not grown its AFFO “substantially” for three sequential

quarters, nor had ARCP generated 3Q12 AFFO growth per share of 15%, but rather ARCP had been

able to report purportedly strong and consistent AFFO growth only by falsifying its reported

financial performance, as detailed in ¶¶114-196;

               (c)     that ARCP’s 3Q12 financial statements, including its 3Q12 AFFO, were false

and did not accurately portray the Company’s financial performance and were not prepared in

accordance with GAAP, as detailed in ¶¶114-196;

               (d)     that ARCP’s acquisition program was not designed to bolster ARCP’s “core

earnings,” but rather was designed to generate hundreds of millions in related-party transactional

fees and compensation payments for ARCP executives and other parties affiliated with Schorsch-

controlled companies, as detailed in ¶¶93-110;




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               (e)     that the Company lacked reliable internal financial controls sufficient to

enable ARCP to: (i) accurately calculate its AFFO, as well as future estimates thereof, and the

periodic reassessment of ARCP’s ability to meet existing AFFO guidance; and (ii) assess, authorize

and monitor related-party transactions that were generating millions of dollars in payments to ARC

Advisors and its affiliates – all entities owned and/or controlled by Schorsch, Block, Kahane, Budko

Weil – without proper documentation, as described in ¶¶182-196;

               (f)     that Schorsch’s and Block’s review and evaluation of the effectiveness of the

Company’s internal controls and financial reporting processes had confirmed that the Company

lacked reliable internal financial controls; and

               (g)     that as a result of (a)-(f), above, ARCP, Schorsch and Block had no reasonable

basis to believe, and did not in fact believe, their 2012 AFFO guidance of $0.94 - $0.96.

        ARCT III Merger

        220.   On December 17, 2012, ARCP issued a release announcing that it had entered into an

agreement to acquire the outstanding shares of ARCT III in a transaction valued at approximately $3

billion, and that the transaction was expected to close during 2Q13. Block commented on the

proposed merger, stating in pertinent part: “We are guiding to AFFO per share in 2013 of $0.93,

and $1.08 in 2014, which translates to 16% growth in earnings, about 4 times our peer group.

Assuming ARCP trades at a 15 times multiple, the implied share price is close to $14 for 2013.”

        221.   On January 22, 2013, the ARCP Board and ARCT III caused a Registration

Statement to be filed with the SEC on Form S-4, and disseminated a Joint Proxy

Statement/Prospectus (collectively, the “ARCT III Registration Statement/Proxy”) to shareholders.

A copy of the merger agreement for the transaction was attached as Annex A to the ARCT III

Registration Statement/Proxy and was incorporated by reference therein. The ARCT III Registration


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Statement/Proxy was prepared, reviewed and/or signed by ARCP, Schorsch, Weil, Michelson and

Block.

         222.     The ARCT III Registration Statement/Proxy represented that the ARCT III board had

unanimously determined that the merger was “advisable, fair to, and in the best interests of ARCT

III and its stockholders.” Likewise, the ARCP Board unanimously recommended that the transaction

be approved.

         223.     The ARCT III Registration Statement/Proxy incorporated by reference ARCP’s 2011

Form 10-K, 1Q12 Form 10-Q, 2Q12 Form 10-Q and 3Q12 Form 10-Q, each of which was signed by

Schorsch and Block, containing ARCP’s financial results for the respective quarter, and assured

investors that:

         [W]e, under the supervision and with the participation of our Chief Executive Officer
         and Chief Financial Officer, carried out an evaluation of the effectiveness of our
         disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) of
         the Exchange Act) as of the end of the period covered by this Quarterly Report on
         Form 10-Q and determined that the disclosure controls and procedures are effective.

         224.     Section 5.7(c) of the ARCT III Merger Agreement represented that:

                 (a)     ARCP and its subsidiaries “maintain a system of internal accounting
         controls sufficient to provide reasonable assurances regarding the reliability of
         financial reporting and the preparation of financial statements for external purposes
         in accordance with GAAP.”;

                  (b)    the members of the audit committee of ARCP’s Board of Directors
         had been informed of “all significant deficiencies and material weaknesses in the
         design or operation of internal controls over financial reporting that are reasonably
         likely to adversely affect [ARCP’s] ability to record, process, summarize and report
         financial data.”

         225.     Section 5.7(c) of the ARCT III Merger Agreement further represented that:

         [ARCP] ha[d] established and maintains disclosure controls and procedures (as such
         term is defined in Rule 13a-15 promulgated under the Exchange Act) designed to
         ensure that material information relating to [ARCP] required to be included in reports
         filed under the Exchange Act, including its consolidated subsidiaries, is made known
         to [ARCP’s] principal executive officer and its principal financial officer by others

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        within those entities, particularly during the periods in which the periodic reports
        required under the Exchange Act are being prepared, and, to the knowledge of
        [ARCP], such disclosure controls and procedures are effective in timely alerting
        [ARCP’s] principal executive officer and its principal financial officer to material
        information required to be included in [ARCP’s] periodic reports required under the
        Exchange Act.

        226.   Section 5.7(a) of the ARCT III Merger Agreement also contained a representation by

ARCP that its filings with the SEC “complied in all material respects with the requirements of the

Securities Act or the Exchange Act, as the case may be, and the applicable rules and regulations of

the SEC thereunder,” and did not contain “any untrue statement of a material fact or omit to state a

material fact required to be stated therein or necessary in order to make the statements made therein,

in the light of the circumstances under which they were made, not misleading.”

        227.   Section 5.8(a) of the ARCT III Merger Agreement further represented that:

        None of the information supplied or to be supplied in writing by or on behalf of
        [ARCP] for inclusion or incorporation by reference in (i) the Form S-4 [Registration
        Statement] will, at the time such document is filed with the SEC, at any time such
        document is amended or supplemented or at the time such document is declared
        effective by the SEC, contain any untrue statement of a material fact or omit to state
        any material fact required to be stated therein or necessary to make the statements
        therein not misleading, or (ii) the Joint Proxy Statement will, at the date it is first
        mailed to the stockholders of [ARCT III and ARCP], at the time of the [ARCT III]
        Stockholder Meeting and the [ARCP] Stockholder Meeting, at the time the Form S-4
        is declared effective by the SEC or at the Effective Time, contain any untrue
        statement of a material fact or omit to state any material fact required to be stated
        therein or necessary to make the statements therein, in light of the circumstances in
        which they were made, not misleading.

        228.   Section 6.2(c)(xv) of the ARCT III Merger Agreement also contained a representation

by ARCP that it would “maintain all financial books and records in all material respects in

accordance with GAAP.”

        229.   The ARCT III Registration Statement/Proxy was materially false and misleading in

that it omitted and/or misrepresented material facts, including:



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                 (a)   that ARCP lacked internal financial controls sufficient to enable it to: (i)

accurately calculate AFFO and future estimates thereof, and periodically reassess ARCP’s ability to

meet existing AFFO guidance; and (ii) assess, authorize and monitor related-party transactions that

were generating millions of dollars in payments to ARC Advisors and its affiliates – all entities

owned and/or controlled by Schorsch, Block, Kahane, Budko and Weil – without proper

documentation, as described in ¶¶182-196;

                 (b)   that ARCP’s FY11, 1Q12, 2Q12 and 3Q12 reported financial results,

including AFFO, were false and could not be relied upon, as they were the product of improper

accounting and inadequate internal controls, as detailed in ¶¶114-118, 120-175, 180-181, and have

been restated;

                 (c)   that the ARCT III merger was a vehicle for generating more than $100 million

in fees to be paid to Schorsch-related entities;

                 (d)   that ARCP executives failed to disclose significant deficiencies and material

weaknesses that then existed and were likely to adversely affect ARCP’s ability to accurately report

financial data, including that ARCP did not maintain disclosure controls and procedures necessary to

timely alert its principal executive officer and principal financial officer to material information

required to be included in the Company’s periodic reports;

                 (e)   that ARCP’s SEC filings did not comply with the requirements of the Federal

securities laws that its financial statements include all adjustments necessary for a fair presentation

of the Company’s financial information;

                 (f)   that the evaluation of the effectiveness of ARCP’s disclosure controls and

procedures, which Block and Schorsch supervised and participated in, in connection with the

preparation and dissemination of the Company’s interim 2012 financial statements, confirmed that

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the Company’s disclosure controls and procedures were neither adequate nor reliable, as detailed in

¶¶182-196; and

               (g)     that as a result of (a)-(f), above, defendants named herein had no reasonable

basis to believe, and did not in fact believe, that the ARCT III Merger was “fair to,” nor in the best

interests of shareholders.

               (h)     As a result of (a)-(f) above, ARCP and Block had no reasonable basis to

believe, and did not in fact believe, their 2013 and 2014 AFFO projections of $0.93 and $1.08,

respectively, which translated to an AFFO growth rate equal to four tiems ARCP’s peer group.

        January 2013 Equity Offering

        230.   On or about January 29, 2013, ARCP completed the offering of over 2 million newly

issued shares of ARCP common stock at $13.47 per share for proceeds of approximately $26.5

million (the “January 2013 Equity Offering”). The January 2013 Equity Offering was conducted

pursuant to the 2012 Shelf Registration Statement and Prospectus Supplements dated January 22,

January 24 and January 25, 2013 (collectively, the “January 2013 Equity Offering Materials”). The

January 2013 Equity Offering Materials specifically incorporated by reference ARCP’s 2011 Form

10-K, 1Q12, 2Q12 and 3Q12 Form 10-Qs.

        231.   On February 28, 2013, ARCP issued a release announcing the closing of the ARCT

III Merger and stating that it was “reaffirming previously issued preliminary pro forma 2013 and

2014 AFFO guidance post-merger. ARCP’s AFFO is expected to range between $0.91 and $0.95

per share (fully diluted) in 2013. ARCP’s AFFO is expected to range between $1.06 and $1.10 per

share (fully diluted) in 2014.”




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        Fourth Quarter 2012 Financial Results

        232.    On February 28, 2013, ARCP issued a release announcing its financial results for the

fourth quarter of 2012 (“4Q12”) and FY12, including 4Q12 AFFO of $3.4 million, or $0.28 per

share, and FY12 AFFO of $10.5 million, or $1.08 per share, a net loss of ($7.3 million), or ($0.84)

per share. Schorsch extolled the success and growth the Company reported during FY12, stating

that:

        “Our first full calendar year of operations has seen us exceed our financial
        projections across the board . . .” and that the ARCT III merger “will result in
        geometric growth to our property portfolio that provides our shareholders with
        durable dividend income augmented by extraordinary earnings growth potential.”

        233.    The Company also reaffirmed its FY13 AFFO guidance of $0.91 - $0.95 per share

and fiscal year 2014 (“FY14”), $1.06 - $1.10 per share. Block commented on ARCP’s financial

results, stating in pertinent part:

        “At $1.15 per share (basic), based on adjusted funds from operations, we’re
        pleased to report that our 2012 earnings are at the high-end of our guidance
        published in July 2012,” noted Brian S. Block, executive vice president and chief
        financial officer. “Moreover, the Company is positioned for dynamic growth in the
        future. In fact, our earnings guidance for 2014 suggests a growth rate of 16%
        from 2013, an extraordinary trajectory for a net lease company. The Company’s
        enterprise value is over $3 billion in an industry where size matters.”

        234.    Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s 4Q12 and FY12 financial results. During the conference call, Block discussed ARCP’s

4Q12 and FY12 AFFO, and reiterated the 2013 and 2014 AFFO guidance, emphasizing that the

Company expected to see a “16% AFFO growth year over year.”

        235.    That same day, ARCP filed its Form 10-K for the period ended December 31, 2012

with the SEC (the “2012 Form 10-K”). The 2012 Form 10-K was prepared, reviewed and/or signed

by Schorsch, Block, Weil and Michelson. The 2012 Form 10-K reiterated ARCP’s previously

reported financial results and stated that the financial results were accurate and presented in

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accordance with GAAP. The 2012 Form 10-K also represented that the Company’s internal controls

were effective, and that any material changes to the Company’s internal controls over financial

reporting were disclosed. The 2012 Form 10-K included Schorsch’s and Block’s certifications

pursuant to SOX, identical in all material respects to the certification quoted in ¶¶164-165.

        236.   The statements referenced above in ¶¶220-228, 230-235 were each false and

misleading when made in that each omitted and/or misrepresented material facts. The true facts,

which were then known to or recklessly disregarded by ARCP, Schorsch and Block, were:

               (a)     that ARCP’s 4Q12 and FY12 financial statements were false, did not

accurately portray the Company’s financial performance during those periods and were not prepared

in accordance with GAAP, as detailed in ¶¶114-181;

               (b)     that ARCP had not exceeded its FY12 financial projections and was not

positioned for extraordinary growth, as its reported FY12 financial performance and AFFO were the

product of financial engineering, as detailed in ¶¶141-196;

               (c)     that the Company lacked reliable internal financial controls sufficient to

enable ARCP to: (i) accurately calculate AFFO and future estimates thereof, or periodically reassess

ARCP’s ability to meet existing AFFO guidance; and (ii) assess, authorize and monitor related-party

transactions that were generating millions of dollars in payments to ARC Advisors and its affiliates –

all entities owned and/or controlled by Schorsch, Block, Kahane, Budko and Weil – without proper

documentation, as detailed in ¶¶182-196;

               (d)     that Schorsch’s and Block’s review of the Company’s internal controls and

financial reporting processes in connection with the filing of the 2012 Form 10-K confirmed that the

Company lacked reliable internal financial controls;




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               (e)     that the ARCT III Merger was a vehicle for generating more than $115 million

in fees to be paid to Schorsch-related entities;

               (f)     that ARCP was not “positioned for dynamic growth” or on “an extraordinary

trajectory,” as its reported 4Q12 and FY12 AFFO was the product of falsified financial statements,

as detailed in ¶¶114-196;

               (g)     that in issuing guidance of 16% AFFO growth for 2014, Block and Schorsch

assumed their ability to continue to (i) manipulate ARCP’s financial statements by misclassifying

ordinary general and administrative expenses as extraordinary merger and other non-routine

transaction-related expenses; and (ii) conceal the ongoing transfer of assets to ARC Advisors and

other entities affiliated with Schorsch and Block under the guise of acquisition related costs;

               (h)     that the ARCT III Merger did not provide ARCP with “extraordinary earnings

growth potential” but rather was designed to generate hundreds of millions in related-party

transactional fees and compensation payments to ARCP executives and other parties affiliated with

Schorsch-controlled companies, as detailed in ¶¶93-110, including the payment of more than $100

million in fees and expenses relating specifically to the ARCT III Merger;

               (i)     that as a result of (a)-(h), above, ARCP, Schorsch and Block had no

reasonable basis to believe, and in fact did not believe, ARCP’s financial statements did not contain

material misstatements; and

               (j)     that as a result of (a)-(h), above, ARCP, Schorsch and Block had no

reasonable basis to believe, and in fact did not believe, their 2013 and 2014 AFFO guidance of

$0.91-$0.95 per share and $1.06-$1.10 per share, respectively, was achievable.

        237.   On March 14, 2013, ARCP filed a Form S-3ASR (the “2013 Shelf Registration

Statement”) with the SEC. The 2013 Shelf Registration Statement incorporated by reference certain

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documents to be filed with the SEC, including reports on Form 10-K and 10-Q. The 2013 Shelf

Registration Statement was prepared, reviewed and/or signed by Schorsch, Weil, Block, Jones,

Kahane, Rendell, Michelson and Bowman.

        First Quarter 2013 Financial Results

        238.    On May 6, 2013, ARCP issued a release announcing its financial results for 1Q13.

The Company reported 1Q13 AFFO of $30.8 million, or $0.20 per fully diluted share, compared to

AFFO of $3.4 million during the fourth quarter of 2012. The Company further reported a net loss of

($137.9 million), or ($0.90) per share. Schorsch commented on the Company’s financial results,

stating in pertinent part:

                We are very pleased with our first quarter results which are in line with our
        earlier 2013 earnings guidance, projecting earnings growth of 16% between 2013
        and 2014, and we are particularly well positioned for continued earnings
        growth. . . . We intend to continue executing our highly accretive organic acquisition
        program on which our earnings guidance is constructed . . . .

        239.    Also on May 6, 2013, ARCP filed its Form 10-Q for the period ended March 31,

2013 with the SEC (the “1Q13 Form 10-Q”), which was signed by Schorsch and Block. The 1Q13

Form 10-Q reiterated ARCP’s previously reported financial results, and represented that those

financial results were accurate and presented in accordance with GAAP. The 1Q13 Form 10-Q also

represented that the Company’s internal controls were effective and that any material changes to the

Company’s internal controls over financial reporting were disclosed. It also included Schorsch’s and

Block’s certifications pursuant to SOX, identical in all material respects to the certification quoted in

¶¶164-165.

        240.    On May 6, 2013, ARCP also held a conference call with analysts and investors to

discuss the Company’s 1Q13 financial results, during which Block noted that “for the balance of




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2013, we reaffirm our forecasted AFFO per share of between $0.91 and $0.95 per share [and]

forecast 2014 AFFO per share of $1.06 to $1.10.”

        CapLease Merger Announcement

        241.   On May 28, 2013, ARCP issued a release announcing that it had entered into an

agreement to acquire all of the outstanding shares of CapLease, Inc. (“CapLease”), in a transaction

valued at approximately $2.2 billion. Discussing the proposed merger, Block reassured investors

that the CapLease transaction would drive ARCP’s 2014 AFFO growth, stating in pertinent part:

“We have announced revised earnings guidance for 2014 of between $1.17 to $1.21 per share based

on AFFO, representing a 28% increase over previously announced 2013 guidance.”

        242.   During a May 28, 2013 conference call with analysts and investors to discuss the

CapLease acquisition, Schorsch and Block made additional statements about the proposed

transaction and its impact on the Company, stating in pertinent part:

        Defendant Schorsch:

        The transaction rationale is very simple. This accomplishes exactly what we have
        been talking about since our IPO in 2011. This is accretive growth. The acquisition
        is expected to result in approximately 11% accretion to our AFFO in 2014.

                                          *      *       *

        . . . Pro forma 2014 we expect to add $0.11 per share to our AFFO. . . .

                                          *      *       *

        Defendant Block:

        The pro forma financial projections are impressive. . . . Based on our ability to
        modify the portfolio’s capital structure as Nick mentioned earlier, our 2014 guidance
        has been revised upward. The new 2014 earnings guidance range is projected
        between $1.17 to $1.21 AFFO per share on a fully diluted basis. Using the mid
        points of the respective ranges, this represents a 28% increase compared to our
        projected 2013 results.




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        243.   The statements referenced above in ¶¶237-242, were each false and misleading when

made in that each omitted and/or misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Schorsch and Block, were:

               (a)    that ARCP’s reported AFFO of $0.20 per share was overstated by 100% and

as such did not accurately reflect the Company’s actual performance, as detailed in ¶¶114-196;

               (b)    that ARCP’s 1Q13 financial statements and reported AFFO were materially

false and misleading, did not accurately portray the Company’s financial performance and were not

prepared in accordance with GAAP, as detailed in ¶¶114-181;

               (c)    that the Company lacked adequate internal controls, which prevented it from

accurately computing its reported AFFO and net earnings/losses, including: (i) basic systems to

reconcile cash accounts; and (ii) a process by which senior management approved critical accounting

estimates and non-routine transactions and/or provided for audit committee review of the same;

               (d)    that ARCP lacked the internal controls to assess, calculate and account for

payments made to ARC Advisors (ARCP’s external manager until January 8, 2014) and its affiliates

and/or provide for review and approval of equity awards allocated to ARC Advisors employees

responsible for ARCP’s operations;

               (e)    that ARCP’s reported 1Q13 financial performance was not “in line” with

guidance, but rather was the product of financial manipulation, as detailed in ¶¶114-181;

               (f)    that as a result of (a)-(e), above, ARCP was not “well positioned” for

continued earnings growth, as its reported AFFO for each and every quarter since the Company’s

2011 IPO had been the product of financial manipulation; and

               (g)    that as a result of (a)-(f), above, ARCP, Schorsch and Block had no reasonable

basis to believe, and did not in fact believe, that ARCP would post 2013 AFFO of $0.91-$0.95 per

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share or 2014 AFFO of $1.06-$1.10 per share, let alone meet upward “revised earnings guidance” of

between $1.17 and $1.21 per share following the $2.2 billion CapLease transaction.

        ARCT IV Merger Announcement

        244.   On July 2, 2013, ARCP issued a release announcing that it had entered into a

definitive merger agreement to acquire the outstanding shares of ARCT IV – a publicly registered,

non-traded REIT controlled by Schorsch. In connection with the proposed merger, ARCP

“increased its 2014[] [AFFO] guidance to $1.19-$1.25 per share, equivalent to approximately 31%

growth over 2013”[]” and emphasized that “[t]his projected AFFO growth rate leads the net lease

industry.” Schorsch and Block commented on the proposed merger, stating in pertinent part:

        Defendant Schorsch:

        Today’s announced merger solidifies our leadership position in the net lease real
        estate sector.

                                          *       *       *

        With this acquisition we continue to further diversify our asset and tenant base and
        increase our projected 2014 AFFO per share. This acquisition is yet another
        example of executing our deliberate and focused strategy to . . . give us further cost
        of capital advantages enabling us to deliver AFFO per share earnings accretion.
        Our sector-leading 31% 2014 over 2013 projected AFFO growth is further proof of
        that. . . .

                                          *       *       *

        Defendant Block:

        Due to the relative value of our stock offer versus cash consideration, we reasonably
        expect the acquisition of ARCT IV will be completed primarily through the issuance
        of ARCP common stock. This will result in growth in projected 2014 AFFO per
        share, as well as reduced balance sheet leverage.

        245.   Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s planned acquisition of ARCT IV. During the conference call, Schorsch and Block spoke

about the proposed transaction and its impact on the Company, stating in pertinent part:


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        Defendant Schorsch:

        We are . . . increasing our AFFO earnings guidance range for 2014 to $1.19 to
        $1.25 per share.

                                          *       *      *

        I would like to take you through some of the significant benefits we believe this
        transaction offers our shareholders. The transaction will provide immediate
        accretion to our earnings once closed. Accordingly, we have revised our 2014
        earnings guidance, increasing the pro forma 2014 AFFO to $1.19 to $1.25;
        annualized dividend increase from $0.91 to $0.94 per share, while the AFFO payout
        ratio decreases to less than 80%.

                                          *       *      *

        Defendant Block:

        . . . I wanted to focus for a moment on our future earnings outlook for ARCT,
        which we believe to be very exciting for us as we look at this combined
        transaction. . . . AFFO per share is expected to grow significantly from 2013 to
        full year 2014. For 2014, we’re projecting fully diluted AFFO per share in the
        range of between $1.19 per share to $1.25. This represents a growth rate of about
        30% over 2013 AFFO per share. This earnings percentage of year-over-year
        growth is unprecedented in the net lease sector as we continue to aggregate world-
        class portfolios.

        July 2013 Investor and Analyst Day

        246.   On July 24, 2013, ARCP held an Investor and Analyst Day to discuss the Company’s

operations and financial results. During a presentation, Block described the Company’s increased

full-year 2014 AFFO per share guidance as “very conservative.” In responding to an analyst’s

question on the topic, he stated in pertinent part:

        What I want to walk you through right now is as it stands today, where our
        expectation is, what our projections are, as it related to our 2014 guidance.

                                          *       *      *

        . . . So again to recap, June 30th, ARC Trust, CapLease, well in your guidance, you
        said you were going to buy about another $300 million. I wish I can say these are the
        exact transactions we’re going to buy. We actually have a more robust pipeline
        today that 300, maybe 400 or 500, we will see where that works out, but as a
        placeholder again to understand how do we get to that $1.19 or $1.25 on your

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        earnings guidance, we’re assuming post transactions, the organic transactions we
        do. The one-off two CVS’, three Walgreens, four Dollar General’s, one Advance
        Auto, that composes the $300 million of what we define as organic growth. . . . We
        have an abundance of that in our pipeline right now, very attractive credit, extremely
        attractive pricing with great locations. . . .

        I do make one assumption here and it’s a very reasonable assumption if you look at
        our AFFO and a multiple at 13.5 times multiple or 14 times multiple, which
        hopefully we all agree is a very conservative number on future earnings growth.

                                          *       *       *

        Characterizing it multiple times as “very conservative” and noting that “[W]e’re
        going to be roughly $450 million of AFFO which equates to about [$]1.19” per
        share and that although “we give a range $1.19 or $1.25. What could happen
        there? Well, our stock could be better. . . .”

        July 2013 Offering

        247.   On July 23, 2013, ARCP announced a $300 million offering of 3.0% Convertible

Senior Notes due August 1, 2018 (the “2018 Notes”) (the “July 2013 Offering”).21 The July 2013

Offering was underwritten by defendants JP Morgan, Citigroup, Barclays, BMO Capital, KeyBanc,

JMP Securities, Ladenburg, and RCS Securities. These defendants were “underwriters,” as defined

in §2(11) of the Securities Act, of the 2018 Notes.

        248.   The July 2013 Offering Materials specifically incorporated by reference the 2012

Form 10-K and 1Q13 Form 10-Q. These materials, which induced Union, NYC Funds and other

members of the Class to purchase ARCP’s 2018 Notes, contained untrue statements of material fact

and omitted to state material facts required therein or necessary to make the statements therein not

misleading, as detailed in ¶¶114-118, 120-175, 180-196.




21
    The July 2013 Offering was conducted pursuant to the 2013 Shelf Registration Statement, a
Pricing Term Sheet dated July 23, 2013, Free Writing Prospectuses dated July 23 and filed on July
24, 2013, and Prospectus Supplements dated July 23 and 25, 2013 (collectively, the “July 2013
Offering Materials”).

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        Second Quarter 2013 Financial Results

        249.      On August 6, 2013, ARCP issued a release announcing “[r]ecord” results for 2Q13.

For the quarter, the Company reported AFFO of $32.8 million, or $0.19 per share, and a net loss of

($51.7 million), or ($0.32) per share. In addition, the Company raised its previously-issued full-year

2014 AFFO per share guidance by almost 8%, from a range of $1.06 to $1.10 per share, to $1.14 to

$1.18 per share.

        250.      Also on August 6, 2013, ARCP filed its Form 10-Q for the period ended June 30,

2013 with the SEC (the “2Q13 Form 10-Q”), which was signed by Schorsch and Block. The 2Q13

Form 10-Q reiterated ARCP’s previously announced financial results. It also represented that the

financial results therein were accurate and presented in accordance with GAAP, that the Company’s

internal controls were effective and that any material changes to the Company’s internal control over

financial reporting were disclosed therein. The 2Q13 Form 10-Q also included Schorsch’s and

Block’s certifications pursuant to SOX, which were identical in all material aspects to the

certification quoted in ¶¶164-165.

        251.      Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s 2Q13 financial results. During the conference call, Schorsch and Block stated, in

pertinent part:

        Defendant Schorsch:

        Full quarter AFFO per share was $0.19. More importantly, the normalized AFFO
        per share, which also represents the period end run-rate, was $0.23 per share
        which was above our previously provided 2013 AFFO guidance.

                                            *       *       *

        To sum up, we are extremely pleased with our accomplishments during this second
        quarter. . . . Our current pipeline of acquisitions and balance sheet strength suggests
        that ARCP is well-positioned for continued earnings growth.


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        As Brian will discuss in a moment, . . . we are updating our guidance to $1.14 to
        $1.18 per share on an AFFO basis. This change to our earnings guidance results
        primarily from two factors – and this is very important. We will incur approximately
        $20 million in our guidance of additional debt service cost relating to terming out the
        fixed debt and increasing our acquisitions to $1.1 billion.

                                           *       *       *

        Defendant Block:

        As Nick mentioned previously, we have revised our 2014 AFFO guidance based on
        increased acquisition activity as well as a more deliberate pursuit of fixed-rate,
        long-term, match-funded debt. . . .

        Our revised 2014 AFFO guidance is $1.14 to $1.18 per share, reflecting additional
        interest costs related to increased duration of fixed rate borrowings to match fund
        assets and liabilities, . . . and substantially higher acquisition volumes than
        previously projected. Specifically, we include about $1.4 billion of five, seven and
        ten year notes with a weighted average interest rate of approximately 4.1%.

        252.   The statements referenced above in ¶¶244-251, were each false and misleading when

made in that each omitted and/or misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Schorsch and Block, were:

               (a)     that ARCP’s 2Q13 financial statements and reported AFFO were materially

false and misleading, did not accurately portray the Company’s financial performance and were not

prepared in accordance with GAAP, as detailed in ¶¶114-181;

               (b)     that ARCP lacked adequate internal controls in several respects, as detailed in

¶¶182-196, including controls necessary to (i) enable ARCP to ensure that its 2Q13 SEC filings were

reviewed timely; (ii) formulate AFFO guidance and/or periodically reassess ARCP’s ability to meet

that guidance; and (iii) assess, authorize and monitor related-party transactions that were resulting in

payments to ARCP’s external manager and its affiliates – all entities controlled by Schorsch – that

were not sufficiently documented or otherwise warrant scrutiny;




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               (c)     that as a result of (a)-(b), above, ARCP, Schorsch and Block had no

reasonable basis to believe, and in fact did not believe, ARCP’s financial statements did not contain

material misstatements;

               (d)     that Block and Schorsch had no reasonable basis to believe, and did not in fact

believe, that ARCP would post AFFO growth of between 28-31% in 2014, nor did they expect the

CapLease or ARCT IV Mergers to be accretive absent the misclassification of expenses, including:

(i) payments to ARCP insiders and their affiliates; and (ii) general and administrative expenses as

“merger and non-routine transaction-related expense”;

               (e)     that as a result of (a)-(d), above, ARCP, Schorsch and Block had no

reasonable basis to believe, and did not in fact believe, their 2013 AFFO guidance of $0.91 - $0.95

per share, and the 30+ percent increase in AFFO growth estimates for 2014 of at least $1.19 per

share; and

               (f)     that these defendants had no reasonable basis to expect, and did not in fact

expect, ARCP to post “unprecedented” AFFO year over year growth in 2013 absent the continued

manipulations of ARCP’s financial and operating results.

        Cole Merger Announcement

        253.   On or about October 22, 2013, ARCP and Cole Inc. entered into an Agreement and

Plan of Merger (the “Cole Merger Agreement”) whereby Cole Inc. shareholders were to receive, at

their election, 1.0929 shares of ARCP common stock or $13.82 in cash per Cole Inc. share, with the

cash consideration limited to no more than 20% of Cole Inc.’s shares.

        254.   The following day, on October 23, 2013, ARCP and Cole Inc. issued a joint release

concerning the proposed $11.2 billion merger, which, if consummated, would create the country’s

largest net REIT. In connection with the proposed merger, ARCP issued updated 2014 AFFO


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guidance, of “$1.13 to $1.19 per share, an increase of approximately 25% over . . . 2013 AFFO per

share guidance of $0.91 to $0.95.” Schorsch commented on the proposed Cole Merger, in pertinent

part:

        . . . ARCP will become the largest net lease REIT and the new industry leader. . . .

                                          *       *       *

        Both companies share the same vision, namely to drive value for stockholders by
        placing their interests ahead of our own, aligning pay with performance, and
        reporting fully and transparently. . . . ARCP and Cole both have histories of driving
        tremendous growth. By leveraging our successful track records, our complementary
        businesses and highly skilled professionals, we are confident that we will be well-
        positioned to achieve continued growth. . . . Far more can be accomplished by these
        two great companies working together than either one could have hoped to achieve
        independently.

                                          *       *       *

        . . . With this acquisition, we continue to further diversify our asset and tenant base
        while driving projected 2014 AFFO per share growth. This acquisition represents
        the continuation of our deliberate and focused growth strategy . . . enabling us to
        deliver AFFO per share earnings accretion through further cost of capital
        advantages. In addition, the merger with Cole furnishes the size and scale to allow
        us to continue to reduce our operating costs as a percentage of assets and
        potentially improve our AFFO multiple.

        255.   Later that day, ARCP held a conference call with analysts and investors. During the

conference call, Schorsch and Cole Inc. CEO Nemer extolled the benefits of the proposed merger

with Cole Inc., that the Cole Merger was “an epic transaction” that represented a “one-plus-one-

equals-five combination.” These defendants further noted:

        Defendant Schorsch:

        This is an epic transaction. Great companies combining in a win-win to the
        shareholders, the employees and the broker-dealer systems that we work with.

        The portfolios just fit. They fit very, very well. We’re a much stronger company.
        We . . . have both proven ourselves. And if you look back at the last six months, as
        we’ve gone through this transaction, we as a company have improved at ARCP –
        we’ve become investment-grade rated; we’ve managed our balance sheet and a
        number of other mergers to build a larger company of over $10 billion on a pro
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        forma basis. . . . And today, we have created, with this merger, the largest net lease
        company on the globe.

        Defendant Nemer:

        This transaction represents a major step in achieving our goal of creating the
        premier real estate company that delivers best-in-class, long-term results to our
        shareholders. The combination is forward thinking, and our union provides
        immediate and obvious benefits of size, scale and diversification.

        . . . [A]s Nick said, this combination makes all the sense in the world. It’s truly a
        one-plus-one-equals-five combination of a – transactions of this magnitude, this
        significant, that are this transformational, rarely come together. And so, I give my
        hat’s off to Nick and his team for the effort that they’ve made over the last year, to
        make themselves a more compelling strategic partner, and for putting terms on the
        table that produce terrific results for both of our shareholders, both in the
        immediate term and the long-term.

        256.   During the conference call, Block discussed the Company’s full year 2014 AFFO per

share guidance, and responded to an analyst’s question on that topic, stating in pertinent part:

        Defendant Block:

        Just jumping into the numbers here, I want to give an overview of the financial
        benefits of this transformative transaction. Specific to adjusted funds from
        operation, or AFFO for 2014, our guidance remains unchanged with this
        transaction from a numbers’ standpoint. We expanded the range slightly, due to
        the fact that we have variability here. In closing this merger within the first half of
        2014, our guidance range on a fully diluted per-share basis is $1.13 to $1.19 per
        share.

                                          *       *       *

        Turning our attention specifically to 2014 guidance, I wanted to point out a range
        – from an FFO standpoint, fully diluted share count, as we talked about – $1.14 to
        $1.20; AFFO, $1.13 to $1.19. The key assumptions . . . include[] $11.2 billion
        purchase price for Cole. It assumes an election of 80% stock and 20% cash. We’re
        assuming a $70 million expense reduction in aggregate from the combined
        organization. The distributions go up to $1.00 per share, and again, representing an
        86% payout ratio.

        Third Quarter 2013 Financial Results

        257.   On November 7, 2013, ARCP issued a release announcing its financial results for

3Q13. For the quarter, the Company reported AFFO of $46.7 million, or $0.21 per share,

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representing a quarter-to-quarter increase of over 42%, and confirmed “[u]pdated AFFO pro forma

2014 guidance of $1.13 to $1.19 per share.” Schorsch and Block commented on the Company’s

financial results, stating in pertinent part:

        Defendant Schorsch:

        We have continued to build enterprise value during this third quarter, and for now
        are intently focused on execution . . . . In this regard, we have identified several
        near-term key objectives: completing the announced ARCT IV and Cole
        transactions; becoming self-managed and significantly broadening our intellectual
        capital by continuing to attract the best and brightest managers in the industry;
        deleveraging and terming out our balance sheet utilizing long-term, fixed rate debt;
        and effectively and seamlessly integrating Cole organization.

                                            *     *      *

        We are fully committed to becoming self-managed, as promised . . . . In fact, it is a
        closing condition for our merger with Cole. We will announce the President of
        ARCP before year-end. We have already moved to bolster our team with several key
        hires. Brian Block, our CFO, will now be focused exclusively on ARCP. Lisa
        Beeson joins us as COO after 25 years as an investment banker with tremendous
        M&A and capital markets expertise. Lisa Pavelka McAlister is our new CAO with
        25 years’ experience in senior financial roles versed in all aspects of financial and
        accounting operations.

                                            *     *      *

        Defendant Block:

        Our 3rd quarter operating results are in-line with projections . . . . We are well
        positioned to close our pending acquisitions and execute our capital plan.

        258.    Also on November 7, 2013, ARCP filed with the SEC its Form 10-Q for the period

ended September 30, 2013 (the “3Q13 Form 10-Q”). The 3Q13 Form 10-Q, which was signed by

Schorsch and Block, reiterated ARCP’s previously announced financial results and represented that

those financial results were accurate and presented in accordance with GAAP. It also represented

that the Company’s internal controls were effective and disclosed any material changes to the

Company’s internal controls over financial reporting, and included Schorsch’s and Block’s



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certifications pursuant to SOX, identical in all material aspects to the certification quoted in ¶¶164-

165.

        259.   Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s 3Q13 financial results. During the conference call, Schorsch and Block stated:

        Defendant Schorsch:

        Our 2014 AFFO earnings guidance, which reflects the acquisition of Cole, assumes
        a closing date of April 1 and is $1.13 to $1.19 per share. This range includes only
        $2 billion of acquisitions for 2014, which we think is very manageable, particularly
        given the historic acquisition activity of our combined organizations.

                                           *       *       *

        Defendant Block:

        In connection with the Cole merger, we widened our 2013 guidance by $0.01 on
        each side of the range based on the uncertainty with respect to the anticipated
        closing date. . . .

        Our 2014 AFFO guidance is $1.13 to $1.19 per share. This range, which assumes
        the Cole merger to close the end of the first quarter of 2014, reflects additional
        interest costs attributable to increased duration of fixed rate borrowings to match
        fund, assets and liabilities, as I previously noted, and higher acquisition volumes than
        previously projected, reflecting increased capacity of the combined teams.

        Cole Merger Presentation

        260.   On November 12, 2013, ARCP caused a shareholder presentation to be disseminated

in connection with the Cole Merger, which stated that the Cole Merger would result in ARCP being

the world’s largest net lease REIT and would generate “AFFO growth” for ARCP. The shareholder

presentation also noted that “guidance for 2014 AFFO growth estimates” was being “updated to

$1.13 to $1.19 per share (fully diluted),” and indicated that ARCP was positioned to post 2014

“AFFO of $1.13 per share” even if no further acquisitions were completed during 2014.




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        261.   The statements referenced above in ¶¶253-260, were each false and misleading when

made in that each omitted and/or misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Nemer, Schorsch and Block, were:

               (a)     that ARCP’s 3Q13 financial statements were false, did not accurately portray

the Company’s financial performance during those periods and were not prepared in accordance with

GAAP, as detailed in ¶¶114-181;

               (b)     that ARCP, Schorsch and Block’s representations in ARCP’s 3Q13 SEC

filings with respect to internal controls and financial reporting processes were false and misleading,

as detailed in ¶¶182-196, in that ARCP lacked adequate internal controls to: (i) ensure that its SEC

filings were reviewed timely; (ii) formulate AFFO guidance and periodically reassess ARCP’s

ability to meet AFFO guidance; and (iii) assess, authorize and monitor millions of dollars of related-

party payments to ARCP’s external manager and its affiliates;

               (c)     that the Cole Merger would not drive 2014 AFFO per share growth or

earnings accretion, but rather that would permit ARCP to conceal its inability to meet its 2013 and

2014 performance estimates;

               (d)     that ARCP’s claimed AFFO growth could only be achieved via defendants’

ongoing falsification of ARCP’s financial statements;

               (e)     that defendants did not place shareholder interests ahead of their own

interests, or align ARCP insiders’ pay with ARCP’s actual performance in connection with the Cole

Merger, nor did the Cole Merger represent a “terrific result[]” for ARCP or Cole, Inc. shareholders,

but rather was designed to and did permit the payment of $37 million in related-party transactional

fees and compensation payments to ARCP insiders and other parties affiliated with Schorsch;




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               (f)    that as a result of (a)-(e), above ARCP, Schorsch and Block had no reasonable

basis to believe, and in fact did not believe, that ARCP’s financial statements did not contain

material misstatements;

               (g)    that as a result of (a)-(f), above ARCP, Schorsch and Block had no reasonable

basis to believe, and in fact did not believe, that ARCP was well positioned for continued earnings

growth or to post 2014 AFFO of $1.13-$1.19 per share; and

               (h)    The statements made by Nemer in the Cole Registration Statement/Proxy as

well as those in the Oct. 22, 2013 release that the Cole Merger was a “one-plus-one-equals-five

combination” that would create “the premier real estate company” poised to deliver “best in-class”

results “for both of our shareholders, both in the immediate term and long-term” were false and

misleading when made. The true facts were that Nemer failed to conduct a meaningful assessment

of ARCP’s financial controls, processes or reporting practices, including failing to conduct any

review at all of ARCP’s 3Q13 financial statements and the adequacy of its internal controls,

procedures or the formulation of reported AFFO with respect thereto. Nemer has confirmed the fact

that Cole, Inc. declined to even review or assess ARCP’s false 3Q13 financial statements which were

included in the Cole Registration Statement/Proxy even though they were available to Nemer and the

Cole Defendants prior to the dissemination of the Cole Registration Statement/Proxy.

        ARCT IV

        262.   On December 3, 2013, the ARCP Management Defendants, the ARCP Director

Defendants, the ARCT IV Defendants, and the AR Capital Defendants caused a Registration

Statement to be filed with the SEC on Form S-4, and disseminated a Joint Proxy

Statement/Prospectus (collectively, the “ARCT IV Registration Statement/Proxy”) to shareholders.

A copy of the merger agreement for the transaction was attached as Annex A and was incorporated


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by reference therein. The ARCT IV Registration Statement/Proxy was prepared, reviewed and/or

signed by ARCP, Schorsch, Weil, Kahane, Michelson, Rendell, Bowman, Budko, Block, Beeson,

AR Capital, Radesca, ARCT IV, Stanley, Wenzel and Tuppeny.

        263.   The ARCT IV Registration Statement/Proxy represented that the ARCT IV Board had

unanimously determined that the merger was “fair to, and in the best interests of ARCT IV and its

stockholders.” Likewise, with respect to their own shareholders, the ARCP Directors recommended

that the transaction be approved. The ARCT IV Registration Statement/Proxy represented that the

proposed transaction would drive AFFO growth and increase dividend distributions, stating that “the

combined company’s stockholders will benefit from a stable and secure dividend, which is expected

to increase to $0.94 per share following the merger” as well as a “higher future AFFO growth rate.”

The ARCT IV Registration Statement/Proxy contained a section entitled “Selected Publicly Traded

REITs Analysis,” which provided multiple ranges of calendar year 2014 estimated FFO per share

and calendar year 2014 estimated AFFO per share. It also provided “Certain Prospective Financial

Information Reviewed by ARCT IV,” including projected AFFO figures through 2018, as follows:




        264.   ARCP’s 2012 Form 10-K, 1Q13 Form 10-Q, 2Q13 Form 10-Q and 3Q13 Form 10-Q,

which were signed by Schorsch and Block, were each incorporated by reference in the ARCT IV

Registration Statement/Proxy, also assured investors that:

        [W]e, under the supervision and with the participation of our Chief Executive Officer
        and Chief Financial Officer, carried out an evaluation of the effectiveness of our
        disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) of


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        the Exchange Act) as of the end of the period covered by this Quarterly Report on
        Form 10-Q and determined that the disclosure controls and procedures are effective.

        265.   The ARCT IV Merger Agreement repeated in all material respects the same

representations concerning ARCP’s internal controls, disclosures and SEC filings quoted in ¶¶223-

228 from the ARCT III Merger Agreement.

        266.   On December 3, 2013, the ARCT IV Registration Statement/Proxy was disseminated

to shareholders and, among other things, presented ARCP’s audited FY12 financial data and

unaudited financial data for the first nine months of 2013, ended September 30, 2013, and

represented that “[i]n ARCP’s opinion, such unaudited financial statements include all adjustments

(consisting of normal recurring adjustments) necessary for a fair presentation of the interim

September 30, 2013 financial information.” All of these financial statements have been restated.

        267.   The ARCT IV Registration Statement/Proxy was materially false and misleading in

that it omitted and/or misrepresented material facts, including:

               (a)     that ARCP’s financial statements for FY12, 1Q 2013, 2Q13, and 3Q13 were

false, did not accurately portray the company’s financial performance for those periods and were not

prepared in accordance with GAAP as detailed in ¶¶114-118, 120-175, 180-196.

               (b)     that the acquisition capacity detailed therein was predicated upon the use of

artificially inflated ARCP shares, the price of which was based upon financial data that was false, as

detailed in ¶¶114-118, 120-175, 180-196, infra, and has been restated;

               (c)     that the ARCT IV Defendants, AR Capital Defendants and the ARCP

Management and Director Defendants had no reasonable basis to believe, and did not in fact believe,

that the combined company’s stockholders would benefit from a stable or secure dividend or higher

AFFO growth rate, as ARCP’s existing internal controls were not adequate to generate an accurate

assessment of its financial performance, and each of these defendants should have known of the
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inadequacy of ARCP’s financial controls and that the existing inadequacy would only be

exacerbated by the ARCT IV Merger;

               (d)      that the ARCT IV Defendants, the AR Capital Defendants and the ARCP

Director and Management Defendants had no reasonable basis to believe, and did not in fact believe,

that the ARCT IV Merger was fair to, or in the best interest of, ARCT IV stockholders, as each of

these defendants was either aware that, or reasonable due diligence investigation would have shown

that, ARCP’s reported financial performance and AFFO for the FY12 and 1Q13, 2Q13 and 3Q13

was false and the product of improper accounting and inadequate internal controls, as detailed in

¶¶182-196, infra; and

               (e)      that as a result of (a)-(d), above, neither the ARCT IV Defendants nor the

ARCP Management and Director Defendants had a reasonable basis to believe the 2014 AFFO

estimates of $380 million detailed in the ARCT IV Registration Statement/Proxy as each defendant

either did not in fact believe, or had not conducted any meaningful due diligence in connection with

the ARCT IV Merger.

        December 2013 Debt Offerings

        268.   On December 4, 2013, ARCP announced:

               (a)      a reopening of the 2018 Notes, which were ultimately priced at $287.5 million

(the “December 2013 Reopening”). The December 2013 Reopening was conducted pursuant to the

2013 Shelf Registration Statement, a Pricing Term Sheet and Free Writing Prospectuses dated

December 5, 2013, and Prospectus Supplements dated December 5, 6, and 9, 2013 (collectively, the

“December 2013 Reopening Materials”). The December 2013 Reopening was underwritten by

defendants Citigroup, Barclays, Credit Suisse, Morgan Stanley, Wells Fargo, Capital One, and JMP




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Securities. These defendants were “underwriters,” as defined in §2(11) of the Securities Act, of the

2018 Notes; and

               (b)     an offering of 3.75% Convertible Senior Notes due December 15, 2020, which

were ultimately priced at $402.5 million (the “2020 Notes”) (the “December 2013 Offering”). The

December 2013 Offering was conducted pursuant to the 2013 Shelf Registration Statement, a Pricing

Term Sheet dated December 5, 2013, and Prospectus Supplements dated December 5, 6 and 9, 2013

(collectively, the “December 2013 Offering Materials”). The December 2013 Offering was

underwritten by defendants Citigroup, Barclays, JMP Securities, Credit Suisse, Morgan Stanley,

Wells Fargo, and Capital One. These defendants were “underwriters,” as defined in §2(11) of the

Securities Act, of the 2020 Notes, as well as of the 2018 Notes as a result of their reopening.

        269.   The December 2013 Reopening Materials and the December 2013 Offering Materials

specifically incorporated by reference ARCP’s 2012 Form 10-K, 1Q13 Form 10-Q, 2Q13 Form 10-

Q, and 3Q13 Form 10-Q. These materials, which induced Union and other members of the Class to

purchase ARCP’s 2018 Notes and 2020 Notes, contained untrue statements of material fact and

omitted to state material facts required therein or necessary to make the statements therein not

misleading, as described in ¶¶114-118, 120-175, 180-196.

        Cole Merger

        270.   On or about December 23, 2013, ARCP and Cole Inc. filed a Registration Statement

on Form S-4 (the “Cole Registration Statement”) with the SEC and disseminated a Joint Proxy

Statement/Prospectus (the “Cole Proxy”) to Cole Inc. shareholders to solicit their votes in favor of

the proposed merger (collectively, the “Cole Registration Statement/Proxy”). A copy of the Cole

Merger Agreement for the transaction was attached to the Cole Registration Statement/Proxy and

was incorporated by reference into both documents.


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        271.   The Cole Registration Statement/Proxy represented that the Cole Inc. board had

unanimously determined that the merger was “advisable, fair to, and in the best interests of ARCT

III and its stockholders.” Likewise, the ARCP Board unanimously recommended that the transaction

be approved.

        272.   ARCP’s 2012 Form 10-K, 1Q13 Form 10-Q, 2Q13 Form 10-Q and 3Q13 Form 10-Q,

which were signed by Schorsch and Block, and each incorporated by reference in the Cole

Registration Statement/Proxy, also assured investors that:

        [W]e, under the supervision and with the participation of our Chief Executive Officer
        and Chief Financial Officer, carried out an evaluation of the effectiveness of our
        disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) of
        the Exchange Act) as of the end of the period covered by this Quarterly Report on
        Form 10-Q and determined that the disclosure controls and procedures are effective.

        273.   The Cole Merger Agreement repeated in all material respects the same

representations concerning ARCP’s internal controls, disclosures and SEC filings quoted in ¶¶223-

228 of the ARCT III Merger Agreement.

        274.   On December 23, 2013, the Cole Registration Statement/Proxy was disseminated to

Cole Inc. and ARCP shareholders and, among other things, presented ARCP’s audited FY12

financial data and unaudited financial data for the first nine months of 2013, ended September 30,

2013, and represented that “[i]n ARCP’s opinion, such unaudited financial statements include all

adjustments (consisting of normal recurring adjustments) necessary for a fair presentation of the

interim September 30, 2013 financial information.” All of these financial statements have been

restated.

        275.   The Cole Registration Statement/Proxy was materially false and misleading in that it

omitted and/or misrepresented material facts. The true facts were:




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                (a)     that ARCP’s reported financial results for FY12, 1Q13, 2Q13 and 3Q13,

including ARCP’s reported AFFO and net loss, were false and the product of improper accounting

and inadequate internal controls. Indeed, as detailed in ¶¶114-118, 120-175, 180-196, infra, ARCP

since has restated its 2012 and 2013 financial statements and 2012 and 2013 AFFO;

                (b)     that ARCP did not maintain a system of internal controls sufficient to provide

reasonable assurances regarding the reliability of its financial reporting, and the formulation and

evaluation of the Company’s ability to meet its AFFO guidance, as described in ¶¶182-196;

                (c)     that ARCP executives failed to disclose material weaknesses that they were

aware had been and would continue to adversely affect ARCP’s ability to accurately report financial

data, including the fact that ARCP lacked disclosure controls and procedures necessary to timely

alert its principal executive officer and principal financial officer to material information required to

be included in the Company’s periodic reports;

                (d)     that ARCP’s filings with the SEC did not comply with the federal securities

laws, as its financial statements failed to include all adjustments necessary for a fair presentation of

the Company’s financial information;

                (e)     that ARCP was in the midst of an acquisition campagn designed to generate

hundreds of millions in transactional fees and compensation payments for Schorsch and ARCP

insiders, as well as other parties affiliated with Schorsch-controlled companies, without regard to the

fairness or merits of the underlying transaction;

                (f)     that the evaluation of the effectiveness of ARCP’s disclosure controls and

procedures, which Block and Schorsch supervised and participated in in connection with the

preparation and dissemination of the Company’s interim 2013 financial statements and its 2012




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Form 10-K, confirmed that the Company’s disclosure controls and procedures were inadequate in

several regards, as detailed in ¶¶182-196; and

               (g)     that as a result of (a)-(f), above, defendants named herein had no reasonable

basis to believe, and did not in fact believe, their statements detailed herein about ARCP, its

financial performance and its AFFO estimates.

        ARCT IV Release

        276.   On January 3, 2014, ARCP issued a release wherein Block noted that the ARCT IV

transaction was “instrumental to achieving 2014 AFFO growth per share, and will reduce our

balance sheet leverage with ARCT IV’s highly unencumbered portfolio of real estate assets.” Block

also reiterated, “our 2014 AFFO guidance ranges from $1.13 per share to $1.19 [per share].”

        February 2014 Notes Offering

        277.   On February 6, 2014, ARCP completed a $2.55 billion February Notes Offering of

2.0% Senior Notes due February 6, 2017, 3.0% Senior Notes due February 6, 2019, and 4.6% Senior

Notes due February 6, 2024 (the “Senior Notes”) (the “February Notes Offering”). The February

Notes Offering was conducted by way of an Offering Memorandum pursuant to Securities Act Rule

144A, by which the initial purchasers purchase the securities from the issuers and resell them

pursuant to an SEC regulation providing for resales of unregistered securities to “Qualified

Institutional Buyers.”22




22
    The February Notes Offering was the first step in a two-step process known as an “Exxon
Capital Exchange.” The second step, the “Exxon Capital Exchange Offer,” is the means by which
the 144A notes are converted into registered, freely tradable securities. In practice, the Rule
144A/Exxon Capital framework does not differ from registration. Issuers and their underwriters
prepare the offering memoranda for Rule 144A offerings in contemplation of the Exxon Capital
Exchange Offer and, accordingly, prepare such documents to conform in all material respects to a
registered offering.

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        278.      TIAA-CREF, National Pension Fund, NYC Funds and other members of the Class

purchased the Senior Notes sold by ARC Properties with the understanding and expectation that the

Senior Notes would later be exchanged for freely tradeable registered bonds in the second step

Exxon Capital Exchange Offer.

        279.      TIAA-CREF, National Pension Fund, NYC Funds and other members of the Class

purchased the unregistered Senior Notes based upon the statements contained in the Offering

Memorandum. The Offering Memorandum stated that ARCP and ARC Properties “furnished the

information contained or incorporated by reference in this offering memorandum” and set forth

ARCP’s reported financial and operating results, including AFFO, for FY12 and the nine-months

ended September 30, 2013, and incorporated by reference ARCP’s 2012 Form 10-K, 1Q13 Form 10-

Q, 2Q13 Form 10-Q and 3Q13 Form 10-Q, which were signed by Schorsch and Block, also insuring

investors that:

        [W]e, under the supervision and with the participation of our Chief Executive Officer
        and Chief Financial Officer, carried out an evaluation of the effectiveness of our
        disclosure controls and procedures (as defined in Rules 13a-15(e) and 15d-15(e) of
        the Exchange Act) as of the end of the period covered by this Quarterly Report on
        Form 10-Q and determined that the disclosure controls and procedures are effective.

        280.      The Offering Memorandum also represented that ARCP’s January 8, 2014 transition

to internal management “has eliminated conflicts of interests associated with an external advisor.”

        281.      The Cole Merger closed on February 7, 2014, following approval by the shareholders

of Cole Inc. and ARCP at respective Special Meetings of Stockholders. Ninety-eight percent of Cole

Inc. shareholders elected to receive and were issued a portion of the 520 million shares ARCP




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exchanged in the merger at a rate of 1:1.092 for every Cole Inc. share exchanged, which shares were

issued pursuant to the Cole Registration Statement/Proxy.23

        282.   On February 7, 2014, ARCP issued a release commenting on the closing of the Cole

Merger, wherein Block stated: “With this success, we reaffirm our 2014 AFFO guidance range of

$1.13 to $1.19 per share” and highlighted that – in addition to Moody’s – ARCP had now received

an “investment grade credit rating from Standard & Poor’s Rating Services.”

        Fourth Quarter 2013 Financial Results

        283.   On February 27, 2014, ARCP issued a release announcing its financial results for

4Q13 and FY13. The release emphasized that ARCP had exceeded 2Q13 AFFO estimates given in

2Q13 and generated “record operating results for the full year ended December 31, 2013[.]” For

4Q13, the Company reported AFFO of $55.8 million, a year-over-year increase of 153%, or $0.25

per share, a year-over-year increase of 108% and a net loss of ($157.8 million), or ($0.85) per share.

For FY13, the Company reported AFFO of $163.9 million, an increase of 240% from 2012, or $0.86

per share, an increase of over 80% from 2012 and a net loss of ($406.5 million), or ($2.36) per share.

The Company also reiterated its full year 2014 AFFO per share guidance of $1.13-$1.19 per share.

        284.   Commenting on the Company’s financial results, Block emphasized that while 2013

“proved to be a record-setting year for ARCP both in terms of earnings and growth . . . we firmly

believe that 2014 will be an even more impressive year. These factors should fortify our 2014

AFFO guidance of $1.13 to $1.19 per share.” Schorsch further noted:

        As these results unequivocally demonstrate, we have accomplished an
        extraordinary amount in a very short time, underscoring our ability to execute key
        initiatives on every level across the organization. We will complete over $1.0
        billion of acquisitions during the first quarter, at a pace ahead of projections and

23
   The small faction of Cole Inc. shareholders who made a cash election received, in the aggregate,
approximately $181 million.

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        accretive to our earnings. Our robust pipeline of property acquisitions, as well as
        other corporate opportunities we are privy to, is consistent with our ability to grow
        impressively, while staying true to our strategy.

                                          *      *       *

        In addition to the strong growth we have seen with our earnings, ARCP’s improved
        leverage posture and identified G&A synergies from the Cole acquisition are also
        generating a positive impact to the bottom line. Not only did we beat consensus
        estimates for the fourth quarter, our first quarter is off to a tremendous start.
        When you compare these financial results to our peer group valuation metrics,
        particularly dividend yield and earnings multiple, we believe our Company is
        undervalued and poised for a share price increase.

        285.    Also on February 27, 2014, ARCP filed its annual report for the year ended

December 31, 2013 with the SEC on Form 10-K (the “2013 Form 10-K”). The 2013 Form 10-K was

signed by Schorsch, Beeson, Block, Kay and McAlister, as well as Michelson, Stanley, Bowman,

Rendell, Andruskevich and Sealy. The 2013 Form 10-K reiterated ARCP’s previously announced

financial results, represented that those financial results were accurate and presented in accordance

with GAAP, represented that the Company’s internal controls were effective and disclosed any

material changes to the Company’s internal control over financial reporting, and included Schorsch’s

and Block’s certifications pursuant to SOX, identical in all material aspects to the certification

quoted in ¶¶164-165.

        286.    Later that day, ARCP held a conference call with analysts and investors to discuss

the Company’s 4Q13 and FY13 financial results. During the conference call, Schorsch confirmed

that “[o]ur earnings guidance is solid,” and there is even “with room for upside[.]” Block likewise

stated in pertinent part:

        Based on the strength of our acquisitions, success in our private capital management
        business, strategic execution of our balance sheet initiatives, and the continued
        savings in G&A costs, we comfortably affirm our 2014 AFFO guidance of $1.13 to
        $1.19 per share.

                                          *      *       *

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        We currently have today 812.5 million shares and share equivalents outstanding on a
        fully diluted basis. The end result of all these numbers I just mentioned is a run
        rate of around $1.11 to $1.13 per share AFFO. Again, this number is a run rate
        through what we know today.

        If we didn’t do anything else as of April 1, we would achieve this roughly $1.12 per
        share for the prospective 12 months. We of course will continue to acquire more
        than the $1 billion we’ve discussed over the next nine months, and therefore
        achieve higher results.

        These results demonstrate tremendous success and are a result of the equally
        tremendous hard work.

        287.   During the conference call, Block responded to an analyst’s question about the

Company’s full year 2014 AFFO per share guidance, stating in pertinent part:

        Chris Lucas – Capital One Securities – Analyst:

        Okay. And then, again related to guidance, Brian, just in terms of getting to the low
        end of the numbers we should just assume that $1.13 at the low end is reflective of
        just essentially what you talked about before, which is what’s done and nothing
        more? Is that effectively how we should be thinking about the low end?

        Defendant Block:

        That’s correct. To repeat Chris, if we didn’t do anything past March 31, we would
        be at the low end of the range, notwithstanding the fact that we have a lot more
        acquisition potential for the duration of the year.

        288.   Also during the call, Beeson highlighted ARCP’s “acquisition machine” as the

mechanism driving ARCP’s strong performance. Beeson stated in pertinent part:

        Josh Patinkin – BMO Capital Markets – Analyst:

        Okay. And is that, you think, what enabled you such an attractive initial yield, going
        into smaller deal size?

        Defendant Beeson:

        Absolutely. That is how we distinguish ourselves. No other company has the
        acquisition machine that we have built here, that enables us to cost effectively do
        smaller one-off transactions, and that’s how we’re able to get the pricing
        differential.



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        We can buy three assets at a 7.75% or an 8% cap that another competitor buys in a
        portfolio at a 6, 7% cap. That’s a significant spread differential, and we do that
        because we’re able to, and we’ll do granular level acquisitions.

        289.   The statements referenced above in ¶¶268-274, 276-289 were each false and

misleading when made in that each omitted and/or misrepresented material facts. The true facts,

which were then known to or recklessly disregarded by ARCP, Schorsch, Block, Beeson, Kay and

McAlister, were:

               (a)    that ARCP’s reported 4Q13 AFFO was overstated by nearly 90%, while its

FY13 AFFO was overstated by 23%, as detailed in ¶¶114-181;

               (b)    that ARCP’s 4Q13 and FY13 financial statements were false, did not

accurately portray the Company’s financial performance and were not prepared in accordance with

GAAP, as detailed in ¶¶114-196;

               (c)    that ARCP, Schorsch, Block, Beeson, Kay and McAlister were aware that the

AFFO reported by ARCP was false because McAlister had repeatedly informed Schorsch, Kay,

Block and other members of senior management by at least February 2014 that the Company’s

AFFO calculations improperly accounted for costs attributed to non-controlling interests in ARC

Properties, thus falsifying the AFFO numbers disseminated by the Company;

               (d)    that the AFFO provided to investors remained inflated as a result of Kay’s

instruction to Block and McAlister not to change or correct ARCP’s fraudulent reports, thereby

avoiding public disclosure of the Company’s faltering financial performance;

               (e)    that ARCP lacked adequate internal controls to: (i) ensure that its SEC filings

were timely reviewed; (ii) ensure that grants of equity-based compensation were consistent with

those approved by the Board; (iii) formulate AFFO guidance and periodically reassess the

Company’s ability to meet its AFFO guidance; and (iv) assess, authorize and monitor related-party


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transactions that resulted in payments to ARCP’s external manager and its affiliates – all entities

controlled by Schorsch – that were not sufficiently documented or that otherwise warranted scrutiny;

                (f)     that the “acquisition machine” which Beeson contended was driving ARCP’s

performance was predicated on Block, Beeson, Kay, Schorsch and McAlister’s falsification of

ARCP’s financial results;

                (g)     that the ARCP “acquisition machine” was designed to generate nearly $200

million in compensation payments and fees for Schorsch-controlled entities in 2013;

                (h)     that as a result of (a)-(g), above, ARCP, Schorsch, Block, Kay, Beeson and

McAlister had no reasonable basis to believe, and in fact did not believe, that ARCP was

“undervalued” or “off to a tremendous start” for 2014; and

                (i)     that as a result of (a)-(g), above, ARCP, Schorsch, Block, Kay, Beeson and

McAlister had no reasonable basis to believe, and in fact did not believe, their 2014 AFFO guidance

of $1.13-$1.19 per share or that their AFFO guidance had “room for upside.”

        First Quarter 2014 Financial Results

        290.    On May 8, 2014, ARCP issued a release announcing its financial results for 1Q14.

The release emphasized that ARCP had achieved “Record First Quarter 2014 Operating Results.”

The Company reported AFFO available to common stockholders of $147.4 million, or $0.26 per

share, representing a year-over-year increase of 334.6%. ARCP reaffirmed its full-year 2014 AFFO

guidance of $1.13-$1.19 per share. Schorsch and Kay commented on the Company’s financial

results, stating in pertinent part:

        Defendant Schorsch:

        I am very pleased with our results for the first quarter of the year . . . . We had a
        record quarter with earnings coming exactly in line with our expectations of $0.26
        AFFO per share, consistent with our previously stated guidance for the year.
        Additionally, our year-to-date acquisitions, combined with properties currently

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        under contract puts us well-ahead of schedule to achieve our total 2014 annual
        acquisition targets by midyear. With our strengthened balance sheet, and the
        Company ready to capitalize on a number of large-scale sale- leaseback transactions,
        we are in position to deliver strong shareholder return this year. . . .

                                          *       *       *

        Defendant Kay:

        With our acquisitions team firing on all cylinders, every aspect of our business is
        exceeding our expectations . . . . With strong earnings, our acquisition volume is
        outpacing our guidance, our cap rates surpass all industry peers, Cole Capital
        launched two new products, and we successfully integrated our management and
        systems, all of which is allowing us to execute with a disciplined intensity. The $1.7
        billion of acquisitions we have closed or placed under contract were at a 7.92% cash
        cap rate or 8.26% GAAP cap rate. These 150 self-originated transactions are
        indicative of the scale and expertise of our platform, providing a significant
        competitive advantage.

        291.   Beeson further noted that the Company’s “improved operational and financial

efficiencies” had positioned ARCP “well to drive meaningful growth.”

        292.   Also on May 8, 2014, ARCP filed with the SEC its Form 10-Q for the period ended

March 31, 2014 (the “1Q14 Form 10-Q”), which was signed by Schorsch and Block. The 1Q14

Form 10-Q also reiterated ARCP’s previously announced financial results, including its

representation at page 66 that ARCP had posted 1Q14 AFFO of $147 million, compared to 1Q13

AFFO of $34 million. The 1Q14 Form 10-Q further represented that those financial results were

accurate and presented in accordance with GAAP, that the Company’s internal controls were

effective and that the 1Q14 Form 10-Q disclosed any material changes to the Company’s internal

control over financial reporting. It also included Schorsch’s and Block’s certifications pursuant to

SOX, identical in all material aspects to the certification quoted in ¶¶164-165.

        293.   Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s 1Q14 financial results. During the conference call, Schorsch stated: “Our first quarter

earnings came in exactly where we expected, at $0.26 per share of AFFO,” while reiterating that

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“[w]e are confident with our guidance for the full year of 2014 of $1.13 to $1.19 per share.” Block

noted that the Company’s “current run rate based on AFFO per share fully diluted is between $0.29

and $0.30.”

        294.   Beeson discussed various aspects of the Company’s operations and net lease

portfolio, noting how ARCP had “successfully integrated over 300 individuals from the multiple

entities into one cohesive enterprise,” and confirming that the respective accounting systems had

likewise been “fully integrated as well.”

        295.   Upon completion of the prepared remarks by Schorsch, Kay, Block and Beeson, the

call was opened up for questions. In response to questions from one analyst, Schorsch emphasized

that investors should be buyers of ARCP stock as “we’re way undervalued,” noting that “our stock

is cheap.”

        296.   The statements referenced above in ¶¶290-295 were each false and misleading when

made in that each omitted and/or misrepresented material facts. The true facts, which were then

known to or recklessly disregarded by ARCP, Schorsch, Block, Beeson and Kay, were:

               (a)    that ARCP’s reported 1Q14 AFFO of $147 million, or $0.26 per share, was

overstated by 35% and 37% respectively, as detailed in ¶¶114-196;

               (b)    that ARCP had not posted “record” results and was not experiencing

“improved operational efficiencies” nor was it positioned for meaningful growth, as the Company

lacked reliable financial controls and, as a result, was issuing false financial reports, including

inflated AFFO and unreliable AFFO guidance, to the market;

               (c)    that ARCP, Schorsch, Block, Kay and Beeson were aware that the 1Q14 Form

10-Q was false as McAlister had “repeatedly” informed Schorsch, Kay, Block and other members of




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senior management that the Company’s AFFO calculation improperly accounted for costs that

should have been attributed to non-controlling interests in ARC Properties;

                (d)    that the false AFFO reported by ARCP for 1Q14 was provided to investors

upon Kay’s instruction to Block and McAlister not to change or correct the fraudulent reports, in an

effort to misrepresent the Company’s performance and avoid disclosure of the Company’s faltering

financial performance;

                (e)    that ARCP’s 1Q14 financial statements were false, did not accurately portray

the Company’s financial performance and were not prepared in accordance with GAAP, as detailed

in ¶¶114-196;

                (f)    that, as detailed in ¶¶182-196, ARCP lacked adequate internal controls,

including controls to ensure, among other things, that the Company’s Code of Conduct was adhered

to and that employees would not be subject to pressure to make inappropriate decisions concerning

the formulation of ARCP’s financial statements or calculation of AFFO;

                (g)    that ARCP had not successfully integrated its financial systems or operations

“into one cohesive enterprise,” as it lacked even the most basic accounting functions, including a

standardized internal accounting close and cash reconciliation process;

                (h)    that ARCP was not generating “strong earnings” nor was its stock cheap nor

undervalued, as its financial results for FY13 and 1Q14 were the product of fraudulent

manipulations, as detailed in ¶¶114-196, including its reported AFFO per share, which was

overstated by 23% and 37%, respectively;

                (i)    that absent the fraudulent manipulation of the Company’s AFFO, ARCP’s

actual AFFO could not meet, let alone outpace, ARCP’s 2014 AFFO guidance of $1.13-$1.19 per

share;

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               (j)    that the Company’s ability to continue to meet AFFO growth guidance of

$1.13-$1.19 per share was entirely dependent upon the continued manipulation of the Company’s

financial statements and reported AFFO; and

               (k)    that as a result of (a)-(j), above, ARCP and Schorsch had no reasonable basis

to believe, and in fact did not believe, their 2014 AFFO guidance of $1.13-$1.19 per share.

        May 21, 2014 Secondary Offering

        297.   On May 21, 2014, ARCP entered into an agreement related to the offering of

138 million newly issued shares of ARCP common stock at $12.00 per share (the “May 21 Equity

Offering”), raising $1.65 billion from investors pursuant to the false and misleading 2013 Shelf

Registration Statement, along with a preliminary Prospectus Supplement filed May 21, 2014 and a

Prospectus Supplement filed May 23, 2014, which were incorporated therein (collectively, the “May

21 Equity Offering Documents”).24

        298.   Defendants identified in ¶91 were “underwriters,” as defined in §2(11) of the

Securities Act, of the May 21 Equity Offering.

        299.   The May 21 Equity Offering Documents incorporated by reference ARCP’s 2012

Form 10-K, 2013 Form 10-K and its 1Q14 Form 10-Q, each of which represented that: (i) the

financial results contained therein were accurate and presented in accordance with GAAP; and

(ii) the Company’s internal controls were effective and any material changes to the Company’s

internal controls over financial reporting had been disclosed. Each of the 2012 Form 10-K, 2013

Form 10-K and 1Q14 Form 10-Q also included false and misleading certifications executed by

Schorsch and Block and filed pursuant to SOX.


24
    The underwriters also exercised the “green shoe,” selling an additional 18 million newly issued
shares, for a total of 138 million shares in connection with the May 21 Equity Offering.

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         300.   The statements referenced above in ¶¶297-299 were each materially false and

misleading when made in that they failed to disclose and/or misrepresented the following adverse

facts:

                (a)    that ARCP’s financial statements for FY12, FY13 and 1Q14 which were

incorporated into the May 21 Equity Offering Documents were false, did not accurately portray the

Company’s financial performance and were not prepared in accordance with GAAP, as detailed in

¶¶114-118, 120-175, 180-196;

                (b)    that ARCP could not prepare sufficiently reliable financial statements, and, as

detailed in ¶¶182-196, has admitted that it lacked necessary and appropriate internal controls with

regard to its financial reporting processes; and

                (c)    the Company’s reported 1Q14 and FY13 AFFO was overstated by at least

36% and nearly 23%, respectively because ARCP lacked appropriate controls over the formulation

of AFFO and its evaluation of AFFO guidance.

         Annual Shareholder Meeting

         301.   On May 29, 2014, ARCP held its annual shareholder meeting. Shareholders focused

intently on ARCP’s management’s compensation and the OPP Plan, a compensation scheme that had

been represented to shareholders to entitle as much as $221.1 million in performance payouts to

certain members of ARCP management, specifically Schorsch and Block, over a five-year period,

42.5% of which (nearly $100 million) was allocated to be paid to Schorsch, assuming ARCP met

certain performance goals measured over the ensuing three years. Notably, Schorsch and ARCP’s

senior management were entitled to at least 50% of those payments even if the total return to

stockholders over the measuring period, including both share price appreciation and common

stock distributions, as measured against a hurdle rate and a peer group of companies was – zero.


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        302.    Shareholder reaction to the ARCP compensation scheme was overwhelmingly

negative, as only 32% of the shares represented at the annual meeting voted in favor of the OPP

Plan.

        REIT Week Investor Forum

        303.    On June 3, 2014, Schorsch, speaking at the NAREIT REITWeek Investor forum,

highlighted the Company’s increased acquisition guidance for 2014, stating in pertinent part:

        We’ve also raised our acquisition guidance – our core acquisition guidance. This
        is critically important for people to understand about what we do. This is a very,
        very large enterprise. It’s about $30 billion between our non-traded REITs that are
        the Cole brand and our traded ARCP balance sheet.

                                           *       *       *

        . . . But the reason we’ve raised our acquisition target is because we net the entire
        years’ core acquisition target by June. It makes no sense to not have acquisitions in
        the last half of the year. Now granted, we do not expect anywhere near the
        acquisition speed in the last half of the year . . . but we did raise our target from $3
        billion to $4.5 billion and we’re currently already locked and loaded on $3.3 billion
        to close this year through the end of June.

        June 20 Stockholder Memorandum

        304.    On June 20, 2014, ARCP announced via a stockholder memorandum Schorsch’s

planned transition to Executive Chairman and that Kay would replace Schorsch as CEO in October

2014. The memorandum also confirmed that Kahane and Weil would be resigning from their board

seats. The stockholder memorandum also included a chart emphasizing that ARCP was “a

compelling value proposition” due in part to the fact that it traded at the “lowest 2014 AFFO

multiple” relative to its peers.

        Second Quarter 2014 Financial Results

        305.    On July 29, 2014, ARCP issued a release announcing its financial results for 2Q14.

For the quarter, the Company reported AFFO of $205.3 million, representing a year-over-year


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increase of 429.0%, or $0.24 per fully diluted share, representing a year-over-year increase of 26%.

The Company also reported a net loss of ($40.3 million), or ($0.08) per share.

        306.    Noting that ARCP’s use of AFFO was designed to “provide a more complete

understanding of our performance relative to our peers and a more informed and appropriate basis on

which to make decisions involving operating, financing and investing activities,” the Company

reported a “estimated AFFO run rate as of year-end 2014 of $1.18-$1.20 per share including 2014

completed and announced transactions.” Kay and Schorsch commented on the Company’s

financial results, stating in pertinent part:

        Defendant Kay:

        Our second quarter results and accomplishments are indicative of our focus on
        driving long-term value by delivering on our commitments . . . . In six months, we
        have fully integrated the organization, achieved $38.0 million of the $77.0 million of
        cost synergies to come in the first year, reduced leverage, de-risked the balance sheet,
        lengthened debt maturities, created $11.8 billion of unencumbered assets and
        significantly extended and upsized our credit facility. With these actions undertaken
        and the formative stage of the company behind us, we are focused on the day-to-day
        operations of the company. Through all of these undertakings, we are positioned
        for long-term success.

        Our balance sheet acquisitions in the quarter, owned and under contract, of 1,217
        properties in over 210 separate transactions demonstrates the continuing systematic
        execution of our core acquisition strategy and testifies to the repeatability of our
        investment process. As always, we see a tremendous volume of deals, but with only
        approximately $250 million of acquisitions remaining to transact in calendar year
        2014 on the balance sheet to meet our previously announced $4.5 billion target, we
        intend to maintain a highly disciplined and selective approach to purchase the best
        assets for the portfolio. . . . The daily execution of these collective actions allows us
        to maintain our 2014 AFFO per share guidance of $1.13-$1.19, while significantly
        de-levering the balance sheet and maximizing value for our stockholders.

        Defendant Schorsch:

        . . . I have continued to focus my attention on improving corporate governance . . . .
        With the support of our Board of Directors, we are improving our practices by
        eliminating related-party transactions, enhancing disclosures, evaluating executive
        compensation, opting out of the MUTA to assure our stockholders’ right to elect the
        entire Board at each annual meeting, and implementing other policies designed to
        improve our reporting and transparency, further align interest with our stockholders,
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        and eliminate potential conflicts of interest. Our goal is to constantly improve our
        corporate governance, which we expect will ultimately be reflected in our corporate
        governance scores. All of these efforts are taken with a view toward creating long-
        term value for stockholders.

        307.   Also on July 29, 2014, ARCP filed its Form 10-Q for the period ended June 30, 2014

with the SEC (the “2Q14 Form 10-Q”), which was signed by Schorsch, Block and McAlister. The

2Q14 Form 10-Q reiterated ARCP’s previously announced financial results, represented that those

financial results were accurate and presented in accordance with GAAP, represented that the

Company’s internal controls were effective and disclosed any material changes to the Company’s

internal control over financial reporting, and included Schorsch’s and Block’s certifications pursuant

to SOX, identical in all material aspects to the certification quoted in ¶¶164-165.

        308.   The 2Q14 Form 10-Q contained a table, at page 74, which purportedly reflected

ARCP’s calculation of AFFO and represented that AFFO was $205.3 million and $353.1 million for

the three and six month periods ended June 30, 2014, respectively, representing increases of more

than 400% compared to $38.8 million and $72.3 million for the three and six month periods ended

June 30, 2013, respectively.

        309.   Later that day, ARCP held a conference call with analysts and investors to discuss the

Company’s 2Q14 financial results. During the conference call, Kay and Block stated in pertinent

part:

        Defendant Kay:

        . . . From afar, it may appear at times our rapid growth is hard to understand. I can
        assure you, however, that everything we do is directed towards a singular objective:
        to create value for our shareholders. . . .

        . . . We have built this Company with the future in mind and we are well positioned
        to take advantage of market opportunities as they arise. . . .

                                          *       *       *


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        For example, I am often asked how can a company of our size consistently invest in
        properties at cap rates meaningfully better than our competitors. There is no alchemy
        here, I assure you. In part, our ability to invest at prices better than our peer groups
        result from our origination team being the largest in the industry. . . .

                                           *       *       *

        ARCP is positioned for success. It is now not about creating this foundation, but
        building upon it. I could not be more excited about the prospects for this Company
        and I look forward to our future together.

                                           *       *       *

        Defendant Block:

        Our second-quarter results are in line with our expectations. . . . AFFO was $198.6
        million, or $0.24 per fully diluted share, which represents a 26% increase from this
        period last year. We are confident with our [AFFO] guidance range for the full
        year of 2014 of $1.13 to $1.19 per share. . . .

                                           *       *       *

        Additionally, our internal operations continues to strengthen. The synergy created
        by the integration of the Cole team and the adoption of new technology has
        allowed us to be more timely and efficient in our financial reporting. In fact, this
        enhanced scale allowed us to move up the timing of our 10-Q filing and earnings call
        as a result of these improvements by roughly a week.

        Let me turn to our earnings guidance numbers. . . .

        The second-half estimated AFFO projected run rate of $533 million . . . includes
        second quarter as well as G&A for the second half of the year of approximately $80
        million, which is inclusive of commissions and cost synergies. This is consistent
        with our full-year estimate of total G&A, including noncash compensation of
        approximately $176 million. The run rate AFFO also includes an estimate for Cole
        Capital based on our projected $3.1 billion of capital raise and $4.9 billion of
        acquisitions into the managed funds. The projection results in AFFO for Cole
        Capital for the full year of approximately $120 million.

        310.   During the conference call, an analyst questioned ARCP’s guidance, and Kay

responded in pertinent part:

        Dan Donlan – Ladenburg Thalmann & Company Inc. – Analyst:

        David, just wanted to go to the guidance of a quick just so I understand it. The pro
        forma AFFO run rate at year-end 2014, you have $1.18 to $1.20, that implies a
        quarterly run rate of $0.295 to $0.30.
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        That’s not a run rate for the fourth quarter, is it? Is that what it would be . . . at the
        very end of the quarter . . . for the first quarter of 2015 assuming nothing new to
        2015. Is that right?

        Defendant Kay:

        That is correct. Other than for Cole Capital that would assume the same estimates
        for 2015 as we have estimated for 2014. So yes, that would be a year-end run rate
        but would assume the same $4.9 billion of assets acquired during 2015 as well as the
        same $3.1 billion of equity raised in the Cole Capital managed funds.

                                            *       *       *

        Dan Donlan – Ladenburg Thalmann & Company Inc. – Analyst:

        If I am looking at the other guidance range that you reiterated, the one for the full-
        year 2014 of $1.13 to $1.19 I think, the midpoint of that is $1.16. So you have done
        $0.49 year to date. That would imply about $0.335 in the third quarter and fourth
        quarter to get to that midpoint – is that right as well?

        Defendant Kay:

        That is roughly, yes, the math. And the reason there being is again, most of the Cole
        Capital EBITDA will occur with the acquisitions in the capital (inaudible) in Cole
        Capital versus where we were the first two quarters of the year. It is a very steep
        ramp up, as you know.

        Dan Donlan – Ladenburg Thalmann & Company Inc. – Analyst:

        Yes, yes. And so you probably have some benefit from ARCM not getting full
        potentially until the first part of the fourth quarter as well.

        Defendant Kay:

        That is exactly right. Because as articulated in that and part of the reason why we
        really wanted to lay that out is because you will have Red Lobster and ARCenters
        being owned for the three-month period, roughly, both at the same time. And that is
        why we tried to be transparent and give both numbers – give the AFFO run rate so
        that you will see the difference of actually Centers coming out as well as the year
        with both Centers and Lobster in at the same period of time.

                                            *       *       *

        Just to note, one other thing also in the estimates there is no promote or one-time
        disposition fees in any of the Cole numbers either in the AFFO run rate that we gave
        of $1.18 to $1.20 or in the $1.13 to $1.19 range where we reconciled to $1.14.


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        311.    The statements referenced above in ¶¶297, 299, 301-310 were each false and

misleading when made in that each omitted and/or misrepresented material facts. The true facts,

which were then known to or recklessly disregarded by ARCP, Schorsch, Block, Kay and McAlister,

were:

                (a)    that ARCP’s reported financial results for 2Q14 were false, including its

reported AFFO of $0.24 per share, which was overstated by more than 14%, and its reported net loss

of $40.3 million which was understated by more than 26%.

                (b)    that ARCP’s 2Q14 financial statements were false, did not accurately portray

the Company’s financial performance and were not prepared in accordance with GAAP, as detailed

in ¶¶114-196;

                (c)    that, as described in ¶¶182-196, ARCP lacked appropriate controls to ensure,

among other things, that the Company’s Code of Conduct was adhered to and that employees would

not be subject to pressure to make inappropriate decisions concerning the formulation of ARCP’s

financial statements or calculation of AFFO;

                (d)    that ARCP was not improving its governance practices, reporting practices,

transparency or practices concerning related party transactions, as during the very quarter Schorsch,

Kay and Block were making these representations, these defendants had actively falsified ARCP’s

reported AFFO by tens of millions of dollars and its AFFO per share by more than 14%;

                (e)    that ARCP, Schorsch, Block, Kay and McAlister knew that the Company’s

AFFO as reported was false because McAlister had repeatedly informed Schorsch, Kay, Block and

other members of senior management that the Company’s AFFO calculation improperly accounted

for costs attributed to non-controlling interests in ARC Properties;




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               (f)     that the ARCP’s 2Q14 AFFO reported to investors and incorporated in

ARCP’s 2Q14 Form 10-Q was inflated based upon Kay’s instruction to Block and McAlister not to

change or correct ARCP’s fraudulent financial statements and AFFO, thus avoiding disclosure of the

Company’s faltering financial performance;

               (g)     that on July 28, 2014, Schorsch instructed Block to ARCP’s 2Q14 AFFO by

shifting numbers in ARCP’s 2Q14 Form 10-Q in an effort to conceal ARCP’s previous improper

reporting;

               (h)     that Schorsch and Kay directed Block to take steps in formulating ARCP’s

2014 financial statements to make it more difficult for stockholders to discover the fraudulent

changes regarding add-backs of non-recurring transaction and deferred financing costs;

               (i)     that the Schorsch, Kay and Block did not have a singular objective of creating

value for ARCP shareholders, but rather their conduct was designed to ensure their primary objective

of facilitating rapid growth in ARCP’s asset base in order to generate higher executive compensation

payments, and payments to affiliated parties controlled by ARCP insiders and their affiliates which

totaled more than $475 million in 2013;

               (j)     that ARCP’s internal operations did not “continue to strengthen,” but rather

were riddled with no less than three dozen different accounting manipulations as ARCP itself

acknowledged just three months later;

               (k)     that ARCP’s financial reporting was neither “timely” nor “efficient”, but

rather was grossly inadequate, riddled with inadequacies and the product of fraudulent manipulators,

as detailed in ¶¶114-196;

               (l)     that ARCP’s 2Q14 results did not position the Company for “long term

success,” nor were they the product of defendants’ focus on driving long term value for ARCP

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shareholders, but were the result of the systematic manipulation by defendants Schorsch, Block, Kay

and McAlister of ARCP’s financial results, including its AFFO, as detailed in ¶¶114-196, 345-353;

and

               (m)    that as a result of (a)-(l), above ARCP, Schorsch, Block, Kay and McAlister

had no reasonable basis to believe, and in fact did not believe, their estimates of 2014 AFFO of

$1.13 - $1.19 per share.

        Exxon Capital Exchange Pursuant to
        September 12, 2014 Senior Notes Offering

        312.   On September 12, 2014, ARCP and ARC Properties registered the $2.55 billion

worth of Senior Notes previously issued in the February Notes Offering (discussed above in ¶¶277-

280) through the Exxon Capital Exchange Offer.

        313.   The Exxon Capital Exchange Offer was conducted pursuant to the 2013 Shelf

Registration Statement and a Prospectus dated September 12, 2014 (the “Senior Notes Registration

Statement”). The Senior Notes Registration Statement contained untrue statements of material fact

and failed to disclose material information required to be disclosed therein pursuant to the

regulations governing its preparation.

        314.   Specifically, the Senior Notes Registration Statement incorporated by reference

ARCP’s: (i) 2012 Form 10-K; (ii) 2013 Form 10-K; (iii) 1Q14 Form 10-Q; and (iv) 2Q14 Form 10-

Q each of which contained ARCP’s financial statements for those periods, which the Company now

admits were materially inaccurate and have been restated. The Senior Notes Registration Statement

also incorporated by reference the materially false and misleading internal control disclosures and

SOX certifications contained in those filings.

        315.   The Senior Notes Registration Statement was materially inaccurate because it

contained the following false and misleading statements: (i) pro-forma financial information;
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(ii) AFFO financial measures; (iii) risk disclosures; and (iv) representations about the Company’s

internal controls. ARCP now admits that all of these financial statements violated GAAP, largely

due to the understatement and misclassification of numerous expenses, as described in ¶¶114-118,

120-175, 180-196 herein. Such GAAP violations caused the reported net loss attributable to the

Company to be understated by approximately 3.4% for the year ended December 31, 2013, and

26.3% for 2Q14.

        316.   The Senior Notes Registration Statement also contained pro-forma financial

statements based upon ARCP’s false 2Q14 financial statements. Accordingly, the pro-forma

financial statements included in the Senior Notes Registration Statement, including the unaudited

selected pro-forma consolidated operating data for the six months ended June 30, 2014 and the

disclosures related thereto, were materially false.

        317.   The Senior Notes Registration Statement was also false and misleading because it

contained ARCP’s false AFFO for 2012, 2013, 1Q14 and 2Q14. These misstated AFFO amounts

were contained in the 2013 Form 10-K, 1Q14 Form 10-Q and 2Q14 Form 10-Q, which were

incorporated by reference into the September 12, 2014 Prospectus Supplement. AFFO per share was

overstated by 2.2% for 2012, 23% for 2013, 36.8% for 1Q14, and 14.3% for 2Q14.

        318.   Additionally, the 1Q14 Form 10-Q and the 2Q14 Form 10-Q incorporated by

reference in the Senior Notes Registration Statement contained materially inaccurate disclosures in

the MD&A (Management’s Discussion and Analysis of Financial Condition and Results of

Operations under Regulation S-K [17 C.F.R. §229.303]). The disclosures in the MD&A (which

require that ARCP provide investors with information sufficient to understand the Company’s results

of operations, liquidity and capital resources) were materially false and misleading because they




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were based, in part, upon ARCP’s admittedly misstated AFFO for 1Q14, 2Q14 and the three and six

months ended June 30, 2014.

        319.   Additionally, Item 3 of Form S-4 required that the Senior Notes Registration

Statement furnish the information required by Item 503 of Regulation S-K [17 C.F.R. §229.503],

including, among other things, a “discussion of the most significant factors that make the offering

risky or speculative.” The risk disclosures in the Senior Notes Registration Statement were

materially inaccurate because they failed to advise investors about significant, then-existing factors

that made the offering speculative or risky, including ARCP’s managements’ ongoing effort to

intentionally inflate the Company’s reported operating performance and intentionally file unreliable

and material misstated financial statements with the SEC.

        320.   Finally, the Senior Notes Registration Statement represented that the Company was

implementing “additional enhancements to its corporate governance practices as it remains focused

on ‘best practices[.]’”

        321.   The statements referenced above in ¶¶312-320 were false and misleading in that they

failed to disclose and/or misrepresented that ARCP lacked the necessary internal controls over its

accounting systems to prepare reliable financial statements, and accordingly, was not enhancing its

corporate governance practices or focusing on best practices. And just weeks after the September

2014 offering, ARCP admitted that the 1Q14 financial statements incorporated into the Senior Note

Registration Statement contained errors that had been “identified but intentionally not corrected,”

and that the 2Q14 financial statements incorporated into the Senior Note Registration Statement

contained errors that were “intentionally made[.]”




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                      ARCP ACKNOWLEDGES THAT IT FALSIFIED
                       ITS FINANCIAL STATEMENTS AND AFFO

        322.   Before the market opened on October 29, 2014, ARCP issued a release and filed a

Form 8-K with the SEC revealing that the Company’s previously reported FY13 financial results, as

well as its financial results for 1Q14 and 2Q14, “should no longer be relied upon,” and that the

Company intended to restate its financial results for those periods. ARCP further admitted that:

        (1) the Company’s AFFO was overstated during the first quarter of 2014 by an estimated
        $17,638,000 on a net basis (or $11,974,000 on a gross basis), and was overstated during the
        second quarter of 2014 by an estimated $10,869,000 on a gross basis; and

        (2) the Company’s net loss attributable to common stockholders was understated during the
        second quarter of 2014 by an estimated $9,242,000.

In addition, the Company’s Audit Committee had concluded that the first quarter error “was

identified but intentionally not corrected,” and the second quarter errors were “intentionally made.”

As a result, the Company was “reevaluating its internal control over financial reporting and its

disclosure controls and procedures.”

        323.   The Form 8-K stated, in pertinent part:

        Item 4.02 Non-Reliance on Previously Issued Financial Statements or a Related
        Audit Report or Completed Interim Review.

        . . . On October 24, 2014, the Audit Committee of the Board of Directors (the “Audit
        Committee”) of [ARCP] . . . concluded that the previously issued audited
        consolidated financial statements and other financial information contained in the
        Company’s Annual Report on Form 10-K for the fiscal year ended December 31,
        2013, the previously issued unaudited financial statements and other financial
        information contained in the Company’s Quarterly Reports on Form 10-Q for the
        fiscal periods ended March 31, 2014 and June 30, 2014, and the Company’s
        earnings releases and other financial communications for these periods
        (collectively, the “Prior Financial Information”) should no longer be relied upon.

        The Audit Committee based its conclusion on the preliminary findings of its
        investigation into concerns regarding accounting practices and other matters that
        first were reported to the Audit Committee on September 7, 2014. The Audit
        Committee promptly initiated an investigation, which is being conducted with the
        assistance of independent counsel and forensic experts.

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        The investigation conducted to date has not uncovered any errors in the consolidated
        financial statements (prepared in accordance with U.S. GAAP) for the three months
        ended March 31, 2014. However, based on the preliminary findings of the
        investigation, the Audit Committee believes that the Company incorrectly included
        certain amounts related to its non-controlling interests in the calculation of
        adjusted funds from operations (“AFFO”), a non-U.S. GAAP financial measure,
        for the three months ended March 31, 2014 and, as a result, overstated AFFO for
        this period. The Audit Committee believes that [1] this error was identified but
        intentionally not corrected, and [2] other AFFO and financial statement errors
        were intentionally made, resulting in an overstatement of AFFO and an
        understatement of the Company’s net loss for the three and six months ended June
        30, 2014.

                                          *       *       *

        Based on the preliminary findings of the investigation, the Company has identified
        the potential adjustments set forth in Exhibit 99.1 to this Report [1] to the
        Company’s reported net loss in accordance with U.S. GAAP for the three and six
        months ended June 30, 2014 and [2] to reported AFFO . . . for the three months
        ended March 31, 2014 and the three and six months ended June 30, 2014. Note
        that, in calculating AFFO for the first quarter of 2014, the Company presented
        activity from non-controlling interests on a net basis, while in the second quarter of
        2014, as permitted, the Company presented its activity from non-controlling interests
        on a gross basis (which it will continue to do in calculating AFFO in future periods).
        The weighted average number of shares used in calculating AFFO differs depending
        on whether the net or gross method is used (but does not change for purposes of
        calculating net loss per share in accordance with U.S. GAAP). The investigation is
        ongoing and there can be no assurance that the potential adjustments set forth in
        the table below will not change based upon the final results of the investigation,
        and any such change could be material.

        The Company will work with the Audit Committee and the Audit Committee’s
        independent advisors to determine the adjustments required to be made to the Prior
        Financial Information as expeditiously as possible. Upon the completion of this
        process, which could identify further adjustments in addition to those discussed
        above, the Company will restate the Prior Financial Information and amend its
        prior periodic filings to the extent required [and update its earnings guidance at
        that time].25 The Company will file its Quarterly Report on Form 10-Q for the
        quarter ended September 30, 2014 after the amended filings have been made.

        In light of the preliminary findings of the Audit Committee’s investigation, the
        Company is reevaluating its internal control over financial reporting and its
        disclosure controls and procedures. The Company intends to make the necessary


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     Bracketed language is contained in the Company’s October 29, 2014 release.

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        changes to its control environment to remediate all control deficiencies that are
        identified as a result of the ongoing investigation and the restatement process.

        324.   The Form 8-K announced the abrupt resignations of the Company’s CFO, defendant

Block, as well as defendant McAlister, the Company’s CAO.

        325.   The release and Form 8-K contained identical tables setting forth “Potential

Adjustments” to the Company’s: (1) previously reported AFFO for the first and second quarters of

2014; and (2) previously reported net loss attributable to common stockholders (a GAAP measure)

for the 2Q14. According to those tables, AFFO was overstated during 1Q14 by an estimated

$11,974,000 on a gross basis, and during 2Q14 by an estimated $10,869,000 on a gross basis.26 In

addition, the Company’s 2Q14 overstatement of AFFO included an understatement of the

Company’s net loss attributable to common stockholders of an estimated $9,242,000.

        326.   Later that day, defendants held a conference call with analysts and investors, during

which Kay admitted that the Company had inappropriately accounted for various accruals and

expenses, which affected, among other things, the Company’s reported GAAP earnings per share

(“EPS”). Kay explained that “various accruals and expenses . . . should[] [have] been accrued in the

second quarter that ended up resulting in an accrual in the third quarter instead. . . . That does

impact our GAAP statements. Accruals are an expense item. They affect both AFFO as well as

EPS.”

        327.   In response to these announcements, ARCP common stock traded as low as $7.85 per

share on October 29, 2014, a decline of more than 36% from the prior day’s closing price of $12.38

per share, before closing at $10 per share, a decline of more than 19%, on 231 million shares traded,

or more than 50 times the average daily trading volume during the Class Period.

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   These estimates were low. The amended SEC filings revealed that on a gross basis, 1Q14 AFFO
was overstated by $33,008,000, and 2Q14 AFFO was overstated by $19,344,000.

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        328.   The price of the Company’s common stock continued to decline as the market

absorbed the import of ARCP’s October 29, 2014 announcements and analysts issued reports

downgrading and lowering their estimates for the Company, closing at $9.42 per share on October

30, 2014, and ultimately tumbling to a closing price of $7.85 per share on November 3, 2014.

        329.   ARCP debt securities likewise experienced a substantial decline in price as a result of

the corrective disclosures announced on October 29, 2014. As reflected in the following table, debt

prices experienced a one-day decline of between 1.8% and 7.1%:

                      2.00%            3.00%               4.60%            3.00%             3.75%
                    due 2/6/17       due 2/6/19          due 2/6/24       due 8/1/18       due 12/15/20
  10/28/2014           $1,004.70        $1,007.20           $1,038.70          $995.00          $1,000.60
  10/29/2014             $986.90          $977.00             $965.20          $942.50           $957.50
   $ Change              -$17.80          -$30.20             -$73.50          -$52.50            -$43.10
   % Change                -1.8%            -3.0%               -7.1%            -5.3%              -4.3%


        330.   ARCP Series F Preferred stock also experienced a substantial decline in price as a

result of the corrective disclosures announced on October 29, 2014. On October 28, 2014, the

closing price of ARCP Series F Preferred stock was $23.53; on October 29, 2014, the price of ARCP

Series F Preferred stock declined to $22.12 on usually heavy trading volume. As the news of

ARCP’s corrective disclosures penetrated the market, the price of ARCP Series F Preferred stock

continued to decline. On November 3, 2014, the closing price of ARCP Series F Preferred stock was

$20.91 per share.

        331.   Analysts reacted negatively to the Company’s October 29, 2014 disclosures. For

example, Wells Fargo Securities noted, “we believe this morning’s announcement will be a

significant setback for the company in terms of earning or maintaining investor trust, credibility, and

allaying investor skepticism.”



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        332.   Credit rating agencies likewise reacted negatively. On October 29 and October 30,

2014, S&P and Moody’s, respectively, placed the corporate debt ratings of ARCP under review for

possible downgrade as the markets digested the revelations about ARCP.

        333.   On October 29, 2014, The Wall Street Journal reported that the SEC “intends to

launch an inquiry into the accounting irregularities” at ARCP. According to the October 29, 2014

Wall Street Journal article:

        The incident might make it harder for [ARCP], which manages nearly $30 billion in
        real estate, . . . to raise capital for purchasing properties, analysts said.

                                         *      *       *

        Others said the errors could directly undermine [ARCP’s] growth strategy, which has
        relied on tapping the debt and equity markets for capital to pay for acquisitions.

        The company’s “credibility is likely impugned for some period of time,” wrote J.P.
        Morgan analyst Anthony Paolone, adding that “capital costs will be higher in the
        near term . . . thus making growth more difficult.”

        Investors also are worried the timing of the accounting revelations could imperil a
        deal that [ARCP] announced earlier this month, according to a person familiar with
        the matter.

        On Oct. 1, the company said that it would sell its private capital-management
        business, Cole Capital, which raises money for nontraded REITs, for $700 million to
        RCS Capital Corp., another company chaired by Mr. Schorsch.

        334.   On October 31, 2014, Reuters reported that the FBI and the United States Attorney’s

Office for the Southern District of New York had “opened a criminal probe of [ARCP] . . . in the

wake of the . . . accounting errors.”

        335.   On November 3, 2014, Wells Fargo suspended equity research coverage on ARCP,

citing news reports “that the FBI and the U.S. attorneys’ office have both opened a criminal probe

into ARCP.” Ladenburg also suspended coverage.

        336.   Although the Company had represented that it did not expect its revelations of

accounting improprieties “to impact any previously announced transactions, including the sale of
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Cole Capital,” on November 3, 2014, ARCP announced that RCAP had notified the Company “[i]n

the middle of the night” that it was terminating its $700 million agreement to purchase Cole Capital

from ARCP. RCAP cited the “recent disclosures by [ARCP] . . . on October 29, 2014, and the

matters arising with respect to such disclosures” – notwithstanding the fact that Schorsch held

executive-level positions at both RCAP and ARCP.

        337.   On November 6, 2014, Oppenheimer released a research report summarizing a

conversation with Kay and Michael Sodo in which they indicated that they “expect[ed] to release

revised result for all three quarters in 2014 and full year 2013 together.”

        338.   The Company’s ability to finance the acquisitions so critical to its business strategy

was hindered by its fraudulent financial reporting and its inability to file accurate financial

statements. Thus, on November 14, 2014, ARCP announced that it “had received . . . consent . . .

from its lenders on its unsecured credit facility for an extension” of time to file “its third quarter

2014 financial statements . . . by January 5, 2015.” As a condition of the extension, however, the

Company’s lenders required it “to permanently reduce the maximum amount of indebtedness” under

the unsecured credit facility “from $4.65 billion to $4.0 billion,” and to “temporarily” reduce that

amount to $3.6 billion until the Company filed its amended financial statements with the SEC –

which left ARCP with only $400 million of remaining borrowing capacity. Subsequently, on

December 23, 2014, ARCP was forced to further “permanently reduce the maximum amount of

indebtedness under its credit facility to $3.6 billion,” in exchange for an additional extension of time

from its unsecured credit facility lenders to file its 3Q 2014 and amended financial statements.

        339.   On November 18, 2014, ARCP announced that the Company had received a notice

from the NASDAQ stating that it was “not in compliance with NASDAQ Listing Rule 5250(c)(1)




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that requires timely filing of reports with the [SEC],” and had until January 11, 2015 to submit a plan

to regain compliance.

        340.   Then, on December 15, 2014, ARCP filed a Form 8-K with the SEC announcing that

Schorsch had “resigned as Executive Chairman and a director of [ARCP]” and had “also resigned

from all other employment and board positions that he held at the Company and its subsidiaries and

certain Company-related entities.” According to a release issued that day, ARCP was “unwinding

all of its relationships with entities in which Mr. Schorsch maintains an executive or director-level

role or is a significant stockholder.” The December 15, 2015 Form 8-K also announced the

resignations of Kay, the Company’s CEO and a member of the Board of Directors, and Beeson, the

Company’s President and COO. According to a J.P. Morgan research report dated December 18,

2014, “[w]e were surprised (and so was the market) by the resignation of David Kay (former CEO)

this week since, up until recently Mr. Kay stated that he was there for the long haul.”

        341.   The following day, S&P downgraded ARCP’s credit rating to junk status and

cautioned that further downgrades were possible in the near-term. Moody’s likewise downgraded

the Company’s credit rating below investment grade, with a “negative outlook.”

        342.   As a result of defendants’ fraud and other violations of law, ARCP’s reputation and

credibility among investors and business associates have been devastated. ARCP purchases real

estate with money raised by selling non-traded, illiquid REITS, primarily to small investors through

a network of independent broker-dealers and financial advisors. Indeed, nearly 40,000 independent

broker-dealers immediately suspended sales of ARCP, Cole Inc. and RCAP-sponsored products, and

three giants of the clearing and custody industry – Fidelity, Pershing and Schwab –followed suit. As

Paul Adornato (“Adornato”), a REIT analyst with BMO Capital markets stated: “It would be




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difficult if not impossible for any broker to sell shares . . . until the investigation into ARCP[‘s] . . .

financial control is satisfactorily completed.”

        343.    The Company’s credibility has been so severely harmed that it was compelled to

conduct “a review of its portfolio” and assure the market in a December 24, 2014 release that it had

re-confirmed ownership status of its own portfolio and the status of property leases. In the same

release, ARCP delivered yet another blow to investors: it would “not pay a dividend on its common

stock until its financial statements have been delivered,” and “intend[ed] to review its dividend

policy” thereafter.

        344.    On March 2, 2015, ARCP filed a Form 8-K with the SEC disclosing that its Audit

Committee confirmed the necessity of restating its financial statements for FY12 and FY13, as well

as 1Q13, 2Q13, 3Q13, 1Q14 and 2Q14, because of the Company’s GAAP violations and financial

reporting improprieties. ARCP also confirmed that it had overstated its AFFO for each of the

periods above, in addition to FY11. Additionally, ARCP admitted the impropriety of certain

payments to Schorsch-related entities that “were not sufficiently documented or otherwise warrant

scrutiny”; the payment of equity awards to Schorsch and Block “more favorable than the

Compensation Committee . . . had authorized”; and “material weaknesses in the Company’s internal

controls over financial reporting and its disclosure controls and procedures.” In connection with

ARCP’s announcement, on March 2, 2015, the Company filed an amended 2013 Form 10-K, an

amended 1Q14 Form 10-Q and an amended 2Q14 Form 10-Q with the SEC. On March 30, 2015,

ARCP filed its 2014 Form 10-K outlining the pervasive material weaknesses in ARCP’s internal

financial controls, and disclosing the hundreds of millions of dollars in fees and commissions paid to

ARC Advisors and its affiliates during the Class Period.




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                  McALISTER FILES HER VERIFIED COMPLAINT
               CONFIRMING DEFENDANTS’ FRAUDULENT REPORTING

        345.   On December 18, 2014, the reason for Schorsch, Kay and Beeson’s December 15,

2014 dramatic departures became clear. Former CAO McAlister filed a Verified Complaint in the

Supreme Court of the State of New York, County of New York, asserting claims of defamation per

se against ARCP, Schorsch and Kay. In an action captioned Lisa Pavelka McAlister v. American

Realty Capital Properties, Inc., et al., Index No. 162499/2014 (N.Y. Sup. Ct. N.Y. Cnty.), McAlister

disputed the account of events given by the Company and Kay on October 29, 2014, including their

representation that she had “resigned.”

        346.   Specifically, McAlister alleged that, beginning in or about February 2014, she

“repeatedly informed Mr. Schorsch, Mr. Kay and senior management [that] she had discovered

that the Company had, in the fourth quarter of 2013 (‘2013 Q4’), and possibly in earlier quarters,

suddenly and without any apparent justification or basis changed the method by which it had

historically reported its adjusted funds from operations (‘AFFO’) relative to previous financial

quarters.” Verified Complaint, ¶1.

        347.   In an explanation facially similar to the one given by Kay during the October 29,

2014 investor and analyst call, McAlister – who described AFFO as “arguably the single most

critical metric” for publicly traded REITs (id., ¶33) – alleged:

        Specifically, the Company ceased pro-rating the added-back-to-AFFO non-recurring
        transaction and deferred financing costs on its 10K and 10Q reports, opting instead to
        add to and increase the Company’s AFFO by the entirety of the edit-back costs,
        including the portion thereof that should have been attributed to non-controlling
        interests in the operating partnership, ARC Properties Operating Partnership LP,
        instead of adding to AFFO only the Company’s pro rata share of the added-back
        costs.

Id., ¶31.



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        348.     According to McAlister’s verified petition, she made senior management, including

Schorsch and Kay, aware of the problem in or about the previous February.

        349.     Moreover, McAlister alleged that, upon apprising Kay of the problem she had

identified, he directed her and Block “not to change or correct the fraudulent reports, in an apparent

effort to avoid public disclosure of the Company’s faltering financial performance.” Id., ¶37.

        350.     She also alleged that, during a conference call with her and Block on or around

July 28, 2014:

        Mr. Schorsch directed Mr. Block to reallocate the funds used to calculate the AFFO
        and shift the numbers in the 2014 Q2 report in an effort to conceal the previous
        improper reporting, by having Mr. Block prepare a schedule changing the add-back
        amortization and write off of deferred financing costs.

Id., ¶39.

        351.     In addition, she alleged that Schorsch and Kay directed the Company to “change[] the

beginning point for its AFFO calculation from ‘net loss attributable to stockholders (in accordance

with U.S. GAAP)’ to ‘net loss (in accordance with U.S. GAAP).’” Id., ¶40. While this change was

not improper in and of itself, she alleged, “it made it more difficult for stockholders to see the

fraudulent change in the add-backs of non-recurring transaction and deferred financing costs.” Id.

        352.     Although McAlister “repeatedly expressed her concerns regarding Mr. Schorsch’s

instruction to shift and reallocate the funds in the 2014 Q2 report, . . . her objections went ignored.”

Id., ¶42. Therefore, after she was appointed to be the “‘principal accountant’ on the 2014 Q2

report,” id., ¶43, she “emailed Jessica Estrada, a Manager at Grant Thornton, the Company’s

auditors, and called attention to the manipulative accounting practice reflected in the Q2 report.” Id.,

¶44. In response to her email, according to McAlister: “Ms. Estrada and Richard LeFleur, a Partner

at Grant Thornton, told Ms. McAlister that she could sign and file the 2004 Q2 report ‘as is.’” Id.,

¶45. On Grant Thornton’s instruction, McAlister filed the 2014 Q2 report. Id., ¶46.
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        353.    Finally, McAlister alleged that the issues she had raised concerning the Company’s

accounting resulted in the Audit Committee’s internal investigation, id., ¶48, that she was later

“terminated” on or about October 28, 2014, id., ¶51, in “retaliation for her blowing the whistle on

ARCP’s unlawful accounting and financial reporting practices,” and in order to make McAlister the

scapegoat for defendants’ fraudulent conduct. Id., ¶52. After learning about McAlister’s complaint,

which “suggest[ed] a more broad knowledge of the intentional misstatement,” J.P. Morgan surmised

that the resignations could be because the lawsuit could “impugn Mr. Kay’s credibility,” and signify

that the Audit Committee’s “investigation . . . [had] uncovered evidence that Mr. Kay knew more

than previously thought.”

            GRANT THORNTON’S FALSE AND MISLEADING AUDIT OPINIONS

        354.    Grant Thornton, a firm of certified public accountants, has provided the Company

with independent auditing and various accounting-related services since March 21, 2011.

        355.    As a result of Grant Thornton’s history with Schorsch-controlled entities, including

ARCP and those detailed in ¶85, above, and the scope of services it provided to the Company, Grant

Thornton personnel were intimately familiar with ARCP’s business, including its related-party

transactions.

        356.    Grant Thornton acted as ARCP’s auditor and consented to the inclusion of its

unqualified report on ARCP’s false financial statements for 2012 in the Registration Statements and

Prospectuses in connection with the debt offerings in July 2013, December 2013 and September

2014, the equity offering in May 2014, the Cole Merger and the ARCT IV Merger as described in

¶389. Grant Thornton also consented to the inclusion of its unqualified report on ARCP’s false

financial statements for 2013 in the Registration Statements and Prospectuses in connection with the

equity offering in May 2014 and debt registration in September 2014. Grant Thornton further


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reviewed ARCP’s financial results included in its 1Q14 and 2Q14 Forms 10-Q, which were

incorporated into the Prospectuses for the May 2014 (1Q14) equity and September 2014 (1Q14 and

2Q14) debt offerings. Grant Thornton also consented to be referred to in the Registration Statements

as “experts in accounting and auditing” whose audit reports were being relied upon.

        357.   Grant Thornton’s audit reports for 2012 and 2013 were identical in all material

respects and stated, in pertinent part:

        Report of Independent Registered Public Accounting Firm

        Board of Directors and Stockholders
        American Realty Capital Properties, Inc.

        We have audited the accompanying consolidated balance sheets of American Realty
        Capital Properties, Inc. (a Maryland corporation) and subsidiaries (the “Company”)
        as of December 31, 2013 and 2012, and the related consolidated statements of
        operations and comprehensive loss, changes in equity, and cash flows for each of the
        three years in the period ended December 31, 2013. Our audits of the basic
        consolidated financial statements included the financial statement schedules listed in
        the index. These financial statements and financial statement schedules are the
        responsibility of the Company’s management. Our responsibility is to express an
        opinion on these financial statements and financial statement schedules based on our
        audits.

        We conducted our audits in accordance with the standards of the Public Company
        Accounting Oversight Board (United States). Those standards require that we plan
        and perform the audit to obtain reasonable assurance about whether the financial
        statements are free of material misstatement. An audit includes examining, on a test
        basis, evidence supporting the amounts and disclosures in the financial statements.
        An audit also includes assessing the accounting principles used and significant
        estimates made by management, as well as evaluating the overall financial statement
        presentation. We believe that our audits provide a reasonable basis for our opinion.

        In our opinion, the consolidated financial statements referred to above present fairly,
        in all material respects, the financial position of American Realty Capital Properties,
        Inc. and subsidiaries as of December 31, 2013 and 2012, and the results of their
        operations and their cash flows for each of the three years in the period ended
        December 31, 2013 in conformity with accounting principles generally accepted in
        the United States of America. Also in our opinion, the related financial statement
        schedules, when considered in relation to the basic consolidated financial statements
        taken as a whole, presents fairly, in all material respects, the information set forth
        therein.

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        We also have audited, in accordance with the standards of the Public Company
        Accounting Oversight Board (United States), the Company’s internal control over
        financial reporting as of December 31, 2013, based on criteria established in the 1992
        Internal Control-Integrated Framework issued by the Committee of Sponsoring
        Organizations of the Treadway Commission (COSO), and our report dated February
        27, 2014 expressed an unqualified opinion.

        358.   The statements made in the audit reports were objectively false because: (a) as

detailed above, ARCP’s 2012 and 2013 financial statements violated GAAP; (b) material

weaknesses existed in ARCP’s internal control over financial reporting; and (c) Grant Thornton’s

audits of the FY12 and FY13 financial statements were not conducted in accordance with the

standards of the PCAOB.

        359.   Auditing standards have been established to ensure that external auditors fulfill their

obligations when auditing and reviewing financial statements and other information contained in

SEC filings. These standards include those originally established by the American Institute of

Certified Public Accountants (“AICPA”), which include, inter alia, ten basic standards that establish

the objectives of a financial statement audit and provide guidance for the quality of audit procedures

to be performed, as well as interpretations of these standards.

        360.   As a result of SOX, the PCAOB was created to oversee the audits of public

companies, and has now adopted, amended, and expanded upon the auditing standards and

interpretations previously issued by the AICPA (referred to by the PCAOB as “interim standards”),

and has also promulgated additional auditing standards (referred to herein as “AS___”).

        361.   The PCAOB’s AS No. 5, An Audit of Internal Control Over Financial Reporting That

Is Integrated with An Audit of Financial Statements, identifies the following as indicators of material

weakness(es) in a company’s system of internal control: (1) the identification of fraud, whether or

not material, on the part of senior management; and (2) a restatement of previously issued financial

statements to reflect the correction of a material misstatement.
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        362.   These indicators, which were admittedly present during the Class Period, demonstrate

that material weaknesses existed in ARCP’s system of internal control throughout the Class Period.

        363.   In addition, Grant Thornton’s knowledge of ARCP’s transactions with its affiliates

and related parties created various obligations under the auditing standards. For example, AU §334,

Related Parties, notes that the auditor “should place emphasis on testing material transactions with

parties he knows are related to the reporting entity” and “apply the procedures [the auditor] considers

necessary to obtain satisfaction concerning the purpose, nature, and extent of these transactions and

their effect on the financial statements.”

        364.   Further, AS No. 15, Audit Evidence, provides that an auditor has a reasonable basis

for issuing an audit opinion when the auditor has planned and performed audit procedures in a

manner that enables the auditor to obtain “sufficient appropriate audit evidence.” AS No. 15 defines

sufficiency as “the measure of the quantity of audit evidence” and appropriateness as “the measure

of the quality of audit evidence.”

        365.   In addition, AS No. 14, Evaluating Audit Results, provides that when evaluating

whether the financial statements as a whole are free of material misstatement, the auditor should

evaluate the qualitative aspects of the company’s accounting practices, including potential bias in

management’s judgments about the amounts and disclosures in the financial statements.

        366.   Had Grant Thornton performed its audit in accordance with the standards of the

PCAOB, it would have learned, if it did not already know, that the 2012 and 2013 financial

statements were not presented in conformity with GAAP and could not be relied upon.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE:
                        FRAUD ON THE MARKET DOCTRINE

        367.   At all relevant times, the markets for ARCP securities were efficient for the following

reasons, among others:
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                (a)     ARCP stock met the requirements for listing, and was listed and actively

traded on the NASDAQ, a highly efficient and automated market;

                (b)     as a regulated issuer, ARCP filed periodic public reports with the SEC and the

NASDAQ;

                (c)     ARCP regularly communicated with public investors via established market

communication mechanisms, including through regular disseminations of press releases on the

national circuits of major newswire services and through other wide-ranging public disclosures, such

as communications with the financial press and other similar reporting services; and

                (d)     ARCP was followed by several securities analysts employed by major

brokerage firms who wrote reports that were distributed to the sales force and certain customers of

their respective brokerage firms. Each of these reports was publicly available and entered the public

marketplace.

        368.    As a result of the foregoing, the markets for ARCP securities promptly digested

current information regarding ARCP from all publicly available sources and reflected such

information in the prices of ARCP’s securities. Under these circumstances, all purchasers of ARCP

securities during the Class Period suffered similar injury through their purchase of ARCP securities

at artificially inflated prices and a presumption of reliance applies.

        369.    A class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972), because the

Class’s claims are grounded on defendants’ material omissions. Because this action involves

defendants’ failure to disclose material adverse information regarding ARCP’s business operations

and financial prospects – information that defendants were obligated to disclose – positive proof of

reliance is not a prerequisite to recovery. All that is necessary is that the facts withheld be material

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in the sense that a reasonable investor might have considered them important in making investment

decisions. Given the importance of the Class Period material misstatements and omissions set forth

above, that requirement is satisfied here.

          Additional Averments Regarding the February Notes Offering

          370.   As alleged here, in connection with the offering and sale of the Senior Notes pursuant

to the February 6, 2014 February Notes Offering, defendants employed devices, schemes and

artifices to defraud, and engaged in acts, practices and a course of business, which would and did

operate as a fraud and deceit upon certain plaintiffs and other members of the Class. This scheme

included the offering and sale of the Senior Notes based on materially false and misleading

information, and without disclosing material facts.

          371.   Named plaintiffs and members of the Class need not prove individualized reliance, or

may prove reliance through common evidence, when, as here, uniform written representations form

the basis of their claims. Because named plaintiffs can show that uniform and material written

representations were communicated to the Class as a whole, a presumption of class-wide reliance is

proper.

          372.   Defendants’ scheme included the dissemination of written offering materials that

contained material misrepresentations and omissions. These misrepresentations and omissions were

made to all potential investors, and included: (a) ARCP’s false 2012, 2013 and 2014 financial

results; (b) misrepresentations about the effectiveness of ARCP’s internal controls over financial

reporting; and (c) overstated 2014 AFFO guidance. The alleged misrepresentations and omissions

here were so fundamental to the value of the notes that it is impossible to imagine any market

existing for the Senior Notes, or any reasonable investor purchasing them, if the offering materials

had revealed their true nature.


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        373.   As detailed herein, defendants engaged in a scheme of fraudulent conduct involving

uniform misrepresentations and omissions made to plaintiffs and the other members of the Class.

And, since the material misrepresentations and omissions all were part of a uniform scheme

perpetrated through uniform Offering Materials, plaintiffs and the other members of the Class are

entitled to a presumption of reliance.

                           LOSS CAUSATION/ECONOMIC LOSS

        374.   During the Class Period, as detailed herein, defendants engaged in a scheme and

wrongful course of business that artificially inflated the price of ARCP securities by making false

and misleading statements, and omitting material information, about ARCP’s operations and

financial results. As defendants’ false and misleading statements and omissions became apparent to

the market, beginning on October 29, 2014, the price of ARCP securities fell, as the prior artificial

inflation came out. As a result of their acquisitions of ARCP securities during the Class Period,

plaintiffs and other members of the Class suffered economic loss.

        375.   In direct response to the October 29, 2014 disclosure, ARCP common stock

plummeted, trading as low as $7.85 per share on October 29, 2014, on an extremely heavy trading

volume. Before the market closed on October 29, 2014, ARCP held a conference call, which over

1,000 analysts and investors listened to telephonically. During the call, Kay characterized the fraud

as “a one-quarter adjustment,” implying that culpability was limited to two Company executives, and

emphasizing that the Company’s “controls and processes [had] continued to improve” over the last

ten months. Following Kay’s reassurances, the price of ARCP common stock rebounded slightly,

closing at $10 per share on October 29, 2014, a decline of more than 19% from the prior day’s

closing price, with over 230 million shares traded, 50 times the average daily trading volume during

the Class Period.


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        376.   The price of the Company’s common stock continued to decline on October 30, 2014,

closing at $9.42 per share as the market absorbed the import of the October 29, 2014 announcements

and analysts issued reports downgrading and lowering their estimates for the Company. ARCP’s

common stock price ultimately tumbled to a closing price of $7.85 per share on November 3, 2014,

after investors learned that RCAP had terminated its $700 million agreement to purchase Cole

Capital from ARCP, citing the October 29, 2014 disclosures as the reason for the termination of the

agreement.

        377.   As depicted in the below chart, the price of ARCP’s debt securities also declined as a

result of the Company’s October 29, 2014 corrective disclosure, and continued to decline through

November 3, 2014, as news of the corrective disclosure penetrated the market.

                      2.00%           3.00%               4.60%           3.00%             3.75%
                    due 2/6/17      due 2/6/19          due 2/6/24      due 8/1/18       due 12/15/20
  10/28/2014           $1,004.65       $1,007.24           $1,038.72         $995.00          $1,000.55
  10/29/2014             $986.86         $976.97             $965.18         $942.50           $957.50
   $ Change              -$17.79         -$30.27             -$73.54         -$52.50            -$43.05
   % Change                -1.8%           -3.0%               -7.1%           -5.3%              -4.3%

        378.   ARCP Series F Preferred stock also experienced a substantial decline in price as a

result of the corrective disclosures announced on October 29, 2014. On October 28, 2014, the

closing price of ARCP Series F Preferred stock was $23.53; on October 29, 2014, the price of ARCP

Series F Preferred stock declined to $22.12 on usually heavy trading volume. As the news of

ARCP’s corrective disclosures penetrated the market, the price of ARCP Series F Preferred stock

continued to decline. On November 3, 2014, the closing price of ARCP Series F Preferred stock was

$20.91 per share.

        379.   The declines in the price of ARCP securities pled herein were a direct result of the

nature, extent and impact of defendants’ prior false and misleading statements and omissions being


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revealed to investors and the market. The timing and magnitude of the price declines of ARCP

securities negates any inference that the loss suffered by plaintiffs and other Class members was

caused by changed market conditions, macroeconomic or industry factors, or Company-specific

factors unrelated to defendants’ wrongful conduct.

        380.        The following charts demonstrate the clear divergence of ARCP’s common stock

prices from its peer index, and the divergence of the prices of ARCP debt securities from the

FINRA-BLP Active Investment Grade U.S. Corporate Bond Index (“NBBIPR”), as the truth became

known to the market:

                                                       ARCP Common Stock
                                               vs. FTSE NAREIT All Equity REIT Index
                                               October 28, 2014 - November 4, 2014
 120




 100




  80



                                                                                                                 REIT Index
                                                                                                                 ARCP
  60




  40




  20




   -
       10/28/2014    10/29/2014   10/30/2014    10/31/2014    11/1/2014      11/2/2014   11/3/2014   11/4/2014




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                                                         ARCP Debt Securities
                               vs. FINRA-BLP Active Investment Grade US Corporate Bond Index (NBBIPR)
                                                 October 28, 2014 - November 4, 2014
                                          Price Impact of Accounting Irregularities Disclosure
   105




   100




                                                                                                                    NBBIPR
                                                                                                                    2% Sr.
    95
                                                                                                                    4.6% Sr.
                                                                                                                    3% Sr.
                                                                                                                    3% Cvrt.
                                                                                                                    3.75% Cvrt.
    90




    85




    80
            10/28/2014   10/29/2014   10/30/2014   10/31/2014    11/1/2014   11/2/2014   11/3/2014      11/4/2014



         381.        The economic loss suffered by plaintiffs and other members of the Class was a direct

result of defendants’ wrongful conduct, which inflated the prices of ARCP securities and resulted in

the subsequent decline in the value of those securities when defendants’ prior false and misleading

statements and omissions were revealed.

                                         CLASS ACTION ALLEGATIONS

         382.        Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of the Class. The Class is defined as:

         All persons or entities who purchased or otherwise acquired ARCP securities,
         including ARCP common stock, preferred stock and debt securities, as well as those
         who traded in option contracts on ARCP stock, between September 7, 2011 and
         October 29, 2014 (the “Class” and the “Class Period”), and who were damaged
         thereby.


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Excluded from the Class are defendants herein, members of the immediate families of each of the

defendants, any person, firm, trust, corporation, officer, director, or other individual or entity in

which any defendant has a controlling interest or which is related to or affiliated with any defendant,

and the legal representatives, agents, affiliates, heirs, successors-in-interest or assigns of any such

excluded party.

        383.   The members of the Class are so numerous that joinder of all members is

impracticable. ARCP securities were extensively traded during the Class Period. As of March 27,

2015, ARCP had more than 905 million shares of common stock issued and outstanding that were

actively traded on the NASDAQ and other exchanges, over 42 million shares of preferred stock, and

more than $3.5 billion in face value of outstanding debt. The precise number of Class members is

unknown to plaintiffs at this time but is at least in the thousands. In addition, the names and

addresses of the Class members can be ascertained from the books and records of ARCP or its

transfer agent. Notice can be provided to such record owners by a combination of published notice

and first-class mail, using techniques and a form of notice similar to those customarily used in class

actions arising under the federal securities laws.

        384.   Plaintiffs will fairly and adequately represent and protect the interests of the members

of the Class. Plaintiffs have retained competent counsel experienced in class action litigation under

the federal securities laws to further ensure such protection and intend to prosecute this action

vigorously.

        385.   Plaintiffs’ claims are typical of the claims of the other members of the Class because

plaintiffs’ and all the Class members’ damages arise from and were caused by the same false and

misleading representations and omissions made by or chargeable to defendants. Plaintiffs do not

have any interests antagonistic to, or in conflict with, the Class.

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        386.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the damages suffered by individual Class members may be

relatively small, the expense and burden of individual litigation make it virtually impossible for the

Class members to seek redress for the wrongful conduct alleged. Plaintiffs know of no difficulty that

will be encountered in the management of this litigation that would preclude its maintenance as a

class action.

        387.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by defendants’ acts as

alleged herein;

                  (b)    whether statements made by defendants during the Class Period

misrepresented and/or omitted material facts about ARCP and its business;

                  (c)    whether the price of ARCP securities was artificially inflated during the Class

Period; and

                  (d)    the extent of injuries sustained by members of the Class and the appropriate

measure of damages.

                                   FIRST CLAIM FOR RELIEF

                                For Violation of §11 of the 1933 Act

        388.      Plaintiffs incorporate ¶¶17-30, 32-34, 42-62, 85,87-92, 114-175, 180-196, 247-248,

262-275, 297-300, 312-337, 354-366 and 382-387 as though fully set forth herein. For purposes of

this Claim, plaintiffs exclude allegations that could be construed as alleging fraud or intentional

misconduct, as this Claim is based solely on claims of strict liability and/or negligence.


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         389.      This Claim is brought pursuant to §11 of the 1933 Act, 15 U.S.C. §77k, against

defendants as detailed below:

                                 Individual Defendants/
  Registration                   Registration Statement            Defendant          Defendant     Named
 Statement For           Date           Signatories              Underwriters          Auditor      Plaintiff
$300 million 3%       7/2013     Schorsch, Weil, Block,     J.P. Morgan, Citigroup,   Grant       Union
Convertible                      Jones, Kahane,             Barclays, BMO Capital,    Thornton    NYC Funds
Senior Notes due                 Michelson, Rendell,        KeyBanc, JMP
2018                             Bowman                     Securities, Ladenburg,
                                                            RCS Securities
$287.5 million        12/2013    Schorsch, Weil, Block,     Citigroup, Barclays,      Grant       Union
3% Convertible                   Jones, Kahane,             Credit Suisse, Morgan     Thornton
Senior Notes due                 Michelson, Rendell,        Stanley, Wells Fargo,
2018                             Bowman                     Capital One, JMP
                                                            Securities
$402.5 million        12/2013    Schorsch, Weil, Block,     Citigroup, Barclays,      Grant       Union
3.75% Convertible                Jones, Kahane,             Credit Suisse, Morgan     Thornton
Senior Notes due                 Michelson, Rendell,        Stanley, Wells Fargo,
2020                             Bowman                     Capital One, JMP
                                                            Securities
79.1 million          1/3/2014   Schorsch, Weil, Kahane,                              Grant       Paul Matten
shares of ARCP                   Michelson, Rendell,                                  Thornton    Mitchell Ellis
stock issued in                  Bowman, Budko, Block,                                            Bonnie Ellis
ARCT IV Merger                   Beeson

520.8 million         2/2014     Schorsch, Weil, Kahane,                              Grant       TIAA-CREF
shares of ARCP                   Michelson, Rendell,                                  Thornton    National
stock issued in                  Bowman, Kay, Budko,                                              Pension Fund
Cole Merger                      Block, Beeson                                                    Corsair
                                                                                                  NYC Funds
                                                                                                  KBC
                                                                                                  Simon Abadi

138 million shares    5/2014     Schorsch, Weil, Stanley,   Merrill Lynch,            Grant       National
of ARCP stock                    Kahane, Andruskevich,      Citigroup, Barclays, JP   Thornton    Pension Fund
issued in May                    Michelson, Rendell,        Morgan, Capital One,                  Tampa
2014 Offering                    Bowman, Sealy, Block,      Credit Suisse, Deutsche               Corsair
                                 Jones                      Bank, Wells Fargo,                    NYC Funds
                                                            Baird, Ladenburg,                     Simon Abadi
                                                            BMO Capital, JMP
                                                            Securities, Janney,
                                                            Mizuho, PNC Capital,
                                                            Piper Jaffray, RBS
$2.55 billion of      9/2014     Schorsch, Stanley,                                   Grant       National
Senior Notes                     Frank, Andruskevich,                                 Thornton    Pension Fund
                                 Michelson, Rendell,                                              NYC Funds
                                 Bowman, Block,
                                 McAlister

         390.      The Registration Statements and Prospectuses issued in connection with the offerings

detailed above were false and misleading in that they omitted to state material facts required to be
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stated therein, contained untrue statements of material facts, and/or omitted to state facts necessary

to make the statements made therein not misleading.

        Registrants

        391.   ARCP is the registrant for the each of the offerings listed in ¶389 above. As the

issuer of the all the securities except for the securities issued in the September 12, 2014 offering

listed in ¶389 above, ARCP is strictly liable to plaintiffs and the Class for the misstatements and

omissions in the applicable Registration Statements and Prospectuses.

        392.   In addition to ARCP, ARC Properties is an additional registrant of the securities

registered in the September 12, 2014 Registration Statement listed above. As the issuer of the

securities issued in the September 12, 2014 Registration Statement listed above, ARC Properties is

strictly liable to plaintiffs and the Class for the misstatements and omissions in the Registration

Statement and Prospectus related to that offering.

        Individual Defendants

        393.   The individual defendants named in ¶389 above were responsible for the contents and

dissemination of the Registration Statements and Prospectuses. Each of the individual defendants

participated in the preparation and dissemination, and signed and/or authorized the signing of the

Registration Statements and Prospectuses, as described in ¶389 above. As a signatory to one or

more of the Registration Statements and Prospectuses as described in ¶389, each is liable to plaintiffs

and members of the Class for the misstatements and omissions contained within those Registration

Statements and Prospectuses pursuant to §11 of the 1933 Act.

        394.   Each of the individual defendants failed to conduct a reasonable investigation of the

statements contained in the offering materials and documents incorporated therein by reference and

did not possess reasonable grounds for believing that the statements therein were true and not


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materially misstated. Had these defendants conducted a reasonable investigation, they would have

learned that the offering materials contained material misstatements and omissions about ARCP’s

financial statements, reported AFFO and the effectiveness of the Company’s internal controls.

        395.   ARCP’s directors were responsible for the integrity of the due diligence process in

their capacity as the ultimate governing body of ARCP and ARC and were at a minimum

knowledgeable about accounting and internal control issues given their collective industry

experience, yet failed to reasonably investigate the accuracy of ARCP’s financial statements and

reported AFFO and the effectiveness of the Company’s internal controls, notwithstanding the

presence of red flags.

        Grant Thornton

        396.   Grant Thornton consented to the inclusion of its report on ARCP’s FY12 and/or

FY13 financial statements in the Registration Statements and Prospectuses in connection with the

offerings described in ¶389 above. As an audit firm which issued false and misleading audit

opinions incorporated into the Registration Statements and Prospectuses described in ¶389, Grant

Thornton is liable to plaintiffs and members of the Class for the misstatements and omissions

contained therein pursuant to §11 of the 1933 Act.

        397.   The 1933 Act required Grant Thornton to extend its procedures with respect to

subsequent events from the date of its audit reports up to the effective date of the Registration

Statements and Prospectuses, or as close thereto, as is reasonable and practicable in the

circumstances. Among the procedures Grant Thornton should have undertaken was to:

        (i) read the entire prospectus and other pertinent portion of the registration statement;

        (ii) inquire of and obtain written representations from officers and other executives
        responsible for financial and accounting matters about whether any events have occurred
        other than those reflected in the registration statement that in their opinion have a material


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        effect on the audited financial statements included therein or that should be disclosed in
        order to keep those statements from being misleading;

        (iii) read the latest available interim financial statements to make any comparisons
        considered appropriate and inquire as to whether interim statements were prepared on the
        same basis as that used for the statements under audit;

        (iv) inquire whether there have been any changes in the company’s related parties or any
        significant new related party transactions; and

        (v) make such additional inquiries or perform such procedures as he considers necessary and
        appropriate to dispose of questions that arise in carrying out the foregoing procedures,
        inquiries and discussions. See AU 711, AU 560.12.

        Underwriters

        398.   The underwriter defendants named in this claim underwrote the ARCP securities sold

in certain of the offerings, as described in ¶389 above. As underwriters of securities sold pursuant to

the false and misleading Registration Statements and Prospectuses, the underwriter defendants are

liable to plaintiffs and members of the Class for the misstatements and omissions contained therein

pursuant to §11 of the 1933 Act.

        399.   Due diligence is a critical component of the issuing and underwriting process.

Underwriters are obligated to play a devil’s advocate role and conduct a verification process. The

underwriter defendants did not conduct a reasonable investigation and did not possess reasonable

grounds for the belief that the statements contained in and incorporated by reference in the offering

materials were not false and/or misleading or did not omit a fact necessary to make the statements

made therein not false or misleading. The underwriter defendants were not entitled to blindly rely on

ARCP’s outside auditors and were obligated to conduct their own independent and reasonable

investigation into the accuracy of the Registration Statements detailed herein in ¶389, which

included representations about the Company’s financial statements and assessments of internal

controls. Had the underwriter defendants conducted a reasonable investigation, they would have


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learned that ARCP’s financial statements and reported AFFO were inaccurate and that the

Company’s internal controls were ineffective.

        400.   Each of Grant Thornton, the underwriter defendants and individual defendants owed

to the Class members who acquired ARCP securities pursuant and/or traceable to those Registration

Statements and Prospectuses, the duty to make a reasonable and diligent investigation of the

statements contained in those Registration Statements and Prospectuses because of their expertise

and/or access to an issuer’s non-public information. The defendants named herein did not conduct a

reasonable investigation and did not possess reasonable grounds for believing that the statements

made in the Registration Statements and Prospectuses were not false and/or misleading. Had

defendants exercised reasonable care, they would have known of the material misstatements and

omissions alleged herein.

        401.   Plaintiffs and members of the Class acquired the securities described in ¶389 above

pursuant and/or traceable to the Registration Statements as described in ¶389. As a direct and

proximate result of the misrepresentations and/or omissions described in this claim, plaintiffs and

members of the Class suffered substantial damage in connection with their acquisition of the

securities described in herein. As a result of the conduct herein alleged, each defendant named in

¶389 above violated §11 of the 1933 Act.

        402.   At the time of their acquisition of the securities described in ¶389 above, plaintiffs

and other members of the Class were not aware of the untrue statements and/or omissions alleged

herein and could not have reasonably discovered such untruths or omissions prior to October 29,

2014. Less than one year elapsed from the time that plaintiffs discovered or reasonably could have

discovered the facts upon which this Complaint is based to the time that plaintiffs filed the




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Complaint. Less than three years elapsed between the time that the securities upon which this Claim

is brought were offered to the public and the date the action was commenced.

                                  SECOND CLAIM FOR RELIEF

                              For Violation of §12(a)(2) of the 1933 Act

        403.    Plaintiffs incorporate ¶¶17-30, 32-34, 42-62, 85, 87-92, 114-175, 180-196, 247-248,

262-275, 297-300, 312-337 and 382-387 as though fully set forth herein. For purposes of this Claim,

plaintiffs expressly exclude allegations that could be construed as alleging fraud or intentional

misconduct, as this Claim is based solely on claims of strict liability and/or negligence.

        404.    This Claim is asserted by plaintiffs pursuant to §12(a)(2) of the 1933 Act, 15 U.S.C.

§77l(a)(2), on behalf of members of the Class.

        405.    Plaintiffs and members of the Class purchased certain securities from defendants as

described below:

   Registration                                                                             Named
  Statement For        Date      Company Defendants         Defendant Underwriters         Plaintiff
$300 million 3%     7/2013      ARCP, Schorsch, Weil,     J.P. Morgan, Citigroup,       Union
Convertible                     Block, Jones, Kahane,     Barclays, BMO Capital,        NYC Funds
Senior Notes due                Michelson, Rendell,       KeyBanc, JMP Securities,
2018                            Bowman                    Ladenburg, RCS Securities
$287.5 million      12/2013     ARCP, Schorsch, Weil,     Citigroup, Barclays, Credit   Union
3% Convertible                  Block, Jones, Kahane,     Suisse, Morgan Stanley,
Senior Notes due                Michelson, Rendell,       Wells Fargo, Capital One,
2018                            Bowman                    JMP Securities
$402.5 million      12/2013     ARCP, Schorsch, Weil,     Citigroup, Barclays, Credit   Union
3.75% Convertible               Block, Jones, Kahane,     Suisse, Morgan Stanley,
Senior Notes due                Michelson, Rendell,       Wells Fargo, Capital One,
2020                            Bowman                    JMP Securities
79.1 million        1/2014      ARCP, Schorsch, Weil,                                   Paul Matten
shares of stock                 Kahane, Michelson,                                      Mitchell Ellis
issued in ARCT                  Rendell, Bowman,                                        Bonnie Ellis
IV Merger                       Budko, Block, Beeson
520.8 million       2/2014      ARCP, Schorsch, Weil,                                   TIAA-CREF
shares of ARCP                  Kahane, Michelson,                                      National
common stock                    Rendell, Bowman, Kay,                                   Pension Fund
issued in Cole                  Budko, Block, Beeson                                    Corsair
Merger                                                                                  NYC Funds
                                                                                        KBC
                                                                                        Simon Abadi


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   Registration                                                                                 Named
  Statement For          Date     Company Defendants           Defendant Underwriters          Plaintiff
138 million shares    5/2014     ARCP, Schorsch, Weil,       Merrill Lynch, Citigroup,      National
of ARCP common                   Stanley, Kahane,            Barclays, JP Morgan, Capital   Pension Fund
stock issued in                  Andruskevich, Michelson,    One, Credit Suisse, Deutsche   Tampa
May 2014                         Rendell, Bowman, Sealy,     Bank, Wells Fargo, Baird,      Corsair
Offering                         Block, Jones                Ladenburg, BMO Capital,        NYC Funds
                                                             JMP Securities, Janney,        Simon Abadi
                                                             Mizuho, PNC Capital, Piper
                                                             Jaffray, RBS
$2.55 billion of      9/2014     ARCP, ARC Properties,                                      National
Senior Notes                     Schorsch, Stanley, Frank,                                  Pension Fund
                                 Andruskevich, Michelson,                                   NYC Funds
                                 Rendell, Bowman, Block,
                                 McAlister

         406.      The Prospectuses and the Prospectus Supplements for the offerings described in ¶405

above contained untrue statements of material fact and/or omitted material facts. Defendants named

in the paragraph above did not conduct a reasonable investigation of the statements contained in and

incorporated by reference in Prospectuses and Prospectus Supplements issued for each offering

described in ¶405 above and did not possess reasonable grounds for believing that the statements

therein were not false or misleading. In particular, defendants named in ¶405 did not conduct a

reasonable investigation into the Company’s financial statements, AFFO and internal controls as

specified herein.

         407.      Defendants described in ¶405 above were statutory sellers who sold and assisted in

the sale of securities to plaintiffs and other members of the Class by means of the defective

Prospectuses and Prospectus Supplements and they did so for personal gain, including payments

directly to these individuals and/or to entities affiliated with in form of fees, commissions and other

transactions.

         408.      By reason of the conduct alleged herein, defendants described in ¶405 above violated

§12(a)(2) of the 1933 Act. As a direct and proximate result of such violations, plaintiffs and the

other members of the Class who purchased the securities described in ¶405 above pursuant and


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traceable to the Prospectuses and Prospectus Supplements and sustained substantial damages in

connection therewith.

        409.   Plaintiffs and the other members of the Class who hold such securities have the right

to rescind and recover the consideration paid for their securities, upon tender of their securities to

defendants sued herein. Class members who have sold their securities seek damages to the extent

permitted by law.

        410.   At the time of their acquisition of the ARCP securities described in ¶405 above,

plaintiffs and other members of the Class were not aware of the untrue statements and/or omissions

alleged herein and could not have reasonably discovered such untruths or omissions prior the time

they acquired the securities for which this claim is asserted. Less than one year elapsed from the

time that plaintiffs discovered or reasonably could have discovered the facts upon which this

Complaint is based to the time that plaintiffs filed the Complaint. Less than three years elapsed

between the time that the securities upon which this Claim is brought were offered to the public and

the time the action was commenced.

                                 THIRD CLAIM FOR RELIEF

                               For Violation of §15 of the 1933 Act

        411.   Plaintiffs incorporate ¶¶34-67, 388-410 as though fully set forth herein. For purposes

of this Claim, plaintiffs expressly exclude allegations that could be construed as alleging fraud or

intentional misconduct.




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         412.     This Claim is brought pursuant to §15 of the 1933 Act, 15 U.S.C. §77o, against the

individual defendants named below:

Registration Statement For            Date      Individual Defendants                   Named Plaintiff
$300 million 3% Convertible           7/2013    Schorsch, Weil, Block, Jones, Kahane,   Union
Senior Notes due 2018                           Michelson, Rendell, Bowman              NYC Funds
$287.5 million 3% Convertible         12/2013   Schorsch, Weil, Block, Jones, Kahane,   Union
Senior Notes due 2018                           Michelson, Rendell, Bowman
$402.5 million 3.75% Convertible      12/2013   Schorsch, Weil, Block, Jones, Kahane,   Union
Senior Notes due 2020                           Michelson, Rendell, Bowman
79.1 million shares of stock issued   1/2014    Schorsch, Weil, Kahane, Michelson,      Paul Matten
in ARCT IV Merger                               Rendell, Bowman, Budko, Block,          Mitchell Ellis
                                                Beeson                                  Bonnie Ellis

520.8 million shares of ARCP          2/2014    Schorsch, Weil, Kahane, Michelson,      TIAA-CREF
common stock issued in Cole                     Rendell, Bowman, Kay, Budko,            National Pension
Merger                                          Block, Beeson                           Fund
                                                                                        Corsair
                                                                                        NYC Funds
                                                                                        KBC
                                                                                        Simon Abadi

138 million shares of ARCP            5/2014    Schorsch, Weil, Stanley, Kahane,        National Pension
common stock issued in May 2014                 Andruskevich, Michelson, Rendell,       Fund
Offering                                        Bowman, Sealy, Block, Jones             Tampa
                                                                                        Corsair
                                                                                        NYC Funds
                                                                                        Simon Abadi

$2.55 billion of Senior Notes         9/2014    Schorsch, Stanley, Frank,               National Pension
                                                Andruskevich, Michelson, Rendell,       Fund
                                                Bowman, Block, McAlister                NYC Funds

         413.     At various times during the Class Period, Schorsch, Weil, Kahane, Michelson,

Rendell, Bowman, Budko, Block, Beeson, Jones, Andruskevich, Kay, McAlister, Stanley, Frank and

Sealy served as executive officers and/or directors of ARCP and as such, possessed and exercised

control directly and indirectly over the actions of ARCP and ARC Properties, including the content

of the Registration Statements and Prospectuses in connection with the offerings described in ¶412

above.

         414.     At various times during the Class Period, Schorsch, Weil, Kahane, Budko and Block

served as executive officers and/or directors of and exercised control over RCAP, AR Capital, ARC

Advisors and/or RCS Capital and as such had the power to influence and control, and did influence
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and control, directly or indirectly, the actions of ARCP and ARC Properties, including the content of

the Registration Statements and Prospectuses in connection with the offerings described in ¶412

above.

         415.   This Claim is brought pursuant to §15 of the 1933 Act, 15 U.S.C. §77o, against

defendants ARCP, ARC Properties, ARC Advisors, AR Capital, RCS Capital and RCAP, and the

individual defendants named below:

         ARCP

         416.   ARCP possessed the power to control and did control the actions of ARC Properties.

ARC Properties served as the vehicle through which ARCP conducted its business operations,

including the means by which ARCP raised billions of dollars of capital from investors. ARCP

served as the General Partner of ARC Properties and as such controlled ARC Properties pursuant to

its authority under the ARC Properties’ partnership agreement.

         RCS Capital

         417.   RCS Capital possessed the power to control and did control, directly and indirectly,

through AR Capital and ARC Advisors, the actions of ARCP and ARC Properties. RCS Capital was

co-founded and controlled during the Class Period by its owners Schorsch (who served as its

Chairman) and Kahane. RCS Capital shared executive officers and board members with ARCP,

including Schorsch and Kahane. RCS Capital controlled ARCP and ARC Properties through agency

principles and through RCS Capital’s subsidiary, AR Capital, as well as indirectly through AR

Capital’s own subsidiary ARC Advisors (which served as ARCP’s external manager during the

Class Period prior to January 8, 2014).




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        AR Capital

        418.   AR Capital possessed the power to control and did control, directly and indirectly, the

actions of ARCP and ARC Properties. AR Capital was an entity owned and/or controlled by

Schorsch, Kahane, Budko, Block and Weil. AR Capital served as ARCP’s sponsor in connection

with the offerings detailed in ¶412 and in connection therewith transferred ownership of real estate

properties for inclusion in ARCP’s asset base. AR Capital controlled ARCP through agency and via

the executive officers and board members it shared with ARCP, including Schorsch, Weil, Kahane,

Block and Budko.

        ARC Advisors

        419.   ARC Advisors possessed the power to control and did control, directly and/or

indirectly, the actions of ARCP and ARC Properties. ARC Advisors shared executive officers and

board members with ARCP, including Schorsch, Kahane, Budko, Block and Weil. Prior to January

8, 2014, ARC Advisors served as the external manager of ARCP and as such was entirely

responsible for the “day-to-day management” of ARCP’s business. ARCP had no employees and

ARCP’s CEO, President and CIO were all employed by ARC Advisors.

        RCAP

        420.   RCAP possessed the power to control and did control, directly and/or indirectly, the

actions of ARCP and ARC Properties through agency and through Schorsch and Kahane who

together possessed more than 95% voting control of RCAP. RCAP shared executive officers and

board members with ARCP and ARC Properties, including Schorch, Kahane, Budko and Jones, who

held executive and/or director positions at both RCAP and ARCP during the Class Period.

        421.   Each of the entity defendants named herein exercised control directly and indirectly

over the actions of ARCP and ARC Properties in connection with the violations of the 1933 Act


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claims asserted herein, including the preparation and dissemination of the Registration Statements

and Prospectuses in connection with the offerings described in ¶412 above.

        422.    By reason of their control person status, as alleged above, each of the entity

defendants and the individuals defendants named in this claim are jointly and severally liable for the

underlying violations of the 1933 Act pursuant to §§11 and 12(a)(2) detailed in described above.

                                  FOURTH CLAIM FOR RELIEF

                            For Violation of §14(a) of the 1934 Act
                         and SEC Rule 14a-9 Promulgated Thereunder

        423.    Plaintiffs incorporate ¶¶17-30, 32-35, 37, 41-46, 49-66, 68-84, 114-175, 182-196,

221-229, 262-267, 270-275, 322-337, 344-366, 374-387 as though fully set forth herein.

        424.    SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to §14(a) of the 1934

Act, 15 U.S.C. §78n(a), provides:

        No solicitation subject to this regulation shall be made by means of any proxy
        statement, form of proxy, notice of meeting or other communication, written or oral,
        containing any statement which, at the time and in the light of the circumstances
        under which it is made, is false or misleading with respect to any material fact, or
        which omits to state any material fact necessary in order to make the statements
        therein not false or misleading or necessary to correct any statement in any earlier
        communication with respect to the solicitation of a proxy for the same meeting or
        subject matter which has become false or misleading.

        425.    Plaintiffs and members of the class who held shares of ARCT III, ARCT IV, Cole Inc

and ARCP as of the respective record dates allege that the defendants named below prepared,

reviewed and/or disseminated false and misleading proxy statements, which proxy statements

misrepresented and/or omitted material facts necessary to make the statements made, in light of the

circumstances under which they were made, not misleading as detailed below:

Proxy Statement                    Defendants
Proxy Statement related to the     ARCP, Schorsch, Block, Budko, Weil, Gong, Rendell, Michelson, ARCT
ARCT III Merger dated 1/22/2013    III, Bowman
Proxy Statement related to the     ARCP, Schorsch, Weil, Kahane, Michelson, Rendell, Bowman, Budko,
ARCT IV Merger dated 12/4/2013     Block, Beeson, AR Capital, Radesca, ARCT IV, Stanley, Wenzel, Tuppeny

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Proxy Statement related to the Cole   ARCP, Schorsch, Weil, Kahane, Michelson, Rendell, Bowman, Kay, Budko,
Merger dated 12/23/2013               Block, Beeson, AR Capital, Radesca, Cole Inc., Cole, Nemer, Audruskevich,
                                      Sealy, Wood, Holland, Keller, McAllaster

        426.     Each of the Proxy Statements used in connection with ARCT III Merger, ARCT IV

Merger and Cole Merger: (a) contained untrue statements of material fact and/or omitted to state

facts necessary to make the statements made therein not misleading in violation of §14(a) of the

1934 Act and SEC Rule 14a-9 promulgated thereunder; and (b) were an essential link in the

consummation of the subject merger.

        ARCT III

        427.     The ARCT III board unanimously (with Schorsch and Weil abstaining) determined

that the ARCT III Merger was advisable, fair to, and in the best interests of ARCT III and its

stockholders and therefore recommended that ARCT stockholders approve the merger.

        428.     The ARCT III board represented that the merger would provide a premium over the

current implied value of ARCT III common stock and permit ARCT III stockholders to benefit from

a combined company of increased size and scale and provide enhanced access to capital and a

potential investment grade balance sheet. That ARCT III stockholders could receive ARCP stock as

merger consideration was a purported benefit that the ARCT III board members asserted contributed

to their recommendation that ARCT III stockholders vote in favor of the ARCT III Merger. That

recommendation was based on, among others things: (i) the value of the total blended cash and

ARCP stock merger consideration; (ii) the ability of ARCT III stockholders to continue to participate

in the company through the ownership ARCP stock; (iii) ARCP’s future AFFO growth; and (iv)

ARCT III’s and ARCP’s respective businesses, financial performance, condition, operations,

management, competitive positions, prospects and stock performance.




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        429.     Importantly, the ARCT III board claimed that it conducted a due diligence review of

ARCP and its assets, liabilities, earnings, financial condition, business and prospects, which the

ARCT III board represented confirmed its positive view of ARCP.

        430.     The ARCT III Registration Statement/Proxy omitted material facts about the ARCT

III Defendants’ inquiry into and knowledge concerning ARCP’s previously reported financial

statements, SOX certifications and AFFO, which omitted facts conflicted with what a reasonable

investor would take from the recommendation.

        431.     At the time they caused the ARCT III Registration Statement/Proxy to be filed with,

and declared effective by the SEC, the statements made by the ARCT III board and the ARCP Board

about the ARCT III Merger and were either not believed by these defendants or lacked a reasonable

basis in fact as they either knew, or a reasonable investigation would have shown, that ARCP’s

previously reported financial statements, SOX certifications and AFFO were materially false and

misleading.

        ARCT IV

        432.     The ARCT IV board claimed that it had unanimously (with Schorsch and Weil

abstaining) determined that the ARCT IV Merger was advisable, fair to, and in the best interests of

ARCT IV and its stockholders and therefore recommended that ARCT IV stockholders vote in favor

of the merger.

        433.     The ARCT IV board claimed that the merger would provide a premium over the

implied value of ARCT IV common stock and permit ARCT IV stockholders to benefit from a

combined company with enhanced access to capital and a potential investment grade balance sheet.

        434.     The fact that ARCT IV stockholders could receive ARCP stock as part of the merger

consideration was a purported benefit that the ARCT IV board members asserted contributed to their


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decision to enter into the merger agreement with ARCP. Specifically, the ARCT IV board members

noted that ARCT IV stockholders would be able to receive as consideration ARCP stock which

represented a premium over the price of ARCT IV stock. The ARCT IV board also highlighted

ARCP’s future AFFO growth.

        435.   Schorsch, Weil, Stanley, Budko, Block, Wenzel and Tuppeny represented that their

understanding of the information concerning ARCP’s businesses, financial performance, condition,

operations, management, competitive position, prospects and stock performance, as well as their due

diligence review of ARCP and its assets, liabilities, earnings, financial condition, business and

prospects, confirmed the positive view of ARCP’s business and supported their determination that

the combined company would have a strong foundation for growth and improved performance.

        436.   At the time they caused the ARCT IV Registration Statement/Proxy to be filed with

the SEC, however, statements about the ARCT IV Merger were either not believed by these

defendants or lacked a reasonable basis in fact as they knew or a reasonable investigation would

have shown that ARCP’s previously reported financial statements, SOX certifications and AFFO

were false and misleading.

        437.   The ARCT IV Registration Statement/Proxy further omitted material facts about the

inquiry of the ARCP IV Defendants and ARCP Director Defendants into and knowledge concerning

ARCP’s previously reported financial statements, SOX certifications and AFFO, which omitted facts

conflicted with what a reasonable investor would take from the recommendation.

        Cole Merger

        438.   The Cole Inc. board unanimously determined that the Cole Merger was in the best

interests of Cole Inc. and its stockholders and recommended that Cole Inc. stockholders vote in favor

of the Cole Merger.


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        439.   That the fact that Cole Inc. shareholders could receive ARCP stock as merger

consideration was a basis for the Cole Inc. board’s recommendation in favor of the Cole Merger.

The Cole Inc. board further represented that its determination and recommendation in favor of the

Cole Merger was based, in part, on the Cole Inc. board’s understanding of the information

concerning ARCP’s business, financial performance, condition, operations, management,

competitive positions, prospects and stock performance.

        440.   The Cole Inc. board also claimed to rely on the results of Cole Inc.’s due diligence

review of ARCP and its assets, liabilities, earnings and financial condition. The Cole Defendants,

however, failed to conduct reasonable due diligence with respect to ARCP. In fact, Nemer later

testified that the he could not recall if the Cole Inc. board even reviewed ARCP’s financial controls

at all. Nor could Nemer recall any discussion whatsoever about ARCP’s calculation or accuracy of

ARCP’s AFFO in connection with the purported due diligence process conducted in connection with

the Cole Merger.

        441.   The Cole Defendants also concluded their purported due diligence before ARCP’s

false 3Q13 financial results were even released and ARCP’s 3Q13 financial results – which the Cole

Defendants failed to conduct due diligence upon– were included in the Registration Statement/Proxy

disseminated in connection with the Cole Merger.

        442.   At the time they caused the Cole Inc. Registration Statement/Proxy to be filed with

the SEC, statements about the Cole Merger by the Cole Inc. Board and ARCP Board were either not

believed by these defendants or lacked a reasonable basis in fact as they knew or a reasonable

investigation would have shown that ARCP’s previously reported financial statements, SOX

certifications and AFFO were false and misleading.




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        443.   As a direct result of defendants’ preparation, review and dissemination of the false

and/or misleading Proxy Statements as described in ¶425 above, the false and/or misleading Proxy

Statements used to obtain shareholder approval of the ARCT III Merger, ARCT IV Merger and Cole

Merger deprived members of the Class of their right to a fully informed shareholder vote in

connection therewith.

        444.   At all times relevant to the dissemination of the materially false and/or misleading

Proxy Statements, defendants described in ¶425 above were aware of and/or had access to the true

facts. Thus, as a direct and proximate result of the dissemination of the false and/or misleading

Proxy Statements, defendants described in ¶425 above used to obtain shareholder approval of the

ARCT III Merger, ARCT IV Merger and Cole Merger, plaintiffs and the Class suffered damages and

actual economic losses in an amount to be determined at trial.

        445.   The written communications made by the defendants described herein constitute

violations of Rule 14a-9 and §14(a) because such communications are materially false and/or

misleading and were provided in at least a negligent manner.

        446.   By reason of the misconduct detailed herein, the defendants described in ¶425 above

are liable pursuant to §14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder.

                                FIFTH CLAIM FOR RELIEF

                           For Violation of §10(b) of the 1934 Act
                        and SEC Rule 10b-5 Promulgated Thereunder

        447.   Plaintiffs incorporate ¶¶1-446 as though fully set forth herein.

        448.   This Claim is brought by persons who purchased and/or acquired ARCP common

stock, preferred shares and debt as well as transacted in options contracts during the Class Period

against defendants ARCP, ARC Properties, Schorsch, Block, Beeson, Kay, McAlister and Nemer.



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        449.   During the Class Period, the defendants named herein disseminated or approved the

materially false and misleading statements specified above, which they knew or recklessly

disregarded were misleading in that they misrepresented and/or omitted material facts necessary in

order to make the statements made, in light of the circumstances under which they were made, not

misleading.

        450.   Defendants violated §10(b) of the 1934 Act, 15 U.S.C. §78j(b), and Rule 10b-5, 17

C.F.R. §240.10b-5, in that they:

               (a)     employed devices, schemes and artifices to defraud;

               (b)     made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

               (c)     engaged in acts, practices and a course of business that operated as a fraud or

deceit upon the purchasers and/or acquirers of ARCP common stock, preferred stock and/or debt

securities as well as those who transacted in options contracts during the Class Period.

        451.   Plaintiffs and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for ARCP securities. Plaintiffs and the Class would

not have purchased and/or acquired ARCP securities at the prices they paid, or at all, if they had

been aware that the prices those ARCP securities were trading at or were offered at had been inflated

by defendants’ misleading statements and/or omissions.

        452.   As a direct and proximate cause of defendants’ wrongful conduct, plaintiffs and other

members of the Class suffered damages in connection with their purchases and/or acquisition of

ARCP securities during the Class Period.




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                                 SIXTH CLAIM FOR RELIEF

                             For Violation of §20(a) of the 1934 Act

         453.   Plaintiffs incorporate ¶¶1-452 as though fully set forth herein.

         454.   This Claim is brought against defendants ARCP, ARC Properties, ARC Advisors, AR

Capital, RCS Capital and RCAP.

         455.   This claim is also brought against individual defendants Schorsch, Block, Weil,

Kahane, Beeson, Kay, Michelson, Stanley, Rendell, Bowman, Gong, Andurskevich, Sealy and

Frank.

         456.   At various times during the Class Period, Schorsch, Weil, Kahane, Michelson,

Rendell, Bowman, Budko, Block, Beeson, Gong, Andruskevich, Kay, McAlister, Stanley, Frank and

Sealy served as executive officers and/or directors of ARCP and as such, possessed and exercised

control directly and indirectly over the actions of ARCP and ARC Properties.

         457.   At various times during the Class Period, Schorsch, Weil, Kahane, Budko and Block

served as executive officers and/or directors of and exercised control over RCAP, AR Capital, ARC

Advisors and/or RCS Capital and as such had the power to influence and control, and did influence

and control, directly or indirectly, the actions of ARCP and ARC Properties.

         458.   The individuals named herein acted as controlling persons of ARCP, ARC Properties,

ARC Advisors, AR Capital, RCAP and/or RCS Capital within the meaning of §20(a) of the 1934

Act, 15 U.S.C. §78t(a). By reason of their positions as officers and/or directors of ARCP and/or

their ownership interest in and/or board members of ARCP, ARC Properties, ARC Advisors, AR

Capital, RCAP and/or RCS Capital, the individuals named herein had the power and authority to

cause these entities to engage in the wrongful conduct complained of herein.




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        ARCP

        459.   ARCP possessed the power to control and did control the actions of ARC Properties.

ARC Properties served as the vehicle through which ARCP conducted its business operations during

the Class Period, including the means by which ARCP raised billions of dollars of capital from

investors. ARCP served as the General Partner of ARC Properties and as such controlled ARC

Properties pursuant to its authority under the partnership agreement.

        RCS Capital

        460.   RCS Capital possessed the power to control, and did control, directly and indirectly,

through AR Capital and ARC Advisors, the actions of ARCP and ARC Properties. RCS Capital was

co-founded and controlled during the Class Period by its owners Schorsch (who served as its

Chairman) and Kahane. RCS Capital shared executive officers and board members with ARCP,

including Schorsch and Kahane. RCS Capital controlled ARCP and ARC Properties through agency

principles and through RCS Capital’s subsidiary AR Capital as well as indirectly through AR

Capital’s subsidiary ARC Advisors (which served as ARCP’s external manager during the Class

Period prior to January 8, 2014).

        AR Capital

        461.   AR Capital possessed the power to control, and did, directly and indirectly, control

the actions of ARCP and ARC Properties. AR Capital was an entity owned and/or controlled by

Schorsch, Kahane, Budko, Block and Weil. AR Capital served as ARCP’s sponsor in connection

with the offerings detailed in ¶412 and in connection therewith transferred ownership of real estate

properties for inclusion in ARCP’s Asset base. AR Capital controlled ARCP through agency and

otherwise via the executive officers and board members it shared with ARCP, including Schorsch,

Weil, Kahane, Block and Budko.


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        ARC Advisors

        462.   ARC Advisors possessed the power to control, and did control, directly and/or

indirectly, the actions of ARCP and ARC Properties. ARC Advisors shared executive officers and

board members with ARCP, including Schorsch, Kahane, Budko, Block and Weil. Prior to January

8, 2014, ARC Advisors served as the external manager of ARCP and as such was entirely

responsible for the “day-to-day management” of ARCP’s business. ARCP had no employees and

ARCP’s CEO, President and CIO were all employed by ARC Advisors.

        RCAP

        463.   RCAP possessed the power to control, and did control, directly and/or indirectly, the

actions of ARCP and ARC Properties through agency and through Schorsch and Kahane who

together possessed more than 95% voting control of RCAP. RCAP shared executive officers and

board members with ARCP and ARC Properties, including Schorsch Kahane, Budko and Jones, who

held executive and/or director positions at both RCAP and ARCP during the Class Period.

        464.   Each of the entity defendants herein exercised control directly and indirectly over the

actions of ARCP and ARC Properties in connection with the violations of the 1934 Act claims

asserted herein. By reason of such conduct, defendants described in ¶¶454-455 above are liable

pursuant to §20(a) of the 1934 Act.

                                      PRAYER FOR RELIEF

        WHEREFORE, plaintiffs pray for judgment as follows:

        A.     Declaring this action to be a class action properly maintained pursuant to Rule 23(a)

and (b)(3) of the Federal Rules of Civil Procedure and certifying plaintiffs as Class Representatives

and Robbins Geller Rudman & Dowd LLP as Class Counsel;




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        B.      Awarding compensatory damages in favor of plaintiffs and other members of the

Class against all defendants jointly and generally for all damages sustained as a result of defendants’

wrongdoing in an amount to be proven at trial, together with interest thereon;

        C.      With respect to the First, Second and Third Claims for Relief, that the Offerings be

rescinded or a rescissory measure of damages awarded;

        D.      Awarding plaintiffs and other members of the Class their costs and expenses of this

litigation, including reasonable attorneys’ fees, accountants’ fees, and experts’ fees, and other costs

and disbursements; and

        E.      Awarding plaintiffs and other members of the Class injunctive and other equitable

relief, including rescission, as appropriate, in addition to any other relief that is just and proper under

the circumstances.

                                           JURY DEMAND

        Plaintiffs hereby demand a trial by jury.

DATED: April 17, 2015                            ROBBINS GELLER RUDMAN
                                                   & DOWD LLP
                                                 DARREN J. ROBBINS
                                                 MICHAEL J. DOWD
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on April 17, 2015, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on April 17, 2015.

                                                     s/ Darren J. Robbins
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  DBA                                    AD                    FD

                 AB CD E             F                    CD           DD AE            AE          FE E D                    C A E       F   D E F CF

          B                CA                 B           C
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           ADD                           B                C
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     A BD EB
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           FA            AB
           DB         DBD C                           E        A DC                 DBD C                                     DBD C

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EE F                  A F                 F               DEF B                     B           A      C            FE
                              AD B B                                                                                                                                          D
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                                  A BCDEF A                                A BCDEF C                    A BCDE

F B                       C        DB
                 A                 E BCDE

     A                            DB       B
            AE                         C DEBCDEF            CE         A    C                     C DEBCDE

    B                 AB C DB
             AD          D  BCDE

    B EB B                        DB
         D                         BCDE

                              DB
                              DC         BCDE

      CC B                           D CC        B
    CD                    D         D                   BCDEF                        D        D                 BCDEF          D   D        BCDEFEAC        D   D             BCDE

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    A                  A                CC
C                                  D BCDEF           C D AC                AA                 D BCDE

        E                         A B
D                B                EA A               BCDEF            E          A       C          A          BCDE

    A CC
     AE               D                  BCDE

    B                             B C    C
    D                               BCDE

    B        C                B AB          B
            E                            A BCDE

            A CC
E            A                     D BCDEF D A                              D BCDE

    B         C               B
            A B               A               E BCDEF            AB                          E BCDEF A B D                   E BCDE

                      FCB                E        B
     A               E                 DE       BCDEF                  DE            BCDE

  A                    A
C DE                 A CD               EA      A BCDEF A A                 CD       EA           A BCDE

D            B           A                              B
        A            D BCDE

 B     B C                                        CC
ECCD A     DE                                   BCDE

      BC FCB                              C
    EA AD A ED                                AC BCDE

   AB C B                                     CC
EEA                                    D BCDEF D A                              D BCDE




             CB                     B CD              B D C A A                              A A B
                             D F                                                                                                          D
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                           ABC D
                       AB C DE F D                B    D F DAB C DE F D                   B           D DAB C DE F D      B

     EAF CA                 A            F CF
      D   DA                              B

             C          A
                       F A F                      B

         F
         F A                         D       B

         F             A AF                  DA C
                  F    A CD C D              B

         CA     F                FA
          DF D A                   DF             B

     CF         F
     F DAB C DE F D                       B

       AAF                  C
     D FD              A                     B

             A            F    C
             B        F A CD C D             B

              AF F   CF
             D A D D    B

              D    C F FD
             D D A        BD FD                                EA                 BD FD                   A           B

              F CB AD                        D
             B A                             BD FD         EA                 BB                  EA              BD FD       A       B

         F FA EFCA F   A F
            F CDF A C D D D                            B

               F F         F FF              CC
             FD D                 A F                  B D EB             F       D A F                       B

                  F EFA AD                   F
     B            D FA CD C D                B         F   D A CD C D             B

     FD                 AF           B A
                      C ABF                   B            ABF                B           DD ABF                  B   F F ABF     B

     CF     FD
     DF B A D FD                             B

     C                                         AC
              F        A             B        B        B        F       D A                   B       B

       C                          F F C
     C DC             A         DE B

                  AD
     F                      A DF              B                A DF           B

             DA             C CB
                      EA        DF                B

                   F CB AD F                      FA
     CDF          D BA     B                      B        B        F     D A                     B       B

                  F             FA       C    FA
     BC           DA             C           BDD C         F        DFF   A           C           B




CC           D         E                          C                 F F           F FC
                              C D F F                                                                                                             D
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                              A BB C
                              AABCDEFBDE          BE           BA C           AABCDEFBDE

      DE F            E            E
      C               C                 D FBDE

         BE                            E BB
                               A       AA FBDE    D            A      AA FBDE       B        A    AA FBDE

             E F EA                    E B
              AA   A                   FBDE

                          E        B

      DAAD                  A D               DC        D C           D       A     DC B         E A D B DC    B     D   C DC C     C E   A D B   F D
E                D        D C ED              D A B       BD              A       D D C DC       CDB    CD C E DC C D BC    D B   DC A A DC
C B          F
                                                 ABCD
                     AA B CDEF                    D
                      B FD F
 C
 F




                 BF            F BD C F D B                                   A      F A
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                       Schedule A
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AssetClass              Symbol                   Put/Call Buy/Sell Proceeds Price      OrderType Quantity TradeDate
Closed positions
STK                     ARCP                             BUY           -2578   12.89   LMT            200    20131017
STK                     ARCP                             BUY           -1289   12.89   LMT            100    20131017
STK                     ARCP                             BUY         -2002.5   13.35   LMT            150    20131021
STK                     ARCP                             BUY         -1912.5   12.75   LMT            150    20131230

STK                     ARCP                             BUY           -1410     14.1 LMT              100   20140219
STK                     ARCP                             BUY           -1230     12.3 LMT              100   20140530
STK                     ARCP                             BUY         -1209.5 12.095 LMT                100   20140619
STK                     ARCP                             BUY        -1209.99 12.0999 LMT               100   20140619
STK                     ARCP                             BUY           -2488   12.44 LMT               200   20140620
STK                     ARCP                             BUY           -2530   12.65 LMT               200   20140701
STK                     ARCP                             SELL           3516     8.79 LMT             -400   20141029
STK                     ARCP                             SELL           2808     9.36 LMT             -300   20141031
STK                     ARCP                             SELL           6552     9.36 LMT             -700   20141031
Total                                                               -4983.49                             0

OPT                     ARCP   140222C00012500   C       BUY            -65     0.65   LMT               1   20140106
OPT                     ARCP   140222C00012500   C       BUY            -65     0.65   LMT               1   20140106
OPT                     ARCP   140222C00012500   C       SELL           310     1.55   LMT              -2   20140127
OPT                     ARCP   141018P00012500   P       BUY           -300      0.3   LMT              10   20140912
OPT                     ARCP   141018P00012500   P       SELL          1000        1   LMT             -10   20140523
OPT                     ARCP   150417P00014000   P       BUY         -13275     5.31   LMT              25   20141031
OPT                     ARCP   150417P00014000   P       SELL          3925     1.57   LMT             -25   20140904
OPT                     ARCP   160115P00012500   P       BUY         -13590     4.53   LMT              30   20141030
OPT                     ARCP   160115P00012500   P       SELL          2140     2.14   LMT             -10   20140623
OPT                     ARCP   160115P00012500   P       SELL          4100     2.05   LMT             -20   20140701
OPT                     ARCP   160115P00015000   P       BUY         -21440      6.7   LMT              32   20141031
OPT                     ARCP   160115P00015000   P       SELL          7216     3.28   LMT             -22   20140729
OPT                     ARCP   160115P00015000   P       SELL          3500      3.5   LMT             -10   20140814
Total                                                                -26544                              0

Positions still open.
OPT                     ARCP 160115C00015000 C           BUY          -1350     0.45 LMT               30    20140701

OPT                     ARCP 150417P00011000 P           BUY          -1200      0.4 LMT                30   20140916
OPT                     ARCP 150417P00013000 P           SELL          1778     1.27 LMT               -14   20140916
OPT                     ARCP 150417P00013000 P           SELL          2032     1.27 LMT               -16   20140916
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                                               Corsair Select 100 LP

                       Date             Transaction Type1             Quantity            Price


                     9/6/2011                 Holdings                       -
                    6/14/2013                 Purchase                     361         $ 14.99
                    6/17/2013                 Purchase                   1,804         $ 14.98
                    6/17/2013                 Purchase                     110         $ 14.87
                    6/17/2013                 Purchase                   2,255         $ 14.96
                    6/18/2013                 Purchase                   4,781         $ 15.03
                    6/18/2013                 Purchase                  11,162         $ 15.25
                    6/18/2013                 Purchase                   2,706         $ 14.98
                    6/18/2013                 Purchase                     386         $ 15.03
                    6/18/2013                 Purchase                   1,804         $ 14.86
                    6/18/2013                 Purchase                   3,318         $ 15.24
                    6/21/2013                 Purchase                   1,353         $ 14.33
                    6/27/2013                 Purchase                     451         $ 15.09
                     7/1/2013                 Purchase                   1,650         $ 14.85
                     7/1/2013                 Purchase                     121         $ 14.76
                     7/2/2013                 Purchase                   5,429         $ 15.05
                     7/3/2013                 Purchase                     633         $ 14.65
                     7/9/2013                 Purchase                     362         $ 14.44
                    7/10/2013                 Purchase                     435         $ 14.49
                    7/10/2013                 Purchase                     543         $ 14.50
                    7/11/2013                 Purchase                     618         $ 14.79
                    7/11/2013                 Purchase                     724         $ 14.78
                    7/12/2013                 Purchase                   1,307         $ 14.73
                    7/17/2013                 Purchase                   1,810         $ 15.16
                    10/16/2013                Purchase                     666         $ 12.76
                    10/23/2013                  Sale                       435         $ 13.17
                    11/1/2013                   Sale                     1,101         $ 13.27
                    12/26/2013                  Sale                     1,053         $ 12.79
                    12/31/2013                  Sale                     1,685         $ 12.76


1
 For each of the Corsair Funds herein, (a) transactions dated February 7, 2014 reflect shares acquired as part of the
Cole Merger, which are valued at the closing price on the date of the merger; and (b) transactions dated May 21,
2014 reflect shares purchased on the secondary offering.
                                                          1
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        2/7/2014       Acquisition       8,538    $ 13.99
        2/7/2014       Acquisition       1,301    $ 13.99
        4/1/2014          Sale            303     $ 14.01
        5/1/2014          Sale            513     $ 13.01
        5/5/2014        Purchase         1,296    $ 12.99
        5/5/2014          Sale            508     $ 12.96
        5/21/2014       Purchase         8,913    $ 12.00
        10/1/2014         Sale            715     $ 12.04
       10/29/2014       Purchase         3,323    $   9.93
       11/10/2014         Sale            360     $   8.49
       11/11/2014         Sale           1,533    $   8.54
       11/13/2014         Sale            307     $   8.84
       11/14/2014         Sale           1,533    $   8.67
       11/14/2014         Sale           1,533    $   8.69
       11/14/2014         Sale           6,899    $   8.66
       11/14/2014         Sale           7,666    $   8.68
       11/14/2014         Sale           6,132    $   8.69
       11/14/2014         Sale           9,200    $   8.68
       11/17/2014         Sale           1,533    $   8.76
       11/18/2014         Sale           7,666    $   8.69
       11/19/2014         Sale            767     $   8.75
       11/20/2014         Sale           1,533    $   9.10
       11/21/2014         Sale            767     $   8.99
       11/21/2014         Sale            767     $   8.98
       11/21/2014         Sale            144     $   8.98
       11/24/2014         Sale           1,150    $   9.10
       11/24/2014         Sale            767     $   9.12
       11/25/2014         Sale           3,066    $   8.99
       11/25/2014         Sale           2,300    $   8.97
       11/26/2014         Sale           2,682    $   9.34




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                     Corsair Select Master Fund, Ltd.

          Date         Transaction             Quantity     Price
        9/6/2011         Holdings                   -
        6/14/2013        Purchase                1,904    $ 14.99
        6/17/2013        Purchase                9,520    $ 14.98
        6/17/2013        Purchase                  583    $ 14.87
        6/17/2013        Purchase               11,901    $ 14.96
        6/18/2013        Purchase               25,229    $ 15.03
        6/18/2013        Purchase               58,902    $ 15.25
        6/18/2013        Purchase               14,281    $ 14.98
        6/18/2013        Purchase                2,037    $ 15.03
        6/18/2013        Purchase                9,520    $ 14.86
        6/18/2013        Purchase               17,511    $ 15.24
        6/21/2013        Purchase                7,140    $ 14.33
        6/27/2013        Purchase                2,380    $ 15.09
        7/1/2013         Purchase                9,050    $ 14.85
        7/1/2013         Purchase                6,004    $ 15.26
        7/1/2013         Purchase                  663    $ 14.76
        7/2/2013         Purchase               29,648    $ 15.05
        7/3/2013         Purchase                3,459    $ 14.65
        7/9/2013         Purchase                1,976    $ 14.44
        7/10/2013        Purchase                2,379    $ 14.49
        7/10/2013        Purchase                2,965    $ 14.50
        7/11/2013        Purchase                3,374    $ 14.79
        7/11/2013        Purchase                3,953    $ 14.78
        7/12/2013        Purchase                7,136    $ 14.73
        7/17/2013        Purchase                9,883    $ 15.16
        9/3/2013         Purchase                7,780    $ 13.13
        9/18/2013          Sale                  2,115    $ 12.53
       10/16/2013        Purchase                3,733    $ 12.76
       10/23/2013          Sale                  2,435    $ 13.17
        11/1/2013        Purchase               19,820    $ 13.27
       12/26/2013          Sale                  6,530    $ 12.79
       12/31/2013          Sale                 10,447    $ 12.76
        2/7/2014        Acquisition             52,978    $ 13.99
        2/7/2014        Acquisition              8,068    $ 13.99
        3/3/2014         Purchase                3,749    $ 14.69
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        4/1/2014        Purchase         4,259    $ 14.08
        5/1/2014          Sale           3,177    $ 13.01
        5/5/2014          Sale           3,151    $ 12.95
        5/5/2014          Sale           1,943    $ 12.95
        5/21/2014       Purchase        55,129    $ 12.00
        10/1/2014         Sale           1,753    $ 12.04
       10/29/2014       Purchase        20,731    $   9.93
       11/10/2014         Sale           2,249    $   8.49
       11/11/2014         Sale           9,571    $   8.54
       11/13/2014         Sale           1,914    $   8.84
       11/14/2014         Sale           9,571    $   8.67
       11/14/2014         Sale           9,571    $   8.69
       11/14/2014         Sale          43,071    $   8.66
       11/14/2014         Sale          47,857    $   8.68
       11/14/2014         Sale          38,284    $   8.69
       11/14/2014         Sale          57,428    $   8.68
       11/17/2014         Sale           9,571    $   8.76
       11/18/2014         Sale          47,856    $   8.69
       11/19/2014         Sale           4,786    $   8.75
       11/20/2014         Sale           9,571    $   9.10
       11/21/2014         Sale           4,786    $   8.99
       11/21/2014         Sale           4,786    $   8.98
       11/21/2014         Sale            895     $   8.98
       11/24/2014         Sale           7,178    $   9.10
       11/24/2014         Sale           4,786    $   9.12
       11/25/2014         Sale          19,143    $   8.99
       11/25/2014         Sale          14,357    $   8.97
       11/26/2014         Sale          16,751    $   9.34




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                      Corsair Capital Partners LP

          Date        Transaction            Quantity     Price
        9/6/2011        Holdings                    -
        6/7/2013        Purchase               15,585   $ 15.15
        6/10/2013       Purchase                7,793   $ 14.95
        6/11/2013       Purchase               15,585   $ 14.63
        6/13/2013       Purchase               15,585   $ 14.57
        6/14/2013       Purchase                9,166   $ 14.99
        6/17/2013       Purchase               45,828   $ 14.98
        6/17/2013       Purchase                2,805   $ 14.87
        6/17/2013       Purchase               57,285   $ 14.96
        6/18/2013       Purchase             121,445    $ 15.03
        6/18/2013       Purchase             283,541    $ 15.25
        6/18/2013       Purchase               68,742   $ 14.98
        6/18/2013       Purchase                9,807   $ 15.03
        6/18/2013       Purchase               45,828   $ 14.86
        6/18/2013       Purchase               84,294   $ 15.24
        6/21/2013       Purchase               34,371   $ 14.33
        6/27/2013       Purchase               11,457   $ 15.09
        7/1/2013        Purchase               40,000   $ 14.85
        7/1/2013        Purchase                3,073   $ 14.76
        7/2/2013        Purchase             137,355    $ 15.05
        7/3/2013        Purchase               16,025   $ 14.65
        7/8/2013        Purchase               11,762   $ 14.23
        7/9/2013        Purchase                9,157   $ 14.44
        7/10/2013       Purchase               11,020   $ 14.49
        7/10/2013       Purchase               13,735   $ 14.50
        7/11/2013       Purchase               15,631   $ 14.79
        7/11/2013       Purchase               18,314   $ 14.78
        7/12/2013       Purchase               33,059   $ 14.73
        7/17/2013       Purchase               45,785   $ 15.16
        8/1/2013        Purchase                9,472   $ 14.45
       10/16/2013       Purchase               17,216   $ 12.76
       10/23/2013         Sale                 11,757   $ 13.17
        11/1/2013       Purchase                3,597   $ 13.27
        1/14/2014       Purchase               15,013   $ 13.22
        2/7/2014       Acquisition           106,126    $ 13.99
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        2/7/2014       Acquisition        32,594   $ 13.99
        3/3/2014        Purchase          16,404   $ 14.61
        4/1/2014        Purchase          25,217   $ 14.07
        5/1/2014        Purchase          13,767   $ 13.04
        5/21/2014       Purchase         230,880   $ 12.00
        6/2/2014        Purchase          21,882   $ 12.44
        10/1/2014       Purchase          34,590   $ 12.06
       10/16/2014       Purchase          16,788   $ 11.97
       10/21/2014       Purchase          62,956   $ 12.12
       10/29/2014       Purchase          87,732   $   9.93
       11/10/2014         Sale            10,877   $   8.49
       11/11/2014         Sale            46,271   $   8.54
       11/13/2014         Sale             9,254   $   8.84
       11/14/2014         Sale            46,271   $   8.67
       11/14/2014         Sale            46,271   $   8.69
       11/14/2014         Sale           208,217   $   8.66
       11/14/2014         Sale           231,352   $   8.68
       11/14/2014         Sale           185,085   $   8.69
       11/14/2014         Sale           277,623   $   8.68
       11/17/2014         Sale            46,271   $   8.76
       11/18/2014         Sale           231,352   $   8.69
       11/19/2014         Sale            23,135   $   8.75
       11/20/2014         Sale            46,270   $   9.10
       11/21/2014         Sale            23,135   $   8.99
       11/21/2014         Sale            23,135   $   8.98
       11/21/2014         Sale             4,327   $   8.98
       11/24/2014         Sale            34,703   $   9.10
       11/24/2014         Sale            23,135   $   9.12
       11/25/2014         Sale            92,545   $   8.99
       11/25/2014         Sale            69,408   $   8.97
       11/26/2014         Sale            80,977   $   9.34




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                           Corsair Select LP

          Date        Transaction              Quantity     Price
        9/6/2011        Holdings                   -
        6/14/2013       Purchase                 5,973    $ 14.99
        6/17/2013       Purchase                29,866    $ 14.98
        6/17/2013       Purchase                 1,828    $ 14.87
        6/17/2013       Purchase                37,332    $ 14.96
        6/18/2013       Purchase                79,144    $ 15.03
        6/18/2013       Purchase               184,779    $ 15.25
        6/18/2013       Purchase                44,799    $ 14.98
        6/18/2013       Purchase                 6,391    $ 15.03
        6/18/2013       Purchase                29,866    $ 14.86
        6/18/2013       Purchase                54,934    $ 15.24
        6/21/2013       Purchase                22,399    $ 14.33
        6/27/2013       Purchase                 7,467    $ 15.09
        7/1/2013        Purchase                27,350    $ 14.85
        7/1/2013        Purchase                 2,008    $ 14.76
        7/2/2013        Purchase                89,755    $ 15.05
        7/3/2013        Purchase                10,471    $ 14.65
        7/9/2013        Purchase                 5,984    $ 14.44
        7/10/2013       Purchase                 7,201    $ 14.49
        7/10/2013       Purchase                 8,976    $ 14.50
        7/11/2013       Purchase                10,214    $ 14.79
        7/11/2013       Purchase                11,967    $ 14.78
        7/12/2013       Purchase                21,602    $ 14.73
        7/17/2013       Purchase                29,918    $ 15.16
       10/16/2013       Purchase                11,064    $ 12.76
       10/23/2013         Sale                   7,199    $ 13.17
        11/1/2013         Sale                  18,719    $ 13.27
       12/26/2013         Sale                  17,417    $ 12.79
       12/31/2013         Sale                  27,868    $ 12.76
        2/7/2014       Acquisition             141,566    $ 13.99
        2/7/2014       Acquisition              21,544    $ 13.99
        3/3/2014          Sale                   3,749    $ 14.69
        4/1/2014        Purchase                 9,413    $ 14.07
        5/1/2014          Sale                   8,389    $ 13.01
        5/5/2014          Sale                   8,305    $ 12.94
                                     7
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        5/21/2014       Purchase        145,292   $ 12.00
        10/1/2014         Sale            8,774   $ 12.04
       10/29/2014       Purchase         54,397   $   9.93
       11/10/2014         Sale            5,902   $   8.49
       11/11/2014         Sale           25,115   $   8.54
       11/13/2014         Sale            5,023   $   8.84
       11/14/2014         Sale           25,115   $   8.67
       11/14/2014         Sale           25,115   $   8.69
       11/14/2014         Sale          113,017   $   8.66
       11/14/2014         Sale          125,575   $   8.68
       11/14/2014         Sale          100,460   $   8.69
       11/14/2014         Sale          150,689   $   8.68
       11/17/2014         Sale           25,115   $   8.76
       11/18/2014         Sale          125,575   $   8.69
       11/19/2014         Sale           12,557   $   8.75
       11/20/2014         Sale           25,115   $   9.10
       11/21/2014         Sale           12,557   $   8.99
       11/21/2014         Sale           12,557   $   8.98
       11/21/2014         Sale            2,349   $   8.98
       11/24/2014         Sale           18,836   $   9.10
       11/24/2014         Sale           12,557   $   9.12
       11/25/2014         Sale           50,224   $   8.99
       11/25/2014         Sale           37,668   $   8.97
       11/26/2014         Sale           43,946   $   9.34




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                     Corsair Capital Partners 100 LP

          Date         Transaction            Quantity       Price
        9/6/2011        Holdings                       -
        6/7/2013        Purchase                 1,149     $ 15.15
        6/10/2013       Purchase                  574      $ 14.95
        6/11/2013       Purchase                 1,149     $ 14.63
        6/13/2013       Purchase                 1,149     $ 14.57
        6/14/2013       Purchase                  675      $ 14.99
        6/17/2013       Purchase                 3,377     $ 14.98
        6/17/2013       Purchase                  207      $ 14.87
        6/17/2013       Purchase                 4,221     $ 14.96
        6/18/2013       Purchase                 8,949     $ 15.03
        6/18/2013       Purchase                20,892     $ 15.25
        6/18/2013       Purchase                 5,065     $ 14.98
        6/18/2013       Purchase                  723      $ 15.03
        6/18/2013       Purchase                 3,377     $ 14.86
        6/18/2013       Purchase                 6,211     $ 15.24
        6/21/2013       Purchase                 2,533     $ 14.33
        6/27/2013       Purchase                  844      $ 15.09
        7/1/2013        Purchase                 2,950     $ 14.85
        7/1/2013        Purchase                  226      $ 14.76
        7/2/2013        Purchase                10,078     $ 15.05
        7/3/2013        Purchase                 1,176     $ 14.65
        7/8/2013        Purchase                  863      $ 14.23
        7/9/2013        Purchase                  672      $ 14.44
        7/10/2013       Purchase                  808      $ 14.49
        7/10/2013       Purchase                 1,008     $ 14.50
        7/11/2013       Purchase                 1,147     $ 14.79
        7/11/2013       Purchase                 1,344     $ 14.78
        7/12/2013       Purchase                 2,426     $ 14.73
        7/17/2013       Purchase                 3,359     $ 15.16
       10/16/2013       Purchase                 1,252     $ 12.76
       10/23/2013          Sale                   858      $ 13.17
        1/14/2014          Sale                  5,467     $ 13.17
        1/14/2014       Purchase                 1,015     $ 13.22
        2/7/2014       Acquisition               7,243     $ 13.99
        2/7/2014       Acquisition               2,204     $ 13.99
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        3/3/2014          Sale           3,523    $ 14.59
        4/1/2014          Sale           1,833    $ 14.02
        5/1/2014          Sale            164     $ 13.01
        5/21/2014       Purchase        14,234    $ 12.00
        6/2/2014          Sale           1,285    $ 12.40
        8/4/2014          Sale           1,035    $ 13.19
        10/1/2014       Purchase         2,060    $ 12.06
       10/16/2014       Purchase          995     $ 11.97
       10/21/2014       Purchase         3,731    $ 12.12
       10/29/2014       Purchase         5,199    $   9.93
       11/10/2014         Sale            645     $   8.49
       11/11/2014         Sale           2,750    $   8.54
       11/13/2014         Sale            550     $   8.84
       11/14/2014         Sale           2,750    $   8.67
       11/14/2014         Sale           2,750    $   8.69
       11/14/2014         Sale          12,374    $   8.66
       11/14/2014         Sale          13,748    $   8.68
       11/14/2014         Sale          10,998    $   8.69
       11/14/2014         Sale          16,498    $   8.68
       11/17/2014         Sale           2,750    $   8.76
       11/18/2014         Sale          13,749    $   8.69
       11/19/2014         Sale           1,375    $   8.75
       11/20/2014         Sale           2,750    $   9.10
       11/21/2014         Sale           1,375    $   8.99
       11/21/2014         Sale           1,375    $   8.98
       11/21/2014         Sale            257     $   8.98
       11/24/2014         Sale           2,062    $   9.10
       11/24/2014         Sale           1,375    $   9.12
       11/25/2014         Sale           5,500    $   8.99
       11/25/2014         Sale           4,125    $   8.97
       11/26/2014         Sale           4,812    $   9.34




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                      Corsair Capital Investors Ltd.

          Date         Transaction             Quantity      Price
        9/6/2011        Holdings                       -
        6/7/2013        Purchase                  3,266    $ 15.15
        6/10/2013       Purchase                  1,633    $ 14.95
        6/11/2013       Purchase                  3,266    $ 14.63
        6/13/2013       Purchase                  3,266    $ 14.57
        6/14/2013       Purchase                  1,921    $ 14.99
        6/17/2013       Purchase                  9,605    $ 14.98
        6/17/2013       Purchase                   588     $ 14.87
        6/17/2013       Purchase                 12,006    $ 14.96
        6/18/2013       Purchase                 25,452    $ 15.03
        6/18/2013       Purchase                 59,424    $ 15.25
        6/18/2013       Purchase                 14,407    $ 14.98
        6/18/2013       Purchase                  2,056    $ 15.03
        6/18/2013       Purchase                  9,605    $ 14.86
        6/18/2013       Purchase                 17,667    $ 15.24
        6/21/2013       Purchase                  7,204    $ 14.33
        6/27/2013       Purchase                  2,401    $ 15.09
        7/1/2013        Purchase                  8,000    $ 14.85
        7/1/2013        Purchase                   620     $ 14.76
        7/1/2013           Sale                   6,004    $ 15.26
        7/2/2013        Purchase                 27,735    $ 15.05
        7/3/2013        Purchase                  3,236    $ 14.65
        7/8/2013        Purchase                  2,375    $ 14.23
        7/9/2013        Purchase                  1,849    $ 14.44
        7/10/2013       Purchase                  2,225    $ 14.49
        7/10/2013       Purchase                  2,773    $ 14.50
        7/11/2013       Purchase                  3,156    $ 14.79
        7/11/2013       Purchase                  3,698    $ 14.78
        7/12/2013       Purchase                  6,675    $ 14.73
        7/17/2013       Purchase                  9,245    $ 15.16
        8/1/2013           Sale                   9,472    $ 14.45
        8/5/2013        Purchase                  4,954    $ 14.08
        9/3/2013        Purchase                  8,087    $ 13.13
        9/18/2013       Purchase                  1,092    $ 12.55
        10/1/2013          Sale                   8,915    $ 12.49
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       10/16/2013       Purchase           3,355   $ 12.76
       10/23/2013         Sale             2,316   $ 13.17
        11/1/2013         Sale             3,597   $ 13.27
        12/2/2013       Purchase            964    $ 13.37
       12/31/2013         Sale            17,495   $ 12.74
       12/31/2013         Sale             1,500   $ 12.86
        1/14/2014       Purchase           2,661   $ 13.22
        1/31/2014       Purchase           2,470   $ 13.88
        2/3/2014        Purchase           2,077   $ 13.58
        2/7/2014       Acquisition        18,929   $ 13.99
        2/7/2014       Acquisition         5,774   $ 13.99
        3/3/2014        Purchase           8,727   $ 14.61
        4/1/2014        Purchase          18,963   $ 14.08
        5/1/2014        Purchase           4,493   $ 13.04
        5/21/2014       Purchase          45,552   $ 12.00
        6/2/2014          Sale              841    $ 12.40
        7/1/2014          Sale             5,551   $ 12.59
        9/16/2014         Sale             8,687   $ 12.58
        9/17/2014         Sale             8,687   $ 12.60
        9/30/2014         Sale            81,036   $ 12.22
        10/1/2014       Purchase           6,619   $ 12.06
       10/16/2014       Purchase           2,217   $ 11.97
       10/21/2014       Purchase           8,313   $ 12.12
       10/29/2014       Purchase          11,584   $   9.93
       11/10/2014         Sale             1,444   $   8.49
       11/11/2014         Sale             6,150   $   8.54
       11/13/2014         Sale             1,230   $   8.84
       11/14/2014         Sale             6,150   $   8.67
       11/14/2014         Sale             6,150   $   8.69
       11/14/2014         Sale            27,675   $   8.66
       11/14/2014         Sale            30,750   $   8.68
       11/14/2014         Sale            24,600   $   8.69
       11/14/2014         Sale            36,900   $   8.68
       11/17/2014         Sale             6,150   $   8.76
       11/18/2014         Sale            30,750   $   8.69
       11/19/2014         Sale             3,075   $   8.75
       11/20/2014         Sale             6,150   $   9.10

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       11/21/2014        Sale            3,075    $   8.99
       11/21/2014        Sale            3,075    $   8.98
       11/21/2014        Sale             575     $   8.98
       11/24/2014        Sale            4,613    $   9.10
       11/24/2014        Sale            3,075    $   9.12
       11/25/2014        Sale           12,300    $   8.99
       11/25/2014        Sale            9,226    $   8.97
       11/26/2014        Sale           10,763    $   9.34




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Bonnie Ellis
Transactions in American Realty Capital Properties, Inc. Securities



Date of Transaction                                Securities         Buy (B) or Sell (S)   Quantity   Price ($)
 10/3/2014                                          ARCPP                      B               6,300       23.43
 10/3/2014                                          ARCPP                      B               4,580       23.43
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          Case 1:15-mc-00040-AKH Document 30 Filed 04/17/15 Page 206 of 275


Mitchell Ellis
Transactions in American Realty Capital Properties, Inc. Securities



Date of Transaction                                Securities Buy (B) or Sell (S)   Quantity   Price ($)
12/12/2013                                           ARCP              B              24,350         12.36
12/12/2013                                           ARCP              B              5,100          12.36
10/3/2014                                           ARCPP              B              2,200          23.59
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                                     CERTIFICATION OF PLAINTIFF PURSUANT
                                       TO THE FEDERAL SECURITIES LAWS

                    I, Paul Matten, declare the following as to the claims asserted, or to be asserted, under the
            federal securities laws:
                    1.       I have reviewed the Amended Class Action Complaint for Violation of the

            Federal Securities Laws and authorize its filing.

                    2.       I did not acquire the securities that are the subject of this action at the direction of

            plaintiff’s counsel or in order to participate in any private action or any other litigation under the

            federal securities laws.

                    3.       I am willing to serve as a representative party on behalf of the class, including

            testifying at deposition or trial, if necessary.

                    4.       I made the following transactions during the Class Period in the securities that are

            the subject of this action.

                    See Attached Schedule A.

                    5.       I will not accept any payment for serving as a representative party beyond my

            pro-rata share of any recovery, except reasonable costs and expenses – such as lost wages and

            travel expenses – directly related to the class representation, as ordered or approved by the Court

            pursuant to law.

                    6.       I have not sought to serve or served as a representative party for a class in an

            action under the federal securities laws within the past three years, except if detailed below:

                    I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                    Executed this 14th day of April, 2014.



                                                               __________________________________________
                                                               Paul Matten
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                                 Paul Matten - Schedule A
                   American Realty Capital Properties Inc. Transactions
                 Class Period: September 7, 2011 Through October 29, 2014

  Transaction         Date            Shares            Price

PAUL MATTEN ‐ Personal Account




   Purchase          6/7/2013           700            $14.980
   Purchase          6/7/2013          1244            $14.986
   Purchase          6/7/2013          2056            $14.980
   Purchase          6/7/2013          4000            $14.980
   Purchase          6/7/2013          4000            $14.997
   Purchase          6/7/2013          4000            $14.969
   Purchase         6/10/2013          600             $14.787
   Purchase         6/10/2013          1200            $14.877
   Purchase         6/10/2013          2800            $14.880
   Purchase         6/10/2013          3400            $14.790
   Purchase         6/11/2013          8000            $14.510
   Purchase         6/12/2013           200            $14.269
   Purchase         6/12/2013           200            $14.270
   Purchase         6/12/2013           300            $14.288
   Purchase         6/12/2013           484            $14.360
   Purchase         6/12/2013           600            $14.270
   Purchase         6/12/2013          3000            $14.260
   Purchase         6/12/2013          3516            $14.420
   Purchase         6/12/2013          3700            $14.290
   Purchase         6/12/2013          4000            $14.360
   Purchase         6/13/2013          8000            $14.010
   Purchase         6/20/2013          627             $14.360
   Purchase         6/20/2013          836             $14.300
   Purchase         6/20/2013          1100            $14.350
   Purchase         6/20/2013          1100            $14.355
   Purchase         6/20/2013          1300            $14.288
   Purchase         6/20/2013          2300            $14.345
   Purchase         6/20/2013          2873            $14.408
   Purchase         6/20/2013          5864            $14.290
   Purchase         6/20/2013          8000            $14.510
   Purchase         6/20/2013          8000            $14.169
   Purchase         6/24/2013          478             $14.590
   Purchase         6/24/2013          800             $14.340
   Purchase         6/24/2013          7200            $14.340
   Purchase         6/24/2013          7522            $14.590
   Purchase         6/25/2013          1000            $14.710

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       6/25/2013           7000            $14.706
 Purchase       7/5/2013             500            $14.240
 Purchase       7/5/2013            1382            $14.240
 Purchase       7/5/2013            6618            $14.260
 Purchase       7/5/2013            7500            $14.250
 Purchase       7/5/2013            8000            $14.169
 Purchase       7/8/2013            2800            $14.250
 Purchase       7/8/2013             52             $14.290
 Purchase       7/8/2013            100             $14.282
 Purchase       7/8/2013            105             $14.200
 Purchase       7/8/2013            352             $14.270
 Purchase       7/8/2013            596             $14.210
 Purchase       7/8/2013             700            $14.250
 Purchase       7/8/2013             700            $14.270
 Purchase       7/8/2013             700            $14.195
 Purchase       7/8/2013             966            $14.278
 Purchase       7/8/2013            1500            $14.288
 Purchase       7/8/2013            1800            $14.270
 Purchase       7/8/2013            2400            $14.210
 Purchase       7/8/2013            2700            $14.380
 Purchase       7/8/2013            3000            $14.270
 Purchase       7/8/2013            3148            $14.290
 Purchase       7/8/2013            3300            $14.200
 Purchase       7/8/2013            3517            $14.280
 Purchase       7/8/2013            3895            $14.200
 Purchase       7/8/2013            4648            $14.250
 Purchase       7/8/2013            5300            $14.380
 Purchase       7/8/2013            8000            $14.290
 Purchase       7/8/2013            8000            $14.220
 Purchase       7/8/2013            8000            $14.210
 Purchase       7/8/2013            8000            $14.210
 Purchase       7/8/2013            8000            $14.210
 Purchase       7/9/2013            600             $14.235
 Purchase       7/9/2013            1000            $14.328
 Purchase       7/9/2013            1000            $14.310
 Purchase       7/9/2013            1200            $14.300
 Purchase       7/9/2013            1900            $14.290
 Purchase       7/9/2013            2100            $14.289
 Purchase       7/9/2013            4000            $14.300
 Purchase       7/9/2013            7400            $14.240
 Purchase       7/9/2013            8000            $14.200
 Purchase       7/25/2013            100            $14.365

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       7/25/2013            100           $14.328
 Purchase       7/25/2013            200           $14.295
 Purchase       7/25/2013            807           $14.330
 Purchase       7/25/2013           7093           $14.330
 Purchase       7/25/2013           7800           $14.299
 Purchase       7/25/2013           7900           $14.369
 Purchase       7/25/2013           8000           $14.310
 Purchase       7/25/2013           8000           $14.320
 Purchase       7/25/2013           8000           $14.310
 Purchase       7/26/2013           100            $14.265
 Purchase       7/26/2013           200            $14.215
 Purchase       7/26/2013           800            $14.255
 Purchase       7/26/2013           1000           $14.220
 Purchase       7/26/2013           1500           $14.2575
 Purchase       7/26/2013           1700           $14.260
 Purchase       7/26/2013           4800           $14.230
 Purchase       7/26/2013           6000           $14.287
 Purchase       7/26/2013           7900           $14.270
 Purchase       7/26/2013           8000           $14.220
 Purchase       7/31/2013            34            $14.529
 Purchase       7/31/2013           100            $14.530
 Purchase       7/31/2013           100            $14.528
 Purchase       7/31/2013           300            $14.530
 Purchase       7/31/2013           300            $14.530
 Purchase       7/31/2013           400            $14.499
 Purchase       7/31/2013            500           $14.529
 Purchase       7/31/2013            700           $14.497
 Purchase       7/31/2013            800           $14.525
 Purchase       7/31/2013            800           $14.500
 Purchase       7/31/2013           1930           $14.495
 Purchase       7/31/2013           2300           $14.510
 Purchase       7/31/2013           2400           $14.510
 Purchase       7/31/2013           3066           $14.505
 Purchase       7/31/2013           4170           $14.500
 Purchase       7/31/2013           5000           $14.469
 Purchase       7/31/2013           6100           $14.527
 Purchase       7/31/2013           7000           $14.470
 Purchase       7/31/2013           8000           $14.516
 Purchase       7/31/2013           8000           $14.567
 Purchase       7/31/2013           8000           $14.527
 Purchase       7/31/2013           8000           $14.510
 Purchase        8/1/2013            100           $14.305

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase        8/1/2013            200            $14.135
 Purchase        8/1/2013           398             $14.160
 Purchase        8/1/2013           700             $14.152
 Purchase        8/1/2013           1500            $14.307
 Purchase        8/1/2013           2000            $14.150
 Purchase        8/1/2013           2300            $14.050
 Purchase        8/1/2013           4000            $14.340
 Purchase        8/1/2013          6400             $14.310
 Purchase        8/1/2013          6702             $14.140
 Purchase        8/1/2013          7700             $14.045
 Purchase        8/1/2013          8000             $14.320
 Purchase        8/1/2013          10000            $14.150
 Purchase        8/1/2013          10000            $14.050
 Purchase        8/6/2013          1100             $13.745
 Purchase        8/6/2013           1900            $13.720
 Purchase        8/6/2013           2100            $13.715
 Purchase        8/6/2013           2900            $13.750
 Purchase        8/6/2013           8000            $13.770
 Purchase        8/7/2013           8000            $13.610
 Purchase        8/8/2013           100             $13.578
 Purchase        8/8/2013           100             $13.595
 Purchase        8/8/2013           100             $13.578
 Purchase        8/8/2013           200             $13.575
 Purchase        8/8/2013           200             $13.579
 Purchase        8/8/2013           400             $13.575
 Purchase        8/8/2013           600             $13.590
 Purchase        8/8/2013           700             $13.557
 Purchase        8/8/2013          1500             $13.578
 Purchase        8/8/2013          1500             $13.578
 Purchase        8/8/2013           1500            $13.588
 Purchase        8/8/2013           1800            $13.600
 Purchase        8/8/2013           2100            $13.580
 Purchase        8/8/2013           2100            $13.598
 Purchase        8/8/2013           2500            $13.580
 Purchase        8/8/2013           2500            $13.590
 Purchase        8/8/2013           3400            $13.590
 Purchase        8/8/2013          3500             $13.580
 Purchase        8/8/2013          3900             $13.580
 Purchase        8/8/2013          4000             $13.580
 Purchase        8/8/2013          7300             $13.560
 Purchase        8/8/2013          8000             $13.610
 Purchase        8/8/2013          8000             $13.660

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase        8/9/2013            400            $13.959
 Purchase        8/9/2013            500            $13.850
 Purchase        8/9/2013           700             $13.905
 Purchase        8/9/2013           1500            $13.848
 Purchase        8/9/2013           1600            $13.910
 Purchase        8/9/2013           1700            $13.900
 Purchase        8/9/2013           2000            $13.840
 Purchase        8/9/2013           3600            $13.960
 Purchase       8/9/2013           4000             $13.920
 Purchase       8/9/2013           4000             $13.820
 Purchase       8/9/2013           8000             $13.959
 Purchase       8/9/2013           8000             $13.960
 Purchase       8/9/2013           12000            $13.900
 Purchase       8/12/2013           100             $13.720
 Purchase       8/12/2013           1500            $13.717
 Purchase       8/12/2013           2000            $13.780
 Purchase       8/12/2013           2000            $13.670
 Purchase       8/12/2013           4000            $13.650
 Purchase       8/12/2013           4400            $13.715
 Purchase       8/12/2013           8000            $13.820
 Purchase       8/13/2013           2000            $13.528
 Purchase       8/13/2013           4000            $13.600
 Purchase       8/13/2013           4000            $13.558
 Purchase       8/13/2013          10000            $13.440
 Purchase       8/14/2013           200             $13.335
 Purchase       8/14/2013          2500             $13.340
 Purchase       8/14/2013          7300             $13.360
 Purchase       8/14/2013          10000            $13.440
 Purchase       8/15/2013          10000            $13.330
 Purchase       8/15/2013            200            $13.155
 Purchase       8/15/2013            400            $13.159
 Purchase       8/15/2013           3100            $13.170
 Purchase       8/15/2013           6900            $13.177
 Purchase       8/15/2013           9400            $13.160
 Purchase       8/15/2013          10000            $13.200
 Purchase       8/15/2013          10000            $13.110
 Purchase       8/16/2013           100             $12.990
 Purchase       8/16/2013           100             $12.989
 Purchase       8/16/2013           400             $12.845
 Purchase       8/16/2013           700             $12.928
 Purchase       8/16/2013          1100             $12.988
 Purchase       8/16/2013          1500             $12.998

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       8/16/2013           1500            $13.000
 Purchase       8/16/2013           1500            $12.938
 Purchase       8/16/2013           2000            $12.908
 Purchase       8/16/2013           2500            $13.000
 Purchase       8/16/2013          2500             $12.998
 Purchase       8/16/2013          2500             $12.940
 Purchase       8/16/2013          2700             $12.990
 Purchase       8/16/2013          3300             $12.930
 Purchase       8/16/2013          3600             $12.850
 Purchase       8/16/2013          4000             $12.908
 Purchase       8/16/2013          4000             $12.910
 Purchase       8/16/2013          6000             $12.847
 Purchase       8/19/2013          1000             $12.658
 Purchase       8/19/2013          2000             $12.650
 Purchase       8/19/2013           3000            $12.659
 Purchase       8/19/2013           3000            $12.660
 Purchase       8/19/2013           5000            $12.660
 Purchase       8/19/2013           6000            $12.680
 Purchase       8/20/2013            58             $12.899
 Purchase       8/20/2013           500             $12.880
 Purchase       8/20/2013           842             $12.860
 Purchase       8/20/2013          2000             $12.900
 Purchase       8/20/2013          2600             $12.900
 Purchase       8/20/2013          4000             $12.900
 Purchase       8/20/2013          10000            $12.900
 Purchase       8/30/2013           100             $13.365
 Purchase       8/30/2013           100             $13.399
 Purchase       8/30/2013           300             $13.345
 Purchase       8/30/2013           300             $13.399
 Purchase       8/30/2013           800             $13.395
 Purchase       8/30/2013           800             $13.395
 Purchase       8/30/2013           1000            $13.350
 Purchase       8/30/2013           1000            $13.330
 Purchase       8/30/2013           1300            $13.350
 Purchase       8/30/2013          1500             $13.340
 Purchase       8/30/2013          1600             $13.320
 Purchase       8/30/2013          2125             $13.395
 Purchase       8/30/2013          2200             $13.330
 Purchase       8/30/2013          2900             $13.400
 Purchase       8/30/2013          3359             $13.360
 Purchase       8/30/2013          3600             $13.340
 Purchase       8/30/2013          4000             $13.330

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       8/30/2013           4000            $13.357
 Purchase       8/30/2013           4000            $13.357
 Purchase       8/30/2013           4000            $13.360
 Purchase       8/30/2013           5775            $13.400
 Purchase       8/30/2013           6641            $13.350
 Purchase       8/30/2013           7800            $13.330
 Purchase       8/30/2013           8000            $13.356
 Purchase       8/30/2013           8000            $13.396
 Purchase       8/30/2013           8300            $13.370
 Purchase       8/30/2013           9000            $13.350
 Purchase       8/30/2013          9000             $13.340
 Purchase       8/30/2013          9200             $13.400
 Purchase       8/30/2013          10000            $13.330
 Purchase       8/30/2013          10000            $13.340
 Purchase       8/30/2013          10000            $13.390
 Purchase       8/30/2013          10000            $13.390
 Purchase       8/30/2013          10800            $13.350
 Purchase       8/30/2013          18500            $13.360
 Purchase       8/30/2013          20000            $13.340
 Purchase        9/5/2013            100            $12.690
 Purchase        9/5/2013            500            $12.665
 Purchase        9/5/2013           900             $12.675
 Purchase        9/5/2013           900             $12.690
 Purchase        9/5/2013           1000            $12.687
 Purchase        9/5/2013           1500            $12.670
 Purchase        9/5/2013           2000            $12.750
 Purchase        9/5/2013           2000            $12.650
 Purchase        9/5/2013          3100             $12.680
 Purchase       9/5/2013           4000             $12.670
 Purchase       9/5/2013           4000             $12.680
 Purchase       9/5/2013           4000             $12.687
 Purchase       9/9/2013            100             $12.770
 Purchase       9/9/2013            100             $12.759
 Purchase       9/9/2013             200            $12.780
 Purchase        9/9/2013            300            $12.765
 Purchase        9/9/2013           3600            $12.770
 Purchase        9/9/2013           3800            $12.780
 Purchase        9/9/2013           3900            $12.760
 Purchase        9/9/2013           4000            $12.770
 Purchase        9/9/2013           4000            $12.710
 Purchase        9/9/2013           4000            $12.720
 Purchase        9/9/2013           4000            $12.720

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase        9/9/2013           4000            $12.717
 Purchase        9/9/2013           4000            $12.720
 Purchase        9/9/2013           8000            $12.750
 Purchase       9/10/2013           1000            $12.630
 Purchase       9/10/2013           2000            $12.640
 Purchase       9/10/2013           2000            $12.637
 Purchase       9/10/2013           2000            $12.627
 Purchase       9/10/2013           5000            $12.640
 Purchase       9/11/2013           4000            $12.400
 Purchase       9/11/2013           4000            $12.400
 Purchase       9/11/2013           4000            $12.370
 Purchase       9/12/2013           100             $12.409
 Purchase       9/12/2013           775             $12.405
 Purchase       9/12/2013           1000            $12.407
 Purchase       9/12/2013           2000            $12.410
 Purchase       9/12/2013           4125            $12.410
 Purchase       9/16/2013            600            $12.264
 Purchase       9/16/2013           1000            $12.265
 Purchase       9/16/2013           2300            $12.260
 Purchase       9/16/2013           4000            $12.405
 Purchase       9/16/2013           4100            $12.270
 Purchase       9/23/2013           1100            $12.510
 Purchase       9/23/2013           2900            $12.509
 Purchase       9/23/2013           4000            $12.510
 Purchase       9/24/2013            100            $12.330
 Purchase       9/24/2013           1900            $12.410
 Purchase       9/24/2013           2000            $12.410
 Purchase       9/24/2013           8000            $12.369
 Purchase       9/24/2013           8000            $12.460
 Purchase       9/25/2013           8000            $12.510
 Purchase       9/25/2013           300             $12.475
 Purchase       9/25/2013           3700            $12.480
 Purchase       9/25/2013           8000            $12.479
 Purchase       9/26/2013            100            $12.495
 Purchase       9/26/2013            300            $12.465
 Purchase       9/26/2013            500            $12.499
 Purchase       9/26/2013            601            $12.478
 Purchase       9/26/2013           1000            $12.477
 Purchase       9/26/2013           2000            $12.497
 Purchase       9/26/2013           2000            $12.467
 Purchase       9/26/2013           2508            $12.500
 Purchase       9/26/2013           2892            $12.500

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       9/26/2013          3000             $12.480
 Purchase       9/26/2013          3499             $12.470
 Purchase       9/26/2013          3600             $12.469
 Purchase       9/26/2013          4000             $12.500
 Purchase       9/26/2013          4000             $12.480
 Purchase       9/26/2013          4000             $12.470
 Purchase       9/26/2013          4000             $12.457
 Purchase       9/26/2013          4406             $12.490
 Purchase       9/26/2013          8000             $12.510
 Purchase       9/27/2013          1100             $12.450
 Purchase       9/27/2013          2900             $12.450
 Purchase       9/27/2013          4000             $12.490
 Purchase       9/27/2013          8000             $12.380
 Purchase       9/27/2013          8000             $12.270
 Purchase       9/30/2013           100             $12.225
 Purchase       9/30/2013           200             $12.265
 Purchase       9/30/2013           347             $12.290
 Purchase       9/30/2013           400             $12.285
 Purchase       9/30/2013          1000             $12.187
 Purchase       9/30/2013          1700             $12.290
 Purchase       9/30/2013          3000             $12.190
 Purchase       9/30/2013          3729             $12.280
 Purchase       9/30/2013          4000             $12.190
 Purchase       9/30/2013          4071             $12.260
 Purchase       9/30/2013          5553             $12.300
 Purchase       9/30/2013          7900             $12.230
 Purchase       9/30/2013          8000             $12.400
 Purchase       9/30/2013          8000             $12.220
 Purchase       10/8/2013           100             $12.307
 Purchase       10/8/2013           200             $12.295
 Purchase       10/8/2013           400             $12.310
 Purchase       10/8/2013          3800             $12.305
 Purchase       10/8/2013          7700             $12.310
 Purchase       10/8/2013          8000             $12.310
 Purchase       10/8/2013          19800            $12.300
 Purchase       10/9/2013          1200             $12.350
 Purchase       10/9/2013          3281             $12.260
 Purchase       10/9/2013          4000             $12.260
 Purchase       10/9/2013          4900             $12.290
 Purchase       10/9/2013          5100             $12.290
 Purchase       10/9/2013          6719             $12.270
 Purchase       10/9/2013          8800             $12.350

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase        10/9/2013         10000            $12.310
 Purchase       10/10/2013          700             $12.330
 Purchase       10/10/2013          1000            $12.310
 Purchase       10/10/2013          1000            $12.308
 Purchase       10/10/2013          1500            $12.289
 Purchase       10/10/2013          1800            $12.350
 Purchase       10/10/2013          2000            $12.348
 Purchase       10/11/2013          3200            $12.329
 Purchase       10/11/2013          4800            $12.330
 Purchase       10/14/2013          703             $12.310
 Purchase       10/23/2013          100             $13.200
 Purchase       10/23/2013          8701            $13.050
 Purchase       10/23/2013         11299            $13.045
 Purchase       10/23/2013         19900            $13.200
 Purchase       10/23/2013         20000            $13.810
 Purchase       10/30/2013          700             $13.440
 Purchase       10/30/2013         19300            $13.440
 Purchase       10/31/2013         20000            $13.020
 Purchase        11/1/2013         20000            $13.170
 Purchase        11/4/2013          300             $13.320
 Purchase        11/4/2013         6900             $13.315
 Purchase        11/4/2013         12800            $13.320
 Purchase        11/5/2013          500             $13.145
 Purchase        11/5/2013         19500            $13.150
 Purchase       11/6/2013          20000            $12.930
 Purchase       11/8/2013           100             $12.755
 Purchase       11/8/2013           100             $12.575
 Purchase       11/8/2013           900             $12.580
 Purchase       11/8/2013          1000             $12.530
 Purchase       11/8/2013          1800             $12.586
 Purchase       11/8/2013          1900             $12.550
 Purchase       11/8/2013          3000             $12.760
 Purchase       11/8/2013          3826             $12.530
 Purchase       11/8/2013           4000            $12.530
 Purchase        11/8/2013          5000            $12.520
 Purchase        11/8/2013          9000            $12.580
 Purchase        11/8/2013         10000            $12.570
 Purchase        11/8/2013         10000            $12.530
 Purchase        11/8/2013         16174            $12.570
 Purchase        11/8/2013         16900            $12.760
 Purchase        11/8/2013         18100            $12.560
 Purchase       11/8/2013          18200            $12.580

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase        11/8/2013         20000            $12.610
 Purchase        11/8/2013         20000            $12.610
 Purchase       11/19/2013          100             $12.965
 Purchase       11/19/2013          200             $12.940
 Purchase       11/19/2013          952             $12.960
 Purchase       11/19/2013         9300             $12.970
 Purchase       11/19/2013         9448             $12.950
 Purchase       11/21/2013          100             $12.935
 Purchase       11/21/2013          100             $12.945
 Purchase       11/21/2013          100             $12.950
 Purchase       11/21/2013         1327             $12.940
 Purchase       11/21/2013         18473            $12.950
 Purchase       12/10/2013         20000            $12.800
 Purchase       12/10/2013         20000            $12.800
 Purchase       12/11/2013          100             $12.598
 Purchase       12/11/2013          154             $12.690
 Purchase       12/11/2013          200             $12.685
 Purchase       12/11/2013          300             $12.430
 Purchase       12/11/2013          800             $12.680
 Purchase       12/11/2013          800             $12.600
 Purchase       12/11/2013         2000             $12.599
 Purchase       12/11/2013         3500             $12.675
 Purchase       12/11/2013         4524             $12.680
 Purchase       12/11/2013         6100             $12.600
 Purchase       12/11/2013         7895             $12.595
 Purchase       12/11/2013         9700             $12.430
 Purchase       12/11/2013         10000            $12.510
 Purchase       12/11/2013         10000            $12.505
 Purchase       12/11/2013         10822            $12.690
 Purchase       12/11/2013         11100            $12.590
 Purchase       12/11/2013         12005            $12.600
 Purchase       12/11/2013         20000            $12.690
 Purchase       12/11/2013         20000            $12.590
 Purchase       12/11/2013         20000            $12.585
 Purchase       12/12/2013         2039             $12.420
 Purchase       12/12/2013         3100             $12.460
 Purchase       12/12/2013         4861             $12.460
 Purchase       12/19/2013         3500             $12.620
 Purchase       12/19/2013         16500            $12.620
 Purchase       12/19/2013         20000            $12.600
 Purchase       12/20/2013          444             $12.609
 Purchase       12/20/2013         1000             $12.577

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       12/20/2013         1056             $12.605
 Purchase       12/20/2013         5000             $12.590
 Purchase       12/20/2013         5500             $12.610
 Purchase       12/20/2013         6256             $12.620
 Purchase       12/20/2013         8000             $12.610
 Purchase       12/20/2013         9744             $12.630
 Purchase       12/23/2013         3000             $12.615
 Purchase       12/24/2013          100             $12.736
 Purchase       12/31/2013         10000            $12.720
 Purchase        1/9/2014          10000            $12.640
 Purchase        1/10/2014         1900             $12.715
 Purchase        1/10/2014         4100             $12.720
 Purchase       02/11/2014         8000             $13.79
 Purchase       02/12/2014          192             $13.52
 Purchase       02/12/2014         3000             $13.56
 Purchase       02/12/2014         3000             $13.52
 Purchase       02/12/2014         3912             $13.53
 Purchase       02/12/2014         4088             $13.53
 Purchase       02/12/2014         4808             $13.51
 Purchase       02/12/2014         5000             $13.56
 Purchase       02/12/2014         8000             $13.52
 Purchase       02/12/2014         8000             $13.55
 Purchase       03/19/2014          378             $14.12
 Purchase       03/19/2014          900             $14.15
 Purchase       03/19/2014         1322             $14.12
 Purchase       03/19/2014         1500             $14.23
 Purchase       03/19/2014         1500             $14.17
 Purchase       03/19/2014         1500             $14.12
 Purchase       03/19/2014         2500             $14.23
 Purchase       03/19/2014         2500             $14.17
 Purchase       03/19/2014         3100             $14.15
 Purchase       03/19/2014         4800             $14.12
 Purchase       03/19/2014         20000            $14.24
 Purchase       03/31/2014          100             $13.87
 Purchase       03/31/2014         1000             $13.89
 Purchase       03/31/2014         6900             $13.87
 Purchase       04/01/2014         1500             $13.95
 Purchase       04/01/2014         1900             $13.95
 Purchase       04/01/2014         2200             $13.90
 Purchase       04/01/2014         4000             $13.92
 Purchase       04/01/2014         4000             $13.90
 Purchase       04/01/2014         4600             $13.94

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       04/01/2014         5800             $13.90
 Purchase       04/01/2014         8000             $13.99
 Purchase       04/01/2014         8000             $13.90
 Purchase       04/03/2014           1              $13.95
 Purchase       04/03/2014         3566             $13.95
 Purchase       04/03/2014         8000             $13.93
 Purchase       04/03/2014         13800            $13.96
 Purchase       04/03/2014         14633            $13.97
 Purchase       04/07/2014          200             $13.85
 Purchase       04/07/2014         8000             $13.99
 Purchase       04/07/2014         8000             $13.88
 Purchase       04/07/2014         11800            $13.85
 Purchase       04/07/2014         20000            $13.85
 Purchase       04/08/2014         2000             $13.68
 Purchase       04/08/2014         4000             $13.74
 Purchase       04/08/2014         4000             $13.74
 Purchase       04/08/2014         4000             $13.70
 Purchase       04/08/2014         6000             $13.68
 Purchase       04/08/2014         8000             $13.69
 Purchase       04/08/2014         8000             $13.69
 Purchase       04/08/2014         12000            $13.70
 Purchase       04/09/2014          100             $13.55
 Purchase       04/09/2014          200             $13.63
 Purchase       04/09/2014          300             $13.55
 Purchase       04/09/2014          852             $13.55
 Purchase       04/09/2014         1200             $13.63
 Purchase       04/09/2014         1248             $13.56
 Purchase       04/09/2014         1500             $13.63
 Purchase       04/09/2014         1500             $13.52
 Purchase       04/09/2014         1500             $13.55
 Purchase       04/09/2014         1500             $13.56
 Purchase       04/09/2014         2500             $13.63
 Purchase       04/09/2014         2500             $13.52
 Purchase       04/09/2014         2500             $13.55
 Purchase       04/09/2014         2600             $13.63
 Purchase       04/09/2014         4000             $13.62
 Purchase       04/09/2014         4000             $13.59
 Purchase       04/09/2014         4000             $13.56
 Purchase       04/17/2014         8000             $13.21
 Purchase       04/21/2014          800             $13.21
 Purchase       04/21/2014         7200             $13.21
 Purchase       04/23/2014         4000             $13.32

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       04/23/2014          4000            $13.40
 Purchase       04/23/2014          4000            $13.38
 Purchase       04/23/2014          4000            $13.38
 Purchase       04/23/2014          4000            $13.35
 Purchase       04/23/2014          4000            $13.35
 Purchase       04/23/2014          4000            $13.28
 Purchase       04/23/2014          4000            $13.28
 Purchase       04/23/2014          8000            $13.28
 Purchase       04/24/2014          3300            $13.21
 Purchase       04/24/2014          4000            $13.22
 Purchase       04/24/2014          4000            $13.26
 Purchase       04/24/2014          4700            $13.21
 Purchase       04/25/2014          4000            $13.15
 Purchase       04/25/2014          4000            $13.11
 Purchase       04/25/2014          100             $13.17
 Purchase       04/25/2014          500             $13.12
 Purchase       04/25/2014          900             $13.12
 Purchase       04/25/2014          900             $13.14
 Purchase       04/25/2014          1500            $13.13
 Purchase       04/25/2014          1500            $13.01
 Purchase       04/25/2014          1702            $13.12
 Purchase       04/25/2014          1900            $13.17
 Purchase       04/25/2014          2000            $13.16
 Purchase       04/25/2014          3998            $13.15
 Purchase       04/25/2014          4000            $13.17
 Purchase       04/25/2014          4000            $13.19
 Purchase       04/25/2014          4000            $13.16
 Purchase       04/25/2014          4000            $13.14
 Purchase       04/25/2014          4000            $13.11
 Purchase       04/25/2014          4000            $13.10
 Purchase       04/25/2014          4000            $13.10
 Purchase       04/25/2014          4000            $13.00
 Purchase       04/25/2014          6500            $13.13
 Purchase       04/25/2014          6500            $13.01
 Purchase       04/25/2014          8000            $13.09
 Purchase       04/28/2014          1000            $12.91
 Purchase       04/28/2014          3000            $12.91
 Purchase       04/28/2014          4000            $13.00
 Purchase       04/28/2014          4000            $12.97
 Purchase       04/28/2014          4000            $12.87
 Purchase       04/29/2014          100             $13.00
 Purchase       04/29/2014          200             $12.98

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       04/29/2014          300             $12.89
 Purchase       04/29/2014          700             $12.88
 Purchase       04/29/2014          700             $12.97
 Purchase       04/29/2014         1000             $12.91
 Purchase       04/29/2014         1000             $13.00
 Purchase       04/29/2014         1000             $13.00
 Purchase       04/29/2014         1000             $12.92
 Purchase       04/29/2014         1100             $13.00
 Purchase       04/29/2014         1900             $12.92
 Purchase       04/29/2014         4000             $13.00
 Purchase       04/29/2014         4000             $13.00
 Purchase       04/29/2014         4000             $13.00
 Purchase       04/29/2014         7000             $12.92
 Purchase       04/30/2014         8000             $12.87
 Purchase       05/05/2014          400             $13.04
 Purchase       05/05/2014         1000             $12.95
 Purchase       05/05/2014         3600             $12.96
 Purchase       05/05/2014         4000             $12.96
 Purchase       05/05/2014         7000             $12.95
 Purchase       05/05/2014         8000             $12.95
 Purchase       05/14/2014         6000             $13.19
 Purchase       05/21/2014          50              $12.57
 Purchase       05/21/2014         8000             $12.20
 Purchase       05/21/2014         19950            $12.57
 Purchase       05/21/2014         20000            $12.57
 Purchase       05/22/2014         2500             $12.10
 Purchase       05/22/2014         9500             $12.08
 Purchase       05/23/2014         20000            $12.33
 Purchase       05/29/2014          600             $12.35
 Purchase       05/29/2014         1400             $12.31
 Purchase       05/29/2014         1403             $12.30
 Purchase       05/29/2014         6597             $12.30
 Purchase       05/29/2014         30000            $12.35
 Purchase       06/02/2014         1100             $12.31
 Purchase       06/02/2014         4347             $12.35
 Purchase       06/02/2014         4553             $12.31
 Purchase       06/02/2014         5000             $12.29
 Purchase       06/02/2014         5000             $12.29
 Purchase       06/02/2014         20000            $12.31
 Purchase       06/09/2014         8000             $12.25
 Purchase       06/12/2014         5000             $11.78
 Purchase       06/12/2014         7000             $11.78

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       06/17/2014          4000            $12.06
 Purchase       06/17/2014          8000            $11.98
 Purchase       06/18/2014          8000            $12.02
 Purchase       08/18/2014          8000            $12.91
 Purchase       08/18/2014          8000            $12.91
 Purchase       08/18/2014          8000            $12.89
 Purchase       08/18/2014          8000            $12.90
 Purchase       08/18/2014          8000            $12.90
 Purchase       08/18/2014          8000            $12.85
 Purchase       08/19/2014          8000            $12.98
 Purchase       08/20/2014          800             $13.10
 Purchase       08/20/2014          1000            $12.93
 Purchase       08/20/2014          6000            $12.94
 Purchase       08/21/2014          200             $13.14
 Purchase       09/03/2014          8000            $13.26
 Purchase       09/04/2014          6000            $13.09
 Purchase       09/04/2014          6000            $13.06
 Purchase       09/11/2014          1000            $12.97
 Purchase       09/12/2014          950             $12.82
 Purchase       09/15/2014          550             $12.74
 Purchase       09/15/2014          1000            $12.46
 Purchase       09/15/2014          5000            $12.53
 Purchase       09/15/2014          5500            $12.53
 Purchase       09/17/2014          1000            $12.67
 Purchase       09/19/2014          150             $12.37
 Purchase       09/23/2014          390             $12.30
 Purchase       10/01/2014          1460            $12.07
 Purchase       10/02/2014          800             $12.00
 Purchase       10/06/2014          2000            $12.00
 Purchase       10/08/2014          200             $11.84
 Purchase       10/09/2014          400             $11.88
 Purchase       10/13/2014          2800            $11.58
 Purchase       10/16/2014          200             $11.60
 Purchase       10/16/2014          800             $11.75
 Purchase       10/16/2014          5800            $11.65
 Purchase       10/16/2014          5800            $11.67
 Purchase       10/17/2014          500             $12.09
 Purchase       10/23/2014          400             $12.11
 Purchase       10/28/2014           50             $12.42
 Purchase       10/28/2014          1150            $12.42

   Sale         6/13/2013            100            $14.695

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

   Sale         6/13/2013            500            $14.670
   Sale         6/13/2013           1000            $14.690
   Sale         6/13/2013           1200            $14.712
   Sale         6/13/2013           2900            $14.692
   Sale         6/13/2013           3500            $14.671
   Sale         6/13/2013           6800            $14.710
   Sale         6/13/2013           8000            $14.240
   Sale         6/13/2013           8000            $14.490
   Sale         6/13/2013           8000            $14.490
   Sale         6/13/2013           8000            $14.550
   Sale         6/20/2013           2763            $14.611
   Sale         6/20/2013           5237            $14.650
   Sale         6/20/2013           8000            $14.662
   Sale         6/24/2013            300            $14.690
   Sale         6/24/2013            800            $14.670
   Sale         6/24/2013           3400            $14.690
   Sale         6/24/2013           3500            $14.670
   Sale         6/24/2013           8000            $14.590
   Sale         6/24/2013           8000            $14.590
   Sale         6/25/2013           1940            $14.751
   Sale         6/25/2013           2100            $14.790
   Sale         6/25/2013           3960            $14.790
   Sale         6/25/2013           8000            $14.774
   Sale         7/5/2013            3100            $14.233
   Sale         7/5/2013            4900            $14.234
   Sale         7/5/2013            8000            $14.290
   Sale          7/5/2013           8000            $14.291
   Sale          7/8/2013           2800            $14.380
   Sale          7/8/2013            100            $14.230
   Sale          7/8/2013           1500            $14.210
   Sale          7/8/2013           2300            $14.230
   Sale         7/8/2013            3627            $14.250
   Sale         7/8/2013            4000            $14.220
   Sale         7/8/2013            4000            $14.220
   Sale         7/8/2013            4373            $14.250
   Sale         7/8/2013            4483            $14.310
   Sale         7/8/2013            6500            $14.215
   Sale         7/8/2013            8000            $14.290
   Sale          7/8/2013           8000            $14.290
   Sale          7/8/2013           8596            $14.270
   Sale          7/9/2013           2000            $14.230
   Sale          7/9/2013           2300            $14.245

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

   Sale          7/9/2013           3700            $14.240
   Sale          7/9/2013           4041            $14.340
   Sale          7/9/2013           7159            $14.370
   Sale          7/9/2013           8000            $14.290
   Sale          7/9/2013           8000            $14.340
   Sale          7/9/2013           8000            $14.290
   Sale         7/9/2013            8000            $14.290
   Sale         7/26/2013           100             $14.661
   Sale         7/26/2013           200             $14.660
   Sale         7/26/2013           300             $14.623
   Sale         7/26/2013           700             $14.664
   Sale         7/26/2013           700             $14.664
   Sale         7/26/2013            895            $14.660
   Sale         7/26/2013           1300            $14.660
   Sale         7/26/2013           1500            $14.523
   Sale         7/26/2013           1500            $14.584
   Sale         7/26/2013           1500            $14.660
   Sale         7/26/2013           1600            $14.660
   Sale         7/26/2013           1700            $14.663
   Sale         7/26/2013           1700            $14.661
   Sale         7/26/2013           2405            $14.640
   Sale         7/26/2013           2500            $14.520
   Sale         7/26/2013           2825            $14.665
   Sale         7/26/2013           2875            $14.660
   Sale         7/26/2013           4000            $14.490
   Sale         7/26/2013           5500            $14.665
   Sale         7/26/2013           6500            $14.580
   Sale         7/26/2013           7700            $14.620
   Sale         7/26/2013           8000            $14.390
   Sale         7/26/2013           8000            $14.440
   Sale         7/26/2013           8000            $14.540
   Sale         7/26/2013           8000            $14.660
   Sale         7/31/2013           500             $14.675
   Sale         7/31/2013           7500            $14.670
   Sale         8/9/2013            100             $13.941
   Sale         8/9/2013            200             $13.955
   Sale         8/9/2013            1000            $13.960
   Sale         8/9/2013            1100            $13.970
   Sale         8/9/2013            1300            $13.950
   Sale          8/9/2013           1500            $13.943
   Sale          8/9/2013           2300            $13.970
   Sale          8/9/2013           2652            $13.940

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
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Transaction        Date            Shares            Price

   Sale          8/9/2013           3200            $13.970
   Sale          8/9/2013           3548            $13.950
   Sale          8/9/2013           3700            $13.961
   Sale          8/9/2013           5700            $13.971
   Sale          8/9/2013           6700            $13.940
   Sale          8/9/2013           7000            $13.950
   Sale         8/29/2013           147             $13.490
   Sale         8/29/2013           200             $13.565
   Sale         8/29/2013           200             $13.545
   Sale         8/29/2013           200             $13.545
   Sale         8/29/2013           300             $13.530
   Sale         8/29/2013           600             $13.540
   Sale         8/29/2013           600             $13.535
   Sale         8/29/2013           667             $13.520
   Sale         8/29/2013           718             $13.540
   Sale         8/29/2013            800            $13.540
   Sale         8/29/2013           1500            $13.545
   Sale         8/29/2013           2200            $13.545
   Sale         8/29/2013           2400            $13.540
   Sale         8/29/2013           3572            $13.520
   Sale         8/29/2013           3589            $13.520
   Sale         8/29/2013           4757            $13.530
   Sale         8/29/2013           4800            $13.580
   Sale         8/29/2013           5614            $13.550
   Sale         8/29/2013           6411            $13.510
   Sale         8/29/2013          8400             $13.540
   Sale         8/29/2013          9076             $13.540
   Sale         8/29/2013          9682             $13.560
   Sale         8/29/2013          10000            $13.510
   Sale         8/29/2013          10024            $13.530
   Sale         8/29/2013          13743            $13.540
   Sale         8/29/2013          20000            $13.580
   Sale         8/29/2013          20000            $13.580
   Sale         8/29/2013          20000            $13.550
   Sale         8/29/2013          39800            $13.560
   Sale         9/18/2013            500            $12.850
   Sale         9/18/2013           600             $12.850
   Sale         9/18/2013           1000            $12.853
   Sale         9/18/2013           1900            $12.855
   Sale         9/18/2013           2000            $12.850
   Sale         9/18/2013           2000            $12.853
   Sale         9/18/2013           4000            $12.850

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
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Transaction        Date            Shares            Price

   Sale          9/18/2013         20000            $12.850
   Sale          9/26/2013          4406            $12.560
   Sale          9/26/2013         8000             $12.520
   Sale          9/27/2013         2609             $12.520
   Sale          9/27/2013         7391             $12.490
   Sale          9/27/2013         8000             $12.490
   Sale          9/27/2013         8000             $12.441
   Sale          10/1/2013         1000             $12.554
   Sale          10/1/2013         1500             $12.550
   Sale          10/1/2013         5500             $12.550
   Sale          10/1/2013         8000             $12.490
   Sale          10/1/2013         8000             $12.590
   Sale          10/1/2013         8000             $12.550
   Sale          10/2/2013          300             $12.755
   Sale          10/2/2013          500             $12.850
   Sale          10/2/2013          1000            $12.854
   Sale          10/2/2013         2000             $12.654
   Sale          10/2/2013         4000             $12.850
   Sale          10/2/2013         6000             $12.650
   Sale          10/2/2013         6500             $12.850
   Sale          10/2/2013         7700             $12.750
   Sale          10/2/2013         8000             $12.850
   Sale          10/2/2013         8000             $12.854
   Sale          10/2/2013         8000             $12.864
   Sale         10/10/2013         4000             $12.390
   Sale         10/11/2013         8000             $12.370
   Sale         10/11/2013         8000             $12.390
   Sale         10/14/2013          703             $12.370
   Sale         10/15/2013          100             $13.005
   Sale         10/15/2013          5000            $13.000
   Sale         10/15/2013         13600            $12.800
   Sale         10/15/2013         66400            $12.810
   Sale         10/15/2013         74900            $12.990
   Sale         10/17/2013          200             $13.105
   Sale         10/17/2013         20000            $13.220
   Sale         10/17/2013         39800            $13.100
   Sale         10/17/2013         40000            $13.160
   Sale         10/18/2013          300             $13.446
   Sale         10/18/2013          600             $13.435
   Sale         10/18/2013          700             $13.450
   Sale         10/18/2013         1300             $13.448
   Sale         10/18/2013         2700             $13.445

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
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Transaction        Date            Shares            Price

   Sale         10/18/2013          3000            $13.440
   Sale         10/18/2013          4600            $13.345
   Sale         10/18/2013          5400            $13.350
   Sale         10/18/2013         10000            $13.340
   Sale         10/18/2013         12000            $13.440
   Sale         10/18/2013         19400            $13.430
   Sale         10/18/2013         20000            $13.290
   Sale         10/18/2013         20000            $13.390
   Sale         10/18/2013         20000            $13.400
   Sale         10/21/2013         20000            $13.450
   Sale         10/22/2013         14000            $13.690
   Sale         10/22/2013         16000            $13.590
   Sale         10/23/2013          100             $13.920
   Sale         10/23/2013          500             $13.870
   Sale         10/23/2013          1000            $13.890
   Sale         10/23/2013          1500            $13.910
   Sale         10/23/2013          4400            $13.850
   Sale         10/23/2013          5000            $13.860
   Sale         10/23/2013          5600            $13.840
   Sale         10/23/2013          9000            $13.850
   Sale         10/23/2013         10000            $13.790
   Sale         10/23/2013         14500            $13.850
   Sale         10/23/2013         18400            $13.900
   Sale         10/25/2013         1300             $13.645
   Sale         10/25/2013         18700            $13.640
   Sale         10/31/2013         20000            $13.260
   Sale          11/4/2013          464             $13.450
   Sale          11/4/2013         19536            $13.440
   Sale          11/4/2013         20000            $13.360
   Sale         11/11/2013         20000            $12.790
   Sale         11/12/2013          7200            $12.860
   Sale         11/12/2013         12800            $12.860
   Sale         11/13/2013          1000            $13.090
   Sale         11/13/2013          2000            $13.110
   Sale         11/13/2013          2700            $13.005
   Sale         11/13/2013          2900            $12.950
   Sale         11/13/2013         17000            $13.100
   Sale         11/13/2013         17100            $12.950
   Sale         11/13/2013         17300            $13.000
   Sale         11/13/2013         20000            $13.000
   Sale         11/13/2013         20000            $13.000
   Sale         11/13/2013         20000            $12.950

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
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Transaction        Date            Shares            Price

   Sale         11/21/2013           100            $13.000
   Sale         11/22/2013          6800            $13.040
   Sale         11/22/2013          7500            $13.000
   Sale         11/22/2013         12500            $13.001
   Sale         11/22/2013         13200            $13.040
   Sale         12/16/2013         20000            $12.800
   Sale         12/18/2013          3600            $12.860
   Sale         12/18/2013         16400            $12.870
   Sale         12/24/2013          500             $12.745
   Sale         12/24/2013         2200             $12.740
   Sale         12/24/2013         8376             $12.731
   Sale         12/24/2013         11724            $12.740
   Sale         12/24/2013         17300            $12.740
   Sale         12/26/2013          400             $12.800
   Sale         12/26/2013          1639            $12.800
   Sale         12/26/2013          3900            $12.805
   Sale         12/26/2013          5700            $12.800
   Sale         12/26/2013         10000            $12.790
   Sale         12/26/2013         18361            $12.810
   Sale         12/27/2013         20000            $12.790
   Sale         12/30/2013          2700            $12.910
   Sale         12/30/2013          7300            $12.901
   Sale         12/30/2013         10000            $12.880
   Sale         12/31/2013          900             $12.830
   Sale         12/31/2013         1500             $12.835
   Sale         12/31/2013         7600             $12.831
   Sale         12/31/2013         10000            $12.890
   Sale         12/31/2013         10000            $12.910
   Sale          1/2/2014          3595             $12.880
   Sale           1/2/2014          6405            $12.870
   Sale           1/2/2014         10000            $12.990
   Sale          1/10/2014           100            $13.025
   Sale          1/10/2014          300             $12.815
   Sale          1/10/2014          4404            $12.830
   Sale          1/10/2014          5596            $12.820
   Sale          1/10/2014          5700            $12.811
   Sale          1/10/2014          9900            $13.020
   Sale          1/10/2014         10000            $12.990
   Sale          1/13/2014          614             $13.025
   Sale          1/13/2014         1100             $13.040
   Sale          1/13/2014         1900             $13.040
   Sale          1/13/2014         3000             $13.040

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
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Transaction        Date            Shares            Price

   Sale          1/13/2014          3000            $13.040
   Sale          1/13/2014          7000            $13.040
   Sale          1/13/2014          7000            $13.040
   Sale          1/13/2014          8100            $13.040
   Sale          1/13/2014          8900            $13.040
   Sale          1/13/2014          9386            $13.021
   Sale          1/13/2014         10000            $13.020
   Sale          1/16/2014          1000            $13.620
   Sale          1/16/2014         1000             $13.615
   Sale          1/16/2014         8000             $13.610
   Sale          1/16/2014         10000            $13.610
   Sale          1/21/2014         3000             $13.820
   Sale          1/21/2014         7000             $13.820
   Sale          1/21/2014         10000            $13.720
   Sale         02/13/2014          8000             $13.82
   Sale         03/31/2014          8000             $14.01
   Sale         04/07/2014          100              $14.02
   Sale         04/07/2014          3400             $14.01
   Sale         04/07/2014          4500             $14.01
   Sale         04/21/2014          8000             $13.37
   Sale         04/21/2014          8000             $13.36
   Sale         04/23/2014          4000            $13.41
   Sale         04/23/2014         4000             $13.44
   Sale         05/13/2014         5900             $13.47
   Sale         05/13/2014          100             $13.47
   Sale          6/7/2013          1400             $15.004
   Sale          6/7/2013          6600             $15.000
   Sale         08/18/2014          8000             $12.96
   Sale         08/19/2014          8000             $12.94
   Sale         09/02/2014          8000             $13.32
   Sale         09/05/2014          100              $13.20
   Sale         09/05/2014          200              $13.30
   Sale         09/05/2014          4000             $13.22
   Sale         09/05/2014          4000            $13.25
   Sale         09/05/2014         4800             $13.29
   Sale         09/05/2014         5900             $13.19
   Sale         09/05/2014         6000             $13.16
   Sale          9/24/2013          100             $12.565
   Sale          9/24/2013         1000             $12.544
   Sale          9/24/2013         3300             $12.560
   Sale          9/24/2013          3300            $12.560
   Sale          9/24/2013          4300            $12.540

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                                   Paul Matten - Schedule A
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  Transaction           Date            Shares            Price

     Sale             9/24/2013          8000            $12.521
     Sale             9/24/2013          8000            $12.550
     Sale             9/25/2013          2000            $12.524
     Sale             9/25/2013          4000            $12.521
     Sale             9/25/2013          6000            $12.520
     Sale             9/25/2013          8000            $12.520
     Sale            10/21/2014          100             $12.15



 PAUL MATTEN
(pfd stock‐6.7%,
     Ser. F)


   Purchase          01/22/2014          100             $21.330
   Purchase          01/22/2014          200             $21.340
   Purchase          01/22/2014          200             $21.390
   Purchase          01/22/2014          500             $21.290
   Purchase          01/22/2014          1500            $21.390
   Purchase          01/22/2014          2901            $21.400
   Purchase          01/22/2014          3099            $21.300
   Purchase          01/22/2014          3600            $21.293
   Purchase          01/22/2014          4400            $21.292
   Purchase          01/22/2014          7500            $21.400
   Purchase           1/24/2014          3600            $21.214
   Purchase           1/24/2014          4400            $21.214
   Purchase           1/27/2014          1000            $21.030
   Purchase           1/27/2014          3000            $21.026
   Purchase           1/27/2014          3600            $21.098
   Purchase           1/27/2014          4000            $21.027
   Purchase           1/27/2014          4400            $21.098

     Sale            01/29/2014          200             $21.150
     Sale            01/29/2014          400             $21.156
     Sale            01/29/2014          594             $21.270
     Sale            01/29/2014          881             $21.159
     Sale            01/29/2014          1700            $21.275
     Sale            01/29/2014          2606            $21.204
     Sale            01/29/2014          2954            $21.200
     Sale            01/29/2014          3100            $21.200
     Sale            01/29/2014          3565            $21.180
     Sale             1/30/2014          1800            $21.420

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                                   Paul Matten - Schedule A
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  Transaction           Date            Shares            Price

      Sale           1/30/2014           1800            $21.420
      Sale           1/30/2014          2200             $21.427
      Sale           1/30/2014          2200             $21.427
      Sale           1/30/2014          3400             $21.250
      Sale           1/30/2014          4600             $21.257
      Sale           3/19/2014          2500             $22.900
      Sale           3/19/2014          13418            $22.880
      Sale           3/19/2014            82             $22.895



MATTEN
FAMILY TRUST
DECENDENTS
(pfd stock-6.7%,
Ser. F)


    Purchase            1/22/2014                600     $21.39
    Purchase            1/22/2014               1400     $21.41
    Purchase            1/22/2014               2000     $21.40
    Purchase            1/24/2014                100     $21.09
    Purchase            1/24/2014                800     $21.10
    Purchase            1/24/2014               1100     $21.10
    Purchase            1/27/2014                900     $21.04
    Purchase            1/27/2014               1100     $21.04
    Purchase            1/31/2014               2000     $20.98

      Sale           01/30/2014          400             $21.41
      Sale           01/30/2014          607             $21.41
      Sale           01/30/2014          900             $21.26
      Sale           01/30/2014          993             $21.42
      Sale           01/30/2014          1100            $21.26
      Sale           02/06/2014          2000            $21.22
      Sale           03/19/2014          2000            $22.91
      Sale           03/19/2014          2000            $22.83




PAUL MATTEN
09/20/2014 CALL
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    Purchase         09/08/2014          5000             $0.35

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                  American Realty Capital Properties Inc. Transactions
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  Transaction        Date            Shares            Price

   Purchase       09/08/2014          2000             $0.30
   Purchase       09/10/2014          6000             $0.25
   Purchase       09/10/2014          500              $0.20
   Sell           09/10/2014          500              $0.20
   Sell           09/11/2014          1000             $0.10



PAUL MATTEN
CF

   Purchase        7/5/2013            100            $14.18
   Purchase        8/12/2013           100            $13.77
   Purchase        8/13/2013           118            $13.39
   Purchase       11/20/2013           82             $12.95
   Purchase        1/10/2014           100            $12.70
   Purchase       04/28/2014           160            $12.83
   Purchase       05/21/2014           149            $12.31
   Purchase       06/27/2014           91             $12.43
   Purchase       08/18/2014           244            $12.96
   Purchase       09/12/2014           156            $12.97
   Purchase       10/03/2014           200            $11.96

     Sale         1/21/2014            100            $13.84




MATTEN
FAMILY TRUST
DECENDENTS*

   Purchase       3/5/2013            1000           $13.420
   Purchase       3/5/2013             100           $13.479
   Purchase       3/5/2013            1100           $13.480
   Purchase       3/5/2013            1,800          $13.500
   Purchase       3/5/2013            2,000          $13.350
   Purchase       3/20/2013            200           $14.179
   Purchase       3/20/2013            800           $14.180
   Purchase       3/22/2013           1,000          $14.4068
   Purchase       3/22/2013           1,000          $14.3568
   Purchase       3/22/2013           1,000          $14.3099
   Purchase       3/25/2013           1,000          $14.0200
   Purchase       3/25/2013           1,000          $14.0870

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
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Transaction        Date            Shares            Price

 Purchase        3/26/13             400           $14.1172
 Purchase        3/26/13             600           $14.1199
 Purchase        3/26/13            1,000          $14.0399
 Purchase       3/27/2013           1,000           $14.61
 Purchase       3/27/2013           1,000           $14.57
 Purchase       3/27/2013           1,000          $14.4682
 Purchase       3/27/2013           1,000           $14.41
 Purchase       3/28/2013           1,000           $14.36
 Purchase       3/28/2013           1,000          $14.6982
 Purchase       4/1/2013             500            $14.36
 Purchase       4/1/2013             500           $14.3599
 Purchase       4/1/2013            1,000          $14.4599
 Purchase       4/1/2013            1,000          $14.5383
 Purchase       4/3/2013            1,000           $14.46
 Purchase       4/3/2013            1,000          $14.3699
 Purchase       4/4/2013            1,000          $14.5685
 Purchase       4/5/2013             400           $14.7372
 Purchase       4/5/2013             600           $14.7399
 Purchase       4/5/2013            1,000           $14.49
 Purchase       4/5/2013            1,000          $14.6388
 Purchase       4/5/2013            1,000           $14.76
 Purchase       6/3/2013            1,200           $15.01
 Purchase       6/5/2013             100            $15.18
 Purchase       6/5/2013             400            $15.18
 Purchase       6/5/2013             700            $15.18
 Purchase       6/7/2013             200            $15.05
 Purchase       6/7/2013             406            $15.00
 Purchase       6/7/2013             794            $14.99
 Purchase       6/7/2013            1,000           $15.05
 Purchase       6/7/2013            1,200           $14.90
 Purchase       6/10/2013           1,000           $14.79
 Purchase       6/11/2013           1,000           $14.51
 Purchase       6/13/2013           2,000           $14.01
 Purchase       6/27/2013           2,000           $15.15
 Purchase       7/1/2013            2,000           $14.84
 Purchase       7/2/2013             800            $14.69
 Purchase       7/2/2013            1,200           $14.69
 Purchase       7/2/2013            2,000           $14.82
 Purchase       7/8/2013             100            $14.35
 Purchase       7/8/2013             100            $14.35
 Purchase       7/8/2013             100            $14.35
 Purchase       7/8/2013             100            $14.35

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase        7/8/2013            300            $14.25
 Purchase        7/8/2013           1,300           $14.35
 Purchase        7/25/2013          2,000           $14.33
 Purchase        7/26/2013          2,000           $14.27
 Purchase        7/31/2013          2,000           $14.54
 Purchase        8/1/2013           2000            $14.28
 Purchase        8/8/2013           2000            $13.58
 Purchase        8/12/2013          2000            $13.79
 Purchase       10/23/2013           600            $13.07
 Purchase       10/23/2013          2000            $13.02
 Purchase       10/23/2013          3400            $13.07
 Purchase       10/30/2013          2000            $13.44
 Purchase       10/30/2013          2000            $13.27
 Purchase       10/31/2013          2000            $13.02
 Purchase        11/4/2013          2000            $13.30
 Purchase       02/06/2014          3,000           $13.72
 Purchase       02/12/2014          1,000           $13.54
 Purchase       03/19/2014           200            $13.88
 Purchase       03/19/2014          1,800           $13.89
 Purchase       03/19/2014          2,000           $14.31
 Purchase       03/19/2014          2,000           $14.31
 Purchase       03/19/2014          2,000           $14.23
 Purchase       03/19/2014          2,000           $13.90
 Purchase       03/27/2014          2,000           $13.80
 Purchase       04/01/2014          1,400           $13.98
 Purchase       04/01/2014          2,600           $13.98
 Purchase       04/03/2014           100            $13.91
 Purchase       04/03/2014           662            $13.92
 Purchase       04/03/2014           900            $13.91
 Purchase       04/03/2014          2,338           $13.91
 Purchase       04/10/2014          2,000           $13.37
 Purchase       04/11/2014           800            $13.25
 Purchase       04/11/2014          1,200           $13.25
 Purchase       04/25/2014          2,000           $13.00
 Purchase       04/25/2014          2,000           $13.00
 Purchase       04/25/2014          2,000           $13.02
 Purchase       04/28/2014          2,000           $12.84
 Purchase       05/08/2014          2,000           $12.68
 Purchase       05/21/2014           702            $12.19
 Purchase       05/21/2014          1,298           $12.20
 Purchase       05/21/2014          3,000           $12.65
 Purchase       05/21/2014          3,000           $12.62

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

 Purchase       05/21/2014         4,000            $12.29
 Purchase       05/21/2014         6,000            $12.26
 Purchase       05/22/2014         4,000            $12.10
 Purchase       05/22/2014         4,000            $12.07
 Purchase       06/11/2014         2,000            $12.02
 Purchase       06/11/2014         2,000            $11.93
 Purchase       06/11/2014         2,000            $11.79
 Purchase       06/12/2014         2,000            $11.82
 Purchase       06/17/2014         2,000            $12.06
 Purchase       06/18/2014          600             $11.95
 Purchase       06/18/2014         1,400            $11.94
 Purchase       06/18/2014         2,000            $12.02
 Purchase       06/18/2014         2,000            $12.01
 Purchase       07/09/2014         2,000            $12.37
 Purchase       07/09/2014         2,000            $12.36
 Purchase       09/12/2014         2,000            $12.55
 Purchase       09/12/2014         2,000            $12.56
 Purchase       09/12/2014         2,000            $12.55
 Purchase       09/12/2014         4,000            $12.68
 Purchase       09/15/2014         2,000            $12.47
 Purchase       09/16/2014         2,000            $12.43
 Purchase       09/16/2014         2,000            $12.57
 Purchase       09/17/2014         2,000            $12.61
 Purchase       09/18/2014         4,000            $12.49
 Purchase       09/18/2014         4,000            $12.39
 Purchase       09/24/2014          500             $12.18
 Purchase       09/25/2014         4,000            $12.06
 Purchase       09/30/2014         3,500            $12.11
 Purchase       10/01/2014         1,000            $12.04
 Purchase       10/08/2014         2,000            $11.84
 Purchase       10/08/2014         4,000            $11.86
 Purchase       10/09/2014         2,000            $11.88
 Purchase       10/29/2014         10,000           $10.15
 Purchase       10/29/2014         10,000            $9.91


   Sale            3/11/2013        2,000          $14.3202
   Sale            3/20/2013        1,000          $14.3001
   Sale            3/25/2013         300           $14.1915
   Sale            3/25/2013         700           $14.1900
   Sale            3/26/2013        1,000          $14.1825
   Sale            3/26/2013        1,000          $14.2018

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

   Sale            3/27/2013        1,000           $14.69
   Sale            3/27/2013        1,000           $14.48
   Sale            3/27/2013        1,000          $14.7218
   Sale            3/27/2013        1,000           $14.57
   Sale            3/27/2013        1,000          $14.5210
   Sale            3/28/2013         200           $14.8301
   Sale            3/28/2013         800           $14.8328
   Sale            3/28/2013        1,000          $14.4718
   Sale            3/28/2013        1,000           $14.69
   Sale             4/1/2013        1,000          $14.4617
   Sale             4/2/2013         100            $14.655
   Sale             4/2/2013         900           $14.6501
   Sale             4/2/2013        1,000          $14.6701
   Sale             4/3/2013         200           $14.535
   Sale             4/3/2013         300           $14.6415
   Sale             4/3/2013         300            $14.65
   Sale             4/3/2013         400            $14.66
   Sale             4/3/2013         800           $14.5301
   Sale             4/4/2013          2            $14.785
   Sale             4/4/2013         400           $14.6728
   Sale             4/4/2013         600           $14.6715
   Sale             4/4/2013         998            $14.78
   Sale             4/4/2013        1,000           $14.69
   Sale             4/5/2013        1,000           $14.69
   Sale             4/5/2013        1,000           $14.79
   Sale             4/5/2013        2,000           $14.79
   Sale             4/8/2013        1,000          $14.9812
   Sale             5/9/2013        1,000           $17.36
   Sale            5/28/2013         200            $17.53
   Sale            5/28/2013        1,800           $17.34
   Sale            6/13/2013         800            $14.76
   Sale            6/13/2013        1,200           $14.65
   Sale            6/27/2013         100            $15.18
   Sale            6/27/2013         811            $15.15
   Sale            6/27/2013        1,089           $15.18
   Sale            7/26/2013         700            $14.63
   Sale            7/26/2013        1,300           $14.63
   Sale            7/30/2013         100            $14.94
   Sale            7/30/2013        1900            $14.90
   Sale           10/23/2013        4000            $13.85
   Sale           10/23/2013        4000            $13.85
   Sale           10/25/2013        2000            $13.64

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                              Paul Matten - Schedule A
                American Realty Capital Properties Inc. Transactions
              Class Period: September 7, 2011 Through October 29, 2014

Transaction        Date            Shares            Price

   Sale            11/4/2013       2000             $13.69
   Sale            1/16/2014       4000             $13.60
   Sale            1/21/2014       3000             $13.82
   Sale            1/21/2014       3000             $13.98
   Sale            9/15/2014       2000             $12.46
   Sale           10/29/2014       10000            $9.97




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         The Teachers’ Retirement System of the City of New York
                        Schedule of Transactions
                                Equity
    CUSIP     Trade Date Transaction Type        Shares      Share Price
  02917T104    5/7/2013       Purchase                5,505 $    17.040
  02917T104    6/4/2013         Sale                  5,505 $    15.950
  02917T104 6/28/2013         Purchase                4,654 $    15.260
  02917T104 6/28/2013         Purchase               68,333 $    15.250
  02917T104 6/28/2013         Purchase               71,100 $    15.250
  02917T104 7/19/2013         Purchase                  128 $    14.760
  02917T104 8/30/2013         Purchase                  584 $    13.410
  02917T104 9/30/2013         Purchase                  981 $    12.190
  02917T104 10/31/2013        Purchase                  460 $    13.270
  02917T104 10/31/2013        Purchase                  944 $    13.270
  02917T104 11/5/2013           Sale                  2,083 $    13.150
  02917T104 11/5/2013           Sale                 13,298 $    13.150
  02917T104 12/20/2013        Purchase                   57 $    12.605
  02917T104 12/20/2013        Purchase                1,103 $    12.610
  02917T104 1/22/2014         Purchase             2,189.08 $    13.950
  02917T104 1/31/2014         Purchase                  103 $    13.832
  02917T104 1/31/2014         Purchase                  377 $    13.840
  02917T104 1/31/2014         Purchase                  426 $    13.832
  02917T104 1/31/2014         Purchase                1,560 $    13.840
  02917T104 2/19/2014           Sale                   0.08 $    13.924
  02917T104 2/28/2014         Purchase               19,227 $    14.686
  02917T104 2/28/2014         Purchase               98,630 $    14.686
  02917T104 2/28/2014         Purchase             136,900 $     14.687
  02917T104 3/26/2014           Sale                 10,249 $    13.915
  02917T104 3/27/2014           Sale                    360 $    13.800
  02917T104 3/31/2014           Sale                    479 $    14.020
  02917T104 4/30/2014         Purchase                  300 $    13.082
  02917T104 4/30/2014         Purchase                  397 $    13.082
  02917T104 5/21/2014         Purchase                2,400 $    12.300
  02917T104 5/21/2014         Purchase               16,620 $    12.351
  02917T104 5/21/2014         Purchase               38,790 $    12.228
  02917T104 5/21/2014         Purchase               55,910 $    12.297
  02917T104 5/21/2014 Purchase (Offering)            67,930 $    12.000
  02917T104 5/22/2014           Sale                 22,600 $    12.382
  02917T104 5/22/2014           Sale                 45,330 $    12.301
  02917T104 5/30/2014         Purchase                   24 $    12.410
  02917T104 5/30/2014         Purchase                  357 $    12.410
  02917T104 5/30/2014         Purchase                  900 $    12.407
  02917T104 5/30/2014         Purchase                1,935 $    12.400
  02917T104 5/30/2014         Purchase               28,872 $    12.400
  02917T104 5/30/2014           Sale                113,720 $    12.262
  02917T104 6/27/2014         Purchase              189,500 $    12.498
  02917T104 6/27/2014         Purchase              441,937 $    12.500
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         The Teachers’ Retirement System of the City of New York
                        Schedule of Transactions
    CUSIP     Trade Date Transaction Type        Shares      Share Price
  02917T104 6/27/2014           Sale                  9,702 $    12.500
  02917T104 6/27/2014           Sale                 12,994 $    12.500
  02917T104 6/27/2014           Sale                 77,066 $    12.500
  02917T104 6/27/2014           Sale               103,221 $     12.500
  02917T104 7/29/2014           Sale                 29,425 $    13.230
  02917T104 10/22/2014          Sale                 56,300 $    12.070

                              Fixed Income
   CUSIP      Trade Date   Transaction Type     Units       Unit Price
 02917TAA2     7/24/2013       Purchase            68,000       0.9942
 02917TAA2     7/24/2013       Purchase           262,000       0.9948
 02917TAA2     7/25/2013       Purchase            90,000       0.9926
 02917TAA2     7/25/2013       Purchase           240,000       0.9926
 02917TAA2    10/28/2014       Purchase           450,000       0.9988
 03879QAA2     2/4/2014        Purchase         3,830,000       0.9997
 03879QAA2     2/4/2014          Sale           2,685,000       1.0007
 03879QAA2     2/5/2014          Sale           1,145,000       1.0020
 03879QAA2     6/5/2014        Purchase         2,625,000       1.0065
 03879QAA2     6/27/2014       Purchase         1,790,000       1.0040
 03879QAA2    10/16/2014         Sale           4,415,000       1.0054
 03879QAB0    10/16/2014       Purchase         4,415,000       1.0054
 03879QAE4      4/3/2014       Purchase           620,000       1.0023
 03879QAE4      4/7/2014       Purchase         1,577,000       1.0072
 03879QAE4    10/16/2014         Sale           2,197,000       1.0058
 03879QAF1    10/16/2014       Purchase         2,197,000       1.0058
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              New York City Employees’ Retirement System
                        Schedule of Transactions
                                Equity
     CUSIP     Trade Date Transaction Type       Shares  Share Price
   02917T104    5/7/2013       Purchase            3,774 $   17.040
   02917T104    6/4/2013          Sale             3,774 $   15.950
   02917T104 6/20/2013         Purchase           16,100 $   14.210
   02917T104 6/21/2013         Purchase           24,600 $   14.200
   02917T104 6/24/2013         Purchase           24,070 $   14.250
   02917T104 6/24/2013         Purchase           30,239 $   14.270
   02917T104 6/28/2013         Purchase            1,139 $   15.260
   02917T104 6/28/2013         Purchase            2,389 $   15.260
   02917T104 6/28/2013         Purchase           16,731 $   15.240
   02917T104 6/28/2013         Purchase           17,700 $   15.250
   02917T104 6/28/2013         Purchase           35,072 $   15.250
   02917T104    7/5/2013       Purchase            6,048 $   14.200
   02917T104    7/5/2013       Purchase           18,143 $   14.220
   02917T104 7/10/2013         Purchase            9,061 $   14.470
   02917T104 7/10/2013         Purchase           11,839 $   14.450
   02917T104 7/24/2013         Purchase            1,453 $   14.510
   02917T104 7/24/2013         Purchase            2,838 $   14.550
   02917T104 7/24/2013         Purchase            6,909 $   14.520
   02917T104 7/26/2013         Purchase            9,057 $   14.670
   02917T104 7/26/2013         Purchase           10,143 $   14.650
   02917T104 7/30/2013         Purchase            1,600 $   14.860
   02917T104 7/31/2013         Purchase            3,789 $   14.610
   02917T104 7/31/2013         Purchase            8,411 $   14.630
   02917T104    8/1/2013       Purchase            1,933 $   14.170
   02917T104    8/1/2013       Purchase            4,567 $   14.200
   02917T104 8/30/2013         Purchase              238 $   13.410
   02917T104 10/16/2013           Sale             6,974 $   12.710
   02917T104 10/16/2013           Sale               297 $   12.710
   02917T104 11/26/2013           Sale               383 $   13.280
   02917T104 11/26/2013           Sale             2,757 $   13.280
   02917T104 12/20/2013           Sale               201 $   12.610
   02917T104 12/20/2013           Sale               406 $   12.610
   02917T104    1/7/2014          Sale             1,606 $   12.876
   02917T104    1/7/2014          Sale             3,211 $   12.870
   02917T104    1/7/2014          Sale             6,159 $   12.860
   02917T104    1/7/2014          Sale            11,824 $   12.864
   02917T104    1/8/2014          Sale             1,711 $   12.699
   02917T104    1/8/2014          Sale             4,667 $   12.707
   02917T104    1/8/2014          Sale             6,339 $   12.712
   02917T104    1/8/2014          Sale            27,383 $   12.690
   02917T104    1/9/2014          Sale            21,000 $   12.646
   02917T104 1/10/2014            Sale               796 $   12.715
   02917T104 1/10/2014            Sale             3,995 $   12.720
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              New York City Employees’ Retirement System
                       Schedule of Transactions
     CUSIP     Trade Date Transaction Type      Shares    Share Price
   02917T104 1/10/2014           Sale              5,718 $    12.819
   02917T104 1/10/2014           Sale              7,750 $    12.985
   02917T104 1/10/2014           Sale             15,882 $    12.798
   02917T104 1/10/2014           Sale             15,900 $    12.971
   02917T104 1/10/2014           Sale             17,109 $    12.711
   02917T104 1/10/2014           Sale             39,750 $    12.970
   02917T104 1/22/2014        Purchase           1,092.9 $    13.950
   02917T104 1/28/2014           Sale              7,200 $    14.170
   02917T104 1/31/2014        Purchase                 30 $   13.832
   02917T104 1/31/2014        Purchase               112 $    13.840
   02917T104 1/31/2014        Purchase               466 $    13.832
   02917T104 1/31/2014        Purchase             1,709 $    13.840
   02917T104 2/14/2014        Purchase               600 $    13.868
   02917T104 2/19/2014           Sale                 0.9 $   13.933
   02917T104 2/28/2014        Purchase            13,942 $    14.686
   02917T104 2/28/2014        Purchase            25,900 $    14.769
   02917T104 2/28/2014        Purchase            72,831 $    14.686
   02917T104 3/26/2014           Sale             47,340 $    13.915
   02917T104 3/27/2014           Sale                293 $    13.800
   02917T104 3/31/2014           Sale                188 $    14.020
   02917T104 3/31/2014           Sale                496 $    14.020
   02917T104 4/30/2014        Purchase               314 $    13.082
   02917T104 5/30/2014        Purchase                25 $    12.410
   02917T104 5/30/2014        Purchase               145 $    12.410
   02917T104 5/30/2014        Purchase             2,045 $    12.400
   02917T104 5/30/2014        Purchase           11,853 $     12.400
   02917T104 6/27/2014        Purchase           39,900 $     12.498
   02917T104 6/27/2014        Purchase          228,540 $     12.500
   02917T104 6/27/2014           Sale             10,573 $    12.500
   02917T104 6/27/2014           Sale             14,161 $    12.500
   02917T104 6/27/2014           Sale             32,048 $    12.500
   02917T104 6/27/2014           Sale             42,924 $    12.500
   02917T104 7/17/2014        Purchase               300 $    12.890
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              New York City Employees’ Retirement System
                       Schedule of Transactions
                             Fixed Income
       CUSIP    Trade Date Transaction Type       Units   Unit Price
    03879QAA2 2/4/2014           Purchase       6,005,000   0.9997
    03879QAA2 2/4/2014             Sale         4,200,000   1.0007
    03879QAA2 2/5/2014             Sale         1,805,000   1.0020
    03879QAA2 6/5/2014           Purchase       3,975,000   1.0065
    03879QAA2 6/27/2014          Purchase       2,710,000   1.0040
    03879QAA2 10/16/2014           Sale         6,685,000   1.0054
    03879QAB0 10/16/2014         Purchase       6,685,000   1.0054
    03879QAE4 4/3/2014           Purchase         310,000   1.0023
    03879QAE4 4/7/2014           Purchase         810,000   1.0072
    03879QAE4 10/16/2014           Sale         1,120,000   1.0058
    03879QAF1 10/16/2014         Purchase       1,120,000   1.0058
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                The New York City Police Pension Fund
                        Schedule of Transactions
                                Equity
     CUSIP    Trade Date Transaction Type        Shares   Share Price
   02917T104   5/7/2013        Purchase             2,099 $   17.040
   02917T104   6/4/2013          Sale               2,099 $   15.950
   02917T104 6/20/2013         Purchase             6,100 $   14.210
   02917T104 6/21/2013         Purchase             9,300 $   14.200
   02917T104 6/24/2013         Purchase             9,107 $   14.250
   02917T104 6/24/2013         Purchase            11,440 $   14.270
   02917T104 6/28/2013         Purchase             2,621 $   15.260
   02917T104 6/28/2013         Purchase            27,700 $   15.250
   02917T104 6/28/2013         Purchase            38,488 $   15.250
   02917T104   7/5/2013        Purchase             2,288 $   14.200
   02917T104   7/5/2013        Purchase             6,865 $   14.220
   02917T104 7/10/2013         Purchase             3,425 $   14.470
   02917T104 7/10/2013         Purchase             4,475 $   14.450
   02917T104 7/19/2013         Purchase                69 $   14.760
   02917T104 7/24/2013         Purchase               545 $   14.510
   02917T104 7/24/2013         Purchase             1,064 $   14.550
   02917T104 7/24/2013         Purchase             2,591 $   14.520
   02917T104 7/26/2013         Purchase             3,443 $   14.670
   02917T104 7/26/2013         Purchase             3,857 $   14.650
   02917T104 7/30/2013         Purchase               600 $   14.860
   02917T104 7/31/2013         Purchase             1,429 $   14.610
   02917T104 7/31/2013         Purchase             3,171 $   14.630
   02917T104   8/1/2013        Purchase               743 $   14.170
   02917T104   8/1/2013        Purchase             1,757 $   14.200
   02917T104 8/30/2013         Purchase               266 $   13.410
   02917T104 9/20/2013         Purchase            30,300 $   12.677
   02917T104 10/16/2013          Sale               1,626 $   12.710
   02917T104 10/16/2013          Sale                 473 $   12.710
   02917T104 11/26/2013          Sale               1,503 $   13.280
   02917T104 12/10/2013          Sale                 925 $   12.770
   02917T104 12/10/2013          Sale               3,452 $   12.770
   02917T104 12/20/2013          Sale                 256 $   12.610
   02917T104   1/7/2014          Sale                 606 $   12.876
   02917T104   1/7/2014          Sale               1,211 $   12.870
   02917T104   1/7/2014          Sale               2,323 $   12.860
   02917T104   1/7/2014          Sale               4,460 $   12.864
   02917T104   1/8/2014          Sale                 649 $   12.699
   02917T104   1/8/2014          Sale               1,769 $   12.707
   02917T104   1/8/2014          Sale               2,403 $   12.712
   02917T104   1/8/2014          Sale              10,379 $   12.690
   02917T104   1/9/2014          Sale               8,000 $   12.646
   02917T104 1/10/2014           Sale                 298 $   12.715
   02917T104 1/10/2014           Sale               1,496 $   12.720
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                The New York City Police Pension Fund
                        Schedule of Transactions
     CUSIP    Trade Date Transaction Type        Shares   Share Price
   02917T104 1/10/2014           Sale               2,171 $   12.819
   02917T104 1/10/2014           Sale               2,934 $   12.985
   02917T104 1/10/2014           Sale               6,019 $   12.971
   02917T104 1/10/2014           Sale               6,029 $   12.798
   02917T104 1/10/2014           Sale               6,406 $   12.711
   02917T104 1/10/2014           Sale              15,047 $   12.970
   02917T104 1/14/2014        Purchase              1,300 $   13.180
   02917T104 1/21/2014        Purchase              8,700 $   13.988
   02917T104 1/28/2014           Sale                 234 $   14.170
   02917T104 1/31/2014        Purchase                205 $   13.832
   02917T104 1/31/2014        Purchase                751 $   13.840
   02917T104   2/7/2014 Purchase (Merger)       86,994.84 $   13.990
   02917T104 2/19/2014           Sale                0.84 $   13.929
   02917T104 2/28/2014        Purchase             12,858 $   14.686
   02917T104 2/28/2014        Purchase             48,700 $   14.687
   02917T104 2/28/2014        Purchase             61,057 $   14.686
   02917T104 3/21/2014           Sale                 900 $   14.270
   02917T104 3/21/2014           Sale               1,800 $   14.270
   02917T104 3/26/2014           Sale              15,740 $   13.915
   02917T104 3/31/2014        Purchase                100 $   14.020
   02917T104 3/31/2014           Sale                 997 $   14.020
   02917T104 3/31/2014           Sale                 247 $   14.020
   02917T104   4/7/2014          Sale                 343 $   13.790
   02917T104 4/30/2014        Purchase                295 $   13.082
   02917T104 5/21/2014        Purchase              1,900 $   12.260
   02917T104 5/28/2014           Sale               3,047 $   12.410
   02917T104 5/30/2014        Purchase                 40 $   12.410
   02917T104 5/30/2014        Purchase                154 $   12.410
   02917T104 5/30/2014        Purchase              3,336 $   12.400
   02917T104 5/30/2014        Purchase             12,533 $   12.400
   02917T104   6/3/2014       Purchase             25,500 $   12.726
   02917T104 6/20/2014           Sale               2,700 $   12.590
   02917T104 6/27/2014        Purchase             86,700 $   12.498
   02917T104 6/27/2014        Purchase            241,632 $   12.500
   02917T104 6/27/2014           Sale              12,290 $   12.500
   02917T104 6/27/2014           Sale               9,176 $   12.500
   02917T104 6/27/2014           Sale              33,328 $   12.500
   02917T104 6/27/2014           Sale              44,639 $   12.500
   02917T104 7/31/2014         Purchase             1,304 $   13.108
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                The New York City Police Pension Fund
                        Schedule of Transactions
                             Fixed Income
       CUSIP    Trade Date Transaction Type       Units Unit Price
    03879QAE4     4/3/2014        Purchase       260,000  1.0023
    03879QAE4     4/7/2014        Purchase       680,000  1.0072
    03879QAE4 10/16/2014            Sale         940,000  1.0058
     03879QAF1 10/17/2014         Purchase       940,000  1.0058
Case 1:15-mc-00040-AKH Document 30 Filed 04/17/15 Page 256 of 275
           The New York City Fire Department Pension Fund
                        Schedule of Transactions
                                Equity
     CUSIP     Trade Date Transaction Type       Shares Share Price
   02917T104 6/20/2013           Purchase          4,400 $ 14.210
   02917T104 6/21/2013           Purchase          6,700 $ 14.200
   02917T104 6/24/2013           Purchase          6,623 $ 14.250
   02917T104 6/24/2013           Purchase          8,321 $ 14.270
   02917T104 6/28/2013           Purchase            737 $ 15.260
   02917T104 6/28/2013           Purchase          8,300 $ 15.250
   02917T104 6/28/2013           Purchase         10,826 $ 15.250
   02917T104    7/5/2013         Purchase          1,664 $ 14.200
   02917T104    7/5/2013         Purchase          4,992 $ 14.220
   02917T104 7/10/2013           Purchase          2,514 $ 14.470
   02917T104 7/10/2013           Purchase          3,286 $ 14.450
   02917T104 7/24/2013           Purchase            389 $ 14.510
   02917T104 7/24/2013           Purchase            760 $ 14.550
   02917T104 7/24/2013           Purchase          1,851 $ 14.520
   02917T104 7/26/2013           Purchase          2,500 $ 14.670
   02917T104 7/26/2013           Purchase          2,800 $ 14.650
   02917T104 7/30/2013           Purchase            500 $ 14.860
   02917T104 7/31/2013           Purchase          1,025 $ 14.610
   02917T104 7/31/2013           Purchase          2,275 $ 14.630
   02917T104    8/1/2013         Purchase            535 $ 14.170
   02917T104    8/1/2013         Purchase          1,265 $ 14.200
   02917T104 10/16/2013            Sale              458 $ 12.710
   02917T104 10/16/2013            Sale              133 $ 12.710
   02917T104 11/26/2013            Sale              250 $ 13.280
   02917T104 12/10/2013            Sale              149 $ 12.770
   02917T104 12/10/2013            Sale              575 $ 12.770
   02917T104 12/20/2013            Sale               42 $ 12.610
   02917T104    1/7/2014           Sale              437 $ 12.876
   02917T104    1/7/2014           Sale              873 $ 12.870
   02917T104    1/7/2014           Sale            1,675 $ 12.860
   02917T104    1/7/2014           Sale            3,215 $ 12.864
   02917T104    1/8/2014           Sale              469 $ 12.699
   02917T104    1/8/2014           Sale            1,280 $ 12.707
   02917T104    1/8/2014           Sale            1,739 $ 12.712
   02917T104    1/8/2014           Sale            7,512 $ 12.690
   02917T104    1/9/2014           Sale            5,800 $ 12.646
   02917T104 1/10/2014             Sale              218 $ 12.715
   02917T104 1/10/2014             Sale            1,094 $ 12.720
   02917T104 1/10/2014             Sale            1,588 $ 12.819
   02917T104 1/10/2014             Sale            2,127 $ 12.985
   02917T104 1/10/2014             Sale            4,364 $ 12.971
   02917T104 1/10/2014             Sale            4,412 $ 12.798
   02917T104 1/10/2014             Sale            4,688 $ 12.711
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           The New York City Fire Department Pension Fund
                      Schedule of Transactions
     CUSIP   Trade Date   Transaction Type   Shares Share Price
   02917T104 1/10/2014          Sale          10,909 $ 12.970
   02917T104 1/28/2014          Sale              30 $ 14.170
   02917T104 1/31/2014        Purchase            27 $ 13.832
   02917T104 1/31/2014        Purchase            98 $ 13.840
   02917T104 2/28/2014        Purchase         1,557 $ 14.686
   02917T104 2/28/2014        Purchase         7,934 $ 14.686
   02917T104 2/28/2014        Purchase        14,200 $ 14.687
   02917T104 3/26/2014          Sale           2,045 $ 13.915
   02917T104 3/31/2014          Sale             121 $ 14.020
   02917T104 3/31/2014          Sale              32 $ 14.020
   02917T104  4/7/2014          Sale              60 $ 13.790
   02917T104 4/30/2014        Purchase            31 $ 13.082
   02917T104 5/28/2014          Sale             533 $ 12.410
   02917T104 5/30/2014        Purchase             5 $ 12.410
   02917T104 5/30/2014        Purchase            27 $ 12.410
   02917T104 5/30/2014        Purchase           404 $ 12.400
   02917T104 5/30/2014        Purchase         2,193 $ 12.400
   02917T104 5/30/2014        Purchase         7,000 $ 12.407
   02917T104 6/27/2014        Purchase        70,055 $ 12.500
   02917T104 6/27/2014        Purchase        15,400 $ 12.498
   02917T104 6/27/2014          Sale           1,488 $ 12.500
   02917T104 6/27/2014          Sale           1,111 $ 12.500
   02917T104 6/27/2014          Sale           5,831 $ 12.500
   02917T104 6/27/2014          Sale           7,811 $ 12.500
   02917T104 7/31/2014        Purchase           378 $ 13.108
   02917T104 10/22/2014         Sale           4,900 $ 12.070

                           Fixed Income
     CUSIP   Trade Date   Transaction Type    Units    Unit Price
   03879QAE4 4/3/2014         Purchase        60,000      1.0023
   03879QAE4 4/7/2014         Purchase       160,000      1.0072
   03879QAE4 10/16/2014          Sale        220,000      1.0058
   03879QAF1 10/16/2014       Purchase       220,000      1.0058
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       The New York City Fire Officers' Variable Supplements Fund
                        Schedule of Transactions
                                Equity
        CUSIP    Trade Date Transaction Type Shares Share Price
      02917T104 6/28/2013         Purchase           83 $ 15.260
      02917T104 6/28/2013         Purchase        1,219 $ 15.250
      02917T104 10/16/2013           Sale            15 $ 12.710
      02917T104 10/16/2013           Sale            51 $ 12.710
      02917T104 11/26/2013           Sale            47 $ 13.280
      02917T104 12/10/2013           Sale            29 $ 12.770
      02917T104 12/10/2013           Sale           108 $ 12.770
      02917T104 12/20/2013           Sale             8 $ 12.610
      02917T104 1/28/2014            Sale             8 $ 14.170
      02917T104 1/31/2014         Purchase           27 $ 13.840
      02917T104 1/31/2014         Purchase            7 $ 13.832
      02917T104 2/28/2014         Purchase          239 $ 14.686
      02917T104 2/28/2014         Purchase        1,063 $ 14.686
      02917T104 3/26/2014            Sale           274 $ 13.915
      02917T104 3/31/2014            Sale            19 $ 14.020
      02917T104 3/31/2014            Sale             4 $ 14.020
      02917T104   4/7/2014           Sale             8 $ 13.790
      02917T104 4/30/2014         Purchase            7 $ 13.082
      02917T104 5/28/2014            Sale            71 $ 12.410
      02917T104 5/30/2014         Purchase           62 $ 12.400
      02917T104 5/30/2014         Purchase            1 $ 12.410
      02917T104 5/30/2014         Purchase          294 $ 12.400
      02917T104 5/30/2014         Purchase            3 $ 12.410
      02917T104 6/27/2014            Sale           171 $ 12.500
      02917T104 6/27/2014            Sale           228 $ 12.500
      02917T104 6/27/2014            Sale         1,047 $ 12.500
      02917T104 6/27/2014            Sale           782 $ 12.500
      02917T104 6/27/2014         Purchase        7,005 $ 12.500
      02917T104 7/31/2014         Purchase           38 $ 13.108
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       The New York City Fire Fighters' Variable Supplements Fund
                        Schedule of Transactions
                                 Equity
        CUSIP    Trade Date Transaction Type Shares Share Price
      02917T104 6/28/2013         Purchase          123 $ 15.260
      02917T104 6/28/2013         Purchase        1,812 $ 15.250
      02917T104 10/16/2013           Sale            76 $ 12.710
      02917T104 10/16/2013           Sale            22 $ 12.710
      02917T104 11/26/2013           Sale            71 $ 13.280
      02917T104 12/10/2013           Sale            43 $ 12.770
      02917T104 12/10/2013           Sale           162 $ 12.770
      02917T104 12/20/2013           Sale            12 $ 12.610
      02917T104 1/28/2014            Sale            11 $ 14.170
      02917T104 1/31/2014         Purchase           10 $ 13.832
      02917T104 1/31/2014         Purchase           35 $ 13.840
      02917T104 2/28/2014         Purchase          594 $ 14.686
      02917T104 2/28/2014         Purchase        2,833 $ 14.686
      02917T104 3/26/2014            Sale           730 $ 13.915
      02917T104 3/31/2014            Sale            46 $ 14.020
      02917T104 3/31/2014            Sale            12 $ 14.020
      02917T104   4/7/2014           Sale            21 $ 13.790
      02917T104 4/30/2014         Purchase           18 $ 13.082
      02917T104 5/28/2014            Sale           190 $ 12.410
      02917T104 5/30/2014         Purchase            2 $ 12.410
      02917T104 5/30/2014         Purchase           10 $ 12.410
      02917T104 5/30/2014         Purchase          154 $ 12.400
      02917T104 5/30/2014         Purchase          783 $ 12.400
      02917T104 6/27/2014         Purchase        9,208 $ 12.500
      02917T104 6/27/2014            Sale           568 $ 12.500
      02917T104 6/27/2014            Sale           424 $ 12.500
      02917T104 6/27/2014            Sale         2,083 $ 12.500
      02917T104 6/27/2014            Sale         2,789 $ 12.500
      02917T104 7/31/2014         Purchase           50 $ 13.108
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    The Board of Education Retirement System of the City of New York
                        Schedule of Transactions
                                 Equity
       CUSIP     Trade Date Transaction Type Shares Share Price
     02917T104    5/7/2013        Purchase        2,727 $ 17.040
     02917T104    6/4/2013          Sale          2,727 $ 15.950
     02917T104 6/28/2013          Purchase          612 $ 15.260
     02917T104 6/28/2013          Purchase        8,982 $ 15.250
     02917T104 10/16/2013           Sale            375 $ 12.710
     02917T104 10/16/2013           Sale            108 $ 12.710
     02917T104 11/26/2013           Sale            346 $ 13.280
     02917T104 12/10/2013           Sale            212 $ 12.770
     02917T104 12/10/2013           Sale            796 $ 12.770
     02917T104 12/20/2013           Sale             59 $ 12.610
     02917T104 1/28/2014            Sale             63 $ 14.170
     02917T104 1/31/2014          Purchase           55 $ 13.832
     02917T104 1/31/2014          Purchase          202 $ 13.840
     02917T104 2/28/2014          Purchase        3,409 $ 14.686
     02917T104 2/28/2014          Purchase       16,386 $ 14.686
     02917T104 3/26/2014            Sale          4,224 $ 13.915
     02917T104 3/31/2014            Sale            264 $ 14.020
     02917T104 3/31/2014            Sale             66 $ 14.020
     02917T104    4/7/2014          Sale            124 $ 13.790
     02917T104 4/30/2014          Purchase          106 $ 13.082
     02917T104 5/28/2014            Sale          1,101 $ 12.410
     02917T104 5/30/2014          Purchase           11 $ 12.410
     02917T104 5/30/2014          Purchase           56 $ 12.410
     02917T104 5/30/2014          Purchase          884 $ 12.400
     02917T104 5/30/2014          Purchase        4,529 $ 12.400
     02917T104 6/27/2014          Purchase       57,191 $ 12.500
     02917T104 6/27/2014            Sale          3,258 $ 12.500
     02917T104 6/27/2014            Sale          2,432 $ 12.500
     02917T104 6/27/2014            Sale         12,044 $ 12.500
     02917T104 6/27/2014            Sale         16,132 $ 12.500
     02917T104 7/31/2014          Purchase          309 $ 13.108
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      The New York City Police Officers' Variable Supplements Fund
                        Schedule of Transactions
                                Equity
       CUSIP    Trade Date Transaction Type Shares Share Price
    02917T104 6/28/2013          Purchase             183 $ 15.260
    02917T104 6/28/2013          Purchase           2,694 $ 15.250
    02917T104 8/30/2013          Purchase              39 $ 13.410
    02917T104 10/16/2013           Sale               113 $ 12.710
    02917T104 10/16/2013           Sale                33 $ 12.710
    02917T104 11/26/2013           Sale               105 $ 13.280
    02917T104 12/10/2013           Sale                64 $ 12.770
    02917T104 12/10/2013           Sale               240 $ 12.770
    02917T104 12/20/2013           Sale                18 $ 12.610
    02917T104 1/28/2014            Sale                13 $ 14.170
    02917T104 1/31/2014          Purchase              11 $ 13.832
    02917T104 1/31/2014          Purchase              40 $ 13.840
    02917T104 2/28/2014          Purchase             629 $ 14.686
    02917T104 2/28/2014          Purchase           3,270 $ 14.686
    02917T104 3/26/2014            Sale               843 $ 13.915
    02917T104 3/31/2014            Sale                49 $ 14.020
    02917T104 3/31/2014            Sale                13 $ 14.020
    02917T104    4/7/2014          Sale                25 $ 13.790
    02917T104 4/30/2014          Purchase              21 $ 13.082
    02917T104 5/28/2014            Sale               220 $ 12.410
    02917T104 5/30/2014          Purchase               2 $ 12.410
    02917T104 5/30/2014          Purchase              11 $ 12.410
    02917T104 5/30/2014          Purchase             163 $ 12.400
    02917T104 5/30/2014          Purchase             904 $ 12.400
    02917T104 6/27/2014          Purchase          10,804 $ 12.500
    02917T104 6/27/2014            Sale               602 $ 12.500
    02917T104 6/27/2014            Sale               449 $ 12.500
    02917T104 6/27/2014            Sale             2,404 $ 12.500
    02917T104 6/27/2014            Sale             3,219 $ 12.500
    02917T104 7/31/2014          Purchase              58 $ 13.108
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   The Teachers’ Retirement System of the City of New York Variable A
                        Schedule of Transactions
                                 Equity
       CUSIP    Trade Date Transaction Type Shares Share Price
    02917T104    6/28/2013       Purchase         39,239 $ 15.255
    02917T104    2/28/2014       Purchase         62,147 $ 14.686
    02917T104    3/31/2014       Purchase         19,184 $ 14.016
    02917T104    5/30/2014       Purchase         22,439 $ 12.406
    02917T104    6/27/2014       Purchase         26,584 $ 12.497
    02917T104    6/27/2014       Purchase         57,700 $ 12.500
    02917T104    8/14/2014         Sale            2,900 $ 13.020
    02917T104    9/15/2014         Sale            1,200 $ 12.430
    02917T104 10/21/2014           Sale            2,200 $ 12.080
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                            PLAINTIFF’S CERTIFICATION
                       PURSUANT TO FEDERAL SECURITIES LAWS


        The undersigned, Marc Le Blanc, on behalf of Sheet Metal Workers’ National Pension
Fund (“SMWNPF”), declares the following as to the claims asserted, or to be asserted, under the
federal securities laws:

1.      I have reviewed an amended complaint against American Realty Capital Properties, Inc.
(“American Realty”) and designate Motley Rice LLC as counsel for SMWNPF in this action for
all purposes.

2.      I am duly authorized to institute legal action on SMWNPF’s behalf, including litigation
against American Realty and the other defendants.

3.     SMWNPF did not acquire American Realty securities at the direction of plaintiff’s
counsel or in order to participate in any private action under the federal securities laws.

4.      SMWNPF is willing to serve as a representative plaintiff and understands that a
representative plaintiff is a party who acts on behalf of other class members in directing the
action, and whose duties may include testifying at deposition and trial. SMWNPF also
understands that, as a representative plaintiff in this action, it will be subject to the jurisdiction of
the Court and will be bound by all rulings by the Court, including rulings regarding any
judgments.

5.      SMWNPF will not accept any payment for serving as a representative party beyond its
pro rata share of any recovery, except reasonable costs and expenses, such as lost wages and
travel expenses, directly related to the class representation, as ordered or approved by the court
pursuant to law.

6.      SMWNPF has not sought to serve as a lead plaintiff or representative party on behalf of a
class in any action under the federal securities laws filed during the three-year period preceding
the date of this Certification, except as detailed below:

        City of Westland Police and Fire Retirement System v. SAIC, Inc. et al., 12-cv-
        01353-DAB (S.D.N.Y. 2012);

        Construction Workers Pension Trust Fund – Lake County and Vicinity v. Navistar
        International Corp., et al., 13-cv-02111 (N.D. Ill. 2013);

        Bodner v. Aegerion Pharmaceuticals, Inc., et al., 14-cv-10105 (D. Mass. 2014);

        In re NII Holdings, Inc. Securities Litigation, 14-cv-00227 (E.D. Va. 2014); and

        Irving Firemen’s Relief and Retirement Fund v. Tesco PLC, et al., 14-cv-08495
        (S.D.N.Y. 2014).
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       Ciraulu v. American Realty Capital Properties, Inc., et al., No. 14-cv-08659 (S.D.N.Y.
       2014;

7.     SMWNPF understands that this is not a claim form, and that its ability to share in any
recovery as a member of the class is unaffected by its decision to serve as a representative party.

8.      Attached hereto as Schedule A is a complete listing of all transactions SMWNPF made
during the time period in the securities that are the subject of the amended complaint.

I declare under penalty of perjury, under the laws of the United States of America, that the
foregoing is true and correct.


Executed this 13 day of April 2015.




Marc Le Blanc
Fund Administrator
Sheet Metal Workers’ National Pension Fund
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                              Schedule A

                American Realty Capital Properties, Inc.
                   Class Period: 09/07/11 - 10/29/14


    Sheet Metal Workers' National
           Pension Fund                 Date      Shares     Price

  (ISIN: US02917T1043)
                         Purchases:    03/06/13    17,600   $13.8270
                                       03/07/13     9,300   $14.1052
                                       03/08/13     3,300   $14.1501
                                       03/11/13     2,100   $14.1472
                                       03/12/13      100    $14.1000
                                       03/13/13     1,700   $13.9886
                                       03/14/13     1,400   $14.0256
                                       03/15/13      900    $14.0297
                                       03/18/13     2,000   $13.9095
                                       03/19/13      500    $13.8990
                                       05/20/13     7,100   $17.7700
                                       05/21/13     1,700   $17.7130
                                       05/22/13     1,900   $17.7857
                                       05/28/13     4,000   $16.8532
                                       08/02/13     5,600   $14.1033
                                       01/23/14
                                          (1)      65,028   $14.5900
                                       04/11/14     8,000   $13.3586
                                       05/21/14    30,100   $12.0000
                                       05/22/14     1,900   $12.3643
                                       05/23/14     1,900   $12.3937
                                       07/11/14    13,800   $12.5684
                                       10/15/14     9,900   $11.6536

                              Sales:   04/19/13     800     $16.4257
                                       10/30/13    3,200    $13.3984
                                       11/26/13     500     $13.2400
                                       11/26/13    3,400    $13.2762
                                       11/27/13    3,100    $13.2923
                                       11/29/13     200     $13.2062
                                       12/02/13    5,700    $13.3633
                                       12/03/13     400     $13.2735
                                       12/03/13    3,400    $13.3156
                                       12/04/13    1,200    $13.2487
                                       12/05/13    1,000    $12.9581
                                       12/06/13    4,500    $12.8199
                                       12/09/13    2,900    $12.8711
                                       12/10/13    3,500    $12.8376
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                                         12/11/13      2,300      $12.6005
                                         12/12/13      1,400      $12.3818
                                         12/13/13      2,500      $12.5532
                                         12/13/13      3,600      $12.6279
                                         12/16/13       800       $12.7451
                                         12/17/13       300       $12.7817
                                         12/18/13       800       $12.8197
                                         12/23/13       200       $12.6524
                                         12/24/13       500       $12.7037
                                         01/27/14      1,100      $13.9405
                                         02/11/14        1        $13.7636
                                         03/11/14      3,300      $14.4515


  (ISIN: US03879QAA22 /
  US03879QAB05)
         Purchases (US03879QAA22):       09/16/14      4,000     $100.1000

   Exchange US03879QAA22 Notes for
              US03879QAB05 Notes:        10/15/14      4,000      $0.0000


  (ISIN: US03879QAE44 /
  US03879QAF19)
         Purchases (US03879QAE44):       05/15/14       300      $102.1500
                                         05/15/14       200      $102.1500
                                         05/15/14       400      $102.1800
                                         05/15/14       300      $102.1500
                                         05/21/14       300      $102.5000
                                         05/28/14       300      $103.2100

   Exchange US03879QAE44 Notes for
              US03879QAF19 Notes:        10/15/14      1,800      $0.0000


  (1) Shares acquired from the CREI merger with an implied value of $14.59
  per share.
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                                Schedule A
                  City of Tampa General Employees Retirement Plan
                                   Transactions in
                        American Realty Capital Properties, Inc.


                     Date           Quantity            Price
Purchases:

                      5/16/2014            7,300            $13.05
                      5/19/2014            7,200            $12.91
                      5/20/2014            4,100            $12.88
                      5/21/2014            1,000            $12.36
                      5/21/2014           11,300            $12.00
                      5/22/2014              700            $12.36
                      5/23/2014              700            $12.39
                       9/5/2014              290            $13.22
                       9/5/2014            2,220            $13.30
                       9/8/2014              390            $13.25
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